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                   IN THE UNITED STATES BANKRUPTCY COURT
                        SOUTHERN DISTRICT OF FLORIDA
                          FORT LAUDERDALE DIVISION
                               www.flsb.uscourts.gov

IN RE:                                             Chapter 11 Case

VITAL PHARMACEUTICALS, INC.                        Case No. 22-17842 (PDR)

         Debtor.
                                             /

                    STATEMENT OF FINANCIAL AFFAIRS
         OF DEBTOR VITAL PHARMACEUTICALS, INC. (CASE NO. 22-17842)
                                       Case 22-17842-PDR                 Doc 325         Filed 11/11/22              Page 2 of 79

  Fill in this information to identify the case:

  Debtor name: Vital Pharmaceuticals, Inc.

  United States Bankruptcy Court for the: Southern District of Florida
                                                                                                                                                    Check if this is an
  Case number: 22-17842
                                                                                                                                                    amended ling


O cial Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                              04/22


The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and
case number (if known).

Part 1:   Income

1. Gross revenue from business
     None

 Identify the beginning and ending dates of the debtor’s scal year, which may be        Sources of revenue                                         Gross revenue
 a calendar year                                                                        Check all that apply                                       (before deductions and
                                                                                                                                                   exclusions)


From the beginning of           From                       to    10/10/2022                Operating a business                                        $475,586,467.66
the scal year to ling           1/1/2022
date:                                                                                      Other




For prior year:                 From                       to                              Operating a business                                        $749,237,635.00
                                1/1/2021                   12/31/2021
                                                                                           Other




For the year before that:       From                       to                              Operating a business                                        $750,671,498.00
                                1/1/2020                   12/31/2020
                                                                                           Other




2. Non-business revenue
Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits, and royalties. List each
source and the gross revenue for each separately. Do not include revenue listed in line 1.
    None

                                                                                        Description of sources of revenue                          Gross revenue from
                                                                                                                                                   each source
                                                                                                                                                   (before deductions and
                                                                                                                                                   exclusions)

From the beginning of          From                       to     10/10/2022            Primarily due to the sale of vehicles no longer in use by            $439,137.91
the scal year to ling          1/1/2022                                                the business
date:

For prior year:                From                       to                           Primarily related to PPP Loans and partially due to the            $8,459,699.80
                               1/1/2021                   12/31/2021                   sale of vehicles no longer in use by the business


For the year before that:      From                       to                           Primarily related to proceeds of settlements and                     $370,876.58
                               1/1/2020                   12/31/2020                   partially due to the sale of vehicles no longer in use by
                                                                                       the business
Debtor    Vital Pharmaceuticals, Inc.______________________________________________                 Case number (if known) 22-17842________________________________________
          Name
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  Part 2:    List Certain Transfers Made Before Filing for Bankruptcy

  3. Certain payments or transfers to creditors within 90 days before ling this case
  List payments or transfers - including expense reimbursements - to any creditor, other than regular employee compensation, within 90 days before ling this case unless the
  aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25 and every 3 years after that with respect to cases
   led on or after the date of adjustment.)
         None

   Creditor’s name and address                                 Dates                          Total amount or value         Reasons for payment or transfer
                                                                                                                            Check all that apply

  3.1
                                                                                                                                Secured debt
                 See attached Exhibit SOFA 3
                                                                                                                                Unsecured loan repayments

                                                                                                                                Suppliers or vendors

                                                                                                                                Services

                                                                                                                                Other



  4. Payments or other transfers of property made within 1 year before ling this case that bene ted any insider
  List payments or transfers, including expense reimbursements, made within 1 year before ling this case on debts owed to an insider or guaranteed or cosigned by an
  insider unless the aggregate value of all property transferred to or for the bene t of the insider is less than $7,575. (This amount may be adjusted on 4/01/25 and every 3
  years after that with respect to cases led on or after the date of adjustment.) Do not include any payments listed in line 3. Insiders include o cers, directors, and anyone in
  control of a corporate debtor and their relatives; general partners of a partnership debtor and their relatives; a liates of the debtor and insiders of such a liates; and any
  managing agent of the debtor. 11 U.S.C. § 101(31).
         None

   Insider’s name and address                                  Dates                          Total amount or value         Reasons for payment or transfer

  4.1
                                                                                                                                Secured debt
                 See attached Exhibit SOFA 4
                                                                                                                                Unsecured loan repayments
            Relationship to debtor
                                                                                                                                Suppliers or vendors

                                                                                                                                Services

                                                                                                                                Other




  5. Repossessions, foreclosures, and returns
  List all property of the debtor that was obtained by a creditor within 1 year before ling this case, including property repossessed by a creditor, sold at a foreclosure sale,
  transferred by a deed in lieu of foreclosure, or returned to the seller.
  Do not include property listed in line 6.
         None

   Creditor’s name and address                                 Description of the property                                  Date                            Value of property

  5.1

                 See Global Note

   In the ordinary course of business Vital Pharmaceuticals, Inc. has returns or exchanges from customers; such returns and exchanges are not included in response to this
   question.
Debtor    Vital Pharmaceuticals, Inc.______________________________________________                       Case number (if known) 22-17842________________________________________
          Name
                                          Case 22-17842-PDR                  Doc 325              Filed 11/11/22              Page 4 of 79
  6. Setoffs
  List any creditor, including a bank or nancial institution, that within 90 days before ling this case set off or otherwise took anything from an account of the debtor without
  permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a debt.
         None

   Creditor’s name and address                                 Description of the action creditor took                          Date action was taken       Amount

  6.1


                                                               Last 4 digits of account number

  Part 3:    Legal Actions or Assignments

  7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
  List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved in any capacity—within 1
  year before ling this case.
         None

   Case title                                     Nature of case                                 Court or agency’s name and address                         Status of case

  7.1
            Name                                                                                 Name                                                          Pending
            See attached Exhibit SOFA 7
                                                                                                                                                               On appeal
            Case number                                                                          Street                                                        Concluded

                                                                                                 City                                 State   Zip



  8. Assignments and receivership
  List any property in the hands of an assignee for the bene t of creditors during the 120 days before ling this case and any property in the hands of a receiver, custodian, or
  other court-appointed o cer within 1 year before ling this case.
         None

   Custodian’s name and address                                Description of the property                                      Value

  8.1
            Custodian's name and address

                                                               Case title                                                      Court name and address
            Street                                                                                                             Name

                                                               Case number
            City                        State    Zip                                                                           Street

                                                               Date of order or assignment
                                                                                                                               City                            State       Zip



  Part 4:    Certain Gifts and Charitable Contributions

  9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before ling this case unless the aggregate value of the gifts to that recipient is
  less than $1,000
         None

   Recipient’s name and address                                Description of the gifts or contributions                        Dates given                 Value

  9.1
            Recipient's name
            See attached Exhibit SOFA 9
            Street


            City                        State    Zip


            Recipient’s relationship to debtor
Debtor    Vital Pharmaceuticals, Inc.______________________________________________                   Case number (if known) 22-17842________________________________________
          Name
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  Part 5:    Losses

  10. All losses from re, theft, or other casualty within 1 year before ling this case
         None

   Description of the property lost and how the loss           Amount of payments received for the loss                     Date of loss                Value of property lost
   occurred                                                    If you have received payments to cover the loss, for
                                                               example, from insurance, government
                                                               compensation, or tort liability, list the total received.
                                                               List unpaid claims on O cial Form 106A/B
                                                               (Schedule A/B: Assets – Real and Personal
                                                               Property).

  10.1
  See attached Exhibit SOFA 10

  Part 6:    Certain Payments or Transfers

  11. Payments related to bankruptcy
  List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the ling of this case to another
  person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy relief, or ling a bankruptcy case.
         None

   Who was paid or who received the transfer?                  If not money, describe any property transferred              Dates                       Total amount or value

  11.1

                 See attached Exhibit SOFA 11

            Email or website address


            Who made the payment, if not debtor?



  12. Self-settled trusts of which the debtor is a bene ciary
  List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the ling of this case to a self-settled trust or
  similar device.
  Do not include transfers already listed on this statement.
         None

   Name of trust or device                                     Describe any property transferred                            Dates transfers were        Total amount or value
                                                                                                                            made

  12.1


            Trustee


  13. Transfers not already listed on this statement
  List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within 2 years before the
   ling of this case to another person, other than property transferred in the ordinary course of business or nancial affairs. Include both outright transfers and transfers made
  as security. Do not include gifts or transfers previously listed on this statement.
         None

   Who received transfer?                                      Description of property transferred or payments              Date transfer was           Total amount or value
                                                               received or debts paid in exchange                           made

  13.1

                 See attached Exhibit SOFA 13

            Relationship to debtor
Debtor     Vital Pharmaceuticals, Inc.______________________________________________                        Case number (if known) 22-17842________________________________________
           Name
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  Part 7:     Previous Locations

  14. Previous addresses
  List all previous addresses used by the debtor within 3 years before ling this case and the dates the addresses were used.
         Does not apply

   Address                                                                                                            Dates of occupancy

  14.1
             Street                                                                                                  From                              to
             8500 Baycenter Rd., Ste 23-26                                                                           8/1/2019                          10/31/2021
             City                                                   State             Zip
             Jacksonville                                           FL                32256

  14.2
             Street                                                                                                  From                              to
             4207 34th Street                                                                                        12/1/2017                         1/31/2021

             City                                                   State             Zip
             Orlando                                                FL                32811

  14.3
             Street                                                                                                  From                              to
             8600 S Freeway                                                                                          7/1/2019                          12/31/2021
             City                                                   State             Zip
             Ft. Worth                                              TX                76134

  14.4
             Street                                                                                                  From                              to
             1700 Parker Drive                                                                                       8/1/2019                          12/31/2021

             City                                                   State             Zip
             Charlotte                                              NC                28208

  Part 8:     Health Care Bankruptcies

  15. Health Care bankruptcies
  Is the debtor primarily engaged in offering services and facilities for:
         diagnosing or treating injury, deformity, or disease, or

         providing any surgical, psychiatric, drug treatment, or obstetric care?

         No. Go to part 9.

         Yes. Fill in the information below.

   Facility name and address                                                       Nature of the business operation, including type of services the           If debtor provides
                                                                                   debtor provides                                                            meals and housing,
                                                                                                                                                              number of patients in
                                                                                                                                                              debtor's care

  15.1
             Street

                                                                                   Location where patient records are maintained(if different from facility   How are records kept?
             City                                State       Zip                   address). If electronic, identify any service provider                     Check all that apply:
                                                                                                                                                                    Electronically

                                                                                                                                                                    Paper
Debtor     Vital Pharmaceuticals, Inc.______________________________________________                 Case number (if known) 22-17842________________________________________
           Name
                                             Case 22-17842-PDR                Doc 325           Filed 11/11/22            Page 7 of 79
  Part 9:      Personally Identi able Information

  16. Does the debtor collect and retain personally identi able information of customers?

         No.
                                                                             E-commerce Sites: Email Address, Full Name, Address, Credit Card Information;
         Yes. State the nature of the information collected and retained.
                                                                             Giveaway Entry: Full Name, Instagram Username, Email Address, Phone Number,
                                                                             Address, Date of Birth;

                                                                             Giveaway Winners/ Background Check: Full Name, Email, Phone Number,
                                                                             Address, Date of Birth, Social Security Number, Drivers License Information
                  Does the debtor have a privacy policy about that information?
                       No

                       Yes

  17. Within 6 years before ling this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or pro t-sharing plan made
  available by the debtor as an employee bene t?
         No. Go to Part 10.
         Yes. Does the debtor serve as plan administrator?
                       No. Go to Part 10.
                       Yes. Fill in below:
  Name of plan                                                                                Employer identi cation number of the plan
  VPX 401(k) Plan                                                                             XX-XXXXXXX
  Has the plan been terminated?
         No

         Yes

  Part 10:        Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

  18. Closed nancial accounts
  Within 1 year before ling this case, were any nancial accounts or instruments held in the debtor’s name, or for the debtor’s bene t, closed, sold, moved, or transferred?
  Include checking, savings, money market, or other nancial accounts; certi cates of deposit; and shares in banks, credit unions, brokerage houses, cooperatives,
  associations, and other nancial institutions.
         None

   Financial institution name and address                                         Last 4       Type of account              Date account was               Last balance before
                                                                                  digits of                                 closed, sold, moved, or        closing or transfer
                                                                                  account                                   transferred
                                                                                  number

  18.1
              Name                                                                                Checking

                                                                                                  Savings
              Street
                                                                                                  Money market
               City                             State        Zip                                  Brokerage

                                                                                                  Other
Debtor    Vital Pharmaceuticals, Inc.______________________________________________                 Case number (if known) 22-17842________________________________________
          Name
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  19. Safe deposit boxes
  List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before ling this case.
         None

   Depository institution name and address                     Names of anyone with access to it             Description of the contents                  Does debtor still have
                                                                                                                                                          it?

  19.1
             Name                                                                                                                                            No
                                                              Address
                                                                                                                                                             Yes
             Street


             City                    State     Zip



  20. Off-premises storage
  List any property kept in storage units or warehouses within 1 year before ling this case. Do not include facilities that are in a part of a building in which the debtor does
  business.
         None

   Facility name and address                                   Names of anyone with access to it             Description of the contents                  Does debtor still have
                                                                                                                                                          it?

  20.1
             Name                                                                                                                                            No
             See Exhibit SOFA 20
                                                              Address
                                                                                                                                                             Yes
             Street


             City                    State     Zip



  Part 11:       Property the Debtor Holds or Controls that the Debtor Does Not Own

  21. Property held for another
  List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do not list leased or rented
  property
         None

   Owner’s name and address                                    Location of the property                      Description of the property                  Value

  21.1
Debtor    Vital Pharmaceuticals, Inc.______________________________________________                                Case number (if known) 22-17842________________________________________
          Name
                                             Case 22-17842-PDR                          Doc 325              Filed 11/11/22                 Page 9 of 79
  Part 12:       Details About Environmental Information

  For the purpose of Part 12, the following de nitions apply:
           Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the medium affected (air, land, water,
               or any other medium).


               Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly owned, operated, or utilized.

               Hazardous material means anything that an environmental law de nes as hazardous or toxic, or describes as a pollutant, contaminant, or a similarly harmful substance.

  Report all notices, releases, and proceedings known, regardless of when they occurred.

  22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders

         No.

         Yes. Provide details below.


   Case title                                           Court or agency name and address                                    Nature of the case                                 Status of case

  22.1
                                                        Name                                                                                                                       Pending
             Case Number
                                                                                                                                                                                   On appeal
                                                        Street
                                                                                                                                                                                   Concluded
                                                        City                                   State      Zip



  23. Has any governmental unit otherwise noti ed the debtor that the debtor may be liable or potentially liable under or in violation of an environmental law?
         No

         Yes. Provide details below.

   Site name and address                                Governmental unit name and address                                  Environmental law, if known                        Date of notice

  23.1
              Name                                      Name


              Street                                    Street


               City               State   Zip           City                                   State      Zip



  24. Has the debtor noti ed any governmental unit of any release of hazardous material?
         No

         Yes. Provide details below.

   Site name and address                                Governmental unit name and address                                  Environmental law, if known                        Date of notice

  24.1
              Name                                      Name


              Street                                    Street


               City               State   Zip           City                                   State      Zip
Debtor    Vital Pharmaceuticals, Inc.______________________________________________                Case number (if known) 22-17842________________________________________
          Name
                                       Case 22-17842-PDR                  Doc 325            Filed 11/11/22            Page 10 of 79
  Part 13:       Details About the Debtor's Business or Connections to Any Business

  25. Other businesses in which the debtor has or has had an interest
  List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before ling this case. Include this information even if
  already listed in the Schedules.

         None


   Business name and address                                  Describe the nature of the business                        Employer Identi cation number
                                                                                                                         Do not include Social Security number or ITIN.

  25.1
                                                             Operations in Australia                                    EIN        Applied For
                 Bang Energy (Australia) PTY LTD
                 Level 14 309 Kent St                                                                                   Dates business existed
                 Sydney NSW 2000                                                                                        From                         to

                 Australia                                                                                              1/31/2020                    Present


  25.2
                                                             Operations in Europe                                       EIN        XX-XXXXXXX
                 Bang Energy BV
                 Rijksweg Zuid 27                                                                                       Dates business existed
                 Sittard 6131 AL                                                                                        From                         to

                 The Netherlands                                                                                        8/29/2017                    Present


  25.3
                                                             Operations in Brazil to manufacture and sell within the    EIN        n/a
                 Bang Energy Brazil LTDA                     country – dormant entity
                 Andar 12 Sala 10 Conj 121 1765                                                                         Dates business existed
                 Bela Vista 01311-930                                                                                   From                         to
                 Brazil                                                                                                 10/25/2021                   Present


  25.4
                                                             Operations in Chile and act as limited risk distributor    EIN        n/a
                 Bang Energy Chile SpA
                 Aveninda Vitacura No 2939                                                                              Dates business existed
                 O cinia 2202                                                                                           From                         to

                 Las Condes 7550011                                                                                     11/12/2021                   Present
                 Chile


  25.5
                                                             Operations in Colombia – dormant entity                    EIN        n/a
                 Bang Energy Colombia S.A.S.
                 CL 70 BIS 4 41                                                                                         Dates business existed
                 Bogota                                                                                                 From                         to

                 Colombia                                                                                               4/7/2022                     Present


  25.6
                                                             Operations in Costa Rica – dormant entity                  EIN        n/a
                 Bang Energy Costa Rica, LTDA
                 Mata Redonda, Sabana Norte                                                                             Dates business existed
                 Edi cio Sabana Business Center, piso                                                                   From                         to

                 once.                                                                                                  12/7/2021                    Present
                 San Jose
                 Costa Rica


  25.7
                                                             Operations in Mexico                                       EIN        XX-XXXXXXX
                 Bang Energy Mexico S. DE R.L. de C.V.
                 Av. 31 Poniente 4128-2B O cina 5                                                                       Dates business existed
                 Puebla 72160                                                                                           From                         to

                 Mexico                                                                                                 6/20/2019                    Present
Debtor    Vital Pharmaceuticals, Inc.______________________________________________                  Case number (if known) 22-17842________________________________________
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  25.8
                                                                 Owns Bang Energy Canada, ULC                             EIN        XX-XXXXXXX
                 Bang Energy Canada, Inc.
                 1600 N. Park Dr.                                                                                         Dates business existed
                 Weston, FL 33326                                                                                         From                        to
                                                                                                                          1/23/2019                   Present

  25.9
                                                                 Operations in Ecuador – dormant entity                   EIN        n/a
                 Bang Energy- VPX Sports Ecuador S.A.S
                 Florencia Astudillo y                                                                                    Dates business existed
                 Alfonso Cordero                                                                                          From                        to

                 Cuenca 010107                                                                                            12/27/2021                  Present
                 Ecuador


  25.10
                                                                 Inactive entity – purpose was to purchase a jet which    EIN        XX-XXXXXXX
                 Bang Jets, LLC                                  was sold at the end of 2021
                 1600 N. Park Dr.                                                                                         Dates business existed
                 Weston, FL 33326                                                                                         From                        to
                                                                                                                          6/21/2018                   Present

  26. Books, records, and nancial statements
  26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before ling this case.
         None

   Name and address                                                                                                        Dates of service

  26a.1
                                                                                                                          From                        to
                 Greg Robbins, Sr. Vice President of Finance                                                              3/23/2020                   Present
                 1600 N. Park Dr.
                 Weston, FL 33326


  26a.2
                                                                                                                          From                        to
                 Fritz Tilus, Director of Financial Operations                                                            3/6/2019                    Present
                 1600 N. Park Dr.
                 Weston, FL 33326

  26b. List all rms or individuals who have audited, compiled, or reviewed debtor's books of account and records or prepared a nancial statement within 2 years before ling
  this case.
         None

   Name and address                                                                                                        Dates of service

  26b.1
                                                                                                                          From                        to
                 Grant Thornton LLP                                                                                       November                    Present
                 1301 International Parkway
                 Suite 300
                 Fort Lauderdale, FL 33323-2874

  26c. List all rms or individuals who were in possession of the debtor’s books of account and records when this case is led.
         None

   Name and address                                                                                                        If any books of account and records are unavailable,
                                                                                                                           explain why

  26c.1

                 Vital Pharmaceuticals, Inc.
                 1600 N. Park Dr.
                 Weston, FL 33326
Debtor    Vital Pharmaceuticals, Inc.______________________________________________                Case number (if known) 22-17842________________________________________
          Name
                                          Case 22-17842-PDR                  Doc 325       Filed 11/11/22              Page 12 of 79
  26d. List all nancial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a nancial statement within 2 years before
   ling this case.
         None

   Name and address

  26d.1

                 Truist Bank
                 Attn: Aimee Kilgore
                 50 N Laura St
                 Jacksonville, FL 32202


  26d.2

                 Multiple Other Vendors in the Ordinary Course of Business


  27. Inventories
  Have any inventories of the debtor’s property been taken within 2 years before ling this case?
         No

         Yes. Give the details about the two most recent inventories.

   Name of the person who supervised the taking of the inventory                           Date of inventory             The dollar amount and basis (cost, market, or other
                                                                                                                         basis) of each inventory

  Brent Boucaud                                                                           11/12 - 11/15/2020                                                  $7,572,635.82


   Name and address of the person who has possession of inventory records

  27.1

                 Kimberly Santore
                 1600 N Park Dr
                 Weston, FL 33326


   Name of the person who supervised the taking of the inventory                           Date of inventory             The dollar amount and basis (cost, market, or other
                                                                                                                         basis) of each inventory

  Brent Boucaud                                                                           11/14 - 11/15/2020                                                    $966,521.59

   Name and address of the person who has possession of inventory records

  27.2

                 Christian Sasieta
                 20311 Sheridan Street
                 Fort Lauderdale, FL 33332


   Name of the person who supervised the taking of the inventory                           Date of inventory             The dollar amount and basis (cost, market, or other
                                                                                                                         basis) of each inventory

  Brent Boucaud                                                                           11/14 - 11/15/2020                                                    $298,449.68


   Name and address of the person who has possession of inventory records

  27.3

                 Christian Sasieta
                 4747 W Buckeye
                 Phoenix, AZ 85043
Debtor   Vital Pharmaceuticals, Inc.______________________________________________          Case number (if known) 22-17842________________________________________
         Name
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   Name of the person who supervised the taking of the inventory                      Date of inventory           The dollar amount and basis (cost, market, or other
                                                                                                                  basis) of each inventory

  Brent Boucaud                                                                      11/18 - 11/21/2020                                               $6,928,969.73


   Name and address of the person who has possession of inventory records

  27.4

                Kimberly Santore
                1600 N Park Dr
                Weston, FL 33326


   Name of the person who supervised the taking of the inventory                      Date of inventory           The dollar amount and basis (cost, market, or other
                                                                                                                  basis) of each inventory

  Brent Boucaud                                                                      11/18 - 11/21/2020                                               $1,851,779.95


   Name and address of the person who has possession of inventory records

  27.5

                Kimberly Santore
                1600 N Park Dr
                Weston, FL 33326


   Name of the person who supervised the taking of the inventory                      Date of inventory           The dollar amount and basis (cost, market, or other
                                                                                                                  basis) of each inventory

  Brent Boucaud                                                                      11/18 - 11/21/2020                                               $1,288,120.40

   Name and address of the person who has possession of inventory records

  27.6

                Kimberly Santore
                1600 N Park Dr
                Weston, FL 33326


   Name of the person who supervised the taking of the inventory                      Date of inventory           The dollar amount and basis (cost, market, or other
                                                                                                                  basis) of each inventory

  Brent Boucaud                                                                      12/05 - 12/6/2020                                              $15,725,734.47

   Name and address of the person who has possession of inventory records

  27.7

                Chris Conner
                4747 W Buckeye
                Phoenix, AZ 85043
Debtor    Vital Pharmaceuticals, Inc.______________________________________________          Case number (if known) 22-17842________________________________________
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   Name of the person who supervised the taking of the inventory                       Date of inventory           The dollar amount and basis (cost, market, or other
                                                                                                                   basis) of each inventory

  Brent Boucaud                                                                       12/05 - 12/6/2020                                              $11,179,790.61

   Name and address of the person who has possession of inventory records

  27.8

                 Byran Fite
                 6100-T Grafton Blvd
                 Concord, NC 28027


   Name of the person who supervised the taking of the inventory                       Date of inventory           The dollar amount and basis (cost, market, or other
                                                                                                                   basis) of each inventory

  Brent Boucaud                                                                       12/09 - 12/12/2020                                               $4,212,533.83

   Name and address of the person who has possession of inventory records

  27.9

                 Kimberly Santore
                 1600 N Park Dr
                 Weston, FL 33326


   Name of the person who supervised the taking of the inventory                       Date of inventory           The dollar amount and basis (cost, market, or other
                                                                                                                   basis) of each inventory

  Brent Boucaud                                                                       12/11 - 12/13/2020                                             $14,059,638.84

   Name and address of the person who has possession of inventory records

  27.10

                 Phillip Stevens
                 S 43rd Ave
                 Phoenix, AZ 85009


   Name of the person who supervised the taking of the inventory                       Date of inventory           The dollar amount and basis (cost, market, or other
                                                                                                                   basis) of each inventory

  Brent Boucaud                                                                       12/15 - 12/18/2020                                               $4,665,838.06


   Name and address of the person who has possession of inventory records

  27.11

                 Kimberly Santore
                 1600 N Park Dr
                 Weston, FL 33326
Debtor    Vital Pharmaceuticals, Inc.______________________________________________          Case number (if known) 22-17842________________________________________
          Name
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   Name of the person who supervised the taking of the inventory                       Date of inventory           The dollar amount and basis (cost, market, or other
                                                                                                                   basis) of each inventory

  Brent Boucaud                                                                       12/19 - 12/20/2020                                               $9,784,005.69

   Name and address of the person who has possession of inventory records

  27.12

                 James John III
                 160 Everman
                 Ft. Worth, TX 76134


   Name of the person who supervised the taking of the inventory                       Date of inventory           The dollar amount and basis (cost, market, or other
                                                                                                                   basis) of each inventory

  Brent Boucaud                                                                       12/19 - 12/20/2020                                               $3,629,027.46


   Name and address of the person who has possession of inventory records

  27.13

                 James John III
                 1951 N Commerce Pkwy
                 Weston, FL 33326


   Name of the person who supervised the taking of the inventory                       Date of inventory           The dollar amount and basis (cost, market, or other
                                                                                                                   basis) of each inventory

  Jose Carrion                                                                        10/18 - 10/22/2021                                               $4,497,182.61

   Name and address of the person who has possession of inventory records

  27.14

                 Kimberly Santore
                 1600 N Park Dr
                 Weston, FL 33326


   Name of the person who supervised the taking of the inventory                       Date of inventory           The dollar amount and basis (cost, market, or other
                                                                                                                   basis) of each inventory

  Jose Carrion                                                                        10/23/2021                                                        $440,168.75

   Name and address of the person who has possession of inventory records

  27.15

                 Christian Sasieta
                 20311 Sheridan Street
                 Fort Lauderdale, FL 33332
Debtor    Vital Pharmaceuticals, Inc.______________________________________________          Case number (if known) 22-17842________________________________________
          Name
                                       Case 22-17842-PDR               Doc 325         Filed 11/11/22           Page 16 of 79

   Name of the person who supervised the taking of the inventory                       Date of inventory           The dollar amount and basis (cost, market, or other
                                                                                                                   basis) of each inventory

  Jose Carrion                                                                        10/23/2021                                                        $137,398.60

   Name and address of the person who has possession of inventory records

  27.16

                 Christian Sasieta
                 4747 W Buckeye
                 Phoenix, AZ 85043


   Name of the person who supervised the taking of the inventory                       Date of inventory           The dollar amount and basis (cost, market, or other
                                                                                                                   basis) of each inventory

  Jose Carrion                                                                        11/08 - 11/12/2021                                               $2,288,481.72

   Name and address of the person who has possession of inventory records

  27.17

                 Kimberly Santore
                 1600 N Park Dr
                 Weston, FL 33326


   Name of the person who supervised the taking of the inventory                       Date of inventory           The dollar amount and basis (cost, market, or other
                                                                                                                   basis) of each inventory

  Jose Carrion                                                                        11/13 - 11/14/2021                                               $7,371,667.86

   Name and address of the person who has possession of inventory records

  27.18

                 James John III
                 7705 Staples Dr
                 Lithia Springs, GA 30122


   Name of the person who supervised the taking of the inventory                       Date of inventory           The dollar amount and basis (cost, market, or other
                                                                                                                   basis) of each inventory

  Jose Carrion                                                                        11/15 - 11/19/2021                                               $1,848,550.55


   Name and address of the person who has possession of inventory records

  27.19

                 Kimberly Santore
                 1600 N Park Dr
                 Weston, FL 33326
Debtor    Vital Pharmaceuticals, Inc.______________________________________________          Case number (if known) 22-17842________________________________________
          Name
                                       Case 22-17842-PDR               Doc 325         Filed 11/11/22           Page 17 of 79

   Name of the person who supervised the taking of the inventory                       Date of inventory           The dollar amount and basis (cost, market, or other
                                                                                                                   basis) of each inventory

  Jose Carrion                                                                        11/19 - 11/21/2021                                               $9,838,385.23

   Name and address of the person who has possession of inventory records

  27.20

                 Justin Stevens
                 4747 W Buckeye
                 Phoenix, AZ 85043


   Name of the person who supervised the taking of the inventory                       Date of inventory           The dollar amount and basis (cost, market, or other
                                                                                                                   basis) of each inventory

  Jose Carrion                                                                        12/04 - 12/5/2021                                                $8,562,546.57


   Name and address of the person who has possession of inventory records

  27.21

                 James John III
                 160 Everman
                 Ft. Worth, TX 76134


   Name of the person who supervised the taking of the inventory                       Date of inventory           The dollar amount and basis (cost, market, or other
                                                                                                                   basis) of each inventory

  Jose Carrion                                                                        12/06 - 12/10/2021                                               $3,222,125.96

   Name and address of the person who has possession of inventory records

  27.22

                 Kimberly Santore
                 1600 N Park Dr
                 Weston, FL 33326


   Name of the person who supervised the taking of the inventory                       Date of inventory           The dollar amount and basis (cost, market, or other
                                                                                                                   basis) of each inventory

  Jose Carrion                                                                        12/10 - 12/12/2021                                               $9,216,234.64

   Name and address of the person who has possession of inventory records

  27.23

                 Byran Fite
                 6100-T Grafton Blvd
                 Concord, NC 28027
Debtor    Vital Pharmaceuticals, Inc.______________________________________________          Case number (if known) 22-17842________________________________________
          Name
                                    Case 22-17842-PDR                  Doc 325         Filed 11/11/22           Page 18 of 79

   Name of the person who supervised the taking of the inventory                       Date of inventory           The dollar amount and basis (cost, market, or other
                                                                                                                   basis) of each inventory

  Jose Carrion                                                                        12/17 - 12/19/2021                                             $10,225,152.73

   Name and address of the person who has possession of inventory records

  27.24

                 James John III
                 1951 N Commerce Pkwy
                 Weston, FL 33326


   Name of the person who supervised the taking of the inventory                       Date of inventory           The dollar amount and basis (cost, market, or other
                                                                                                                   basis) of each inventory

  Jose Carrion                                                                        12/18 - 12/20/2021                                             $15,565,013.49

   Name and address of the person who has possession of inventory records

  27.25

                 Alfonso Raymond
                 1600 N Park Dr
                 Weston, FL 33326


   Name of the person who supervised the taking of the inventory                       Date of inventory           The dollar amount and basis (cost, market, or other
                                                                                                                   basis) of each inventory

  Jose Carrion                                                                        12/18/ - 12/21/2021                                            $16,241,034.46

   Name and address of the person who has possession of inventory records

  27.26

                 Alfonso Raymond
                 1600 N Park Dr
                 Weston, FL 33326


   Name of the person who supervised the taking of the inventory                       Date of inventory           The dollar amount and basis (cost, market, or other
                                                                                                                   basis) of each inventory

  Kimberly Santore                                                                    9/12 - 9/13/2022                                                  $893,780.40

   Name and address of the person who has possession of inventory records

  27.27

                 Kimberly Santore
                 1600 N Park Dr
                 Weston, FL 33326
Debtor    Vital Pharmaceuticals, Inc.______________________________________________                Case number (if known) 22-17842________________________________________
          Name
                                       Case 22-17842-PDR                   Doc 325          Filed 11/11/22              Page 19 of 79

   Name of the person who supervised the taking of the inventory                            Date of inventory             The dollar amount and basis (cost, market, or other
                                                                                                                          basis) of each inventory

  Brent Boucaud                                                                            Cycled Counted

   Name and address of the person who has possession of inventory records

  27.28

                 Justin Stevens
                 S 43rd Ave
                 Phoenix, AZ 85009

  28. List the debtor’s o cers, directors, managing members, general partners, members in control, controlling shareholders, or other people in control of the debtor at the
  time of the ling of this case.
   Name and Address                                                                         Position and nature of any interest          % of interest, if any

  28.1
                                                                                           Vice President                               0%
                 Eugune Steve Bukovi
                 1600 N. Park Dr.
                 Weston, FL 33326



  28.2
                                                                                           Owner/ President                             100%
                 John H. Owoc
                 1600 N. Park Dr.
                 Weston, FL 33326


  29. Within 1 year before the ling of this case, did the debtor have o cers, directors, managing members, general partners, members in control of the debtor, or
  shareholders in control of the debtor who no longer hold these positions?
         No

         Yes. Identify below.

   Name and Address                                                                         Position and nature of any interest          Period during which position or
                                                                                                                                         interest was held

  29.1
                                                                                                                                         From                    to



  30. Payments, distributions, or withdrawals credited or given to insiders
  Within 1 year before ling this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses, loans, credits on loans,
  stock redemptions, and options exercised?
         No

         Yes. Identify below.

   Name and address of recipient                                             Amount of money or description and           Dates                         Reason for providing
                                                                             value of property                                                          the value

  30.1

                 See attached Exhibit SOFA 4



   Relationship To Debtor
Debtor    Vital Pharmaceuticals, Inc.______________________________________________            Case number (if known) 22-17842________________________________________
          Name
                                    Case 22-17842-PDR                  Doc 325           Filed 11/11/22            Page 20 of 79
  31.Within 6 years before ling this case, has the debtor been a member of any consolidated group for tax purposes?
         No

         Yes. Identify below.

   Name of the parent corporation                                                                                     Employer Identi cation number of the parent
                                                                                                                      corporation

  31.1
                                                                                                                    EIN

  32.Within 6 years before ling this case, has the debtor as an employer been responsible for contributing to a pension fund?
         No

         Yes. Identify below.

   Name of the pension fund                                                                                           Employer Identi cation number of the pension fund

  32.1
                                                                                                                    EIN
                                                        Case 22-17842-PDR                       Doc 325        Exhibit SOFA 3
                                                                                                                             Filed 11/11/22                          Page 21 of 79
                                                                                Certain payments or transfers to creditors within 90 days before filing this case




   Creditor's Name                           Address 1                         Address 2                          Address 3      Address 4 City                     State   Zip        Country   Payment Date      Payment Amount      Reason for Payment or Transfer
   84.51                                     100 W 5th St                                                                                  Cincinnati               OH      45263-5029               8/16/2022           9,237.25      Operating
   12M Commercial Properties, LLC            PO Box 3546                                                                                   Little Rock              AZ      72203                     8/1/2022          10,469.03      Rentals
   12M Commercial Properties, LLC            PO Box 3546                                                                                   Little Rock              AZ      72203                     9/1/2022          10,469.03      Rentals
   1600FLL LLC                               200 South Orange Ave Suite 1375                                                               Orlando                  FL      32801                     8/1/2022         116,676.18      Leases
   1600FLL LLC                               200 South Orange Ave Suite 1375                                                               Orlando                  FL      32801                     9/1/2022         135,113.11      Leases
   1600FLL LLC                               200 South Orange Ave Suite 1375                                                               Orlando                  FL      32801                     9/1/2022         135,113.11      Leases
   7-Eleven Horizon                          PO Box 206752                                                                                 Dallas                   TN      75320-6752                8/3/2022          53,930.73      Operating
   7-Eleven Horizon                          PO Box 206752                                                                                 Dallas                   TN      75320-6752               8/11/2022          13,082.81      Operating
   7-Eleven, Inc.                            3200 Hackberry Rd                                                                             Irving                   TX      75063-0131               7/14/2022          10,249.13      Wholesalers & Distributors
   7-Eleven, Inc.                            3200 Hackberry Rd                                                                             Irving                   TX      75063-0131                8/3/2022         155,742.48      Wholesalers & Distributors
   7-Eleven, Inc.                            3200 Hackberry Rd                                                                             Irving                   TX      75063-0131               8/16/2022          68,793.62      Wholesalers & Distributors
   7-Eleven, Inc.                            3200 Hackberry Rd                                                                             Irving                   TX      75063-0131               8/23/2022          91,019.01      Wholesalers & Distributors
   7-Eleven, Inc.                            3200 Hackberry Rd                                                                             Irving                   TX      75063-0131               8/25/2022         157,852.22      Wholesalers & Distributors
   7-Eleven, Inc.                            3200 Hackberry Rd                                                                             Irving                   TX      75063-0131               8/26/2022          93,771.83      Wholesalers & Distributors
   7-Eleven, Inc.                            3200 Hackberry Rd                                                                             Irving                   TX      75063-0131               8/30/2022         148,850.60      Wholesalers & Distributors
   7-Eleven, Inc.                            3200 Hackberry Rd                                                                             Irving                   TX      75063-0131                9/6/2022         202,859.64      Wholesalers & Distributors
   7-Eleven, Inc.                            3200 Hackberry Rd                                                                             Irving                   TX      75063-0131               10/6/2022         110,000.00      Wholesalers & Distributors
   7-Eleven, Inc.                            3200 Hackberry Rd                                                                             Irving                   TX      75063-0131               10/7/2022         110,000.00      Wholesalers & Distributors
   A Holliday Company, Inc.                  4141 Yonge St                     Ste 203                                                     Toronto                  ON      M2P 2A8    Canada         9/2/2022          58,725.00      Rawmat
   Accountemps Robert Half                   12400 Collections Center Dr                                                                   Chicago                  IL      60693-0124               7/14/2022          21,986.91      Operating
   Accountemps Robert Half                   12400 Collections Center Dr                                                                   Chicago                  IL      60693-0124               7/21/2022          35,376.13      Operating
   Accountemps Robert Half                   12400 Collections Center Dr                                                                   Chicago                  IL      60693-0124               7/22/2022           9,312.66      Operating
   Accountemps Robert Half                   12400 Collections Center Dr                                                                   Chicago                  IL      60693-0124                8/1/2022          23,384.53      Operating
   Accountemps Robert Half                   12400 Collections Center Dr                                                                   Chicago                  IL      60693-0124               8/15/2022          24,604.86      Operating
   Accountemps Robert Half                   12400 Collections Center Dr                                                                   Chicago                  IL      60693-0124               8/18/2022          26,126.10      Operating
   Accountemps Robert Half                   12400 Collections Center Dr                                                                   Chicago                  IL      60693-0124                9/9/2022          37,437.45      Operating
   Accountemps Robert Half                   12400 Collections Center Dr                                                                   Chicago                  IL      60693-0124                9/9/2022           4,808.79      Operating
   Accountemps Robert Half                   12400 Collections Center Dr                                                                   Chicago                  IL      60693-0124               9/22/2022          34,563.68      Operating
   Accountemps Robert Half                   12400 Collections Center Dr                                                                   Chicago                  IL      60693-0124               9/29/2022          75,205.48      Operating
   [Creditor Name on File]                   [Address on File]                                                                                                                                    [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                   [Address on File]                                                                                                                                    [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                   [Address on File]                                                                                                                                    [Date on File]    [Amount on File]   Influencer
   ADM Archer Daniels Midland Company        4666 E Faries Pkwy                                                                              Decatur                IL      62526-5630               7/19/2022         111,388.44      Rawmat
   ADP, Inc Automatic Data Processing, Inc   PO Box 842875                                                                                   Boston                 MA      02284-2875                8/8/2022          39,100.36      Operating
   ADP, Inc Automatic Data Processing, Inc   PO Box 842875                                                                                   Boston                 MA      02284-2875               8/25/2022          33,904.07      Operating
   ADP, Inc Automatic Data Processing, Inc   PO Box 842875                                                                                   Boston                 MA      02284-2875               9/23/2022          30,556.08      Operating
   ADT Security Services Acct.#402170110     475 North Muller Street                                                                         Anaheim                CA      92801                    8/22/2022           3,651.36      Occupancy
   ADT Security Services Acct.#402170110     475 North Muller Street                                                                         Anaheim                CA      92801                    8/22/2022           3,587.94      Occupancy
   ADT Security Services Acct.#402170110     475 North Muller Street                                                                         Anaheim                CA      92801                    8/22/2022           3,421.99      Occupancy
   ADT Security Services Acct.#402170110     475 North Muller Street                                                                         Anaheim                CA      92801                    8/25/2022          10,339.58      Occupancy
   Aesus Packaging Systems lnc               188 Oneida                                                                                      Pointe-Claire          QC      H9R 1A8    Canada        9/21/2022           4,366.42      Rep&Maint
   Aesus Packaging Systems lnc               188 Oneida                                                                                      Pointe-Claire          QC      H9R 1A8    Canada        9/22/2022           4,075.44      Rep&Maint
   Albertsons Companies, Inc                 250 Parkcenter Blvd                                                                             Boise                  ID      83706                    8/26/2022          69,100.00      Operating
   Albertsons Companies, Inc                 250 Parkcenter Blvd                                                                             Boise                  ID      83706                    10/6/2022         135,000.00      Operating
   [Creditor Name on File]                   [Address on File]                                                                                                                                    [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                   [Address on File]                                                                                                                                    [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                   [Address on File]                                                                                                                                    [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                   [Address on File]                                                                                                                                    [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                   [Address on File]                                                                                                                                    [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                   [Address on File]                                                                                                                                    [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                   [Address on File]                                                                                                                                    [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                   [Address on File]                                                                                                                                    [Date on File]    [Amount on File]   Influencer
   Ally Auto                                 PO Box 78234                                                                                    Phoenix                AZ      85062-8234               7/11/2022              740.90     Operating
   Ally Auto                                 PO Box 78234                                                                                    Phoenix                AZ      85062-8234               7/11/2022              740.90     Operating
   Ally Auto                                 PO Box 78234                                                                                    Phoenix                AZ      85062-8234               7/15/2022           1,940.79      Operating
   Ally Auto                                 PO Box 78234                                                                                    Phoenix                AZ      85062-8234               7/18/2022              809.52     Operating
   Ally Auto                                 PO Box 78234                                                                                    Phoenix                AZ      85062-8234               7/20/2022           1,250.33      Operating
   Ally Auto                                 PO Box 78234                                                                                    Phoenix                AZ      85062-8234               7/26/2022              881.89     Operating
   Ally Auto                                 PO Box 78234                                                                                    Phoenix                AZ      85062-8234               7/26/2022              877.26     Operating
   Ally Auto                                 PO Box 78234                                                                                    Phoenix                AZ      85062-8234               7/26/2022              877.26     Operating
   Ally Auto                                 PO Box 78234                                                                                    Phoenix                AZ      85062-8234               7/26/2022              877.26     Operating
   Ally Auto                                 PO Box 78234                                                                                    Phoenix                AZ      85062-8234               7/26/2022              877.26     Operating
   Ally Auto                                 PO Box 78234                                                                                    Phoenix                AZ      85062-8234               7/26/2022              877.26     Operating
   Ally Auto                                 PO Box 78234                                                                                    Phoenix                AZ      85062-8234               7/26/2022              877.26     Operating
   Ally Auto                                 PO Box 78234                                                                                    Phoenix                AZ      85062-8234               7/26/2022              877.26     Operating
   Ally Auto                                 PO Box 78234                                                                                    Phoenix                AZ      85062-8234               7/27/2022              881.89     Operating
   Ally Auto                                 PO Box 78234                                                                                    Phoenix                AZ      85062-8234               7/27/2022              881.89     Operating
   Ally Auto                                 PO Box 78234                                                                                    Phoenix                AZ      85062-8234               7/27/2022              881.89     Operating
   Ally Auto                                 PO Box 78234                                                                                    Phoenix                AZ      85062-8234               7/27/2022              881.89     Operating
   Ally Auto                                 PO Box 78234                                                                                    Phoenix                AZ      85062-8234               7/27/2022              881.89     Operating
   Ally Auto                                 PO Box 78234                                                                                    Phoenix                AZ      85062-8234               7/27/2022              881.89     Operating
   Ally Auto                                 PO Box 78234                                                                                    Phoenix                AZ      85062-8234               7/27/2022              881.89     Operating
   Ally Auto                                 PO Box 78234                                                                                    Phoenix                AZ      85062-8234               7/27/2022              743.31     Operating
   Ally Auto                                 PO Box 78234                                                                                    Phoenix                AZ      85062-8234               7/27/2022              730.53     Operating
   Ally Auto                                 PO Box 78234                                                                                    Phoenix                AZ      85062-8234                8/3/2022           1,545.76      Operating
   Ally Auto                                 PO Box 78234                                                                                    Phoenix                AZ      85062-8234                8/3/2022           1,189.78      Operating
   Ally Auto                                 PO Box 78234                                                                                    Phoenix                AZ      85062-8234                8/3/2022           1,178.09      Operating
   Ally Auto                                 PO Box 78234                                                                                    Phoenix                AZ      85062-8234                8/3/2022           1,178.09      Operating
   Ally Auto                                 PO Box 78234                                                                                    Phoenix                AZ      85062-8234                8/3/2022           1,178.09      Operating
   Ally Auto                                 PO Box 78234                                                                                    Phoenix                AZ      85062-8234                8/3/2022           1,178.09      Operating
   Ally Auto                                 PO Box 78234                                                                                    Phoenix                AZ      85062-8234                8/3/2022           1,178.09      Operating
   Ally Auto                                 PO Box 78234                                                                                    Phoenix                AZ      85062-8234                8/3/2022           1,178.09      Operating
   Ally Auto                                 PO Box 78234                                                                                    Phoenix                AZ      85062-8234                8/3/2022           1,178.09      Operating
   Ally Auto                                 PO Box 78234                                                                                    Phoenix                AZ      85062-8234                8/3/2022           1,178.09      Operating
   Ally Auto                                 PO Box 78234                                                                                    Phoenix                AZ      85062-8234                8/3/2022           1,178.09      Operating




In re: Vital Pharmaceuticals, Inc., et al.
Case No. 22-17842 (PDR)                                                                                          Page 1 of 27
                                                       Case 22-17842-PDR             Doc 325        Exhibit SOFA 3
                                                                                                                  Filed 11/11/22                          Page 22 of 79
                                                                     Certain payments or transfers to creditors within 90 days before filing this case




   Creditor's Name                           Address 1              Address 2                          Address 3      Address 4 City                     State   Zip        Country   Payment Date   Payment Amount    Reason for Payment or Transfer
   Ally Auto                                 PO Box 78234                                                                       Phoenix                  AZ      85062-8234               8/3/2022         1,178.09    Operating
   Ally Auto                                 PO Box 78234                                                                       Phoenix                  AZ      85062-8234               8/3/2022         1,178.09    Operating
   Ally Auto                                 PO Box 78234                                                                       Phoenix                  AZ      85062-8234               8/3/2022         1,178.09    Operating
   Ally Auto                                 PO Box 78234                                                                       Phoenix                  AZ      85062-8234               8/3/2022         1,178.09    Operating
   Ally Auto                                 PO Box 78234                                                                       Phoenix                  AZ      85062-8234               8/3/2022         1,178.09    Operating
   Ally Auto                                 PO Box 78234                                                                       Phoenix                  AZ      85062-8234               8/3/2022         1,178.09    Operating
   Ally Auto                                 PO Box 78234                                                                       Phoenix                  AZ      85062-8234               8/3/2022         1,178.09    Operating
   Ally Auto                                 PO Box 78234                                                                       Phoenix                  AZ      85062-8234               8/3/2022         1,178.09    Operating
   Ally Auto                                 PO Box 78234                                                                       Phoenix                  AZ      85062-8234               8/3/2022         1,178.09    Operating
   Ally Auto                                 PO Box 78234                                                                       Phoenix                  AZ      85062-8234               8/3/2022         1,178.09    Operating
   Ally Auto                                 PO Box 78234                                                                       Phoenix                  AZ      85062-8234               8/3/2022         1,178.09    Operating
   Ally Auto                                 PO Box 78234                                                                       Phoenix                  AZ      85062-8234               8/3/2022         1,178.09    Operating
   Ally Auto                                 PO Box 78234                                                                       Phoenix                  AZ      85062-8234               8/3/2022         1,178.09    Operating
   Ally Auto                                 PO Box 78234                                                                       Phoenix                  AZ      85062-8234               8/3/2022         1,178.09    Operating
   Ally Auto                                 PO Box 78234                                                                       Phoenix                  AZ      85062-8234               8/3/2022         1,178.09    Operating
   Ally Auto                                 PO Box 78234                                                                       Phoenix                  AZ      85062-8234               8/3/2022         1,178.09    Operating
   Ally Auto                                 PO Box 78234                                                                       Phoenix                  AZ      85062-8234               8/3/2022         1,178.09    Operating
   Ally Auto                                 PO Box 78234                                                                       Phoenix                  AZ      85062-8234               8/3/2022         1,178.09    Operating
   Ally Auto                                 PO Box 78234                                                                       Phoenix                  AZ      85062-8234               8/9/2022         1,542.60    Operating
   Ally Auto                                 PO Box 78234                                                                       Phoenix                  AZ      85062-8234               8/9/2022            881.89   Operating
   Ally Auto                                 PO Box 78234                                                                       Phoenix                  AZ      85062-8234               8/9/2022            881.89   Operating
   Ally Auto                                 PO Box 78234                                                                       Phoenix                  AZ      85062-8234               8/9/2022            877.01   Operating
   Ally Auto                                 PO Box 78234                                                                       Phoenix                  AZ      85062-8234               8/9/2022            877.01   Operating
   Ally Auto                                 PO Box 78234                                                                       Phoenix                  AZ      85062-8234               8/9/2022            877.01   Operating
   Ally Auto                                 PO Box 78234                                                                       Phoenix                  AZ      85062-8234               8/9/2022            877.01   Operating
   Ally Auto                                 PO Box 78234                                                                       Phoenix                  AZ      85062-8234               8/9/2022            877.01   Operating
   Ally Auto                                 PO Box 78234                                                                       Phoenix                  AZ      85062-8234               8/9/2022            877.01   Operating
   Ally Auto                                 PO Box 78234                                                                       Phoenix                  AZ      85062-8234               8/9/2022            877.01   Operating
   Ally Auto                                 PO Box 78234                                                                       Phoenix                  AZ      85062-8234               8/9/2022            744.67   Operating
   Ally Auto                                 PO Box 78234                                                                       Phoenix                  AZ      85062-8234               8/9/2022            740.90   Operating
   Ally Auto                                 PO Box 78234                                                                       Phoenix                  AZ      85062-8234               8/9/2022            740.90   Operating
   Ally Auto                                 PO Box 78234                                                                       Phoenix                  AZ      85062-8234              8/16/2022         1,940.79    Operating
   Ally Auto                                 PO Box 78234                                                                       Phoenix                  AZ      85062-8234              8/16/2022            809.52   Operating
   Ally Auto                                 PO Box 78234                                                                       Phoenix                  AZ      85062-8234              8/22/2022         1,250.33    Operating
   Ally Auto                                 PO Box 78234                                                                       Phoenix                  AZ      85062-8234              8/24/2022            881.89   Operating
   Ally Auto                                 PO Box 78234                                                                       Phoenix                  AZ      85062-8234              8/24/2022            877.26   Operating
   Ally Auto                                 PO Box 78234                                                                       Phoenix                  AZ      85062-8234              8/24/2022            877.26   Operating
   Ally Auto                                 PO Box 78234                                                                       Phoenix                  AZ      85062-8234              8/24/2022            877.26   Operating
   Ally Auto                                 PO Box 78234                                                                       Phoenix                  AZ      85062-8234              8/24/2022            877.26   Operating
   Ally Auto                                 PO Box 78234                                                                       Phoenix                  AZ      85062-8234              8/24/2022            877.26   Operating
   Ally Auto                                 PO Box 78234                                                                       Phoenix                  AZ      85062-8234              8/24/2022            877.26   Operating
   Ally Auto                                 PO Box 78234                                                                       Phoenix                  AZ      85062-8234              8/24/2022            877.26   Operating
   Ally Auto                                 PO Box 78234                                                                       Phoenix                  AZ      85062-8234              8/29/2022            881.89   Operating
   Ally Auto                                 PO Box 78234                                                                       Phoenix                  AZ      85062-8234              8/29/2022            881.89   Operating
   Ally Auto                                 PO Box 78234                                                                       Phoenix                  AZ      85062-8234              8/29/2022            881.89   Operating
   Ally Auto                                 PO Box 78234                                                                       Phoenix                  AZ      85062-8234              8/29/2022            881.89   Operating
   Ally Auto                                 PO Box 78234                                                                       Phoenix                  AZ      85062-8234              8/29/2022            881.89   Operating
   Ally Auto                                 PO Box 78234                                                                       Phoenix                  AZ      85062-8234              8/29/2022            881.89   Operating
   Ally Auto                                 PO Box 78234                                                                       Phoenix                  AZ      85062-8234              8/29/2022            881.89   Operating
   Ally Auto                                 PO Box 78234                                                                       Phoenix                  AZ      85062-8234              8/29/2022            743.31   Operating
   Ally Auto                                 PO Box 78234                                                                       Phoenix                  AZ      85062-8234              8/29/2022            730.53   Operating
   Ally Auto                                 PO Box 78234                                                                       Phoenix                  AZ      85062-8234               9/6/2022         1,545.76    Operating
   Ally Auto                                 PO Box 78234                                                                       Phoenix                  AZ      85062-8234               9/6/2022         1,189.78    Operating
   Ally Auto                                 PO Box 78234                                                                       Phoenix                  AZ      85062-8234               9/6/2022         1,178.09    Operating
   Ally Auto                                 PO Box 78234                                                                       Phoenix                  AZ      85062-8234               9/6/2022         1,178.09    Operating
   Ally Auto                                 PO Box 78234                                                                       Phoenix                  AZ      85062-8234               9/6/2022         1,178.09    Operating
   Ally Auto                                 PO Box 78234                                                                       Phoenix                  AZ      85062-8234               9/6/2022         1,178.09    Operating
   Ally Auto                                 PO Box 78234                                                                       Phoenix                  AZ      85062-8234               9/6/2022         1,178.09    Operating
   Ally Auto                                 PO Box 78234                                                                       Phoenix                  AZ      85062-8234               9/6/2022         1,178.09    Operating
   Ally Auto                                 PO Box 78234                                                                       Phoenix                  AZ      85062-8234               9/6/2022         1,178.09    Operating
   Ally Auto                                 PO Box 78234                                                                       Phoenix                  AZ      85062-8234               9/6/2022         1,178.09    Operating
   Ally Auto                                 PO Box 78234                                                                       Phoenix                  AZ      85062-8234               9/6/2022         1,178.09    Operating
   Ally Auto                                 PO Box 78234                                                                       Phoenix                  AZ      85062-8234               9/6/2022         1,178.09    Operating
   Ally Auto                                 PO Box 78234                                                                       Phoenix                  AZ      85062-8234               9/6/2022         1,178.09    Operating
   Ally Auto                                 PO Box 78234                                                                       Phoenix                  AZ      85062-8234               9/6/2022         1,178.09    Operating
   Ally Auto                                 PO Box 78234                                                                       Phoenix                  AZ      85062-8234               9/6/2022         1,178.09    Operating
   Ally Auto                                 PO Box 78234                                                                       Phoenix                  AZ      85062-8234               9/6/2022         1,178.09    Operating
   Ally Auto                                 PO Box 78234                                                                       Phoenix                  AZ      85062-8234               9/6/2022         1,178.09    Operating
   Ally Auto                                 PO Box 78234                                                                       Phoenix                  AZ      85062-8234               9/6/2022         1,178.09    Operating
   Ally Auto                                 PO Box 78234                                                                       Phoenix                  AZ      85062-8234               9/6/2022         1,178.09    Operating
   Ally Auto                                 PO Box 78234                                                                       Phoenix                  AZ      85062-8234               9/6/2022         1,178.09    Operating
   Ally Auto                                 PO Box 78234                                                                       Phoenix                  AZ      85062-8234               9/6/2022         1,178.09    Operating
   Ally Auto                                 PO Box 78234                                                                       Phoenix                  AZ      85062-8234               9/6/2022         1,178.09    Operating
   Ally Auto                                 PO Box 78234                                                                       Phoenix                  AZ      85062-8234               9/6/2022         1,178.09    Operating
   Ally Auto                                 PO Box 78234                                                                       Phoenix                  AZ      85062-8234               9/6/2022         1,178.09    Operating
   Ally Auto                                 PO Box 78234                                                                       Phoenix                  AZ      85062-8234               9/6/2022         1,178.09    Operating
   Ally Auto                                 PO Box 78234                                                                       Phoenix                  AZ      85062-8234               9/6/2022         1,178.09    Operating
   Ally Auto                                 PO Box 78234                                                                       Phoenix                  AZ      85062-8234               9/6/2022         1,178.09    Operating
   Ally Auto                                 PO Box 78234                                                                       Phoenix                  AZ      85062-8234               9/6/2022         1,178.09    Operating
   Ally Auto                                 PO Box 78234                                                                       Phoenix                  AZ      85062-8234               9/6/2022         1,178.09    Operating
   Ally Auto                                 PO Box 78234                                                                       Phoenix                  AZ      85062-8234               9/7/2022         1,542.60    Operating
   Ally Auto                                 PO Box 78234                                                                       Phoenix                  AZ      85062-8234               9/7/2022            877.01   Operating
   Ally Auto                                 PO Box 78234                                                                       Phoenix                  AZ      85062-8234               9/7/2022            877.01   Operating
   Ally Auto                                 PO Box 78234                                                                       Phoenix                  AZ      85062-8234               9/7/2022            877.01   Operating
   Ally Auto                                 PO Box 78234                                                                       Phoenix                  AZ      85062-8234               9/7/2022            877.01   Operating




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                                                                          Case 22-17842-PDR                                         Doc 325        Exhibit SOFA 3
                                                                                                                                                                 Filed 11/11/22                          Page 23 of 79
                                                                                                                    Certain payments or transfers to creditors within 90 days before filing this case




   Creditor's Name                                             Address 1                                            Address 2                         Address 3      Address 4 City                     State   Zip        Country          Payment Date      Payment Amount      Reason for Payment or Transfer
   Ally Auto                                                   PO Box 78234                                                                                                    Phoenix                  AZ      85062-8234                       9/7/2022              877.01     Operating
   Ally Auto                                                   PO Box 78234                                                                                                    Phoenix                  AZ      85062-8234                       9/7/2022              877.01     Operating
   Ally Auto                                                   PO Box 78234                                                                                                    Phoenix                  AZ      85062-8234                       9/7/2022              877.01     Operating
   Ally Auto                                                   PO Box 78234                                                                                                    Phoenix                  AZ      85062-8234                       9/7/2022              744.67     Operating
   Ally Auto                                                   PO Box 78234                                                                                                    Phoenix                  AZ      85062-8234                       9/8/2022              881.89     Operating
   Ally Auto                                                   PO Box 78234                                                                                                    Phoenix                  AZ      85062-8234                       9/8/2022              881.89     Operating
   Ally Auto                                                   PO Box 78234                                                                                                    Phoenix                  AZ      85062-8234                       9/9/2022              740.90     Operating
   Ally Auto                                                   PO Box 78234                                                                                                    Phoenix                  AZ      85062-8234                       9/9/2022              740.90     Operating
   Alterna Capital Solutions, LLC Chestnut Hill Technologies   PO Box 936601                                                                                                   Atlanta                  GA      31193-6601                      7/12/2022          49,900.00      Operating
   Alterna Capital Solutions, LLC Chestnut Hill Technologies   PO Box 936601                                                                                                   Atlanta                  GA      31193-6601                      8/23/2022          83,435.00      Operating
   Alterna Capital Solutions, LLC Chestnut Hill Technologies   PO Box 936601                                                                                                   Atlanta                  GA      31193-6601                      8/25/2022          57,445.00      Operating
   Alterna Capital Solutions, LLC Chestnut Hill Technologies   PO Box 936601                                                                                                   Atlanta                  GA      31193-6601                      9/15/2022          87,360.00      Operating
   Alto Freight                                                2867 Surveyor Street                                                                                            Pomona                   CA      91768                           7/19/2022         101,212.68      Freight
   Alto Freight                                                2867 Surveyor Street                                                                                            Pomona                   CA      91768                           8/19/2022          29,427.90      Freight
   Alto Freight                                                2867 Surveyor Street                                                                                            Pomona                   CA      91768                            9/6/2022          73,029.50      Freight
   Alvarez & Marsal Valuation Services, LLC                    1111 third Ave Suite2450                                                                                        Seattle                  WA      98101                           9/19/2022          52,912.50      Professional
   [Creditor Name on File]                                     [Address on File]                                                                                                                                                             [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                                     [Address on File]                                                                                                                                                             [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                                     [Address on File]                                                                                                                                                             [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                                     [Address on File]                                                                                                                                                             [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                                     [Address on File]                                                                                                                                                             [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                                     [Address on File]                                                                                                                                                             [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                                     [Address on File]                                                                                                                                                             [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                                     [Address on File]                                                                                                                                                             [Date on File]    [Amount on File]   Influencer
   American Arbitration Association                            120 BRdway Fl 21                                                                                                  New York               NY      10271-2700                      8/22/2022          36,791.65      Professional
   American Express -Corporate Card AP                         PO Box 650448                                                                                                     Dallas                 TX      75265-0448                      8/17/2022         116,795.12      Operating
   American Express -Corporate Card AP                         PO Box 650448                                                                                                     Dallas                 TX      75265-0448                      9/10/2022          81,139.03      Operating
   American Express -Travel Corp Card                          PO Box 650448                                                                                                     Dallas                 TX      75265-0448                      8/17/2022          86,624.31      Operating
   American Express -Travel Corp Card                          PO Box 650448                                                                                                     Dallas                 TX      75265-0448                      9/10/2022          78,654.25      Operating
   American International Chemical, Inc.                       2000 W Park Dr Ste 300                                                                                            Westborough            MA      01581-3957                      7/12/2022          48,872.50      Rawmat
   American International Chemical, Inc.                       2000 W Park Dr Ste 300                                                                                            Westborough            MA      01581-3957                      7/18/2022           6,270.00      Rawmat
   American International Chemical, Inc.                       2000 W Park Dr Ste 300                                                                                            Westborough            MA      01581-3957                      7/20/2022           5,747.50      Rawmat
   American International Foods                                8066 Fulton St E                                                                                                  Ada                    MI      49301                           7/12/2022           8,561.00      Rawmat
   American International Foods                                8066 Fulton St E                                                                                                  Ada                    MI      49301                           7/19/2022          52,144.71      Rawmat
   American International Foods                                8066 Fulton St E                                                                                                  Ada                    MI      49301                           7/26/2022         224,547.71      Rawmat
   American International Foods                                8066 Fulton St E                                                                                                  Ada                    MI      49301                            8/9/2022           5,914.50      Rawmat
   American International Foods                                8066 Fulton St E                                                                                                  Ada                    MI      49301                           8/31/2022          67,202.39      Rawmat
   American International Foods                                8066 Fulton St E                                                                                                  Ada                    MI      49301                           8/31/2022           6,781.51      Rawmat
   American International Foods                                8066 Fulton St E                                                                                                  Ada                    MI      49301                           8/31/2022           6,321.27      Rawmat
   American Recycling Company                                  PO Box 820                                                                                                        Ceres                  CA      95307-0820                      7/27/2022           8,485.40      Operating
   AMMS Inc.                                                   16043 Agincourt Dr                                                                                                Huntersville           NC      28078-5856                      7/11/2022          16,951.00      Professional
   [Creditor Name on File]                                     [Address on File]                                                                                                                                                             [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                                     [Address on File]                                                                                                                                                             [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                                     [Address on File]                                                                                                                                                             [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                                     [Address on File]                                                                                                                                                             [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                                     [Address on File]                                                                                                                                                             [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                                     [Address on File]                                                                                                                                                             [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                                     [Address on File]                                                                                                                                                             [Date on File]    [Amount on File]   Influencer
   Ankus Consulting Inc                                        12555 Orange Dr                                                                                                   Davie                  FL      33330                           7/18/2022           5,333.33      Professional
   Ankus Consulting Inc                                        12555 Orange Dr                                                                                                   Davie                  FL      33330                           7/27/2022          12,500.03      Professional
   [Creditor Name on File]                                     [Address on File]                                                                                                                                                             [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                                     [Address on File]                                                                                                                                                             [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                                     [Address on File]                                                                                                                                                             [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                                     [Address on File]                                                                                                                                                             [Date on File]    [Amount on File]   Influencer
   Anmar Investment Group LLC Mariana Caceres                  1151 Chenille Cir                                                                                                 Weston                 FL      33327-2019                      8/10/2022           4,104.00      Professional
   Anmar Investment Group LLC Mariana Caceres                  1151 Chenille Cir                                                                                                 Weston                 FL      33327-2019                      9/14/2022           4,320.00      Professional
   [Creditor Name on File]                                     [Address on File]                                                                                                                                                             [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                                     [Address on File]                                                                                                                                                             [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                                     [Address on File]                                                                                                                                                             [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                                     [Address on File]                                                                                                                                                             [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                                     [Address on File]                                                                                                                                                             [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                                     [Address on File]                                                                                                                                                             [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                                     [Address on File]                                                                                                                                                             [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                                     [Address on File]                                                                                                                                                             [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                                     [Address on File]                                                                                                                                                             [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                                     [Address on File]                                                                                                                                                             [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                                     [Address on File]                                                                                                                                                             [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                                     [Address on File]                                                                                                                                                             [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                                     [Address on File]                                                                                                                                                             [Date on File]    [Amount on File]   Influencer
   Ares Holdings LLC dba CMS Nextech                           1045 S John Rodes Blvd                                                                                            Melbourne              FL      32904-2000                      8/22/2022           6,903.89      Operating
   Ares Holdings LLC dba CMS Nextech                           1045 S John Rodes Blvd                                                                                            Melbourne              FL      32904-2000                      8/30/2022          12,480.22      Operating
   Arizona Instrumentation and Components                      9274 W Quail Track Dr                                                                                             Peoria                 AZ      85383-5150                      8/18/2022                1.50     Rep&Maint
   Arizona Instrumentation and Components                      9274 W Quail Track Dr                                                                                             Peoria                 AZ      85383-5150                       9/1/2022           3,747.62      Rep&Maint
   Arizona Instrumentation and Components                      9274 W Quail Track Dr                                                                                             Peoria                 AZ      85383-5150                      10/7/2022           7,900.76      Rep&Maint
   ARNOLD SPORTS FESTIVAL UK                                   Suite 18 Ripponden Business Park, Ripponden, Halifax                                                              West Yorkshire                 HX6 4FF    United Kingdom        8/1/2022          47,705.32      Operating
   Assemblers Inc.                                             2850 W Columbus Ave                                                                                               Chicago                IL      60652-1620                      7/20/2022          20,942.60      Packaging
   Assemblers Inc.                                             2850 W Columbus Ave                                                                                               Chicago                IL      60652-1620                      7/25/2022         294,000.00      Packaging
   Assemblers Inc.                                             2850 W Columbus Ave                                                                                               Chicago                IL      60652-1620                      8/30/2022          25,326.00      Packaging
   Associated Industrial Riggers Corp.                         107 Redding Dr                                                                                                    Bremen                 GA      30110-2283                      7/15/2022          31,178.52      Rep&Maint
   AT&T                                                        PO Box 10330                                                                                                      Fort Wayne             IN      46851-0330                      7/14/2022           4,622.42      Operating
   AT&T                                                        PO Box 10330                                                                                                      Fort Wayne             IN      46851-0330                      7/14/2022              144.45     Operating
   AT&T                                                        PO Box 10330                                                                                                      Fort Wayne             IN      46851-0330                      7/15/2022           2,264.50      Operating
   AT&T                                                        PO Box 10330                                                                                                      Fort Wayne             IN      46851-0330                      7/15/2022           1,003.02      Operating
   AT&T                                                        PO Box 10330                                                                                                      Fort Wayne             IN      46851-0330                      7/15/2022              445.07     Operating
   AT&T                                                        PO Box 10330                                                                                                      Fort Wayne             IN      46851-0330                      7/15/2022              445.07     Operating




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                                                                                                                                              Filed 11/11/22                          Page 24 of 79
                                                                                                 Certain payments or transfers to creditors within 90 days before filing this case




   Creditor's Name                                                Address 1                     Address 2                          Address 3      Address 4 City                     State   Zip        Country      Payment Date      Payment Amount      Reason for Payment or Transfer
   AT&T                                                           PO Box 10330                                                                              Fort Wayne               IN      46851-0330                  7/21/2022              124.32     Operating
   AT&T                                                           PO Box 10330                                                                              Fort Wayne               IN      46851-0330                  7/22/2022               49.90     Operating
   AT&T                                                           PO Box 10330                                                                              Fort Wayne               IN      46851-0330                  7/25/2022          61,050.09      Operating
   AT&T                                                           PO Box 10330                                                                              Fort Wayne               IN      46851-0330                  7/25/2022              633.89     Operating
   AT&T                                                           PO Box 10330                                                                              Fort Wayne               IN      46851-0330                   8/1/2022              276.92     Operating
   AT&T                                                           PO Box 10330                                                                              Fort Wayne               IN      46851-0330                   8/1/2022              198.92     Operating
   AT&T                                                           PO Box 10330                                                                              Fort Wayne               IN      46851-0330                   8/4/2022           2,285.90      Operating
   AT&T                                                           PO Box 10330                                                                              Fort Wayne               IN      46851-0330                   8/4/2022               50.58     Operating
   AT&T                                                           PO Box 10330                                                                              Fort Wayne               IN      46851-0330                   8/8/2022           2,152.78      Operating
   AT&T                                                           PO Box 10330                                                                              Fort Wayne               IN      46851-0330                  8/15/2022           2,278.49      Operating
   AT&T                                                           PO Box 10330                                                                              Fort Wayne               IN      46851-0330                  8/15/2022           1,017.01      Operating
   AT&T                                                           PO Box 10330                                                                              Fort Wayne               IN      46851-0330                  8/15/2022              468.43     Operating
   AT&T                                                           PO Box 10330                                                                              Fort Wayne               IN      46851-0330                  8/15/2022              468.43     Operating
   AT&T                                                           PO Box 10330                                                                              Fort Wayne               IN      46851-0330                  8/15/2022              144.45     Operating
   AT&T                                                           PO Box 10330                                                                              Fort Wayne               IN      46851-0330                  8/17/2022               51.06     Operating
   AT&T                                                           PO Box 10330                                                                              Fort Wayne               IN      46851-0330                  8/22/2022              118.28     Operating
   AT&T                                                           PO Box 10330                                                                              Fort Wayne               IN      46851-0330                  8/23/2022          61,032.20      Operating
   AT&T                                                           PO Box 10330                                                                              Fort Wayne               IN      46851-0330                  8/23/2022              637.90     Operating
   AT&T                                                           PO Box 10330                                                                              Fort Wayne               IN      46851-0330                  8/24/2022           2,359.99      Operating
   AT&T                                                           PO Box 10330                                                                              Fort Wayne               IN      46851-0330                  8/31/2022              198.92     Operating
   AT&T                                                           PO Box 10330                                                                              Fort Wayne               IN      46851-0330                   9/2/2022           2,308.28      Operating
   AT&T                                                           PO Box 10330                                                                              Fort Wayne               IN      46851-0330                   9/2/2022              276.92     Operating
   AT&T                                                           PO Box 10330                                                                              Fort Wayne               IN      46851-0330                   9/2/2022               50.58     Operating
   AT&T                                                           PO Box 10330                                                                              Fort Wayne               IN      46851-0330                   9/6/2022              160.50     Operating
   AT&T                                                           PO Box 10330                                                                              Fort Wayne               IN      46851-0330                   9/8/2022           2,152.78      Operating
   AT&T                                                           PO Box 10330                                                                              Fort Wayne               IN      46851-0330                  9/13/2022              144.45     Operating
   AT&T                                                           PO Box 10330                                                                              Fort Wayne               IN      46851-0330                  9/15/2022           2,278.49      Operating
   AT&T                                                           PO Box 10330                                                                              Fort Wayne               IN      46851-0330                  9/15/2022           1,017.01      Operating
   AT&T                                                           PO Box 10330                                                                              Fort Wayne               IN      46851-0330                  9/15/2022              468.43     Operating
   AT&T                                                           PO Box 10330                                                                              Fort Wayne               IN      46851-0330                  9/15/2022              468.43     Operating
   AT&T                                                           PO Box 10330                                                                              Fort Wayne               IN      46851-0330                  9/21/2022              118.28     Operating
   AT&T                                                           PO Box 10330                                                                              Fort Wayne               IN      46851-0330                  9/21/2022              102.22     Operating
   AT&T                                                           PO Box 10330                                                                              Fort Wayne               IN      46851-0330                  9/23/2022          61,734.35      Operating
   AT&T                                                           PO Box 10330                                                                              Fort Wayne               IN      46851-0330                  9/23/2022              633.89     Operating
   AT&T                                                           PO Box 10330                                                                              Fort Wayne               IN      46851-0330                  9/29/2022              198.92     Operating
   AT&T                                                           PO Box 10330                                                                              Fort Wayne               IN      46851-0330                  9/29/2022              144.45     Operating
   AT&T                                                           PO Box 10330                                                                              Fort Wayne               IN      46851-0330                  10/3/2022              276.92     Operating
   AT&T                                                           PO Box 10330                                                                              Fort Wayne               IN      46851-0330                  10/4/2022           2,299.89      Operating
   AT&T                                                           PO Box 10330                                                                              Fort Wayne               IN      46851-0330                  10/4/2022               50.58     Operating
   AT&T                                                           PO Box 10330                                                                              Fort Wayne               IN      46851-0330                  10/6/2022           2,334.17      Operating
   AT&T                                                           PO Box 10330                                                                              Fort Wayne               IN      46851-0330                  10/7/2022           2,152.78      Operating
   Australian Taxation Office                                     Locked Bag 1793                                                                           Penrith                          NSW 1793 Australia           9/1/2022         204,942.44      Professional
   Avalara, Inc                                                   255 S Ing St Ste 1800                                                                     Seattle                  WA      98104-3320                  7/14/2022               53.69     Professional
   Avalara, Inc                                                   255 S Ing St Ste 1800                                                                     Seattle                  WA      98104-3320                  8/15/2022           7,295.16      Professional
   Avalara, Inc                                                   255 S Ing St Ste 1800                                                                     Seattle                  WA      98104-3320                  9/13/2022           6,747.65      Professional
   [Creditor Name on File]                                        [Address on File]                                                                                                                                   [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                                        [Address on File]                                                                                                                                   [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                                        [Address on File]                                                                                                                                   [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                                        [Address on File]                                                                                                                                   [Date on File]    [Amount on File]   Influencer
   Benjamin Ferro Barrenechea                                     Daniel Alcides Carrion 170                                                                  San Isidro                     15076        Peru            8/3/2022          10,000.00      Contractor
   Benjamin Ferro Barrenechea                                     Daniel Alcides Carrion 170                                                                  San Isidro                     15076        Peru           8/25/2022          10,000.00      Contractor
   Benjamin Ferro Barrenechea                                     Daniel Alcides Carrion 170                                                                  San Isidro                     15076        Peru           9/29/2022          10,000.00      Contractor
   Berkemeyer Attorney & Counselors                               Edificio Jacaranda            4th Floor Benjamin Constant, 835                              Asuncion                                    Paraguay       7/18/2022          18,191.43      Professional
   Berkemeyer Attorney & Counselors                               Edificio Jacaranda            4th Floor Benjamin Constant, 835                              Asuncion                                    Paraguay       7/27/2022           7,490.00      Professional
   Berkemeyer Attorney & Counselors                               Edificio Jacaranda            4th Floor Benjamin Constant, 835                              Asuncion                                    Paraguay       8/11/2022          18,229.00      Professional
   Berner Food & Beverage, LLC                                    5778 Baxter Rd                                                                              Rockford               IL      61109                       7/26/2022          20,075.00      Copacker
   [Creditor Name on File]                                        [Address on File]                                                                                                                                   [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                                        [Address on File]                                                                                                                                   [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                                        [Address on File]                                                                                                                                   [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                                        [Address on File]                                                                                                                                   [Date on File]    [Amount on File]   Influencer
   BKD, LLP                                                       910 E. St Louis St Ste 200    PO Box 1190                                                   Springfield            MO      65806                        8/3/2022          19,440.00      Professional
   Block One Technologies                                         5920 YellowstoNE Rd Suite 1                                                                 Cheyenne               WY      82009                       9/30/2022          72,683.52      Operating
   Border States Industries Inc. Border States Electrical Suppl   NW 7235 Po Box 1450                                                                         Minneapolis            MN      55485-1450                  7/26/2022          55,088.79      Operating
   Border States Industries Inc. Border States Electrical Suppl   NW 7235 Po Box 1450                                                                         Minneapolis            MN      55485-1450                   8/4/2022           2,175.74      Operating
   Border States Industries Inc. Border States Electrical Suppl   NW 7235 Po Box 1450                                                                         Minneapolis            MN      55485-1450                  8/12/2022           4,201.79      Operating
   [Creditor Name on File]                                        [Address on File]                                                                                                                                   [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                                        [Address on File]                                                                                                                                   [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                                        [Address on File]                                                                                                                                   [Date on File]    [Amount on File]   Influencer
   Brett Jason Wein                                               1600 N Park Dr                                                                              Weston                 FL      33326-3278                  7/29/2022           1,443.93      Employee Expense Reimbursement
   Brett Jason Wein                                               1600 N Park Dr                                                                              Weston                 FL      33326-3278                  8/12/2022              895.74     Employee Expense Reimbursement
   Brett Jason Wein                                               1600 N Park Dr                                                                              Weston                 FL      33326-3278                  8/18/2022              909.92     Employee Expense Reimbursement
   Brett Jason Wein                                               1600 N Park Dr                                                                              Weston                 FL      33326-3278                  8/18/2022              604.82     Employee Expense Reimbursement
   Brett Jason Wein                                               1600 N Park Dr                                                                              Weston                 FL      33326-3278                  10/6/2022           1,255.34      Employee Expense Reimbursement
   Brett Jason Wein                                               1600 N Park Dr                                                                              Weston                 FL      33326-3278                  10/6/2022           1,084.99      Employee Expense Reimbursement
   Brett Jason Wein                                               1600 N Park Dr                                                                              Weston                 FL      33326-3278                  10/6/2022              856.12     Employee Expense Reimbursement
   Brett Jason Wein                                               1600 N Park Dr                                                                              Weston                 FL      33326-3278                  10/6/2022              628.44     Employee Expense Reimbursement
   [Creditor Name on File]                                        [Address on File]                                                                                                                                   [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                                        [Address on File]                                                                                                                                   [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                                        [Address on File]                                                                                                                                   [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                                        [Address on File]                                                                                                                                   [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                                        [Address on File]                                                                                                                                   [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                                        [Address on File]                                                                                                                                   [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                                        [Address on File]                                                                                                                                   [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                                        [Address on File]                                                                                                                                   [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                                        [Address on File]                                                                                                                                   [Date on File]    [Amount on File]   Influencer




In re: Vital Pharmaceuticals, Inc., et al.
Case No. 22-17842 (PDR)                                                                                                            Page 4 of 27
                                                                             Case 22-17842-PDR                         Doc 325        Exhibit SOFA 3
                                                                                                                                                    Filed 11/11/22                          Page 25 of 79
                                                                                                       Certain payments or transfers to creditors within 90 days before filing this case




   Creditor's Name                                                Address 1                           Address 2                          Address 3      Address 4 City                     State Zip         Country   Payment Date      Payment Amount      Reason for Payment or Transfer
   [Creditor Name on File]                                        [Address on File]                                                                                                                                     [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                                        [Address on File]                                                                                                                                     [Date on File]    [Amount on File]   Influencer
   Brown & Brown of Florida Inc.,                                 1201 W Cypress Creek Rd Suite 130                                                                 Fort Lauderdale        FL   3330                       7/25/2022         250,000.00      Insurance
   Brown & Brown of Florida Inc.,                                 1201 W Cypress Creek Rd Suite 130                                                                 Fort Lauderdale        FL   3330                       8/10/2022         329,558.49      Insurance
   Brown & Brown of Florida Inc.,                                 1201 W Cypress Creek Rd Suite 130                                                                 Fort Lauderdale        FL   3330                       9/20/2022         108,504.92      Insurance
   [Creditor Name on File]                                        [Address on File]                                                                                                                                     [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                                        [Address on File]                                                                                                                                     [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                                        [Address on File]                                                                                                                                     [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                                        [Address on File]                                                                                                                                     [Date on File]    [Amount on File]   Influencer
   Bryan Shane Dees                                               1600 N Park Dr                                                                                    Weston                 FL   33326-3278                 7/29/2022           3,894.25      Employee Expense Reimbursement
   Bryan Shane Dees                                               1600 N Park Dr                                                                                    Weston                 FL   33326-3278                 8/12/2022           3,791.51      Employee Expense Reimbursement
   Buc-ee's Ltd.                                                  327 Fm 2004 Rd                                                                                    Lake Jackson           TX   77566-4980                  8/3/2022          74,281.05      Wholesalers & Distributors
   BW Integrated Systems                                          25244 Network Pl                                                                                  Chicago                IL   60673-1252                  8/2/2022          17,768.82      Operating
   C.H. Robinson International                                    14701 Charlson Rd, Suite 2400                                                                     Eden Prairie           MN   55347                      7/25/2022         119,595.17      Freight
   C.H. Robinson International                                    14701 Charlson Rd, Suite 2400                                                                     Eden Prairie           MN   55347                      7/25/2022         108,928.83      Freight
   C.H. Robinson International                                    14701 Charlson Rd, Suite 2400                                                                     Eden Prairie           MN   55347                      7/26/2022          50,156.13      Freight
   C.H. Robinson International                                    14701 Charlson Rd, Suite 2400                                                                     Eden Prairie           MN   55347                       8/2/2022          95,799.21      Freight
   C.H. Robinson International                                    14701 Charlson Rd, Suite 2400                                                                     Eden Prairie           MN   55347                       8/3/2022         126,091.41      Freight
   C.H. Robinson International                                    14701 Charlson Rd, Suite 2400                                                                     Eden Prairie           MN   55347                       8/3/2022         105,950.34      Freight
   C.H. Robinson International                                    14701 Charlson Rd, Suite 2400                                                                     Eden Prairie           MN   55347                      8/22/2022         175,660.07      Freight
   C.H. Robinson International                                    14701 Charlson Rd, Suite 2400                                                                     Eden Prairie           MN   55347                       9/6/2022         142,039.03      Freight
   C.H. Robinson International                                    14701 Charlson Rd, Suite 2400                                                                     Eden Prairie           MN   55347                      9/19/2022         100,606.08      Freight
   C.H. Robinson International                                    14701 Charlson Rd, Suite 2400                                                                     Eden Prairie           MN   55347                      9/29/2022         132,252.40      Freight
   C.H. Robinson International                                    14701 Charlson Rd, Suite 2400                                                                     Eden Prairie           MN   55347                      10/6/2022         100,894.50      Freight
   Cabot Industrial Value Fund VI Operating CIVF VI-TX1M01-M04,   One Beacon St, Suite2800                                                                          Boston                 MA   02108                       8/1/2022         130,300.15      Leases
   Cabot Industrial Value Fund VI Operating CIVF VI-TX1M01-M04,   One Beacon St, Suite2800                                                                          Boston                 MA   02108                       9/1/2022         130,300.15      Leases
   [Creditor Name on File]                                        [Address on File]                                                                                                                                     [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                                        [Address on File]                                                                                                                                     [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                                        [Address on File]                                                                                                                                     [Date on File]    [Amount on File]   Influencer
   Canon Financial Services, Inc.                                 14904 Collections Center Drive                                                                    Chicago                IL   60693-0149                 7/18/2022          19,025.98      Leases
   Canon Financial Services, Inc.                                 14904 Collections Center Drive                                                                    Chicago                IL   60693-0149                 8/10/2022          25,983.50      Leases
   Canon Financial Services, Inc.                                 14904 Collections Center Drive                                                                    Chicago                IL   60693-0149                  9/6/2022          21,689.53      Leases
   Canteen Compass Group USA                                      940 Lively Blvd                                                                                   Wood Dale              IL   60191                      8/16/2022          67,425.00      Wholesalers & Distributors
   Casey's General Stores                                         One Convenience Blvd                                                                              Ankeny                 IA   50021-9672                  8/2/2022           6,960.00      Wholesalers & Distributors
   Casey's General Stores                                         One Convenience Blvd                                                                              Ankeny                 IA   50021-9672                  8/5/2022         100,794.65      Wholesalers & Distributors
   CDW Direct, LLC                                                PO Box 75723                                                                                      Chicago                IL   60675-5723                 7/26/2022           8,526.35      Operating
   CDW Direct, LLC                                                PO Box 75723                                                                                      Chicago                IL   60675-5723                 7/29/2022          42,127.17      Operating
   CDW Direct, LLC                                                PO Box 75723                                                                                      Chicago                IL   60675-5723                 7/29/2022          35,167.16      Operating
   CDW Direct, LLC                                                PO Box 75723                                                                                      Chicago                IL   60675-5723                 8/15/2022         184,966.11      Operating
   CDW Direct, LLC                                                PO Box 75723                                                                                      Chicago                IL   60675-5723                 8/19/2022          68,128.47      Operating
   CDW Direct, LLC                                                PO Box 75723                                                                                      Chicago                IL   60675-5723                 9/23/2022          44,179.37      Operating
   CEFCO                                                          6261 Central Pointe Parkway                                                                       Temple                 TX   76405                       8/2/2022           8,140.54      Wholesalers & Distributors
   CEL Supply Chain Consulting LLC                                1945 S Ocean Dr 605                                                                               Hallandale             FL   33009                       8/8/2022           3,083.19      Professional
   CEL Supply Chain Consulting LLC                                1945 S Ocean Dr 605                                                                               Hallandale             FL   33009                       9/1/2022           3,083.19      Professional
   CEL Supply Chain Consulting LLC                                1945 S Ocean Dr 605                                                                               Hallandale             FL   33009                      9/30/2022           3,398.26      Professional
   CellMark USA, LLC                                              2 Corporate Dr Fl 5                                                                               Shelton                CT   06484-6238                  8/9/2022          12,470.00      Rawmat
   Chad M Anderson                                                1600 N Park Dr                                                                                    Weston                 FL   33326-3278                 7/12/2022              738.91     Employee Expense Reimbursement
   Chad M Anderson                                                1600 N Park Dr                                                                                    Weston                 FL   33326-3278                 7/15/2022           2,176.00      Employee Expense Reimbursement
   Chad M Anderson                                                1600 N Park Dr                                                                                    Weston                 FL   33326-3278                 8/12/2022           2,561.02      Employee Expense Reimbursement
   Chad M Anderson                                                1600 N Park Dr                                                                                    Weston                 FL   33326-3278                 9/23/2022           1,793.45      Employee Expense Reimbursement
   Chad M Anderson                                                1600 N Park Dr                                                                                    Weston                 FL   33326-3278                 10/6/2022           1,732.60      Employee Expense Reimbursement
   [Creditor Name on File]                                        [Address on File]                                                                                                                                     [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                                        [Address on File]                                                                                                                                     [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                                        [Address on File]                                                                                                                                     [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                                        [Address on File]                                                                                                                                     [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                                        [Address on File]                                                                                                                                     [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                                        [Address on File]                                                                                                                                     [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                                        [Address on File]                                                                                                                                     [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                                        [Address on File]                                                                                                                                     [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                                        [Address on File]                                                                                                                                     [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                                        [Address on File]                                                                                                                                     [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                                        [Address on File]                                                                                                                                     [Date on File]    [Amount on File]   Influencer
   Chase T Stiverson                                              1600 N Park Dr                                                                                    Weston                 FL   33326-3278                 7/18/2022           1,779.83      Employee Expense Reimbursement
   Chase T Stiverson                                              1600 N Park Dr                                                                                    Weston                 FL   33326-3278                 8/12/2022           2,301.01      Employee Expense Reimbursement
   Chase T Stiverson                                              1600 N Park Dr                                                                                    Weston                 FL   33326-3278                 8/18/2022              563.24     Employee Expense Reimbursement
   Chase T Stiverson                                              1600 N Park Dr                                                                                    Weston                 FL   33326-3278                 9/23/2022           2,256.27      Employee Expense Reimbursement
   Chase T Stiverson                                              1600 N Park Dr                                                                                    Weston                 FL   33326-3278                 10/6/2022           1,476.48      Employee Expense Reimbursement
   CHEP USA                                                       5897 Windward Pkwy                                                                                Alpharetta             GA   30005-2044                 7/12/2022         123,465.75      Packaging
   CHEP USA                                                       5897 Windward Pkwy                                                                                Alpharetta             GA   30005-2044                 7/20/2022         124,244.81      Packaging
   CHEP USA                                                       5897 Windward Pkwy                                                                                Alpharetta             GA   30005-2044                 7/26/2022         103,533.81      Packaging
   CHEP USA                                                       5897 Windward Pkwy                                                                                Alpharetta             GA   30005-2044                 8/10/2022          77,025.59      Packaging
   CHEP USA                                                       5897 Windward Pkwy                                                                                Alpharetta             GA   30005-2044                 8/16/2022         106,173.24      Packaging
   CHEP USA                                                       5897 Windward Pkwy                                                                                Alpharetta             GA   30005-2044                 8/18/2022         111,344.18      Packaging
   CHEP USA                                                       5897 Windward Pkwy                                                                                Alpharetta             GA   30005-2044                 8/25/2022          50,506.68      Packaging
   CHEP USA                                                       5897 Windward Pkwy                                                                                Alpharetta             GA   30005-2044                 8/31/2022          75,638.89      Packaging
   CHEP USA                                                       5897 Windward Pkwy                                                                                Alpharetta             GA   30005-2044                  9/7/2022         132,329.14      Packaging
   CHEP USA                                                       5897 Windward Pkwy                                                                                Alpharetta             GA   30005-2044                 9/14/2022         108,441.10      Packaging
   CHEP USA                                                       5897 Windward Pkwy                                                                                Alpharetta             GA   30005-2044                 9/23/2022          48,697.71      Packaging
   CHEP USA                                                       5897 Windward Pkwy                                                                                Alpharetta             GA   30005-2044                 10/7/2022              494.06     Packaging
   Cherokee Chemical Co., Inc dba C.C.I. Chemical                 3540 E 26th St                                                                                    Vernon                 CA   90058-4103                 8/19/2022          28,001.35      Rep&Maint
   Christopher L Schwalen                                         1600 N Park Dr                                                                                    Weston                 FL   33326-3278                 7/12/2022           1,259.98      Employee Expense Reimbursement
   Christopher L Schwalen                                         1600 N Park Dr                                                                                    Weston                 FL   33326-3278                 7/15/2022              641.75     Employee Expense Reimbursement
   Christopher L Schwalen                                         1600 N Park Dr                                                                                    Weston                 FL   33326-3278                 7/25/2022           2,148.50      Employee Expense Reimbursement
   Christopher L Schwalen                                         1600 N Park Dr                                                                                    Weston                 FL   33326-3278                 7/29/2022              943.97     Employee Expense Reimbursement
   Christopher L Schwalen                                         1600 N Park Dr                                                                                    Weston                 FL   33326-3278                 8/18/2022           3,480.18      Employee Expense Reimbursement




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                                                                                                                                   Filed 11/11/22                          Page 26 of 79
                                                                                      Certain payments or transfers to creditors within 90 days before filing this case




   Creditor's Name                                   Address 1                       Address 2                          Address 3      Address 4 City                     State   Zip        Country   Payment Date   Payment Amount    Reason for Payment or Transfer
   Christopher L Schwalen                            1600 N Park Dr                                                                              Weston                   FL      33326-3278              8/24/2022         1,325.77    Employee Expense Reimbursement
   Christopher L Schwalen                            1600 N Park Dr                                                                              Weston                   FL      33326-3278              9/23/2022         2,223.96    Employee Expense Reimbursement
   Christopher L Schwalen                            1600 N Park Dr                                                                              Weston                   FL      33326-3278              9/29/2022         2,023.53    Employee Expense Reimbursement
   Chrysler Capital                                  PO Box 660335                                                                               Dallas                   TX      75266                   7/12/2022            832.52   Operating
   Chrysler Capital                                  PO Box 660335                                                                               Dallas                   TX      75266                   7/12/2022            832.52   Operating
   Chrysler Capital                                  PO Box 660335                                                                               Dallas                   TX      75266                   7/12/2022            832.52   Operating
   Chrysler Capital                                  PO Box 660335                                                                               Dallas                   TX      75266                   7/12/2022            814.61   Operating
   Chrysler Capital                                  PO Box 660335                                                                               Dallas                   TX      75266                   7/12/2022            722.12   Operating
   Chrysler Capital                                  PO Box 660335                                                                               Dallas                   TX      75266                   7/14/2022            800.76   Operating
   Chrysler Capital                                  PO Box 660335                                                                               Dallas                   TX      75266                   8/12/2022            832.52   Operating
   Chrysler Capital                                  PO Box 660335                                                                               Dallas                   TX      75266                   8/12/2022            832.52   Operating
   Chrysler Capital                                  PO Box 660335                                                                               Dallas                   TX      75266                   8/12/2022            832.52   Operating
   Chrysler Capital                                  PO Box 660335                                                                               Dallas                   TX      75266                   8/12/2022            814.61   Operating
   Chrysler Capital                                  PO Box 660335                                                                               Dallas                   TX      75266                   8/12/2022            800.76   Operating
   Chrysler Capital                                  PO Box 660335                                                                               Dallas                   TX      75266                   8/12/2022            722.12   Operating
   CI DAL III-V, LLC - Colony Capital                PO Box 209263                                                                               Austin                   TX      78720-9263               8/1/2022        16,321.65    Leases
   CI DAL III-V, LLC - Colony Capital                PO Box 209263                                                                               Austin                   TX      78720-9263               9/1/2022        16,321.65    Leases
   CI421 474 W Buckeye LLC CAM INVESTMENTS 421 LLC   1900 Ave Of the Stars Ste 320                                                               Los Angeles              CA      90067-4305               8/1/2022       219,097.44    Leases
   CI421 474 W Buckeye LLC CAM INVESTMENTS 421 LLC   1900 Ave Of the Stars Ste 320                                                               Los Angeles              CA      90067-4305               9/1/2022       222,974.30    Leases
   CI421 474 W Buckeye LLC CAM INVESTMENTS 421 LLC   1900 Ave Of the Stars Ste 320                                                               Los Angeles              CA      90067-4305              9/30/2022       222,974.30    Leases
   Cintas Corporation, Location 017                  6800 Cintas Boulevard           PO Box 625737                                               Cincinnati               OH      45262                    8/8/2022        11,349.99    Operating
   Cintas Corporation, Location 017                  6800 Cintas Boulevard           PO Box 625737                                               Cincinnati               OH      45262                   8/17/2022         6,202.73    Operating
   Cintas Corporation, Location 017                  6800 Cintas Boulevard           PO Box 625737                                               Cincinnati               OH      45262                   8/25/2022        10,774.96    Operating
   Cintas Corporation, Location 017                  6800 Cintas Boulevard           PO Box 625737                                               Cincinnati               OH      45262                   9/23/2022         5,837.48    Operating
   Cintas Corporation, Location 017                  6800 Cintas Boulevard           PO Box 625737                                               Cincinnati               OH      45262                   9/30/2022        17,346.25    Operating
   Cintas Corp-Phoenix                               PO Box 29059                                                                                Phoenix                  AZ      85038-9059              7/15/2022         1,900.50    Operating
   Cintas Corp-Phoenix                               PO Box 29059                                                                                Phoenix                  AZ      85038-9059              8/12/2022        12,336.74    Operating
   Cintas Corp-Phoenix                               PO Box 29059                                                                                Phoenix                  AZ      85038-9059              8/17/2022         3,514.21    Operating
   Cintas Corp-Phoenix                               PO Box 29059                                                                                Phoenix                  AZ      85038-9059              8/25/2022         5,921.00    Operating
   Cintas Corp-Phoenix                               PO Box 29059                                                                                Phoenix                  AZ      85038-9059              9/23/2022        12,487.53    Operating
   Circle K Stores, Inc.                             PO Box 203253                                                                               Dallas                   TX      75320-3253               8/1/2022         9,613.93    Wholesalers & Distributors
   Circle K Stores, Inc.                             PO Box 203253                                                                               Dallas                   TX      75320-3253               8/9/2022         1,312.80    Wholesalers & Distributors
   City of Pembroke Pines Utitlies Department        8300 S Palm Dr                                                                              Pembroke Pines           FL      33025                    8/5/2022         1,538.11    Occupancy
   City of Pembroke Pines Utitlies Department        8300 S Palm Dr                                                                              Pembroke Pines           FL      33025                    8/5/2022         1,350.46    Occupancy
   City of Pembroke Pines Utitlies Department        8300 S Palm Dr                                                                              Pembroke Pines           FL      33025                    8/5/2022            179.84   Occupancy
   City of Pembroke Pines Utitlies Department        8300 S Palm Dr                                                                              Pembroke Pines           FL      33025                    8/5/2022            179.84   Occupancy
   City of Pembroke Pines Utitlies Department        8300 S Palm Dr                                                                              Pembroke Pines           FL      33025                    9/7/2022         1,576.59    Occupancy
   City of Pembroke Pines Utitlies Department        8300 S Palm Dr                                                                              Pembroke Pines           FL      33025                    9/7/2022         1,370.28    Occupancy
   City of Pembroke Pines Utitlies Department        8300 S Palm Dr                                                                              Pembroke Pines           FL      33025                    9/7/2022            194.18   Occupancy
   City of Pembroke Pines Utitlies Department        8300 S Palm Dr                                                                              Pembroke Pines           FL      33025                    9/7/2022            179.84   Occupancy
   City of Pembroke Pines Utitlies Department        8300 S Palm Dr                                                                              Pembroke Pines           FL      33025                   9/23/2022        28,319.45    Occupancy
   City of Pembroke Pines Utitlies Department        8300 S Palm Dr                                                                              Pembroke Pines           FL      33025                   10/7/2022         1,370.28    Occupancy
   City of Pembroke Pines Utitlies Department        8300 S Palm Dr                                                                              Pembroke Pines           FL      33025                   10/7/2022         1,236.97    Occupancy
   City of Pembroke Pines Utitlies Department        8300 S Palm Dr                                                                              Pembroke Pines           FL      33025                   10/7/2022            179.84   Occupancy
   City of Pembroke Pines Utitlies Department        8300 S Palm Dr                                                                              Pembroke Pines           FL      33025                   10/7/2022            179.84   Occupancy
   City Of Sunrise                                   PO Box 31432                                                                                Tampa                    FL      33631-3432              7/21/2022         2,809.48    Occupancy
   City Of Sunrise                                   PO Box 31432                                                                                Tampa                    FL      33631-3432              8/19/2022         2,675.92    Occupancy
   City Of Sunrise                                   PO Box 31432                                                                                Tampa                    FL      33631-3432              9/19/2022         2,382.08    Occupancy
   CK Waitt Industrial, LLC CK Properties, Inc       301 South College St                                                                        Charlotte                NC      28202                   7/13/2022            213.42   Leases
   CK Waitt Industrial, LLC CK Properties, Inc       301 South College St                                                                        Charlotte                NC      28202                    8/1/2022       114,306.40    Leases
   CK Waitt Industrial, LLC CK Properties, Inc       301 South College St                                                                        Charlotte                NC      28202                    9/1/2022       114,306.40    Leases
   CKS Packaging, Inc.                               7400 South Orange Ave                                                                       Orlando                  FL      32809                    8/2/2022        67,231.50    Packaging
   CKS Packaging, Inc.                               7400 South Orange Ave                                                                       Orlando                  FL      32809                   8/23/2022        57,393.00    Packaging
   CKS Packaging, Inc.                               7400 South Orange Ave                                                                       Orlando                  FL      32809                    9/6/2022        58,230.66    Packaging
   CKS Packaging, Inc.                               7400 South Orange Ave                                                                       Orlando                  FL      32809                    9/6/2022        33,249.23    Packaging
   Clement Maureal                                   1600 N Park Dr                                                                              Weston                   FL      33326-3278              7/12/2022             70.95   Employee Expense Reimbursement
   Clement Maureal                                   1600 N Park Dr                                                                              Weston                   FL      33326-3278              7/15/2022            324.68   Employee Expense Reimbursement
   Clement Maureal                                   1600 N Park Dr                                                                              Weston                   FL      33326-3278              7/25/2022         4,252.56    Employee Expense Reimbursement
   Clement Maureal                                   1600 N Park Dr                                                                              Weston                   FL      33326-3278              8/17/2022        10,364.38    Employee Expense Reimbursement
   Clement Maureal                                   1600 N Park Dr                                                                              Weston                   FL      33326-3278              8/17/2022         9,110.24    Employee Expense Reimbursement
   Clement Maureal                                   1600 N Park Dr                                                                              Weston                   FL      33326-3278              8/18/2022         2,165.78    Employee Expense Reimbursement
   Clement Maureal                                   1600 N Park Dr                                                                              Weston                   FL      33326-3278              8/24/2022         1,962.42    Employee Expense Reimbursement
   Clement Maureal                                   1600 N Park Dr                                                                              Weston                   FL      33326-3278              9/23/2022         1,398.17    Employee Expense Reimbursement
   Clement Maureal                                   1600 N Park Dr                                                                              Weston                   FL      33326-3278              9/29/2022         1,518.59    Employee Expense Reimbursement
   Clement Maureal                                   1600 N Park Dr                                                                              Weston                   FL      33326-3278              9/29/2022         1,518.59    Employee Expense Reimbursement
   Clement Maureal                                   1600 N Park Dr                                                                              Weston                   FL      33326-3278              9/29/2022         1,518.59    Employee Expense Reimbursement
   Coastal Pacific Food Distributors, Inc.           1015 Performance Dr                                                                         Stockton                 CA      95206                   7/28/2022         8,337.37    Wholesalers & Distributors
   Cobbs Allen Capital LLC dba CAC Specialty         115 Office Park Dr                                                                          Mountain Brook           AL      35223                   9/30/2022       201,400.00    Insurance
   Cobbs Allen Capital LLC dba CAC Specialty         115 Office Park Dr                                                                          Mountain Brook           AL      35223                   10/7/2022        76,500.00    Insurance
   Cody Cullen                                       1600 N Park Dr                                                                              Weston                   FL      33326-3278              7/25/2022         3,039.01    Employee Expense Reimbursement
   Cody Cullen                                       1600 N Park Dr                                                                              Weston                   FL      33326-3278              8/12/2022         1,452.88    Employee Expense Reimbursement
   Cody Cullen                                       1600 N Park Dr                                                                              Weston                   FL      33326-3278              9/16/2022         2,209.96    Employee Expense Reimbursement
   Cody Cullen                                       1600 N Park Dr                                                                              Weston                   FL      33326-3278              10/6/2022         2,042.77    Employee Expense Reimbursement
   Comcast Business                                  PO Box 71221                                                                                Charlotte                NC      28272-1211              7/11/2022            181.25   Operating
   Comcast Business                                  PO Box 71221                                                                                Charlotte                NC      28272-1211              7/20/2022            121.20   Operating
   Comcast Business                                  PO Box 71221                                                                                Charlotte                NC      28272-1211               8/1/2022            194.25   Operating
   Comcast Business                                  PO Box 71221                                                                                Charlotte                NC      28272-1211               8/1/2022            151.40   Operating
   Comcast Business                                  PO Box 71221                                                                                Charlotte                NC      28272-1211               8/4/2022            281.30   Operating
   Comcast Business                                  PO Box 71221                                                                                Charlotte                NC      28272-1211               8/5/2022         3,124.80    Operating
   Comcast Business                                  PO Box 71221                                                                                Charlotte                NC      28272-1211              8/10/2022            181.25   Operating
   Comcast Business                                  PO Box 71221                                                                                Charlotte                NC      28272-1211              8/22/2022            174.20   Operating
   Comcast Business                                  PO Box 71221                                                                                Charlotte                NC      28272-1211              8/30/2022            194.25   Operating
   Comcast Business                                  PO Box 71221                                                                                Charlotte                NC      28272-1211              8/30/2022            151.40   Operating
   Comcast Business                                  PO Box 71221                                                                                Charlotte                NC      28272-1211               9/7/2022         3,124.80    Operating
   Comcast Business                                  PO Box 71221                                                                                Charlotte                NC      28272-1211              9/12/2022            181.25   Operating




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                                                                      Certain payments or transfers to creditors within 90 days before filing this case




   Creditor's Name                           Address 1               Address 2                          Address 3      Address 4 City                     State   Zip        Country   Payment Date      Payment Amount      Reason for Payment or Transfer
   Comcast Business                          PO Box 71221                                                                        Charlotte                NC      28272-1211               9/20/2022              174.20     Operating
   Comcast Business                          PO Box 71221                                                                        Charlotte                NC      28272-1211               9/29/2022           3,124.80      Operating
   Comcast Business                          PO Box 71221                                                                        Charlotte                NC      28272-1211               9/30/2022              194.25     Operating
   Comcast Business                          PO Box 71221                                                                        Charlotte                NC      28272-1211               9/30/2022              181.25     Operating
   Comcast Business                          PO Box 71221                                                                        Charlotte                NC      28272-1211               9/30/2022              174.20     Operating
   Comcast Business                          PO Box 71221                                                                        Charlotte                NC      28272-1211               9/30/2022              161.40     Operating
   Comcast Business                          PO Box 71221                                                                        Charlotte                NC      28272-1211               10/6/2022           3,124.80      Operating
   Commerce Bank - Commercial Cards          PO Box 414084                                                                       Kansas City              MO      64141-4084               7/26/2022          14,620.57      Operating
   Commerce Bank - Commercial Cards          PO Box 414084                                                                       Kansas City              MO      64141-4084               8/25/2022          11,192.96      Operating
   Communikay Graphics BeAed LP              1900 Highway 35 Byp N                                                               Alvin                    TX      77511-4786               7/13/2022           3,520.00      Operating
   Communikay Graphics BeAed LP              1900 Highway 35 Byp N                                                               Alvin                    TX      77511-4786                8/9/2022              284.00     Operating
   Communikay Graphics BeAed LP              1900 Highway 35 Byp N                                                               Alvin                    TX      77511-4786               9/12/2022           7,556.00      Operating
   Compound Solutions, Inc.                  PO Box 841466                                                                       Los Angeles              CA      90084-1466               7/14/2022           8,030.55      Rawmat
   [Creditor Name on File]                   [Address on File]                                                                                                                          [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                   [Address on File]                                                                                                                          [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                   [Address on File]                                                                                                                          [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                   [Address on File]                                                                                                                          [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                   [Address on File]                                                                                                                          [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                   [Address on File]                                                                                                                          [Date on File]    [Amount on File]   Influencer
   Cox Communications                        PO Box 53249                                                                          Phoenix                AZ      85072-3249               7/11/2022           4,610.00      Occupancy
   Cox Communications                        PO Box 53249                                                                          Phoenix                AZ      85072-3249               7/25/2022           2,502.00      Occupancy
   Cox Communications                        PO Box 53249                                                                          Phoenix                AZ      85072-3249                8/4/2022              205.83     Occupancy
   Cox Communications                        PO Box 53249                                                                          Phoenix                AZ      85072-3249                8/8/2022              929.41     Occupancy
   Cox Communications                        PO Box 53249                                                                          Phoenix                AZ      85072-3249                8/9/2022           4,610.00      Occupancy
   Cox Communications                        PO Box 53249                                                                          Phoenix                AZ      85072-3249               8/24/2022           2,502.00      Occupancy
   Cox Communications                        PO Box 53249                                                                          Phoenix                AZ      85072-3249                9/6/2022              929.41     Occupancy
   Cox Communications                        PO Box 53249                                                                          Phoenix                AZ      85072-3249                9/6/2022              205.83     Occupancy
   Cox Communications                        PO Box 53249                                                                          Phoenix                AZ      85072-3249                9/9/2022           4,610.00      Occupancy
   Cox Communications                        PO Box 53249                                                                          Phoenix                AZ      85072-3249               9/26/2022           2,502.00      Occupancy
   Cox Communications                        PO Box 53249                                                                          Phoenix                AZ      85072-3249               9/30/2022           4,610.00      Occupancy
   Cox Communications                        PO Box 53249                                                                          Phoenix                AZ      85072-3249               9/30/2022              929.41     Occupancy
   Cox Communications                        PO Box 53249                                                                          Phoenix                AZ      85072-3249               9/30/2022              205.83     Occupancy
   Crown Castle Fiber, LLC                   PO Box 28730                                                                          New York               NY      10087-8730               7/13/2022           5,598.00      Operating
   Crown Castle Fiber, LLC                   PO Box 28730                                                                          New York               NY      10087-8730               8/11/2022           5,598.00      Operating
   Crown Castle Fiber, LLC                   PO Box 28730                                                                          New York               NY      10087-8730                9/9/2022           5,598.00      Operating
   Crown Castle Fiber, LLC                   PO Box 28730                                                                          New York               NY      10087-8730               9/28/2022           5,598.00      Operating
   Crown Cork & Seal USA, Inc                770 Township LiNE Rd                                                                  Yardley                PA      19067-4219               7/11/2022         622,953.35      Rawmat
   Crown Cork & Seal USA, Inc                770 Township LiNE Rd                                                                  Yardley                PA      19067-4219               7/12/2022         433,797.11      Rawmat
   Crown Cork & Seal USA, Inc                770 Township LiNE Rd                                                                  Yardley                PA      19067-4219               7/13/2022         551,598.31      Rawmat
   Crown Cork & Seal USA, Inc                770 Township LiNE Rd                                                                  Yardley                PA      19067-4219               7/14/2022         518,474.62      Rawmat
   Crown Cork & Seal USA, Inc                770 Township LiNE Rd                                                                  Yardley                PA      19067-4219               7/15/2022         530,529.22      Rawmat
   Crown Cork & Seal USA, Inc                770 Township LiNE Rd                                                                  Yardley                PA      19067-4219               7/18/2022         447,166.28      Rawmat
   Crown Cork & Seal USA, Inc                770 Township LiNE Rd                                                                  Yardley                PA      19067-4219               7/18/2022         426,164.95      Rawmat
   Crown Cork & Seal USA, Inc                770 Township LiNE Rd                                                                  Yardley                PA      19067-4219               7/19/2022         422,226.16      Rawmat
   Crown Cork & Seal USA, Inc                770 Township LiNE Rd                                                                  Yardley                PA      19067-4219               7/19/2022         308,172.95      Rawmat
   Crown Cork & Seal USA, Inc                770 Township LiNE Rd                                                                  Yardley                PA      19067-4219               7/20/2022         220,567.62      Rawmat
   Crown Cork & Seal USA, Inc                770 Township LiNE Rd                                                                  Yardley                PA      19067-4219               7/21/2022         424,657.19      Rawmat
   Crown Cork & Seal USA, Inc                770 Township LiNE Rd                                                                  Yardley                PA      19067-4219               7/22/2022         658,112.72      Rawmat
   Crown Cork & Seal USA, Inc                770 Township LiNE Rd                                                                  Yardley                PA      19067-4219               7/25/2022         213,418.38      Rawmat
   Crown Cork & Seal USA, Inc                770 Township LiNE Rd                                                                  Yardley                PA      19067-4219               7/27/2022         300,192.85      Rawmat
   Crown Cork & Seal USA, Inc                770 Township LiNE Rd                                                                  Yardley                PA      19067-4219               7/29/2022         530,370.17      Rawmat
   Crown Cork & Seal USA, Inc                770 Township LiNE Rd                                                                  Yardley                PA      19067-4219               7/29/2022         501,649.57      Rawmat
   Crown Cork & Seal USA, Inc                770 Township LiNE Rd                                                                  Yardley                PA      19067-4219               7/29/2022         495,860.47      Rawmat
   Crown Cork & Seal USA, Inc                770 Township LiNE Rd                                                                  Yardley                PA      19067-4219                8/4/2022         730,114.33      Rawmat
   Crown Cork & Seal USA, Inc                770 Township LiNE Rd                                                                  Yardley                PA      19067-4219                8/8/2022         477,687.16      Rawmat
   Crown Cork & Seal USA, Inc                770 Township LiNE Rd                                                                  Yardley                PA      19067-4219               8/10/2022         276,200.20      Rawmat
   Crown Cork & Seal USA, Inc                770 Township LiNE Rd                                                                  Yardley                PA      19067-4219               8/11/2022         680,492.99      Rawmat
   Crown Cork & Seal USA, Inc                770 Township LiNE Rd                                                                  Yardley                PA      19067-4219               8/12/2022         543,730.40      Rawmat
   Crown Cork & Seal USA, Inc                770 Township LiNE Rd                                                                  Yardley                PA      19067-4219               8/15/2022         659,680.06      Rawmat
   Crown Cork & Seal USA, Inc                770 Township LiNE Rd                                                                  Yardley                PA      19067-4219               8/15/2022         608,472.91      Rawmat
   Crown Cork & Seal USA, Inc                770 Township LiNE Rd                                                                  Yardley                PA      19067-4219               8/16/2022         518,638.62      Rawmat
   Crown Cork & Seal USA, Inc                770 Township LiNE Rd                                                                  Yardley                PA      19067-4219               8/16/2022         457,069.00      Rawmat
   Crown Cork & Seal USA, Inc                770 Township LiNE Rd                                                                  Yardley                PA      19067-4219               8/17/2022         142,236.00      Rawmat
   Crown Cork & Seal USA, Inc                770 Township LiNE Rd                                                                  Yardley                PA      19067-4219               8/18/2022         272,955.00      Rawmat
   Crown Cork & Seal USA, Inc                770 Township LiNE Rd                                                                  Yardley                PA      19067-4219               8/19/2022         366,498.71      Rawmat
   Crown Cork & Seal USA, Inc                770 Township LiNE Rd                                                                  Yardley                PA      19067-4219               8/22/2022         506,527.95      Rawmat
   Crown Cork & Seal USA, Inc                770 Township LiNE Rd                                                                  Yardley                PA      19067-4219               8/23/2022         281,640.96      Rawmat
   Crown Cork & Seal USA, Inc                770 Township LiNE Rd                                                                  Yardley                PA      19067-4219               8/24/2022         426,160.06      Rawmat
   Crown Cork & Seal USA, Inc                770 Township LiNE Rd                                                                  Yardley                PA      19067-4219               8/25/2022         245,076.34      Rawmat
   Crown Cork & Seal USA, Inc                770 Township LiNE Rd                                                                  Yardley                PA      19067-4219               8/26/2022         400,824.61      Rawmat
   Crown Cork & Seal USA, Inc                770 Township LiNE Rd                                                                  Yardley                PA      19067-4219               8/26/2022         397,096.40      Rawmat
   Crown Cork & Seal USA, Inc                770 Township LiNE Rd                                                                  Yardley                PA      19067-4219               8/29/2022         332,309.12      Rawmat
   Crown Cork & Seal USA, Inc                770 Township LiNE Rd                                                                  Yardley                PA      19067-4219               8/30/2022         485,643.06      Rawmat
   Crown Cork & Seal USA, Inc                770 Township LiNE Rd                                                                  Yardley                PA      19067-4219                9/6/2022         267,770.13      Rawmat
   Crown Cork & Seal USA, Inc                770 Township LiNE Rd                                                                  Yardley                PA      19067-4219                9/8/2022         359,118.03      Rawmat
   Crown Cork & Seal USA, Inc                770 Township LiNE Rd                                                                  Yardley                PA      19067-4219                9/9/2022         179,148.80      Rawmat
   Crown Cork & Seal USA, Inc                770 Township LiNE Rd                                                                  Yardley                PA      19067-4219               10/4/2022         283,137.25      Rawmat
   Crown Cork & Seal USA, Inc                770 Township LiNE Rd                                                                  Yardley                PA      19067-4219               10/6/2022         700,000.00      Rawmat
   Crown Credit Company                      44 S Washington St                                                                    New Bremen             OH      45869                     8/9/2022           4,293.79      Operating
   Crown Credit Company                      44 S Washington St                                                                    New Bremen             OH      45869                     9/8/2022           4,293.79      Operating
   Crown Lift Trucks                         2971 Center Port Cir                                                                  Pompano Beach          FL      33064                    7/13/2022               80.00     Leases
   Crown Lift Trucks                         2971 Center Port Cir                                                                  Pompano Beach          FL      33064                    7/19/2022           9,040.74      Leases
   Crown Lift Trucks                         2971 Center Port Cir                                                                  Pompano Beach          FL      33064                    7/29/2022           1,981.64      Leases
   Crown Lift Trucks                         2971 Center Port Cir                                                                  Pompano Beach          FL      33064                     8/4/2022              911.47     Leases
   Crown Lift Trucks                         2971 Center Port Cir                                                                  Pompano Beach          FL      33064                     8/9/2022              454.75     Leases




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                                                                              Certain payments or transfers to creditors within 90 days before filing this case




   Creditor's Name                            Address 1                      Address 2                          Address 3      Address 4 City                     State   Zip        Country   Payment Date      Payment Amount      Reason for Payment or Transfer
   Crown Lift Trucks                          2971 Center Port Cir                                                                       Pompano Beach            FL      33064                     8/9/2022              105.00     Leases
   Crown Lift Trucks                          2971 Center Port Cir                                                                       Pompano Beach            FL      33064                    8/17/2022              454.75     Leases
   Crown Lift Trucks                          2971 Center Port Cir                                                                       Pompano Beach            FL      33064                    8/24/2022           1,981.64      Leases
   Crown Lift Trucks                          2971 Center Port Cir                                                                       Pompano Beach            FL      33064                     9/8/2022              454.75     Leases
   Crown Lift Trucks                          2971 Center Port Cir                                                                       Pompano Beach            FL      33064                    9/12/2022              140.44     Leases
   Crown Lift Trucks                          2971 Center Port Cir                                                                       Pompano Beach            FL      33064                    10/6/2022           2,885.77      Leases
   CSPC Innovations USA Inc                   1221 W State St                                                                            Ontario                  CA      91762-4015               7/25/2022         281,600.00      Rawmat
   CSPC Innovations USA Inc                   1221 W State St                                                                            Ontario                  CA      91762-4015                8/1/2022         281,600.00      Rawmat
   CSPC Innovations USA Inc                   1221 W State St                                                                            Ontario                  CA      91762-4015               8/29/2022         141,504.00      Rawmat
   CVS Pharmacy, Inc                          One Cvs 1 Cvs Dr                                                                           Woonsocket               RI      02895-6146               8/11/2022         124,610.01      Wholesalers & Distributors
   CW Carriers Dedicated Inc                  509 S Falkenburg Rd                                                                        Tampa                    FL      33619-8005               7/18/2022          89,060.00      Freight
   CW Carriers Dedicated Inc                  509 S Falkenburg Rd                                                                        Tampa                    FL      33619-8005               7/19/2022          85,782.00      Freight
   CW Carriers Dedicated Inc                  509 S Falkenburg Rd                                                                        Tampa                    FL      33619-8005                8/2/2022         193,961.00      Freight
   CW Carriers Dedicated Inc                  509 S Falkenburg Rd                                                                        Tampa                    FL      33619-8005                9/6/2022          90,358.00      Freight
   [Creditor Name on File]                    [Address on File]                                                                                                                                 [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                    [Address on File]                                                                                                                                 [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                    [Address on File]                                                                                                                                 [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                    [Address on File]                                                                                                                                 [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                    [Address on File]                                                                                                                                 [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                    [Address on File]                                                                                                                                 [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                    [Address on File]                                                                                                                                 [Date on File]    [Amount on File]   Influencer
   Daryl S Lehman                             1600 N Park Dr                                                                               Weston                 FL      33326-3278               7/12/2022           1,900.53      Employee Expense Reimbursement
   Daryl S Lehman                             1600 N Park Dr                                                                               Weston                 FL      33326-3278               8/12/2022           2,265.91      Employee Expense Reimbursement
   Daryl S Lehman                             1600 N Park Dr                                                                               Weston                 FL      33326-3278               9/23/2022           2,355.75      Employee Expense Reimbursement
   Daryl S Lehman                             1600 N Park Dr                                                                               Weston                 FL      33326-3278               10/6/2022           1,639.50      Employee Expense Reimbursement
   Datasite LLC                               PO Box 74007252                                                                              Chicago                IL      60674-7252                8/1/2022           1,203.19      Operating
   Datasite LLC                               PO Box 74007252                                                                              Chicago                IL      60674-7252                8/3/2022          14,829.52      Operating
   Datasite LLC                               PO Box 74007252                                                                              Chicago                IL      60674-7252               10/7/2022              675.65     Operating
   David A Serrano                            1600 N Park Dr                                                                               Weston                 FL      33326-3278               8/17/2022           6,032.35      Employee Expense Reimbursement
   David A Serrano                            1600 N Park Dr                                                                               Weston                 FL      33326-3278               8/17/2022           5,000.00      Employee Expense Reimbursement
   [Creditor Name on File]                    [Address on File]                                                                                                                                 [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                    [Address on File]                                                                                                                                 [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                    [Address on File]                                                                                                                                 [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                    [Address on File]                                                                                                                                 [Date on File]    [Amount on File]   Influencer
   Delta Diversified Enterprises              425 W Gemini Dr                                                                              Tempe                  AZ      85283                    8/17/2022           3,050.00      Operating
   Delta Diversified Enterprises              425 W Gemini Dr                                                                              Tempe                  AZ      85283                    9/29/2022          23,172.00      Operating
   [Creditor Name on File]                    [Address on File]                                                                                                                                 [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                    [Address on File]                                                                                                                                 [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                    [Address on File]                                                                                                                                 [Date on File]    [Amount on File]   Influencer
   Direct Connect Logistix, Inc.              314 W Michigan St                                                                            Indianapolis           IN      46202-3204               7/15/2022         223,950.00      Freight
   Direct Connect Logistix, Inc.              314 W Michigan St                                                                            Indianapolis           IN      46202-3204               7/20/2022         209,873.00      Freight
   Direct Connect Logistix, Inc.              314 W Michigan St                                                                            Indianapolis           IN      46202-3204                8/3/2022         250,535.00      Freight
   Direct Connect Logistix, Inc.              314 W Michigan St                                                                            Indianapolis           IN      46202-3204               8/10/2022          73,325.00      Freight
   Direct Connect Logistix, Inc.              314 W Michigan St                                                                            Indianapolis           IN      46202-3204               8/12/2022         145,000.00      Freight
   Direct Connect Logistix, Inc.              314 W Michigan St                                                                            Indianapolis           IN      46202-3204               9/16/2022         144,775.00      Freight
   Direct Connect Logistix, Inc.              314 W Michigan St                                                                            Indianapolis           IN      46202-3204               9/21/2022          29,100.00      Freight
   Direct Connect Logistix, Inc.              314 W Michigan St                                                                            Indianapolis           IN      46202-3204               9/28/2022         201,116.00      Freight
   Direct Connect Logistix, Inc.              314 W Michigan St                                                                            Indianapolis           IN      46202-3204               9/29/2022         166,394.00      Freight
   Direct Connect Logistix, Inc.              314 W Michigan St                                                                            Indianapolis           IN      46202-3204               9/29/2022         147,299.00      Freight
   Direct Connect Logistix, Inc.              314 W Michigan St                                                                            Indianapolis           IN      46202-3204               10/5/2022         212,193.00      Freight
   Direct Connect Logistix, Inc.              314 W Michigan St                                                                            Indianapolis           IN      46202-3204               10/6/2022         151,668.00      Freight
   Diversified Label Images, Inc.             PO Box 101269                                                                                Irondale               AL      35210-6269               8/16/2022          44,507.30      Operating
   Dogwood Holdings, L.P Parkway Properties   4600 Touchton Rd East                                                                        Jacksonville           FL      32246                     8/1/2022          42,518.07      Rentals
   Dogwood Holdings, L.P Parkway Properties   4600 Touchton Rd East                                                                        Jacksonville           FL      32246                     9/1/2022          42,518.07      Rentals
   Domino Amjet, Inc                          3809 Collection Center Dr                                                                    Chicago                IL      60693                    7/26/2022          36,494.03      Rep&Maint
   Domino Amjet, Inc                          3809 Collection Center Dr                                                                    Chicago                IL      60693                    9/12/2022           6,690.52      Rep&Maint
   Doug Hedden Electric, Inc                  5722 S Flamingo Rd                                                                           Pembroke Pines         FL      33026                    8/24/2022           8,240.00      Rep&Maint
   Doug Hedden Electric, Inc                  5722 S Flamingo Rd                                                                           Pembroke Pines         FL      33026                    8/26/2022           1,950.00      Rep&Maint
   Douglas County Tax Commisioner             6200 Fairburn Rd                                                                             Douglasville           GA      30134                    7/25/2022               42.51     Operating
   Douglas County Tax Commisioner             6200 Fairburn Rd                                                                             Douglasville           GA      30134                    8/17/2022          34,937.61      Operating
   Douglas Smotherman                         1600 N Park Dr                                                                               Weston                 FL      33326-3278               7/25/2022           3,192.53      Employee Expense Reimbursement
   Douglas Smotherman                         1600 N Park Dr                                                                               Weston                 FL      33326-3278               8/12/2022           1,733.62      Employee Expense Reimbursement
   Douglas Smotherman                         1600 N Park Dr                                                                               Weston                 FL      33326-3278               9/16/2022           4,590.16      Employee Expense Reimbursement
   Douglasville-Douglas Country DDCWSA        PO Box 1157                                                                                  Douglasville           GA      30133                    7/14/2022           6,177.31      Operating
   Douglasville-Douglas Country DDCWSA        PO Box 1157                                                                                  Douglasville           GA      30133                    8/19/2022           4,868.31      Operating
   Douglasville-Douglas Country DDCWSA        PO Box 1157                                                                                  Douglasville           GA      30133                    9/21/2022          12,129.04      Operating
   Drake Convenience LLC                      PO Box 1347                                                                                  Anderson               SC      29622                     8/9/2022          13,425.00      Operating
   Driscoll, LLLP                             4715 N Chestnut St                                                                           Colorado Springs       CO      80907-3531               7/11/2022           1,254.02      Leases
   Driscoll, LLLP                             4715 N Chestnut St                                                                           Colorado Springs       CO      80907-3531                8/1/2022          18,735.96      Leases
   Driscoll, LLLP                             4715 N Chestnut St                                                                           Colorado Springs       CO      80907-3531               8/12/2022           1,264.99      Leases
   Driscoll, LLLP                             4715 N Chestnut St                                                                           Colorado Springs       CO      80907-3531                9/1/2022          18,735.96      Leases
   Driscoll, LLLP                             4715 N Chestnut St                                                                           Colorado Springs       CO      80907-3531               9/20/2022           1,446.48      Leases
   Duke Energy                                PO Box 1090                                                                                  Charlotte              NC      28201                    7/13/2022           2,239.73      Operating
   Duke Energy                                PO Box 1090                                                                                  Charlotte              NC      28201                    7/15/2022              767.73     Operating
   Duke Energy                                PO Box 1090                                                                                  Charlotte              NC      28201                    8/16/2022              814.38     Operating
   Duke Energy                                PO Box 1090                                                                                  Charlotte              NC      28201                    8/17/2022           2,649.14      Operating
   Duke Energy                                PO Box 1090                                                                                  Charlotte              NC      28201                    9/14/2022           2,272.53      Operating
   Duke Energy                                PO Box 1090                                                                                  Charlotte              NC      28201                    9/15/2022              804.92     Operating
   Duke Realty Limited Partnership            75 Remittance Dr, Suite 3205                                                                 Chicago                IL      60675-3205                8/1/2022          28,027.34      Leases
   Duke Realty Limited Partnership            75 Remittance Dr, Suite 3205                                                                 Chicago                IL      60675-3205                9/1/2022          28,027.34      Leases
   Dunkel Bros                                14555 Alondra Blvd                                                                           La Mirada              CA      90638-5602               7/12/2022          13,102.58      Operating
   Dunkel Bros                                14555 Alondra Blvd                                                                           La Mirada              CA      90638-5602               8/16/2022          13,102.58      Operating
   Dustin Rosser                              1600 N Park Dr                                                                               Weston                 FL      33326-3278               7/12/2022           2,892.74      Employee Expense Reimbursement
   Dustin Rosser                              1600 N Park Dr                                                                               Weston                 FL      33326-3278               8/12/2022           1,641.68      Employee Expense Reimbursement
   Dustin Rosser                              1600 N Park Dr                                                                               Weston                 FL      33326-3278               9/23/2022           1,718.71      Employee Expense Reimbursement




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                                                                                                                                                           Filed 11/11/22                         Page 29 of 79
                                                                                                              Certain payments or transfers to creditors within 90 days before filing this case




   Creditor's Name                                                Address 1                                  Address 2                          Address 3      Address 4 City                     State Zip        Country   Payment Date      Payment Amount      Reason for Payment or Transfer
   Dustin Rosser                                                  1600 N Park Dr                                                                                         Weston                   FL    33326-3278               10/7/2022           1,766.57      Employee Expense Reimbursement
   [Creditor Name on File]                                        [Address on File]                                                                                                                                           [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                                        [Address on File]                                                                                                                                           [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                                        [Address on File]                                                                                                                                           [Date on File]    [Amount on File]   Influencer
   Eastgroup Properties, LP                                       PO Box 534563                                                                                            Atlanta                GA   30353-4563                 8/1/2022         159,518.04      Occupancy
   Eastgroup Properties, LP                                       PO Box 534563                                                                                            Atlanta                GA   30353-4563                 8/1/2022          21,043.17      Occupancy
   Eastgroup Properties, LP                                       PO Box 534563                                                                                            Atlanta                GA   30353-4563                 8/1/2022          17,125.44      Occupancy
   Eastgroup Properties, LP                                       PO Box 534563                                                                                            Atlanta                GA   30353-4563                 9/1/2022         159,518.04      Occupancy
   Eastgroup Properties, LP                                       PO Box 534563                                                                                            Atlanta                GA   30353-4563                 9/1/2022          21,043.17      Occupancy
   Eastgroup Properties, LP                                       PO Box 534563                                                                                            Atlanta                GA   30353-4563                 9/1/2022          17,125.44      Occupancy
   Echo Global Logistics, Inc.                                    600 W Chicago Ave                                                                                        Chicago                IL   60654-2801                7/20/2022          10,450.00      Freight
   Ecolab Pest Elimination Ecolab, Inc.                           26252 Network Place                                                                                      Chicago                IL   60673                     7/22/2022           4,421.38      Rep&Maint
   Ecolab Pest Elimination Ecolab, Inc.                           26252 Network Place                                                                                      Chicago                IL   60673                      8/4/2022           5,063.28      Rep&Maint
   Ecolab Pest Elimination Ecolab, Inc.                           26252 Network Place                                                                                      Chicago                IL   60673                     8/12/2022              466.90     Rep&Maint
   Ecolab Pest Elimination Ecolab, Inc.                           26252 Network Place                                                                                      Chicago                IL   60673                      9/7/2022              941.90     Rep&Maint
   Ecolab Pest Elimination Ecolab, Inc.                           26252 Network Place                                                                                      Chicago                IL   60673                     9/13/2022           4,609.09      Rep&Maint
   Ecolab Pest Elimination Ecolab, Inc.                           26252 Network Place                                                                                      Chicago                IL   60673                     9/21/2022              933.80     Rep&Maint
   [Creditor Name on File]                                        [Address on File]                                                                                                                                           [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                                        [Address on File]                                                                                                                                           [Date on File]    [Amount on File]   Influencer
   EmpHire Staffing, Inc                                          8320 W SunriSE Blvd Ste 108                                                                              Plantation             FL   33322-5434                7/26/2022           2,573.28      Operating
   EmpHire Staffing, Inc                                          8320 W SunriSE Blvd Ste 108                                                                              Plantation             FL   33322-5434                7/29/2022           3,048.91      Operating
   EmpHire Staffing, Inc                                          8320 W SunriSE Blvd Ste 108                                                                              Plantation             FL   33322-5434                 8/9/2022           3,507.34      Operating
   EmpHire Staffing, Inc                                          8320 W SunriSE Blvd Ste 108                                                                              Plantation             FL   33322-5434                8/17/2022           3,024.80      Operating
   EmpHire Staffing, Inc                                          8320 W SunriSE Blvd Ste 108                                                                              Plantation             FL   33322-5434                8/24/2022           5,271.63      Operating
   EmpHire Staffing, Inc                                          8320 W SunriSE Blvd Ste 108                                                                              Plantation             FL   33322-5434                8/31/2022           2,329.43      Operating
   EmpHire Staffing, Inc                                          8320 W SunriSE Blvd Ste 108                                                                              Plantation             FL   33322-5434                 9/8/2022           1,973.70      Operating
   EmpHire Staffing, Inc                                          8320 W SunriSE Blvd Ste 108                                                                              Plantation             FL   33322-5434                9/12/2022           1,910.59      Operating
   England Logistics, Inc                                         4701 W 2100 S                                                                                            Salt Lake City         UT   84120-1223                7/18/2022         170,020.00      Freight
   England Logistics, Inc                                         4701 W 2100 S                                                                                            Salt Lake City         UT   84120-1223                7/19/2022         171,970.00      Freight
   England Logistics, Inc                                         4701 W 2100 S                                                                                            Salt Lake City         UT   84120-1223                 8/3/2022         173,140.00      Freight
   England Logistics, Inc                                         4701 W 2100 S                                                                                            Salt Lake City         UT   84120-1223                 8/3/2022         173,000.00      Freight
   England Logistics, Inc                                         4701 W 2100 S                                                                                            Salt Lake City         UT   84120-1223                 8/3/2022         161,350.00      Freight
   England Logistics, Inc                                         4701 W 2100 S                                                                                            Salt Lake City         UT   84120-1223                 8/3/2022         141,080.00      Freight
   England Logistics, Inc                                         4701 W 2100 S                                                                                            Salt Lake City         UT   84120-1223                8/25/2022         129,780.00      Freight
   England Logistics, Inc                                         4701 W 2100 S                                                                                            Salt Lake City         UT   84120-1223                 9/8/2022         199,402.55      Freight
   England Logistics, Inc                                         4701 W 2100 S                                                                                            Salt Lake City         UT   84120-1223                 9/8/2022         165,880.00      Freight
   England Logistics, Inc                                         4701 W 2100 S                                                                                            Salt Lake City         UT   84120-1223                9/12/2022         114,400.00      Freight
   England Logistics, Inc                                         4701 W 2100 S                                                                                            Salt Lake City         UT   84120-1223                9/14/2022          75,220.00      Freight
   England Logistics, Inc                                         4701 W 2100 S                                                                                            Salt Lake City         UT   84120-1223                9/15/2022         105,900.00      Freight
   England Logistics, Inc                                         4701 W 2100 S                                                                                            Salt Lake City         UT   84120-1223                9/15/2022          46,850.00      Freight
   England Logistics, Inc                                         4701 W 2100 S                                                                                            Salt Lake City         UT   84120-1223                9/29/2022         113,955.00      Freight
   England Logistics, Inc                                         4701 W 2100 S                                                                                            Salt Lake City         UT   84120-1223                9/29/2022         104,373.86      Freight
   England Logistics, Inc                                         4701 W 2100 S                                                                                            Salt Lake City         UT   84120-1223                10/5/2022         100,000.00      Freight
   [Creditor Name on File]                                        [Address on File]                                                                                                                                           [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                                        [Address on File]                                                                                                                                           [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                                        [Address on File]                                                                                                                                           [Date on File]    [Amount on File]   Influencer
   EVAFOA Eastern Virginia FOA                                    40 Sherry Dell Dr                                                                                        Hampton                VA   23666-1822                 8/1/2022          10,000.00      Tradeshows
   [Creditor Name on File]                                        [Address on File]                                                                                                                                           [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                                        [Address on File]                                                                                                                                           [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                                        [Address on File]                                                                                                                                           [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                                        [Address on File]                                                                                                                                           [Date on File]    [Amount on File]   Influencer
   EVOX Holding, LLC                                              1099 18th St Ste 2900                                                                                    Denver                 CO   80202-1929                 8/1/2022         308,964.57      Rentals
   EVOX Holding, LLC                                              1099 18th St Ste 2900                                                                                    Denver                 CO   80202-1929                 9/1/2022         308,964.57      Rentals
   EVOX Holding, LLC                                              1099 18th St Ste 2900                                                                                    Denver                 CO   80202-1929                9/30/2022         308,964.57      Rentals
   Expolanka USA LLC                                              230-79 International Airport Center Blvd   Springfield Gardens                                           Rosedale               NY   11413                     7/15/2022          98,073.80      Freight
   Expolanka USA LLC                                              230-79 International Airport Center Blvd   Springfield Gardens                                           Rosedale               NY   11413                     7/19/2022         104,401.04      Freight
   Expolanka USA LLC                                              230-79 International Airport Center Blvd   Springfield Gardens                                           Rosedale               NY   11413                      9/6/2022          39,830.58      Freight
   Extra Duty Solutions Hart Halsey LLC.                          1 Waterview Dr Ste 101                                                                                   Shelton                CT   06484-4368                7/15/2022          28,208.30      Occupancy
   Extra Duty Solutions Hart Halsey LLC.                          1 Waterview Dr Ste 101                                                                                   Shelton                CT   06484-4368                 8/8/2022          25,942.80      Occupancy
   Extra Duty Solutions Hart Halsey LLC.                          1 Waterview Dr Ste 101                                                                                   Shelton                CT   06484-4368                8/19/2022          10,318.70      Occupancy
   Extra Duty Solutions Hart Halsey LLC.                          1 Waterview Dr Ste 101                                                                                   Shelton                CT   06484-4368                8/30/2022          15,615.60      Occupancy
   Extra Duty Solutions Hart Halsey LLC.                          1 Waterview Dr Ste 101                                                                                   Shelton                CT   06484-4368                9/29/2022          73,627.93      Occupancy
   ExtraMile Convenience Stores LLC                               3450 E Commercial Ct                                                                                     Meridian               ID   83642-8915                8/11/2022          42,077.97      Wholesalers & Distributors
   Faegre Drinker Biddle & Reath LLP                              One Logan Square Ste2000                                                                                 Philadelphia           PA   19103-6996                7/27/2022          17,441.00      Operating
   Family Dollar, Inc                                             500 Volvo Pkwy                                                                                           Chesapeake             VA   23320-1604                 8/4/2022                1.50     Operating
   Family Dollar, Inc                                             500 Volvo Pkwy                                                                                           Chesapeake             VA   23320-1604                8/10/2022          99,386.88      Operating
   Family Dollar, Inc                                             500 Volvo Pkwy                                                                                           Chesapeake             VA   23320-1604                8/16/2022         118,912.51      Operating
   Family Dollar, Inc                                             500 Volvo Pkwy                                                                                           Chesapeake             VA   23320-1604                8/16/2022          85,275.00      Operating
   Faulkner ADR Law, PLLC                                         12770 Coit Rd Ste 720                                                                                    Dallas                 TX   75251-1454                7/19/2022          50,000.00      Professional
   FedEx                                                          942 South Shady Grove Road                                                                               Memphis                TN   38120                     7/20/2022         165,024.18      Freight
   FedEx                                                          942 South Shady Grove Road                                                                               Memphis                TN   38120                     8/22/2022         105,359.00      Freight
   FedEx                                                          942 South Shady Grove Road                                                                               Memphis                TN   38120                     8/22/2022          33,032.46      Freight
   FedEx                                                          942 South Shady Grove Road                                                                               Memphis                TN   38120                     8/22/2022           8,652.59      Freight
   FedEx                                                          942 South Shady Grove Road                                                                               Memphis                TN   38120                     8/22/2022           1,501.91      Freight
   FedEx                                                          942 South Shady Grove Road                                                                               Memphis                TN   38120                     8/22/2022              777.57     Freight
   Fiesta Warehousing and Distribution Co. Brokers Logistics LT   302 N Tayman St                                                                                          San Antonio            TX   78226                     7/18/2022          84,538.36      Freight
   Fiesta Warehousing and Distribution Co. Brokers Logistics LT   302 N Tayman St                                                                                          San Antonio            TX   78226                     7/22/2022         140,203.02      Freight
   [Creditor Name on File]                                        [Address on File]                                                                                                                                           [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                                        [Address on File]                                                                                                                                           [Date on File]    [Amount on File]   Influencer
   Fire Systems, Inc.                                             4700 Highlands Pkwy Se                                                                                   Smyrna                 GA   30082-7221                7/22/2022           4,649.15      Rep&Maint
   Fire Systems, Inc.                                             4700 Highlands Pkwy Se                                                                                   Smyrna                 GA   30082-7221                8/30/2022           5,776.52      Rep&Maint
   Fire Systems, Inc.                                             4700 Highlands Pkwy Se                                                                                   Smyrna                 GA   30082-7221                8/31/2022           7,734.57      Rep&Maint
   Fire Systems, Inc.                                             4700 Highlands Pkwy Se                                                                                   Smyrna                 GA   30082-7221                9/19/2022           5,241.00      Rep&Maint
   First Insurance Funding                                        PO Box 7000                                                                                              Carol Stream           IL   60197                     7/27/2022         549,219.60      Insurance
   First Insurance Funding                                        PO Box 7000                                                                                              Carol Stream           IL   60197                     8/26/2022         549,219.60      Insurance




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                                                                              Certain payments or transfers to creditors within 90 days before filing this case




   Creditor's Name                           Address 1                       Address 2                          Address 3      Address 4 City                     State Zip         Country     Payment Date      Payment Amount      Reason for Payment or Transfer
   First Insurance Funding                   PO Box 7000                                                                                 Carol Stream             IL    60197                       9/27/2022         549,219.60      Insurance
   [Creditor Name on File]                   [Address on File]                                                                                                                                   [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                   [Address on File]                                                                                                                                   [Date on File]    [Amount on File]   Influencer
   Flavor Materials International            10 Engelhard Ave                                                                              Avenel                 NJ   07001                        7/18/2022          32,105.72      Rawmat
   Flavor Materials International            10 Engelhard Ave                                                                              Avenel                 NJ   07001                        8/25/2022          45,685.01      Rawmat
   Flavor Materials International            10 Engelhard Ave                                                                              Avenel                 NJ   07001                        8/29/2022              965.80     Rawmat
   Flavor Producers, Inc                     8521 Fallbrook Ave Suite 380                                                                  West Hills             CA   91304-3239                   7/26/2022          14,206.01      Rawmat
   Flavor Producers, Inc                     8521 Fallbrook Ave Suite 380                                                                  West Hills             CA   91304-3239                   8/25/2022          21,110.24      Rawmat
   FleetWash                                 PO Box 36014                                                                                  Newark                 NJ   07188-6014                   7/18/2022           8,213.39      Operating
   FleetWash                                 PO Box 36014                                                                                  Newark                 NJ   07188-6014                   8/22/2022           1,652.25      Operating
   FleetWash                                 PO Box 36014                                                                                  Newark                 NJ   07188-6014                   8/24/2022           1,078.92      Operating
   FleetWash                                 PO Box 36014                                                                                  Newark                 NJ   07188-6014                   9/20/2022           4,671.73      Operating
   Fona International Inc.                   1900 Averill Rd                                                                               Geneva                 IL   60134                        7/18/2022         203,620.31      Rawmat
   Fona International Inc.                   1900 Averill Rd                                                                               Geneva                 IL   60134                        8/24/2022         229,123.19      Rawmat
   Fona International Inc.                   1900 Averill Rd                                                                               Geneva                 IL   60134                        8/31/2022         248,468.00      Rawmat
   Food Lion                                 2110 Executive Dr                                                                             Salisbury              NC   28147                        8/11/2022         101,580.93      Operating
   FORVIS, LLP                               910 E Saint Louis St Ste 400                                                                  Springfield            MO   65806-2570                   7/18/2022                1.34     Professional
   FORVIS, LLP                               910 E Saint Louis St Ste 400                                                                  Springfield            MO   65806-2570                   7/27/2022           4,132.66      Professional
   FORVIS, LLP                               910 E Saint Louis St Ste 400                                                                  Springfield            MO   65806-2570                    8/3/2022           5,492.00      Professional
   FPL                                       FPL General Mail Facility                                                                     Miami                  FL   33188                        7/12/2022          21,084.19      Occupancy
   FPL                                       FPL General Mail Facility                                                                     Miami                  FL   33188                        7/12/2022           3,928.57      Occupancy
   FPL                                       FPL General Mail Facility                                                                     Miami                  FL   33188                        7/12/2022           2,247.92      Occupancy
   FPL                                       FPL General Mail Facility                                                                     Miami                  FL   33188                        7/12/2022               36.66     Occupancy
   FPL                                       FPL General Mail Facility                                                                     Miami                  FL   33188                        7/19/2022              553.19     Occupancy
   FPL                                       FPL General Mail Facility                                                                     Miami                  FL   33188                        7/27/2022           1,312.67      Occupancy
   FPL                                       FPL General Mail Facility                                                                     Miami                  FL   33188                         8/2/2022           4,353.70      Occupancy
   FPL                                       FPL General Mail Facility                                                                     Miami                  FL   33188                         8/2/2022           1,328.04      Occupancy
   FPL                                       FPL General Mail Facility                                                                     Miami                  FL   33188                         8/2/2022              473.20     Occupancy
   FPL                                       FPL General Mail Facility                                                                     Miami                  FL   33188                         8/3/2022          21,013.70      Occupancy
   FPL                                       FPL General Mail Facility                                                                     Miami                  FL   33188                         8/3/2022           2,695.64      Occupancy
   FPL                                       FPL General Mail Facility                                                                     Miami                  FL   33188                         8/3/2022           2,402.23      Occupancy
   FPL                                       FPL General Mail Facility                                                                     Miami                  FL   33188                         8/9/2022          25,176.60      Occupancy
   FPL                                       FPL General Mail Facility                                                                     Miami                  FL   33188                        8/10/2022           3,245.72      Occupancy
   FPL                                       FPL General Mail Facility                                                                     Miami                  FL   33188                        8/10/2022           2,541.75      Occupancy
   FPL                                       FPL General Mail Facility                                                                     Miami                  FL   33188                        8/10/2022               36.97     Occupancy
   FPL                                       FPL General Mail Facility                                                                     Miami                  FL   33188                        8/17/2022           3,415.01      Occupancy
   FPL                                       FPL General Mail Facility                                                                     Miami                  FL   33188                        8/17/2022              540.50     Occupancy
   FPL                                       FPL General Mail Facility                                                                     Miami                  FL   33188                        8/18/2022          54,002.65      Occupancy
   FPL                                       FPL General Mail Facility                                                                     Miami                  FL   33188                        8/30/2022           2,605.43      Occupancy
   FPL                                       FPL General Mail Facility                                                                     Miami                  FL   33188                        8/30/2022           1,536.83      Occupancy
   FPL                                       FPL General Mail Facility                                                                     Miami                  FL   33188                        8/30/2022              521.86     Occupancy
   FPL                                       FPL General Mail Facility                                                                     Miami                  FL   33188                        8/31/2022              569.54     Occupancy
   FPL                                       FPL General Mail Facility                                                                     Miami                  FL   33188                        9/12/2022          22,271.53      Occupancy
   FPL                                       FPL General Mail Facility                                                                     Miami                  FL   33188                        9/13/2022           4,148.74      Occupancy
   FPL                                       FPL General Mail Facility                                                                     Miami                  FL   33188                        9/13/2022           2,905.97      Occupancy
   FPL                                       FPL General Mail Facility                                                                     Miami                  FL   33188                        9/13/2022               36.97     Occupancy
   FPL                                       FPL General Mail Facility                                                                     Miami                  FL   33188                        9/20/2022              613.65     Occupancy
   FPL                                       FPL General Mail Facility                                                                     Miami                  FL   33188                        9/27/2022           1,587.93      Occupancy
   FPL                                       FPL General Mail Facility                                                                     Miami                  FL   33188                        10/3/2022           2,400.96      Occupancy
   FPL                                       FPL General Mail Facility                                                                     Miami                  FL   33188                        10/3/2022              563.22     Occupancy
   FPL                                       FPL General Mail Facility                                                                     Miami                  FL   33188                        10/4/2022              554.16     Occupancy
   [Creditor Name on File]                   [Address on File]                                                                                                                                   [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                   [Address on File]                                                                                                                                   [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                   [Address on File]                                                                                                                                   [Date on File]    [Amount on File]   Influencer
   Francis Massabki                          1600 N Park Dr                                                                                Weston                 FL   33326-3278                    9/9/2022           4,742.73      Employee Expense Reimbursement
   Francis Massabki                          1600 N Park Dr                                                                                Weston                 FL   33326-3278                    9/9/2022           2,964.17      Employee Expense Reimbursement
   Francis Massabki                          1600 N Park Dr                                                                                Weston                 FL   33326-3278                    9/9/2022           1,959.48      Employee Expense Reimbursement
   Francis Massabki                          1600 N Park Dr                                                                                Weston                 FL   33326-3278                    9/9/2022           1,246.29      Employee Expense Reimbursement
   Francis Massabki                          1600 N Park Dr                                                                                Weston                 FL   33326-3278                   9/14/2022           6,147.76      Employee Expense Reimbursement
   Francis Massabki                          1600 N Park Dr                                                                                Weston                 FL   33326-3278                   9/14/2022           4,199.10      Employee Expense Reimbursement
   Francis Massabki                          1600 N Park Dr                                                                                Weston                 FL   33326-3278                   9/14/2022           1,039.51      Employee Expense Reimbursement
   Francis Massabki                          1600 N Park Dr                                                                                Weston                 FL   33326-3278                   9/14/2022              949.78     Employee Expense Reimbursement
   Francis Massabki                          1600 N Park Dr                                                                                Weston                 FL   33326-3278                   9/16/2022              104.63     Employee Expense Reimbursement
   Frank Guagenti                            1600 N Park Dr                                                                                Weston                 FL   33326-3278                   7/12/2022           2,357.81      Employee Expense Reimbursement
   Frank Guagenti                            1600 N Park Dr                                                                                Weston                 FL   33326-3278                   8/18/2022           2,654.97      Employee Expense Reimbursement
   Frank Guagenti                            1600 N Park Dr                                                                                Weston                 FL   33326-3278                   9/21/2022           2,772.03      Employee Expense Reimbursement
   Frank Guagenti                            1600 N Park Dr                                                                                Weston                 FL   33326-3278                   9/29/2022           1,661.36      Employee Expense Reimbursement
   [Creditor Name on File]                   [Address on File]                                                                                                                                   [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                   [Address on File]                                                                                                                                   [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                   [Address on File]                                                                                                                                   [Date on File]    [Amount on File]   Influencer
   Fuller Enterprises USA, Inc.              1735 E. Grevillea Ct.                                                                         Ontario                CA   91761                        8/31/2022           8,700.00      Rawmat
   Fusion Logistics Services, LLC            PO Box 33080                                                                                  Lakeland               FL   33807-3080                   7/28/2022          19,390.00      Freight
   Fusion Logistics Services, LLC            PO Box 33080                                                                                  Lakeland               FL   33807-3080                    8/1/2022          51,205.00      Freight
   Fusion Logistics Services, LLC            PO Box 33080                                                                                  Lakeland               FL   33807-3080                   8/11/2022         219,216.17      Freight
   Fusion Logistics Services, LLC            PO Box 33080                                                                                  Lakeland               FL   33807-3080                   8/24/2022         219,216.16      Freight
   Fusion Logistics Services, LLC            PO Box 33080                                                                                  Lakeland               FL   33807-3080                    9/6/2022          10,200.00      Freight
   Fusion Logistics Services, LLC            PO Box 33080                                                                                  Lakeland               FL   33807-3080                   9/19/2022         154,476.90      Freight
   Fusion Logistics Services, LLC            PO Box 33080                                                                                  Lakeland               FL   33807-3080                   9/19/2022         103,303.77      Freight
   Futur Limited Co                          2 Lowe House, 12 Hebden Place                                                                 London                      SW8 2FT United Kingdom       7/18/2022           4,800.00      Influencer
   Futur Limited Co                          2 Lowe House, 12 Hebden Place                                                                 London                      SW8 2FT United Kingdom       7/18/2022           2,500.00      Influencer
   Futur Limited Co                          2 Lowe House, 12 Hebden Place                                                                 London                      SW8 2FT United Kingdom        8/4/2022           2,500.00      Influencer
   [Creditor Name on File]                   [Address on File]                                                                                                                                   [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                   [Address on File]                                                                                                                                   [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                   [Address on File]                                                                                                                                   [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                   [Address on File]                                                                                                                                   [Date on File]    [Amount on File]   Influencer




In re: Vital Pharmaceuticals, Inc., et al.
Case No. 22-17842 (PDR)                                                                                        Page 10 of 27
                                                         Case 22-17842-PDR                 Doc 325        Exhibit SOFA 3
                                                                                                                        Filed 11/11/22                          Page 31 of 79
                                                                           Certain payments or transfers to creditors within 90 days before filing this case




   Creditor's Name                            Address 1                   Address 2                          Address 3      Address 4 City                     State   Zip        Country   Payment Date      Payment Amount      Reason for Payment or Transfer
   Gate Petroleum Company                     9540 San JoSE Blvd                                                                      Jacksonville             FL      32257-5432               8/24/2022          16,520.41      Wholesalers & Distributors
   Genesis Global Workforce Solutions         3000 SW 148th Ave Ste 116                                                               Miramar                  FL      33027-4181               7/12/2022          38,268.65      Operating
   Genesis Global Workforce Solutions         3000 SW 148th Ave Ste 116                                                               Miramar                  FL      33027-4181               7/19/2022          45,753.75      Operating
   Genesis Global Workforce Solutions         3000 SW 148th Ave Ste 116                                                               Miramar                  FL      33027-4181               7/26/2022          46,222.50      Operating
   Genesis Global Workforce Solutions         3000 SW 148th Ave Ste 116                                                               Miramar                  FL      33027-4181                8/9/2022          36,077.05      Operating
   Genesis Global Workforce Solutions         3000 SW 148th Ave Ste 116                                                               Miramar                  FL      33027-4181                8/9/2022           4,400.00      Operating
   Genesis Global Workforce Solutions         3000 SW 148th Ave Ste 116                                                               Miramar                  FL      33027-4181               8/24/2022          43,259.00      Operating
   Genesis Global Workforce Solutions         3000 SW 148th Ave Ste 116                                                               Miramar                  FL      33027-4181               8/29/2022          83,280.00      Operating
   Genesis Global Workforce Solutions         3000 SW 148th Ave Ste 116                                                               Miramar                  FL      33027-4181                9/2/2022          47,697.05      Operating
   Genesis Global Workforce Solutions         3000 SW 148th Ave Ste 116                                                               Miramar                  FL      33027-4181               9/23/2022          27,880.00      Operating
   [Creditor Name on File]                    [Address on File]                                                                                                                              [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                    [Address on File]                                                                                                                              [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                    [Address on File]                                                                                                                              [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                    [Address on File]                                                                                                                              [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                    [Address on File]                                                                                                                              [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                    [Address on File]                                                                                                                              [Date on File]    [Amount on File]   Influencer
   GHRA Greater Houston Retailers             12790 S Kirkwood Rd                                                                       Stafford               TX      77477-3810               8/19/2022         239,238.68      Wholesalers & Distributors
   Gimmel Tammuz Realty I-70 Industrial Ctr   17304 Preston Rd                                                                          Dallas                 TX      75252                     8/1/2022          14,375.97      Occupancy
   Gimmel Tammuz Realty I-70 Industrial Ctr   17304 Preston Rd                                                                          Dallas                 TX      75252                     9/1/2022          14,375.97      Occupancy
   Glen Raven Logistics Inc.                  1831 N Park Ave                                                                           Burlington             NC      27217-1137               7/14/2022         134,971.00      Freight
   Glen Raven Logistics Inc.                  1831 N Park Ave                                                                           Burlington             NC      27217-1137               7/18/2022         133,042.00      Freight
   Glen Raven Logistics Inc.                  1831 N Park Ave                                                                           Burlington             NC      27217-1137               7/22/2022         154,373.00      Freight
   Glen Raven Logistics Inc.                  1831 N Park Ave                                                                           Burlington             NC      27217-1137               7/25/2022         154,391.00      Freight
   Glen Raven Logistics Inc.                  1831 N Park Ave                                                                           Burlington             NC      27217-1137               7/25/2022         153,420.00      Freight
   Glen Raven Logistics Inc.                  1831 N Park Ave                                                                           Burlington             NC      27217-1137               8/11/2022         142,796.00      Freight
   Glen Raven Logistics Inc.                  1831 N Park Ave                                                                           Burlington             NC      27217-1137               8/19/2022         128,790.00      Freight
   Glen Raven Logistics Inc.                  1831 N Park Ave                                                                           Burlington             NC      27217-1137               8/30/2022         133,245.72      Freight
   Glen Raven Logistics Inc.                  1831 N Park Ave                                                                           Burlington             NC      27217-1137               9/12/2022          74,185.88      Freight
   Glen Raven Logistics Inc.                  1831 N Park Ave                                                                           Burlington             NC      27217-1137               9/23/2022          59,316.00      Freight
   Glen Raven Logistics Inc.                  1831 N Park Ave                                                                           Burlington             NC      27217-1137               9/29/2022         100,000.00      Freight
   Global Industrial Equipment                2505 Mill Center Pkwy       Ste 100                                                       Buford                 GA      30518-3700                8/9/2022           6,977.14      Operating
   Global Industrial Equipment                2505 Mill Center Pkwy       Ste 100                                                       Buford                 GA      30518-3700               8/25/2022          21,855.90      Operating
   GM Financial Leasing                       PO Box 78143                                                                              Phoenix                AZ      85062-8143               7/12/2022           1,145.67      Operating
   GM Financial Leasing                       PO Box 78143                                                                              Phoenix                AZ      85062-8143               7/12/2022           1,145.67      Operating
   GM Financial Leasing                       PO Box 78143                                                                              Phoenix                AZ      85062-8143               7/12/2022           1,145.67      Operating
   GM Financial Leasing                       PO Box 78143                                                                              Phoenix                AZ      85062-8143               7/12/2022           1,145.67      Operating
   GM Financial Leasing                       PO Box 78143                                                                              Phoenix                AZ      85062-8143               7/12/2022           1,145.67      Operating
   GM Financial Leasing                       PO Box 78143                                                                              Phoenix                AZ      85062-8143               7/12/2022           1,112.90      Operating
   GM Financial Leasing                       PO Box 78143                                                                              Phoenix                AZ      85062-8143               7/12/2022           1,112.90      Operating
   GM Financial Leasing                       PO Box 78143                                                                              Phoenix                AZ      85062-8143               7/12/2022           1,112.90      Operating
   GM Financial Leasing                       PO Box 78143                                                                              Phoenix                AZ      85062-8143               7/12/2022           1,112.90      Operating
   GM Financial Leasing                       PO Box 78143                                                                              Phoenix                AZ      85062-8143               7/12/2022           1,112.90      Operating
   GM Financial Leasing                       PO Box 78143                                                                              Phoenix                AZ      85062-8143               7/12/2022           1,112.90      Operating
   GM Financial Leasing                       PO Box 78143                                                                              Phoenix                AZ      85062-8143               7/12/2022           1,103.60      Operating
   GM Financial Leasing                       PO Box 78143                                                                              Phoenix                AZ      85062-8143               7/12/2022           1,103.60      Operating
   GM Financial Leasing                       PO Box 78143                                                                              Phoenix                AZ      85062-8143               7/12/2022           1,103.60      Operating
   GM Financial Leasing                       PO Box 78143                                                                              Phoenix                AZ      85062-8143               7/12/2022           1,103.60      Operating
   GM Financial Leasing                       PO Box 78143                                                                              Phoenix                AZ      85062-8143               7/12/2022           1,103.60      Operating
   GM Financial Leasing                       PO Box 78143                                                                              Phoenix                AZ      85062-8143               7/12/2022           1,103.60      Operating
   GM Financial Leasing                       PO Box 78143                                                                              Phoenix                AZ      85062-8143               7/12/2022              972.77     Operating
   GM Financial Leasing                       PO Box 78143                                                                              Phoenix                AZ      85062-8143               7/13/2022           1,180.69      Operating
   GM Financial Leasing                       PO Box 78143                                                                              Phoenix                AZ      85062-8143               7/13/2022           1,180.69      Operating
   GM Financial Leasing                       PO Box 78143                                                                              Phoenix                AZ      85062-8143               7/13/2022           1,180.69      Operating
   GM Financial Leasing                       PO Box 78143                                                                              Phoenix                AZ      85062-8143               7/13/2022           1,180.69      Operating
   GM Financial Leasing                       PO Box 78143                                                                              Phoenix                AZ      85062-8143               7/13/2022           1,180.69      Operating
   GM Financial Leasing                       PO Box 78143                                                                              Phoenix                AZ      85062-8143               7/13/2022           1,180.69      Operating
   GM Financial Leasing                       PO Box 78143                                                                              Phoenix                AZ      85062-8143               7/13/2022           1,180.69      Operating
   GM Financial Leasing                       PO Box 78143                                                                              Phoenix                AZ      85062-8143               7/13/2022           1,180.69      Operating
   GM Financial Leasing                       PO Box 78143                                                                              Phoenix                AZ      85062-8143               7/13/2022           1,180.69      Operating
   GM Financial Leasing                       PO Box 78143                                                                              Phoenix                AZ      85062-8143               7/13/2022           1,180.69      Operating
   GM Financial Leasing                       PO Box 78143                                                                              Phoenix                AZ      85062-8143               7/13/2022           1,180.69      Operating
   GM Financial Leasing                       PO Box 78143                                                                              Phoenix                AZ      85062-8143               7/13/2022           1,180.69      Operating
   GM Financial Leasing                       PO Box 78143                                                                              Phoenix                AZ      85062-8143               7/13/2022           1,180.69      Operating
   GM Financial Leasing                       PO Box 78143                                                                              Phoenix                AZ      85062-8143               7/13/2022           1,180.69      Operating
   GM Financial Leasing                       PO Box 78143                                                                              Phoenix                AZ      85062-8143               7/13/2022           1,180.69      Operating
   GM Financial Leasing                       PO Box 78143                                                                              Phoenix                AZ      85062-8143               7/19/2022           1,184.23      Operating
   GM Financial Leasing                       PO Box 78143                                                                              Phoenix                AZ      85062-8143               7/19/2022           1,184.23      Operating
   GM Financial Leasing                       PO Box 78143                                                                              Phoenix                AZ      85062-8143               7/19/2022           1,184.23      Operating
   GM Financial Leasing                       PO Box 78143                                                                              Phoenix                AZ      85062-8143               7/19/2022           1,184.23      Operating
   GM Financial Leasing                       PO Box 78143                                                                              Phoenix                AZ      85062-8143               7/19/2022           1,184.23      Operating
   GM Financial Leasing                       PO Box 78143                                                                              Phoenix                AZ      85062-8143               7/19/2022           1,184.23      Operating
   GM Financial Leasing                       PO Box 78143                                                                              Phoenix                AZ      85062-8143               7/19/2022           1,184.23      Operating
   GM Financial Leasing                       PO Box 78143                                                                              Phoenix                AZ      85062-8143               7/19/2022           1,184.23      Operating
   GM Financial Leasing                       PO Box 78143                                                                              Phoenix                AZ      85062-8143               7/19/2022           1,184.23      Operating
   GM Financial Leasing                       PO Box 78143                                                                              Phoenix                AZ      85062-8143               7/19/2022           1,184.23      Operating
   GM Financial Leasing                       PO Box 78143                                                                              Phoenix                AZ      85062-8143               7/19/2022           1,184.23      Operating
   GM Financial Leasing                       PO Box 78143                                                                              Phoenix                AZ      85062-8143               7/19/2022           1,184.23      Operating
   GM Financial Leasing                       PO Box 78143                                                                              Phoenix                AZ      85062-8143               7/29/2022           1,997.86      Operating
   GM Financial Leasing                       PO Box 78143                                                                              Phoenix                AZ      85062-8143               7/29/2022           1,997.86      Operating
   GM Financial Leasing                       PO Box 78143                                                                              Phoenix                AZ      85062-8143               7/29/2022           1,997.86      Operating
   GM Financial Leasing                       PO Box 78143                                                                              Phoenix                AZ      85062-8143               7/29/2022           1,997.86      Operating
   GM Financial Leasing                       PO Box 78143                                                                              Phoenix                AZ      85062-8143               7/29/2022           1,581.99      Operating
   GM Financial Leasing                       PO Box 78143                                                                              Phoenix                AZ      85062-8143               7/29/2022              847.17     Operating
   GM Financial Leasing                       PO Box 78143                                                                              Phoenix                AZ      85062-8143                8/1/2022           1,554.63      Operating
   GM Financial Leasing                       PO Box 78143                                                                              Phoenix                AZ      85062-8143                8/1/2022           1,554.63      Operating




In re: Vital Pharmaceuticals, Inc., et al.
Case No. 22-17842 (PDR)                                                                                     Page 11 of 27
                                                       Case 22-17842-PDR             Doc 325        Exhibit SOFA 3
                                                                                                                  Filed 11/11/22                          Page 32 of 79
                                                                     Certain payments or transfers to creditors within 90 days before filing this case




   Creditor's Name                           Address 1              Address 2                          Address 3      Address 4 City                     State   Zip        Country   Payment Date   Payment Amount    Reason for Payment or Transfer
   GM Financial Leasing                      PO Box 78143                                                                       Phoenix                  AZ      85062-8143               8/1/2022         1,554.63    Operating
   GM Financial Leasing                      PO Box 78143                                                                       Phoenix                  AZ      85062-8143               8/1/2022         1,554.63    Operating
   GM Financial Leasing                      PO Box 78143                                                                       Phoenix                  AZ      85062-8143               8/1/2022         1,554.63    Operating
   GM Financial Leasing                      PO Box 78143                                                                       Phoenix                  AZ      85062-8143               8/1/2022         1,554.63    Operating
   GM Financial Leasing                      PO Box 78143                                                                       Phoenix                  AZ      85062-8143               8/1/2022         1,554.63    Operating
   GM Financial Leasing                      PO Box 78143                                                                       Phoenix                  AZ      85062-8143               8/1/2022         1,554.63    Operating
   GM Financial Leasing                      PO Box 78143                                                                       Phoenix                  AZ      85062-8143               8/1/2022         1,554.63    Operating
   GM Financial Leasing                      PO Box 78143                                                                       Phoenix                  AZ      85062-8143               8/1/2022         1,554.63    Operating
   GM Financial Leasing                      PO Box 78143                                                                       Phoenix                  AZ      85062-8143               8/8/2022         1,150.69    Operating
   GM Financial Leasing                      PO Box 78143                                                                       Phoenix                  AZ      85062-8143               8/8/2022         1,150.69    Operating
   GM Financial Leasing                      PO Box 78143                                                                       Phoenix                  AZ      85062-8143              8/12/2022         1,145.67    Operating
   GM Financial Leasing                      PO Box 78143                                                                       Phoenix                  AZ      85062-8143              8/12/2022         1,145.67    Operating
   GM Financial Leasing                      PO Box 78143                                                                       Phoenix                  AZ      85062-8143              8/12/2022         1,145.67    Operating
   GM Financial Leasing                      PO Box 78143                                                                       Phoenix                  AZ      85062-8143              8/12/2022         1,145.67    Operating
   GM Financial Leasing                      PO Box 78143                                                                       Phoenix                  AZ      85062-8143              8/12/2022         1,145.67    Operating
   GM Financial Leasing                      PO Box 78143                                                                       Phoenix                  AZ      85062-8143              8/12/2022         1,112.90    Operating
   GM Financial Leasing                      PO Box 78143                                                                       Phoenix                  AZ      85062-8143              8/12/2022         1,112.90    Operating
   GM Financial Leasing                      PO Box 78143                                                                       Phoenix                  AZ      85062-8143              8/12/2022         1,112.90    Operating
   GM Financial Leasing                      PO Box 78143                                                                       Phoenix                  AZ      85062-8143              8/12/2022         1,112.90    Operating
   GM Financial Leasing                      PO Box 78143                                                                       Phoenix                  AZ      85062-8143              8/12/2022         1,112.90    Operating
   GM Financial Leasing                      PO Box 78143                                                                       Phoenix                  AZ      85062-8143              8/12/2022         1,112.90    Operating
   GM Financial Leasing                      PO Box 78143                                                                       Phoenix                  AZ      85062-8143              8/12/2022         1,103.60    Operating
   GM Financial Leasing                      PO Box 78143                                                                       Phoenix                  AZ      85062-8143              8/12/2022         1,103.60    Operating
   GM Financial Leasing                      PO Box 78143                                                                       Phoenix                  AZ      85062-8143              8/12/2022         1,103.60    Operating
   GM Financial Leasing                      PO Box 78143                                                                       Phoenix                  AZ      85062-8143              8/12/2022         1,103.60    Operating
   GM Financial Leasing                      PO Box 78143                                                                       Phoenix                  AZ      85062-8143              8/12/2022         1,103.60    Operating
   GM Financial Leasing                      PO Box 78143                                                                       Phoenix                  AZ      85062-8143              8/12/2022         1,103.60    Operating
   GM Financial Leasing                      PO Box 78143                                                                       Phoenix                  AZ      85062-8143              8/12/2022            972.77   Operating
   GM Financial Leasing                      PO Box 78143                                                                       Phoenix                  AZ      85062-8143              8/15/2022         1,180.69    Operating
   GM Financial Leasing                      PO Box 78143                                                                       Phoenix                  AZ      85062-8143              8/15/2022         1,180.69    Operating
   GM Financial Leasing                      PO Box 78143                                                                       Phoenix                  AZ      85062-8143              8/15/2022         1,180.69    Operating
   GM Financial Leasing                      PO Box 78143                                                                       Phoenix                  AZ      85062-8143              8/15/2022         1,180.69    Operating
   GM Financial Leasing                      PO Box 78143                                                                       Phoenix                  AZ      85062-8143              8/15/2022         1,180.69    Operating
   GM Financial Leasing                      PO Box 78143                                                                       Phoenix                  AZ      85062-8143              8/15/2022         1,180.69    Operating
   GM Financial Leasing                      PO Box 78143                                                                       Phoenix                  AZ      85062-8143              8/15/2022         1,180.69    Operating
   GM Financial Leasing                      PO Box 78143                                                                       Phoenix                  AZ      85062-8143              8/15/2022         1,180.69    Operating
   GM Financial Leasing                      PO Box 78143                                                                       Phoenix                  AZ      85062-8143              8/15/2022         1,180.69    Operating
   GM Financial Leasing                      PO Box 78143                                                                       Phoenix                  AZ      85062-8143              8/15/2022         1,180.69    Operating
   GM Financial Leasing                      PO Box 78143                                                                       Phoenix                  AZ      85062-8143              8/15/2022         1,180.69    Operating
   GM Financial Leasing                      PO Box 78143                                                                       Phoenix                  AZ      85062-8143              8/15/2022         1,180.69    Operating
   GM Financial Leasing                      PO Box 78143                                                                       Phoenix                  AZ      85062-8143              8/15/2022         1,180.69    Operating
   GM Financial Leasing                      PO Box 78143                                                                       Phoenix                  AZ      85062-8143              8/15/2022         1,180.69    Operating
   GM Financial Leasing                      PO Box 78143                                                                       Phoenix                  AZ      85062-8143              8/15/2022         1,180.69    Operating
   GM Financial Leasing                      PO Box 78143                                                                       Phoenix                  AZ      85062-8143              8/19/2022         1,184.23    Operating
   GM Financial Leasing                      PO Box 78143                                                                       Phoenix                  AZ      85062-8143              8/19/2022         1,184.23    Operating
   GM Financial Leasing                      PO Box 78143                                                                       Phoenix                  AZ      85062-8143              8/19/2022         1,184.23    Operating
   GM Financial Leasing                      PO Box 78143                                                                       Phoenix                  AZ      85062-8143              8/19/2022         1,184.23    Operating
   GM Financial Leasing                      PO Box 78143                                                                       Phoenix                  AZ      85062-8143              8/19/2022         1,184.23    Operating
   GM Financial Leasing                      PO Box 78143                                                                       Phoenix                  AZ      85062-8143              8/19/2022         1,184.23    Operating
   GM Financial Leasing                      PO Box 78143                                                                       Phoenix                  AZ      85062-8143              8/19/2022         1,184.23    Operating
   GM Financial Leasing                      PO Box 78143                                                                       Phoenix                  AZ      85062-8143              8/19/2022         1,184.23    Operating
   GM Financial Leasing                      PO Box 78143                                                                       Phoenix                  AZ      85062-8143              8/19/2022         1,184.23    Operating
   GM Financial Leasing                      PO Box 78143                                                                       Phoenix                  AZ      85062-8143              8/19/2022         1,184.23    Operating
   GM Financial Leasing                      PO Box 78143                                                                       Phoenix                  AZ      85062-8143              8/19/2022         1,184.23    Operating
   GM Financial Leasing                      PO Box 78143                                                                       Phoenix                  AZ      85062-8143              8/19/2022         1,184.23    Operating
   GM Financial Leasing                      PO Box 78143                                                                       Phoenix                  AZ      85062-8143              8/29/2022         1,997.86    Operating
   GM Financial Leasing                      PO Box 78143                                                                       Phoenix                  AZ      85062-8143              8/29/2022         1,997.86    Operating
   GM Financial Leasing                      PO Box 78143                                                                       Phoenix                  AZ      85062-8143              8/29/2022         1,997.86    Operating
   GM Financial Leasing                      PO Box 78143                                                                       Phoenix                  AZ      85062-8143              8/29/2022         1,997.86    Operating
   GM Financial Leasing                      PO Box 78143                                                                       Phoenix                  AZ      85062-8143              8/29/2022         1,581.99    Operating
   GM Financial Leasing                      PO Box 78143                                                                       Phoenix                  AZ      85062-8143              8/29/2022            847.17   Operating
   GM Financial Leasing                      PO Box 78143                                                                       Phoenix                  AZ      85062-8143              8/30/2022         1,554.63    Operating
   GM Financial Leasing                      PO Box 78143                                                                       Phoenix                  AZ      85062-8143              8/30/2022         1,554.63    Operating
   GM Financial Leasing                      PO Box 78143                                                                       Phoenix                  AZ      85062-8143              8/30/2022         1,554.63    Operating
   GM Financial Leasing                      PO Box 78143                                                                       Phoenix                  AZ      85062-8143              8/30/2022         1,554.63    Operating
   GM Financial Leasing                      PO Box 78143                                                                       Phoenix                  AZ      85062-8143              8/30/2022         1,554.63    Operating
   GM Financial Leasing                      PO Box 78143                                                                       Phoenix                  AZ      85062-8143              8/30/2022         1,554.63    Operating
   GM Financial Leasing                      PO Box 78143                                                                       Phoenix                  AZ      85062-8143              8/30/2022         1,554.63    Operating
   GM Financial Leasing                      PO Box 78143                                                                       Phoenix                  AZ      85062-8143              8/30/2022         1,554.63    Operating
   GM Financial Leasing                      PO Box 78143                                                                       Phoenix                  AZ      85062-8143              8/30/2022         1,554.63    Operating
   GM Financial Leasing                      PO Box 78143                                                                       Phoenix                  AZ      85062-8143              8/30/2022         1,554.63    Operating
   GM Financial Leasing                      PO Box 78143                                                                       Phoenix                  AZ      85062-8143               9/7/2022         1,150.69    Operating
   GM Financial Leasing                      PO Box 78143                                                                       Phoenix                  AZ      85062-8143               9/7/2022         1,150.69    Operating
   GM Financial Leasing                      PO Box 78143                                                                       Phoenix                  AZ      85062-8143              9/19/2022        39,590.61    Operating
   GM Financial Leasing                      PO Box 78143                                                                       Phoenix                  AZ      85062-8143              9/19/2022        38,763.15    Operating
   GM Financial Leasing                      PO Box 78143                                                                       Phoenix                  AZ      85062-8143              10/7/2022         1,150.69    Operating
   GM Financial Leasing                      PO Box 78143                                                                       Phoenix                  AZ      85062-8143              10/7/2022         1,150.69    Operating
   GM Financial Leasing                      PO Box 78143                                                                       Phoenix                  AZ      85062-8143              7/14/2022         1,050.44    Operating
   GM Financial Leasing                      PO Box 78143                                                                       Phoenix                  AZ      85062-8143              7/14/2022         1,050.44    Operating
   GM Financial Leasing                      PO Box 78143                                                                       Phoenix                  AZ      85062-8143              7/14/2022         1,050.44    Operating
   GM Financial Leasing                      PO Box 78143                                                                       Phoenix                  AZ      85062-8143              7/14/2022         1,050.44    Operating
   GM Financial Leasing                      PO Box 78143                                                                       Phoenix                  AZ      85062-8143              7/14/2022         1,050.44    Operating
   GM Financial Leasing                      PO Box 78143                                                                       Phoenix                  AZ      85062-8143              7/14/2022         1,050.44    Operating
   GM Financial Leasing                      PO Box 78143                                                                       Phoenix                  AZ      85062-8143              7/14/2022         1,050.44    Operating
   GM Financial Leasing                      PO Box 78143                                                                       Phoenix                  AZ      85062-8143              7/14/2022         1,050.44    Operating




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                                                                     Certain payments or transfers to creditors within 90 days before filing this case




   Creditor's Name                           Address 1              Address 2                          Address 3      Address 4 City                     State   Zip        Country   Payment Date   Payment Amount    Reason for Payment or Transfer
   GM Financial Leasing                      PO Box 78143                                                                       Phoenix                  AZ      85062-8143              7/14/2022         1,050.44    Operating
   GM Financial Leasing                      PO Box 78143                                                                       Phoenix                  AZ      85062-8143              7/14/2022         1,050.44    Operating
   GM Financial Leasing                      PO Box 78143                                                                       Phoenix                  AZ      85062-8143              7/14/2022         1,050.44    Operating
   GM Financial Leasing                      PO Box 78143                                                                       Phoenix                  AZ      85062-8143              7/14/2022         1,050.44    Operating
   GM Financial Leasing                      PO Box 78143                                                                       Phoenix                  AZ      85062-8143              7/14/2022         1,050.44    Operating
   GM Financial Leasing                      PO Box 78143                                                                       Phoenix                  AZ      85062-8143              7/14/2022         1,050.44    Operating
   GM Financial Leasing                      PO Box 78143                                                                       Phoenix                  AZ      85062-8143              7/14/2022         1,050.44    Operating
   GM Financial Leasing                      PO Box 78143                                                                       Phoenix                  AZ      85062-8143              7/14/2022         1,050.44    Operating
   GM Financial Leasing                      PO Box 78143                                                                       Phoenix                  AZ      85062-8143              7/14/2022         1,050.44    Operating
   GM Financial Leasing                      PO Box 78143                                                                       Phoenix                  AZ      85062-8143              7/18/2022         1,023.67    Operating
   GM Financial Leasing                      PO Box 78143                                                                       Phoenix                  AZ      85062-8143              7/18/2022         1,023.67    Operating
   GM Financial Leasing                      PO Box 78143                                                                       Phoenix                  AZ      85062-8143              7/18/2022         1,023.67    Operating
   GM Financial Leasing                      PO Box 78143                                                                       Phoenix                  AZ      85062-8143              7/18/2022         1,023.67    Operating
   GM Financial Leasing                      PO Box 78143                                                                       Phoenix                  AZ      85062-8143              7/18/2022         1,023.67    Operating
   GM Financial Leasing                      PO Box 78143                                                                       Phoenix                  AZ      85062-8143              7/18/2022         1,023.67    Operating
   GM Financial Leasing                      PO Box 78143                                                                       Phoenix                  AZ      85062-8143              7/18/2022         1,023.67    Operating
   GM Financial Leasing                      PO Box 78143                                                                       Phoenix                  AZ      85062-8143              7/18/2022         1,023.67    Operating
   GM Financial Leasing                      PO Box 78143                                                                       Phoenix                  AZ      85062-8143              7/18/2022         1,023.67    Operating
   GM Financial Leasing                      PO Box 78143                                                                       Phoenix                  AZ      85062-8143              7/19/2022         1,766.89    Operating
   GM Financial Leasing                      PO Box 78143                                                                       Phoenix                  AZ      85062-8143              7/19/2022         1,050.44    Operating
   GM Financial Leasing                      PO Box 78143                                                                       Phoenix                  AZ      85062-8143              7/19/2022         1,050.44    Operating
   GM Financial Leasing                      PO Box 78143                                                                       Phoenix                  AZ      85062-8143              7/19/2022         1,050.44    Operating
   GM Financial Leasing                      PO Box 78143                                                                       Phoenix                  AZ      85062-8143              7/19/2022         1,050.44    Operating
   GM Financial Leasing                      PO Box 78143                                                                       Phoenix                  AZ      85062-8143              7/19/2022         1,050.44    Operating
   GM Financial Leasing                      PO Box 78143                                                                       Phoenix                  AZ      85062-8143              7/19/2022         1,050.44    Operating
   GM Financial Leasing                      PO Box 78143                                                                       Phoenix                  AZ      85062-8143              7/19/2022         1,050.44    Operating
   GM Financial Leasing                      PO Box 78143                                                                       Phoenix                  AZ      85062-8143              7/19/2022         1,050.44    Operating
   GM Financial Leasing                      PO Box 78143                                                                       Phoenix                  AZ      85062-8143              7/19/2022         1,050.44    Operating
   GM Financial Leasing                      PO Box 78143                                                                       Phoenix                  AZ      85062-8143              7/19/2022         1,050.44    Operating
   GM Financial Leasing                      PO Box 78143                                                                       Phoenix                  AZ      85062-8143              7/19/2022         1,050.44    Operating
   GM Financial Leasing                      PO Box 78143                                                                       Phoenix                  AZ      85062-8143              7/19/2022         1,050.44    Operating
   GM Financial Leasing                      PO Box 78143                                                                       Phoenix                  AZ      85062-8143              7/19/2022         1,050.44    Operating
   GM Financial Leasing                      PO Box 78143                                                                       Phoenix                  AZ      85062-8143              7/19/2022         1,026.34    Operating
   GM Financial Leasing                      PO Box 78143                                                                       Phoenix                  AZ      85062-8143              7/19/2022         1,026.34    Operating
   GM Financial Leasing                      PO Box 78143                                                                       Phoenix                  AZ      85062-8143              7/19/2022            712.37   Operating
   GM Financial Leasing                      PO Box 78143                                                                       Phoenix                  AZ      85062-8143              7/19/2022            710.49   Operating
   GM Financial Leasing                      PO Box 78143                                                                       Phoenix                  AZ      85062-8143              7/19/2022            706.00   Operating
   GM Financial Leasing                      PO Box 78143                                                                       Phoenix                  AZ      85062-8143              7/19/2022            706.00   Operating
   GM Financial Leasing                      PO Box 78143                                                                       Phoenix                  AZ      85062-8143              7/19/2022            701.62   Operating
   GM Financial Leasing                      PO Box 78143                                                                       Phoenix                  AZ      85062-8143              7/19/2022            699.40   Operating
   GM Financial Leasing                      PO Box 78143                                                                       Phoenix                  AZ      85062-8143              7/19/2022            695.15   Operating
   GM Financial Leasing                      PO Box 78143                                                                       Phoenix                  AZ      85062-8143              7/19/2022            681.11   Operating
   GM Financial Leasing                      PO Box 78143                                                                       Phoenix                  AZ      85062-8143              7/21/2022         1,027.14    Operating
   GM Financial Leasing                      PO Box 78143                                                                       Phoenix                  AZ      85062-8143              7/21/2022         1,027.14    Operating
   GM Financial Leasing                      PO Box 78143                                                                       Phoenix                  AZ      85062-8143              7/21/2022         1,027.14    Operating
   GM Financial Leasing                      PO Box 78143                                                                       Phoenix                  AZ      85062-8143              7/21/2022         1,027.14    Operating
   GM Financial Leasing                      PO Box 78143                                                                       Phoenix                  AZ      85062-8143              7/21/2022         1,027.14    Operating
   GM Financial Leasing                      PO Box 78143                                                                       Phoenix                  AZ      85062-8143              7/21/2022         1,027.14    Operating
   GM Financial Leasing                      PO Box 78143                                                                       Phoenix                  AZ      85062-8143              7/21/2022         1,027.14    Operating
   GM Financial Leasing                      PO Box 78143                                                                       Phoenix                  AZ      85062-8143              7/22/2022         1,061.47    Operating
   GM Financial Leasing                      PO Box 78143                                                                       Phoenix                  AZ      85062-8143              7/22/2022            987.31   Operating
   GM Financial Leasing                      PO Box 78143                                                                       Phoenix                  AZ      85062-8143              7/22/2022            980.60   Operating
   GM Financial Leasing                      PO Box 78143                                                                       Phoenix                  AZ      85062-8143              7/22/2022            980.60   Operating
   GM Financial Leasing                      PO Box 78143                                                                       Phoenix                  AZ      85062-8143              7/22/2022            980.60   Operating
   GM Financial Leasing                      PO Box 78143                                                                       Phoenix                  AZ      85062-8143              7/27/2022         1,014.47    Operating
   GM Financial Leasing                      PO Box 78143                                                                       Phoenix                  AZ      85062-8143              7/27/2022         1,014.47    Operating
   GM Financial Leasing                      PO Box 78143                                                                       Phoenix                  AZ      85062-8143              7/27/2022            983.16   Operating
   GM Financial Leasing                      PO Box 78143                                                                       Phoenix                  AZ      85062-8143              7/27/2022            983.16   Operating
   GM Financial Leasing                      PO Box 78143                                                                       Phoenix                  AZ      85062-8143              7/27/2022            983.16   Operating
   GM Financial Leasing                      PO Box 78143                                                                       Phoenix                  AZ      85062-8143              7/27/2022            983.16   Operating
   GM Financial Leasing                      PO Box 78143                                                                       Phoenix                  AZ      85062-8143              7/27/2022            983.16   Operating
   GM Financial Leasing                      PO Box 78143                                                                       Phoenix                  AZ      85062-8143              7/27/2022            980.60   Operating
   GM Financial Leasing                      PO Box 78143                                                                       Phoenix                  AZ      85062-8143               8/5/2022         1,013.73    Operating
   GM Financial Leasing                      PO Box 78143                                                                       Phoenix                  AZ      85062-8143               8/5/2022         1,013.73    Operating
   GM Financial Leasing                      PO Box 78143                                                                       Phoenix                  AZ      85062-8143               8/5/2022            987.31   Operating
   GM Financial Leasing                      PO Box 78143                                                                       Phoenix                  AZ      85062-8143               8/5/2022            987.31   Operating
   GM Financial Leasing                      PO Box 78143                                                                       Phoenix                  AZ      85062-8143               8/8/2022         1,177.32    Operating
   GM Financial Leasing                      PO Box 78143                                                                       Phoenix                  AZ      85062-8143               8/8/2022         1,162.56    Operating
   GM Financial Leasing                      PO Box 78143                                                                       Phoenix                  AZ      85062-8143               8/8/2022         1,162.56    Operating
   GM Financial Leasing                      PO Box 78143                                                                       Phoenix                  AZ      85062-8143               8/8/2022         1,162.56    Operating
   GM Financial Leasing                      PO Box 78143                                                                       Phoenix                  AZ      85062-8143              8/15/2022         1,050.44    Operating
   GM Financial Leasing                      PO Box 78143                                                                       Phoenix                  AZ      85062-8143              8/15/2022         1,050.44    Operating
   GM Financial Leasing                      PO Box 78143                                                                       Phoenix                  AZ      85062-8143              8/15/2022         1,050.44    Operating
   GM Financial Leasing                      PO Box 78143                                                                       Phoenix                  AZ      85062-8143              8/15/2022         1,050.44    Operating
   GM Financial Leasing                      PO Box 78143                                                                       Phoenix                  AZ      85062-8143              8/15/2022         1,050.44    Operating
   GM Financial Leasing                      PO Box 78143                                                                       Phoenix                  AZ      85062-8143              8/15/2022         1,050.44    Operating
   GM Financial Leasing                      PO Box 78143                                                                       Phoenix                  AZ      85062-8143              8/15/2022         1,050.44    Operating
   GM Financial Leasing                      PO Box 78143                                                                       Phoenix                  AZ      85062-8143              8/15/2022         1,050.44    Operating
   GM Financial Leasing                      PO Box 78143                                                                       Phoenix                  AZ      85062-8143              8/15/2022         1,050.44    Operating
   GM Financial Leasing                      PO Box 78143                                                                       Phoenix                  AZ      85062-8143              8/15/2022         1,050.44    Operating
   GM Financial Leasing                      PO Box 78143                                                                       Phoenix                  AZ      85062-8143              8/15/2022         1,050.44    Operating
   GM Financial Leasing                      PO Box 78143                                                                       Phoenix                  AZ      85062-8143              8/15/2022         1,050.44    Operating
   GM Financial Leasing                      PO Box 78143                                                                       Phoenix                  AZ      85062-8143              8/15/2022         1,050.44    Operating
   GM Financial Leasing                      PO Box 78143                                                                       Phoenix                  AZ      85062-8143              8/15/2022         1,050.44    Operating
   GM Financial Leasing                      PO Box 78143                                                                       Phoenix                  AZ      85062-8143              8/15/2022         1,050.44    Operating




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                                                        Case 22-17842-PDR              Doc 325        Exhibit SOFA 3
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                                                                       Certain payments or transfers to creditors within 90 days before filing this case




   Creditor's Name                           Address 1                Address 2                          Address 3      Address 4 City                     State   Zip        Country   Payment Date      Payment Amount      Reason for Payment or Transfer
   GM Financial Leasing                      PO Box 78143                                                                         Phoenix                  AZ      85062-8143               8/15/2022           1,050.44      Operating
   GM Financial Leasing                      PO Box 78143                                                                         Phoenix                  AZ      85062-8143               8/15/2022           1,050.44      Operating
   GM Financial Leasing                      PO Box 78143                                                                         Phoenix                  AZ      85062-8143               8/16/2022           1,023.67      Operating
   GM Financial Leasing                      PO Box 78143                                                                         Phoenix                  AZ      85062-8143               8/16/2022           1,023.67      Operating
   GM Financial Leasing                      PO Box 78143                                                                         Phoenix                  AZ      85062-8143               8/16/2022           1,023.67      Operating
   GM Financial Leasing                      PO Box 78143                                                                         Phoenix                  AZ      85062-8143               8/16/2022           1,023.67      Operating
   GM Financial Leasing                      PO Box 78143                                                                         Phoenix                  AZ      85062-8143               8/16/2022           1,023.67      Operating
   GM Financial Leasing                      PO Box 78143                                                                         Phoenix                  AZ      85062-8143               8/16/2022           1,023.67      Operating
   GM Financial Leasing                      PO Box 78143                                                                         Phoenix                  AZ      85062-8143               8/16/2022           1,023.67      Operating
   GM Financial Leasing                      PO Box 78143                                                                         Phoenix                  AZ      85062-8143               8/16/2022           1,023.67      Operating
   GM Financial Leasing                      PO Box 78143                                                                         Phoenix                  AZ      85062-8143               8/16/2022           1,023.67      Operating
   GM Financial Leasing                      PO Box 78143                                                                         Phoenix                  AZ      85062-8143               8/19/2022           1,766.89      Operating
   GM Financial Leasing                      PO Box 78143                                                                         Phoenix                  AZ      85062-8143               8/19/2022           1,050.44      Operating
   GM Financial Leasing                      PO Box 78143                                                                         Phoenix                  AZ      85062-8143               8/19/2022           1,050.44      Operating
   GM Financial Leasing                      PO Box 78143                                                                         Phoenix                  AZ      85062-8143               8/19/2022           1,050.44      Operating
   GM Financial Leasing                      PO Box 78143                                                                         Phoenix                  AZ      85062-8143               8/19/2022           1,050.44      Operating
   GM Financial Leasing                      PO Box 78143                                                                         Phoenix                  AZ      85062-8143               8/19/2022           1,050.44      Operating
   GM Financial Leasing                      PO Box 78143                                                                         Phoenix                  AZ      85062-8143               8/19/2022           1,050.44      Operating
   GM Financial Leasing                      PO Box 78143                                                                         Phoenix                  AZ      85062-8143               8/19/2022           1,050.44      Operating
   GM Financial Leasing                      PO Box 78143                                                                         Phoenix                  AZ      85062-8143               8/19/2022           1,050.44      Operating
   GM Financial Leasing                      PO Box 78143                                                                         Phoenix                  AZ      85062-8143               8/19/2022           1,050.44      Operating
   GM Financial Leasing                      PO Box 78143                                                                         Phoenix                  AZ      85062-8143               8/19/2022           1,050.44      Operating
   GM Financial Leasing                      PO Box 78143                                                                         Phoenix                  AZ      85062-8143               8/19/2022           1,050.44      Operating
   GM Financial Leasing                      PO Box 78143                                                                         Phoenix                  AZ      85062-8143               8/19/2022           1,050.44      Operating
   GM Financial Leasing                      PO Box 78143                                                                         Phoenix                  AZ      85062-8143               8/19/2022           1,050.44      Operating
   GM Financial Leasing                      PO Box 78143                                                                         Phoenix                  AZ      85062-8143               8/19/2022           1,026.34      Operating
   GM Financial Leasing                      PO Box 78143                                                                         Phoenix                  AZ      85062-8143               8/19/2022           1,026.34      Operating
   GM Financial Leasing                      PO Box 78143                                                                         Phoenix                  AZ      85062-8143               8/19/2022              712.37     Operating
   GM Financial Leasing                      PO Box 78143                                                                         Phoenix                  AZ      85062-8143               8/19/2022              710.49     Operating
   GM Financial Leasing                      PO Box 78143                                                                         Phoenix                  AZ      85062-8143               8/19/2022              706.00     Operating
   GM Financial Leasing                      PO Box 78143                                                                         Phoenix                  AZ      85062-8143               8/19/2022              706.00     Operating
   GM Financial Leasing                      PO Box 78143                                                                         Phoenix                  AZ      85062-8143               8/19/2022              701.62     Operating
   GM Financial Leasing                      PO Box 78143                                                                         Phoenix                  AZ      85062-8143               8/19/2022              699.40     Operating
   GM Financial Leasing                      PO Box 78143                                                                         Phoenix                  AZ      85062-8143               8/19/2022              695.15     Operating
   GM Financial Leasing                      PO Box 78143                                                                         Phoenix                  AZ      85062-8143               8/19/2022              681.11     Operating
   GM Financial Leasing                      PO Box 78143                                                                         Phoenix                  AZ      85062-8143               8/22/2022           1,061.47      Operating
   GM Financial Leasing                      PO Box 78143                                                                         Phoenix                  AZ      85062-8143               8/22/2022           1,027.14      Operating
   GM Financial Leasing                      PO Box 78143                                                                         Phoenix                  AZ      85062-8143               8/22/2022           1,027.14      Operating
   GM Financial Leasing                      PO Box 78143                                                                         Phoenix                  AZ      85062-8143               8/22/2022           1,027.14      Operating
   GM Financial Leasing                      PO Box 78143                                                                         Phoenix                  AZ      85062-8143               8/22/2022           1,027.14      Operating
   GM Financial Leasing                      PO Box 78143                                                                         Phoenix                  AZ      85062-8143               8/22/2022           1,027.14      Operating
   GM Financial Leasing                      PO Box 78143                                                                         Phoenix                  AZ      85062-8143               8/22/2022           1,027.14      Operating
   GM Financial Leasing                      PO Box 78143                                                                         Phoenix                  AZ      85062-8143               8/22/2022           1,027.14      Operating
   GM Financial Leasing                      PO Box 78143                                                                         Phoenix                  AZ      85062-8143               8/22/2022              987.31     Operating
   GM Financial Leasing                      PO Box 78143                                                                         Phoenix                  AZ      85062-8143               8/22/2022              980.60     Operating
   GM Financial Leasing                      PO Box 78143                                                                         Phoenix                  AZ      85062-8143               8/22/2022              980.60     Operating
   GM Financial Leasing                      PO Box 78143                                                                         Phoenix                  AZ      85062-8143               8/22/2022              980.60     Operating
   GM Financial Leasing                      PO Box 78143                                                                         Phoenix                  AZ      85062-8143               8/29/2022           1,014.47      Operating
   GM Financial Leasing                      PO Box 78143                                                                         Phoenix                  AZ      85062-8143               8/29/2022           1,014.47      Operating
   GM Financial Leasing                      PO Box 78143                                                                         Phoenix                  AZ      85062-8143               8/29/2022              983.16     Operating
   GM Financial Leasing                      PO Box 78143                                                                         Phoenix                  AZ      85062-8143               8/29/2022              983.16     Operating
   GM Financial Leasing                      PO Box 78143                                                                         Phoenix                  AZ      85062-8143               8/29/2022              983.16     Operating
   GM Financial Leasing                      PO Box 78143                                                                         Phoenix                  AZ      85062-8143               8/29/2022              983.16     Operating
   GM Financial Leasing                      PO Box 78143                                                                         Phoenix                  AZ      85062-8143               8/29/2022              983.16     Operating
   GM Financial Leasing                      PO Box 78143                                                                         Phoenix                  AZ      85062-8143               8/29/2022              980.60     Operating
   GM Financial Leasing                      PO Box 78143                                                                         Phoenix                  AZ      85062-8143                9/6/2022           1,013.73      Operating
   GM Financial Leasing                      PO Box 78143                                                                         Phoenix                  AZ      85062-8143                9/6/2022           1,013.73      Operating
   GM Financial Leasing                      PO Box 78143                                                                         Phoenix                  AZ      85062-8143                9/6/2022              987.31     Operating
   GM Financial Leasing                      PO Box 78143                                                                         Phoenix                  AZ      85062-8143                9/6/2022              987.31     Operating
   GM Financial Leasing                      PO Box 78143                                                                         Phoenix                  AZ      85062-8143                9/7/2022           1,177.32      Operating
   GM Financial Leasing                      PO Box 78143                                                                         Phoenix                  AZ      85062-8143                9/7/2022           1,162.56      Operating
   GM Financial Leasing                      PO Box 78143                                                                         Phoenix                  AZ      85062-8143                9/7/2022           1,162.56      Operating
   GM Financial Leasing                      PO Box 78143                                                                         Phoenix                  AZ      85062-8143                9/7/2022           1,162.56      Operating
   GM Financial Leasing                      PO Box 78143                                                                         Phoenix                  AZ      85062-8143               10/5/2022           1,013.73      Operating
   GM Financial Leasing                      PO Box 78143                                                                         Phoenix                  AZ      85062-8143               10/5/2022           1,013.73      Operating
   GM Financial Leasing                      PO Box 78143                                                                         Phoenix                  AZ      85062-8143               10/5/2022              987.31     Operating
   GM Financial Leasing                      PO Box 78143                                                                         Phoenix                  AZ      85062-8143               10/5/2022              987.31     Operating
   GM Financial Leasing                      PO Box 78143                                                                         Phoenix                  AZ      85062-8143               10/7/2022           1,177.32      Operating
   GM Financial Leasing                      PO Box 78143                                                                         Phoenix                  AZ      85062-8143               10/7/2022           1,162.56      Operating
   GM Financial Leasing                      PO Box 78143                                                                         Phoenix                  AZ      85062-8143               10/7/2022           1,162.56      Operating
   GM Financial Leasing                      PO Box 78143                                                                         Phoenix                  AZ      85062-8143               10/7/2022           1,162.56      Operating
   [Creditor Name on File]                   [Address on File]                                                                                                                           [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                   [Address on File]                                                                                                                           [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                   [Address on File]                                                                                                                           [Date on File]    [Amount on File]   Influencer
   GNT USA, Inc.                             660 White Plains Rd                                                                    Tarrytown              NY      10591                    7/22/2022                1.50     Rawmat
   GNT USA, Inc.                             660 White Plains Rd                                                                    Tarrytown              NY      10591                    8/23/2022          16,611.25      Rawmat
   Grainger                                  2131 SW 2nd St, Bldg 8                                                                 Pompano Beach          FL      33069-3100               7/15/2022           5,432.83      Operating
   Grainger                                  2131 SW 2nd St, Bldg 8                                                                 Pompano Beach          FL      33069-3100               7/21/2022          16,685.42      Operating
   Grainger                                  2131 SW 2nd St, Bldg 8                                                                 Pompano Beach          FL      33069-3100               8/19/2022          15,011.62      Operating
   Graphic Packaging International           Kara D'Amato             PO Box 404170                                                 Atlanta                GA      30384-4170               7/18/2022         329,792.20      Packaging
   Graphic Packaging International           Kara D'Amato             PO Box 404170                                                 Atlanta                GA      30384-4170               7/20/2022         301,710.09      Packaging
   Graphic Packaging International           Kara D'Amato             PO Box 404170                                                 Atlanta                GA      30384-4170               7/25/2022         231,002.47      Packaging
   Graphic Packaging International           Kara D'Amato             PO Box 404170                                                 Atlanta                GA      30384-4170               7/26/2022         359,716.98      Packaging
   Graphic Packaging International           Kara D'Amato             PO Box 404170                                                 Atlanta                GA      30384-4170                8/2/2022         308,257.62      Packaging
   Graphic Packaging International           Kara D'Amato             PO Box 404170                                                 Atlanta                GA      30384-4170                8/9/2022         338,667.39      Packaging




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                                                                                              Certain payments or transfers to creditors within 90 days before filing this case




   Creditor's Name                                              Address 1                    Address 2                          Address 3      Address 4 City                     State   Zip        Country   Payment Date      Payment Amount      Reason for Payment or Transfer
   Graphic Packaging International                              Kara D'Amato                 PO Box 404170                                               Atlanta                  GA      30384-4170               8/12/2022         302,352.58      Packaging
   Graphic Packaging International                              Kara D'Amato                 PO Box 404170                                               Atlanta                  GA      30384-4170               8/12/2022          80,757.60      Packaging
   Graphic Packaging International                              Kara D'Amato                 PO Box 404170                                               Atlanta                  GA      30384-4170               8/17/2022         250,000.00      Packaging
   Graphic Packaging International                              Kara D'Amato                 PO Box 404170                                               Atlanta                  GA      30384-4170               8/22/2022         254,570.34      Packaging
   Graphic Packaging International                              Kara D'Amato                 PO Box 404170                                               Atlanta                  GA      30384-4170               8/25/2022         112,910.16      Packaging
   Graphic Packaging International                              Kara D'Amato                 PO Box 404170                                               Atlanta                  GA      30384-4170               8/25/2022         110,643.84      Packaging
   Graphic Packaging International                              Kara D'Amato                 PO Box 404170                                               Atlanta                  GA      30384-4170               8/30/2022         190,792.30      Packaging
   Graphic Packaging International                              Kara D'Amato                 PO Box 404170                                               Atlanta                  GA      30384-4170                9/7/2022         241,757.46      Packaging
   GreatAmerica Financial Services                              PO Box 660831                                                                            Dallas                   TX      75266-0831                8/9/2022           7,023.36      Rentals
   GreatAmerica Financial Services                              PO Box 660831                                                                            Dallas                   TX      75266-0831               8/15/2022           7,023.36      Rentals
   Greater Austin Merchants Co-Operative Association            8801 Research Blvd Ste 102                                                               Austin                   TX      78758-6514               7/18/2022          37,746.25      Operating
   Greater Austin Merchants Co-Operative Association            8801 Research Blvd Ste 102                                                               Austin                   TX      78758-6514                8/3/2022          22,173.44      Operating
   Green Mountain Energy                                        Dept 1233 Po Box 121233                                                                  Dallas                   TX      75312-1233               7/21/2022           3,346.04      Operating
   Green Mountain Energy                                        Dept 1233 Po Box 121233                                                                  Dallas                   TX      75312-1233               8/18/2022           4,444.08      Operating
   Green Mountain Energy                                        Dept 1233 Po Box 121233                                                                  Dallas                   TX      75312-1233               9/15/2022           1,697.03      Operating
   Green Mountain Energy                                        Dept 1233 Po Box 121233                                                                  Dallas                   TX      75312-1233               9/22/2022           2,795.90      Operating
   Green Mountain Energy                                        Dept 1233 Po Box 121233                                                                  Dallas                   TX      75312-1233               10/3/2022           1,564.14      Operating
   Green Wave Ingredients (GWI)                                 PO Box 102922                                                                            Pasadena                 CA      91189-2922               8/25/2022         224,800.00      Rawmat
   Gregg H Metzger                                              1600 N Park Dr                                                                           Weston                   FL      33326-3278               7/12/2022           1,400.00      Employee Expense Reimbursement
   Gregg H Metzger                                              1600 N Park Dr                                                                           Weston                   FL      33326-3278               7/29/2022               48.00     Employee Expense Reimbursement
   Gregg H Metzger                                              1600 N Park Dr                                                                           Weston                   FL      33326-3278               8/18/2022           1,400.00      Employee Expense Reimbursement
   Gregg H Metzger                                              1600 N Park Dr                                                                           Weston                   FL      33326-3278               8/24/2022           1,907.91      Employee Expense Reimbursement
   Gregg H Metzger                                              1600 N Park Dr                                                                           Weston                   FL      33326-3278               8/24/2022               50.02     Employee Expense Reimbursement
   Gregg H Metzger                                              1600 N Park Dr                                                                           Weston                   FL      33326-3278               9/16/2022           1,400.00      Employee Expense Reimbursement
   Gregg H Metzger                                              1600 N Park Dr                                                                           Weston                   FL      33326-3278               9/16/2022              402.00     Employee Expense Reimbursement
   Gregg H Metzger                                              1600 N Park Dr                                                                           Weston                   FL      33326-3278               9/29/2022           2,061.45      Employee Expense Reimbursement
   Gregg H Metzger                                              1600 N Park Dr                                                                           Weston                   FL      33326-3278               10/6/2022           2,527.75      Employee Expense Reimbursement
   GreyStone Power Corporation                                  PO Box 6071                                                                              Douglasville             GA      30154-6071               7/18/2022          15,030.81      Utilities
   GreyStone Power Corporation                                  PO Box 6071                                                                              Douglasville             GA      30154-6071               7/18/2022           9,576.86      Utilities
   GreyStone Power Corporation                                  PO Box 6071                                                                              Douglasville             GA      30154-6071               7/18/2022           8,038.36      Utilities
   GreyStone Power Corporation                                  PO Box 6071                                                                              Douglasville             GA      30154-6071               7/18/2022              634.47     Utilities
   GreyStone Power Corporation                                  PO Box 6071                                                                              Douglasville             GA      30154-6071               8/17/2022          16,219.06      Utilities
   GreyStone Power Corporation                                  PO Box 6071                                                                              Douglasville             GA      30154-6071               8/17/2022           9,695.88      Utilities
   GreyStone Power Corporation                                  PO Box 6071                                                                              Douglasville             GA      30154-6071               8/17/2022           8,402.37      Utilities
   GreyStone Power Corporation                                  PO Box 6071                                                                              Douglasville             GA      30154-6071               8/17/2022              592.34     Utilities
   GreyStone Power Corporation                                  PO Box 6071                                                                              Douglasville             GA      30154-6071               9/16/2022          16,008.79      Utilities
   GreyStone Power Corporation                                  PO Box 6071                                                                              Douglasville             GA      30154-6071               9/16/2022          10,111.96      Utilities
   GreyStone Power Corporation                                  PO Box 6071                                                                              Douglasville             GA      30154-6071               9/16/2022           9,868.31      Utilities
   GreyStone Power Corporation                                  PO Box 6071                                                                              Douglasville             GA      30154-6071               9/16/2022              716.19     Utilities
   Hach Company                                                 PO Box 389                                                                               Loveland                 CO      80539-0389               7/18/2022           3,655.57      Operating
   Hach Company                                                 PO Box 389                                                                               Loveland                 CO      80539-0389               7/18/2022           3,396.36      Operating
   Hach Company                                                 PO Box 389                                                                               Loveland                 CO      80539-0389               7/19/2022              933.17     Operating
   H-E-B LP                                                     PO Box 202531                                                                            Dallas                   TX      75320-2531               8/22/2022                1.55     Wholesalers & Distributors
   H-E-B LP                                                     PO Box 202531                                                                            Dallas                   TX      75320-2531               8/23/2022         174,305.70      Wholesalers & Distributors
   Herc Rentals Inc.                                            PO Box 936257                                                                            Atlanta                  GA      31193-6257               8/11/2022          12,053.12      Rentals
   Hitachi Capital America Corp                                 21925 Network Place                                                                      Chicago                  IL      60673-1219               7/11/2022          28,955.73      Leases
   Hitachi Capital America Corp                                 21925 Network Place                                                                      Chicago                  IL      60673-1219               7/11/2022          28,892.51      Leases
   Hitachi Capital America Corp                                 21925 Network Place                                                                      Chicago                  IL      60673-1219               8/10/2022          28,955.73      Leases
   Hitachi Capital America Corp                                 21925 Network Place                                                                      Chicago                  IL      60673-1219               8/10/2022          28,892.51      Leases
   Hitachi Capital America Corp                                 21925 Network Place                                                                      Chicago                  IL      60673-1219               10/6/2022          28,955.73      Leases
   Hitachi Capital America Corp                                 21925 Network Place                                                                      Chicago                  IL      60673-1219               10/6/2022          28,892.51      Leases
   Houchens Food Group, Inc                                     700 Church St                                                                            Bowling Green            KY      42101-1816               8/16/2022          27,000.00      Wholesalers & Distributors
   IBT West LLC                                                 4203 W Adams St                                                                          Phoenix                  AZ      85009-4631               8/24/2022           9,614.72      Operating
   IBT West LLC                                                 4203 W Adams St                                                                          Phoenix                  AZ      85009-4631               8/31/2022           9,526.17      Operating
   IBT West LLC                                                 4203 W Adams St                                                                          Phoenix                  AZ      85009-4631                9/7/2022           7,097.48      Operating
   IBT West LLC                                                 4203 W Adams St                                                                          Phoenix                  AZ      85009-4631                9/8/2022           9,473.53      Operating
   Icon Owner Pool 1 LA Non-Business Park LLC- Bree Jupiter W   PO Box 843992                                                                            Los Amgeles              CA      90084-3992                8/1/2022          31,087.05      Occupancy
   Icon Owner Pool 1 LA Non-Business Park LLC- Bree Jupiter W   PO Box 843992                                                                            Los Amgeles              CA      90084-3992                9/1/2022          31,087.05      Occupancy
   Independent Buyers Co-op                                     4602 Park Springs Blvd                                                                   Arlington                TX      76017-1597                8/3/2022          86,394.00      Wholesalers & Distributors
   Independent Buyers Co-op                                     4602 Park Springs Blvd                                                                   Arlington                TX      76017-1597               9/30/2022         419,123.25      Wholesalers & Distributors
   Information Resources, Inc. IRi                              4766 Paysphere Circle                                                                    Chicago                  IL      60674-0001               7/26/2022         200,694.00      Professional
   Inmar-You Tech, LLC                                          PO Box 777843                                                                            Chicago                  IL      60677-7008               8/17/2022          40,356.16      Wholesalers & Distributors
   Inovar Packaging Florida, LLC                                10470 Miller Rd                                                                          Dallas                   TX      75238                    8/15/2022         168,094.92      Packaging
   Inventus, LLC Legility                                       PO Box 130114                                                                            Dallas                   TX      75313-0114               7/28/2022         175,000.00      Professional
   [Creditor Name on File]                                      [Address on File]                                                                                                                               [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                                      [Address on File]                                                                                                                               [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                                      [Address on File]                                                                                                                               [Date on File]    [Amount on File]   Influencer
   IPnavigent Associates, Inc                                   419 10th St Ste 350                                                                        San Francisco          CA      94103-4303               7/18/2022              300.00     Professional
   IPnavigent Associates, Inc                                   419 10th St Ste 350                                                                        San Francisco          CA      94103-4303               7/27/2022           1,108.33      Professional
   IPnavigent Associates, Inc                                   419 10th St Ste 350                                                                        San Francisco          CA      94103-4303               8/10/2022           5,800.34      Professional
   IPnavigent Associates, Inc                                   419 10th St Ste 350                                                                        San Francisco          CA      94103-4303               8/22/2022           2,103.14      Professional
   [Creditor Name on File]                                      [Address on File]                                                                                                                               [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                                      [Address on File]                                                                                                                               [Date on File]    [Amount on File]   Influencer
   J.B. Hunt Transport, Inc.                                    615 Jb Hunt Corporate Dr                                                                   Lowell                 AR      72745                    7/11/2022         134,160.19      Freight
   J.B. Hunt Transport, Inc.                                    615 Jb Hunt Corporate Dr                                                                   Lowell                 AR      72745                     8/3/2022         163,931.28      Freight
   J.B. Hunt Transport, Inc.                                    615 Jb Hunt Corporate Dr                                                                   Lowell                 AR      72745                     8/9/2022          30,276.34      Freight
   J.B. Hunt Transport, Inc.                                    615 Jb Hunt Corporate Dr                                                                   Lowell                 AR      72745                    8/17/2022         344,890.69      Freight
   J.B. Hunt Transport, Inc.                                    615 Jb Hunt Corporate Dr                                                                   Lowell                 AR      72745                    8/29/2022         120,000.00      Freight
   J.B. Hunt Transport, Inc.                                    615 Jb Hunt Corporate Dr                                                                   Lowell                 AR      72745                     9/2/2022         224,890.68      Freight
   J.B. Hunt Transport, Inc.                                    615 Jb Hunt Corporate Dr                                                                   Lowell                 AR      72745                     9/8/2022         141,363.66      Freight
   J.B. Hunt Transport, Inc.                                    615 Jb Hunt Corporate Dr                                                                   Lowell                 AR      72745                     9/8/2022         129,514.00      Freight
   J.B. Hunt Transport, Inc.                                    615 Jb Hunt Corporate Dr                                                                   Lowell                 AR      72745                    9/12/2022         186,498.97      Freight
   J.B. Hunt Transport, Inc.                                    615 Jb Hunt Corporate Dr                                                                   Lowell                 AR      72745                    9/19/2022          91,244.00      Freight
   J.B. Hunt Transport, Inc.                                    615 Jb Hunt Corporate Dr                                                                   Lowell                 AR      72745                    9/23/2022          62,125.00      Freight
   J.B. Hunt Transport, Inc.                                    615 Jb Hunt Corporate Dr                                                                   Lowell                 AR      72745                    9/29/2022         110,667.81      Freight




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                                                                             Certain payments or transfers to creditors within 90 days before filing this case




   Creditor's Name                               Address 1                  Address 2                          Address 3      Address 4 City                     State Zip         Country   Payment Date      Payment Amount      Reason for Payment or Transfer
   J.B. Hunt Transport, Inc.                     615 Jb Hunt Corporate Dr                                                               Lowell                   AR    72745                     10/5/2022         100,478.33      Freight
   [Creditor Name on File]                       [Address on File]                                                                                                                            [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                       [Address on File]                                                                                                                            [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                       [Address on File]                                                                                                                            [Date on File]    [Amount on File]   Influencer
   Jani-King of Phoenix related Services, Inc.   PO Box 51526                                                                             Los Angeles            CA   90051-5826                 7/11/2022           6,495.66      Operating
   Jani-King of Phoenix related Services, Inc.   PO Box 51526                                                                             Los Angeles            CA   90051-5826                  8/4/2022           6,495.66      Operating
   Jani-King of Phoenix related Services, Inc.   PO Box 51526                                                                             Los Angeles            CA   90051-5826                 9/13/2022           2,370.15      Operating
   Jani-King of Phoenix related Services, Inc.   PO Box 51526                                                                             Los Angeles            CA   90051-5826                 9/22/2022           4,125.51      Operating
   [Creditor Name on File]                       [Address on File]                                                                                                                            [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                       [Address on File]                                                                                                                            [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                       [Address on File]                                                                                                                            [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                       [Address on File]                                                                                                                            [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                       [Address on File]                                                                                                                            [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                       [Address on File]                                                                                                                            [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                       [Address on File]                                                                                                                            [Date on File]    [Amount on File]   Influencer
   Jarred D Tims                                 1600 N Park Dr                                                                           Weston                 FL   33326-3278                 7/25/2022           3,790.38      Employee Expense Reimbursement
   Jarred D Tims                                 1600 N Park Dr                                                                           Weston                 FL   33326-3278                 8/24/2022           3,728.33      Employee Expense Reimbursement
   Jarred D Tims                                 1600 N Park Dr                                                                           Weston                 FL   33326-3278                 9/29/2022           2,463.73      Employee Expense Reimbursement
   Jarred D Tims                                 1600 N Park Dr                                                                           Weston                 FL   33326-3278                 10/6/2022           1,331.29      Employee Expense Reimbursement
   Jarred D Tims                                 1600 N Park Dr                                                                           Weston                 FL   33326-3278                 10/6/2022              577.56     Employee Expense Reimbursement
   Jarred D Tims                                 1600 N Park Dr                                                                           Weston                 FL   33326-3278                 10/6/2022              577.56     Employee Expense Reimbursement
   Jason A Hoak                                  1600 N Park Dr                                                                           Weston                 FL   33326-3278                 7/18/2022           1,432.09      Employee Expense Reimbursement
   Jason A Hoak                                  1600 N Park Dr                                                                           Weston                 FL   33326-3278                 7/25/2022           1,791.97      Employee Expense Reimbursement
   Jason A Hoak                                  1600 N Park Dr                                                                           Weston                 FL   33326-3278                 7/25/2022           1,474.95      Employee Expense Reimbursement
   Jason A Hoak                                  1600 N Park Dr                                                                           Weston                 FL   33326-3278                 8/11/2022              885.18     Employee Expense Reimbursement
   Jason A Hoak                                  1600 N Park Dr                                                                           Weston                 FL   33326-3278                 8/18/2022              905.45     Employee Expense Reimbursement
   Jason A Hoak                                  1600 N Park Dr                                                                           Weston                 FL   33326-3278                 9/16/2022              703.94     Employee Expense Reimbursement
   Jason A Hoak                                  1600 N Park Dr                                                                           Weston                 FL   33326-3278                 9/21/2022              640.67     Employee Expense Reimbursement
   Jason A Hoak                                  1600 N Park Dr                                                                           Weston                 FL   33326-3278                 9/29/2022           1,330.86      Employee Expense Reimbursement
   [Creditor Name on File]                       [Address on File]                                                                                                                            [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                       [Address on File]                                                                                                                            [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                       [Address on File]                                                                                                                            [Date on File]    [Amount on File]   Influencer
   Jeffrey L Quick                               1600 N Park Dr                                                                           Weston                 FL   33326-3278                 7/12/2022           2,724.79      Employee Expense Reimbursement
   Jeffrey L Quick                               1600 N Park Dr                                                                           Weston                 FL   33326-3278                 8/11/2022           1,711.31      Employee Expense Reimbursement
   Jeffrey L Quick                               1600 N Park Dr                                                                           Weston                 FL   33326-3278                 9/21/2022           2,062.65      Employee Expense Reimbursement
   Jeffrey L Quick                               1600 N Park Dr                                                                           Weston                 FL   33326-3278                 10/6/2022           2,820.10      Employee Expense Reimbursement
   [Creditor Name on File]                       [Address on File]                                                                                                                            [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                       [Address on File]                                                                                                                            [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                       [Address on File]                                                                                                                            [Date on File]    [Amount on File]   Influencer
   Jiaherb, Inc.                                 1 Chapin Rd Ste 1                                                                        Pine Brook             NJ   07058-9221                 8/10/2022          21,390.74      Rawmat
   Jiaherb, Inc.                                 1 Chapin Rd Ste 1                                                                        Pine Brook             NJ   07058-9221                  9/1/2022           9,683.97      Rawmat
   [Creditor Name on File]                       [Address on File]                                                                                                                            [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                       [Address on File]                                                                                                                            [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                       [Address on File]                                                                                                                            [Date on File]    [Amount on File]   Influencer
   John B Helm                                   1600 N Park Dr                                                                           Weston                 FL   33326-3278                 7/12/2022           1,923.83      Employee Expense Reimbursement
   John B Helm                                   1600 N Park Dr                                                                           Weston                 FL   33326-3278                 7/12/2022              620.11     Employee Expense Reimbursement
   John B Helm                                   1600 N Park Dr                                                                           Weston                 FL   33326-3278                 7/29/2022           1,124.41      Employee Expense Reimbursement
   John B Helm                                   1600 N Park Dr                                                                           Weston                 FL   33326-3278                 7/29/2022              500.96     Employee Expense Reimbursement
   John B Helm                                   1600 N Park Dr                                                                           Weston                 FL   33326-3278                 8/18/2022           1,177.44      Employee Expense Reimbursement
   John B Helm                                   1600 N Park Dr                                                                           Weston                 FL   33326-3278                 8/18/2022              584.78     Employee Expense Reimbursement
   John B Helm                                   1600 N Park Dr                                                                           Weston                 FL   33326-3278                 9/21/2022              553.36     Employee Expense Reimbursement
   John B Helm                                   1600 N Park Dr                                                                           Weston                 FL   33326-3278                 9/21/2022              281.09     Employee Expense Reimbursement
   John B Helm                                   1600 N Park Dr                                                                           Weston                 FL   33326-3278                 10/6/2022           1,222.01      Employee Expense Reimbursement
   John B Helm                                   1600 N Park Dr                                                                           Weston                 FL   33326-3278                 10/6/2022              900.24     Employee Expense Reimbursement
   [Creditor Name on File]                       [Address on File]                                                                                                                            [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                       [Address on File]                                                                                                                            [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                       [Address on File]                                                                                                                            [Date on File]    [Amount on File]   Influencer
   Joseph Nickell                                1600 N Park Dr                                                                           Weston                 FL   33326-3278                 7/25/2022           3,805.89      Employee Expense Reimbursement
   Joseph Nickell                                1600 N Park Dr                                                                           Weston                 FL   33326-3278                 8/11/2022           3,163.94      Employee Expense Reimbursement
   Joseph Nickell                                1600 N Park Dr                                                                           Weston                 FL   33326-3278                 8/24/2022           1,953.40      Employee Expense Reimbursement
   Joseph Nickell                                1600 N Park Dr                                                                           Weston                 FL   33326-3278                 9/29/2022           2,744.64      Employee Expense Reimbursement
   Joseph Nickell                                1600 N Park Dr                                                                           Weston                 FL   33326-3278                 9/29/2022           1,508.39      Employee Expense Reimbursement
   [Creditor Name on File]                       [Address on File]                                                                                                                            [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                       [Address on File]                                                                                                                            [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                       [Address on File]                                                                                                                            [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                       [Address on File]                                                                                                                            [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                       [Address on File]                                                                                                                            [Date on File]    [Amount on File]   Influencer
   Joshua L Cook                                 1600 N Park Dr                                                                           Weston                 FL   33326-3278                 7/12/2022           1,699.20      Employee Expense Reimbursement
   Joshua L Cook                                 1600 N Park Dr                                                                           Weston                 FL   33326-3278                 8/11/2022           2,190.36      Employee Expense Reimbursement
   Joshua L Cook                                 1600 N Park Dr                                                                           Weston                 FL   33326-3278                 9/21/2022           1,705.56      Employee Expense Reimbursement
   Joshua L Cook                                 1600 N Park Dr                                                                           Weston                 FL   33326-3278                 10/6/2022           3,621.00      Employee Expense Reimbursement
   [Creditor Name on File]                       [Address on File]                                                                                                                            [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                       [Address on File]                                                                                                                            [Date on File]    [Amount on File]   Influencer
   KAEKO, Inc                                    451 N Dean Ave                                                                           Chandler               AZ   85226-2745                  8/9/2022          14,700.00      Operating
   [Creditor Name on File]                       [Address on File]                                                                                                                            [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                       [Address on File]                                                                                                                            [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                       [Address on File]                                                                                                                            [Date on File]    [Amount on File]   Influencer
   Kari G Murphy                                 1600 N Park Dr                                                                           Weston                 FL   33326-3278                 7/11/2022           2,062.45      Employee Expense Reimbursement
   Kari G Murphy                                 1600 N Park Dr                                                                           Weston                 FL   33326-3278                 8/11/2022           2,102.50      Employee Expense Reimbursement
   Kari G Murphy                                 1600 N Park Dr                                                                           Weston                 FL   33326-3278                 9/21/2022           2,141.86      Employee Expense Reimbursement
   Kari G Murphy                                 1600 N Park Dr                                                                           Weston                 FL   33326-3278                 10/7/2022           1,714.99      Employee Expense Reimbursement
   [Creditor Name on File]                       [Address on File]                                                                                                                            [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                       [Address on File]                                                                                                                            [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                       [Address on File]                                                                                                                            [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                       [Address on File]                                                                                                                            [Date on File]    [Amount on File]   Influencer




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                                                         Case 22-17842-PDR                       Doc 325        Exhibit SOFA 3
                                                                                                                              Filed 11/11/22                           Page 37 of 79
                                                                                 Certain payments or transfers to creditors within 90 days before filing this case




   Creditor's Name                           Address 1                          Address 2                          Address 3      Address 4 City                      State Zip         Country           Payment Date      Payment Amount      Reason for Payment or Transfer
   [Creditor Name on File]                   [Address on File]                                                                                                                                             [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                   [Address on File]                                                                                                                                             [Date on File]    [Amount on File]   Influencer
   Kearny Mesa West (San Diego), LLC         4700 Wilshire Blvd                                                                               Los Angeles             CA   90010                               8/1/2022           7,800.87      Leases
   Kearny Mesa West (San Diego), LLC         4700 Wilshire Blvd                                                                               Los Angeles             CA   90010                               9/1/2022           7,800.87      Leases
   Keller Warehousing & Co-Packing LLC       24862 Elliot Rd                                                                                  Defiance                OH   43512                              7/15/2022          30,693.76      Operating
   Keller Warehousing & Co-Packing LLC       24862 Elliot Rd                                                                                  Defiance                OH   43512                              7/29/2022          32,913.44      Operating
   Keller Warehousing & Co-Packing LLC       24862 Elliot Rd                                                                                  Defiance                OH   43512                               9/1/2022          32,913.44      Operating
   Kelly Ocampo                              1600 N Park Dr                                                                                   Weston                  FL   33326-3278                         8/17/2022           6,032.35      Employee Expense Reimbursement
   Kelly Ocampo                              1600 N Park Dr                                                                                   Weston                  FL   33326-3278                         8/17/2022           5,000.00      Employee Expense Reimbursement
   Kelly Services, Inc                       PO Box 530437                                                                                    Atlanta                 GA   30353-0437                          8/9/2022          26,460.00      Professional
   [Creditor Name on File]                   [Address on File]                                                                                                                                             [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                   [Address on File]                                                                                                                                             [Date on File]    [Amount on File]   Influencer
   Kenton D Powell                           1600 N Park Dr                                                                                   Weston                  FL   33326-3278                         7/29/2022           1,784.60      Employee Expense Reimbursement
   Kenton D Powell                           1600 N Park Dr                                                                                   Weston                  FL   33326-3278                         8/11/2022           2,607.13      Employee Expense Reimbursement
   Kenton D Powell                           1600 N Park Dr                                                                                   Weston                  FL   33326-3278                         8/18/2022              308.82     Employee Expense Reimbursement
   Kenton D Powell                           1600 N Park Dr                                                                                   Weston                  FL   33326-3278                         9/16/2022           3,589.25      Employee Expense Reimbursement
   Kenton D Powell                           1600 N Park Dr                                                                                   Weston                  FL   33326-3278                         10/6/2022           2,832.31      Employee Expense Reimbursement
   Kerry Ingredients & Flavours              Via Capitani di Mozzo 12/16                                                                      Mozzo                   BG   24030      Italy                   8/19/2022          52,888.50      Rawmat
   Kevin R Hooks                             1600 N Park Dr                                                                                   Weston                  FL   33326-3278                         7/11/2022           2,473.03      Employee Expense Reimbursement
   Kevin R Hooks                             1600 N Park Dr                                                                                   Weston                  FL   33326-3278                         8/11/2022           2,368.49      Employee Expense Reimbursement
   Kevin R Hooks                             1600 N Park Dr                                                                                   Weston                  FL   33326-3278                         9/16/2022           2,704.53      Employee Expense Reimbursement
   Kevin R Hooks                             1600 N Park Dr                                                                                   Weston                  FL   33326-3278                         10/6/2022           2,919.98      Employee Expense Reimbursement
   Khalsa Transportation Inc                 13371 South Fowler Ave                                                                           Selma                   CA   93662                              7/19/2022         138,220.00      Operating
   Khalsa Transportation Inc                 13371 South Fowler Ave                                                                           Selma                   CA   93662                              9/22/2022         195,450.00      Operating
   [Creditor Name on File]                   [Address on File]                                                                                                                                             [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                   [Address on File]                                                                                                                                             [Date on File]    [Amount on File]   Influencer
   Kian Joo Canpack Sdn Bhd                  107 Jalan Permata                                                                                Kawasan Industri Arab        1 71800      Malaysia              7/19/2022          54,345.92      Copacker
   Kian Joo Canpack Sdn Bhd                  107 Jalan Permata                                                                                Kawasan Industri Arab        1 71800      Malaysia              7/20/2022           9,049.32      Copacker
   Kian Joo Canpack Sdn Bhd                  107 Jalan Permata                                                                                Kawasan Industri Arab        1 71800      Malaysia              7/22/2022          54,345.92      Copacker
   Kian Joo Canpack Sdn Bhd                  107 Jalan Permata                                                                                Kawasan Industri Arab        1 71800      Malaysia               8/9/2022          36,197.28      Copacker
   Kian Joo Canpack Sdn Bhd                  107 Jalan Permata                                                                                Kawasan Industri Arab        1 71800      Malaysia              8/19/2022          27,498.92      Copacker
   [Creditor Name on File]                   [Address on File]                                                                                                                                             [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                   [Address on File]                                                                                                                                             [Date on File]    [Amount on File]   Influencer
   KJM Aluminum Can SDN BHD                  Lot 106, Jalan Permata 1           Kawasan Perindustrian Nilai                                   Negeri Sembilan              71800        Malaysia              7/15/2022          94,148.60      Rawmat
   KJM Aluminum Can SDN BHD                  Lot 106, Jalan Permata 1           Kawasan Perindustrian Nilai                                   Negeri Sembilan              71800        Malaysia              7/22/2022          36,955.72      Rawmat
   KJM Aluminum Can SDN BHD                  Lot 106, Jalan Permata 1           Kawasan Perindustrian Nilai                                   Negeri Sembilan              71800        Malaysia              8/23/2022          36,955.72      Rawmat
   Konings Drinks BV                         Teteringsedsk 227                                                                                Breda                        4817 ME      The Netherlands       8/17/2022          77,210.82      Copacker
   Konings Drinks BV                         Teteringsedsk 227                                                                                Breda                        4817 ME      The Netherlands       9/29/2022         225,518.29      Copacker
   KP Properties of Ohio                     11300 Longwater ChaSE Ct                                                                         Fort Myers              FL   33906                               8/1/2022          20,625.12      Occupancy
   KP Properties of Ohio                     11300 Longwater ChaSE Ct                                                                         Fort Myers              FL   33906                               9/1/2022          20,625.12      Occupancy
   Kramer & Amador, P.C.                     225 Reinekers Ln Ste 300                                                                         Alexandria              VA   22314-3199                         7/18/2022              400.00     Operating
   Kramer & Amador, P.C.                     225 Reinekers Ln Ste 300                                                                         Alexandria              VA   22314-3199                         7/27/2022              561.25     Operating
   Kramer & Amador, P.C.                     225 Reinekers Ln Ste 300                                                                         Alexandria              VA   22314-3199                         8/22/2022          18,513.50      Operating
   Krier Foods, Inc.                         551 Krier Ln                                                                                     Random Lake             WI   53075                              7/12/2022          11,137.39      Copacker
   Krones, Inc.                              29065 Network Pl                                                                                 Chicago                 IL   60673-1290                         7/18/2022          73,968.89      Packaging
   Krones, Inc.                              29065 Network Pl                                                                                 Chicago                 IL   60673-1290                         7/19/2022          17,351.12      Packaging
   Krones, Inc.                              29065 Network Pl                                                                                 Chicago                 IL   60673-1290                         8/23/2022         114,861.13      Packaging
   Krones, Inc.                              29065 Network Pl                                                                                 Chicago                 IL   60673-1290                          9/2/2022          21,987.32      Packaging
   KRYNICA VITAMIN SPÓŁKA AKCYJNA            Matyldy Street 35                                                                                Warsaw                       03-606       Poland                8/23/2022          57,856.44      Copacker
   Kuckelman Torline Kirkland, Inc.          10740 Nall Ave                                                                                   Overland Park           KS   66211-1367                         7/18/2022           5,281.66      Professional
   Kuckelman Torline Kirkland, Inc.          10740 Nall Ave                                                                                   Overland Park           KS   66211-1367                         9/19/2022          21,872.58      Professional
   Kum & Go                                  1459 Grand Ave                                                                                   Des Moines              IA   50309-3005                          8/4/2022          90,593.41      Wholesalers & Distributors
   Kwik Trip Inc                             1626 Oak St                                                                                      La Crosse               WI   54603-2308                          8/4/2022          33,087.86      Wholesalers & Distributors
   Landmark Industries                       11111 Wilcrest Green Suite 100                                                                   Houston                 TX   77042                              8/10/2022         115,675.00      Operating
   Lane IP Limited                           33 Gulter Lane                                                                                   London                       EC2V 8AS     United Kingdom        7/27/2022                2.13     Professional
   Lane IP Limited                           33 Gulter Lane                                                                                   London                       EC2V 8AS     United Kingdom         8/9/2022           9,115.00      Professional
   [Creditor Name on File]                   [Address on File]                                                                                                                                             [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                   [Address on File]                                                                                                                                             [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                   [Address on File]                                                                                                                                             [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                   [Address on File]                                                                                                                                             [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                   [Address on File]                                                                                                                                             [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                   [Address on File]                                                                                                                                             [Date on File]    [Amount on File]   Influencer
   Liangxi Li                                1600 N Park Dr                                                                                   Weston                  FL   33326-3278                         7/25/2022           2,352.77      Employee Expense Reimbursement
   Liangxi Li                                1600 N Park Dr                                                                                   Weston                  FL   33326-3278                          8/5/2022           2,876.46      Employee Expense Reimbursement
   Liangxi Li                                1600 N Park Dr                                                                                   Weston                  FL   33326-3278                         9/21/2022           2,402.33      Employee Expense Reimbursement
   LinkSquares Inc.                          60 State St Ste 1800                                                                             Boston                  MA   02109-1800                         7/27/2022          21,251.50      Professional
   LMR Auto Transport Brokerage Inc.         4395 Amsterdam St                                                                                N Charleston            SC   29418-5921                         7/14/2022           1,275.00      Operating
   LMR Auto Transport Brokerage Inc.         4395 Amsterdam St                                                                                N Charleston            SC   29418-5921                         7/18/2022           2,550.00      Operating
   LMR Auto Transport Brokerage Inc.         4395 Amsterdam St                                                                                N Charleston            SC   29418-5921                         7/21/2022           8,850.00      Operating
   LMR Auto Transport Brokerage Inc.         4395 Amsterdam St                                                                                N Charleston            SC   29418-5921                         8/25/2022          81,280.00      Operating
   Lone Star Business Association Coop.      PO Box 2599                                                                                      Waxahachie              TX   75168-8599                          8/2/2022          15,163.28      Wholesalers & Distributors
   [Creditor Name on File]                   [Address on File]                                                                                                                                             [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                   [Address on File]                                                                                                                                             [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                   [Address on File]                                                                                                                                             [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                   [Address on File]                                                                                                                                             [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                   [Address on File]                                                                                                                                             [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                   [Address on File]                                                                                                                                             [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                   [Address on File]                                                                                                                                             [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                   [Address on File]                                                                                                                                             [Date on File]    [Amount on File]   Influencer
   Maddilicious Inc.                         17055 Owl Tree Rd                                                                                Riverside               CA   92504-9573                         7/22/2022                6.20     Professional
   Maddilicious Inc.                         17055 Owl Tree Rd                                                                                Riverside               CA   92504-9573                         7/27/2022          14,140.00      Professional
   [Creditor Name on File]                   [Address on File]                                                                                                                                             [Date on File]    [Amount on File]   Influencer
   Mango Technologies, Inc. DBA ClickUp      350 10th Ave Ste 500                                                                             San Diego               CA   92101-7497                          9/2/2022          42,348.64      Operating
   MAPCO Express, Inc                        801 Crescent Center Dr Suite 300                                                                 Franklin                TN   37067                               8/2/2022          16,014.00      Operating
   [Creditor Name on File]                   [Address on File]                                                                                                                                             [Date on File]    [Amount on File]   Influencer




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                                                                           Case 22-17842-PDR                     Doc 325        Exhibit SOFA 3
                                                                                                                                              Filed 11/11/22                          Page 38 of 79
                                                                                                 Certain payments or transfers to creditors within 90 days before filing this case




   Creditor's Name                                              Address 1                       Address 2                          Address 3      Address 4 City                     State Zip         Country   Payment Date      Payment Amount      Reason for Payment or Transfer
   [Creditor Name on File]                                      [Address on File]                                                                                                                                 [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                                      [Address on File]                                                                                                                                 [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                                      [Address on File]                                                                                                                                 [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                                      [Address on File]                                                                                                                                 [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                                      [Address on File]                                                                                                                                 [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                                      [Address on File]                                                                                                                                 [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                                      [Address on File]                                                                                                                                 [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                                      [Address on File]                                                                                                                                 [Date on File]    [Amount on File]   Influencer
   Matheson Tri-Gas, Inc                                        7320 NW 58th St                                                                               Miami                  FL   33166                      7/26/2022           1,835.17      Operating
   Matheson Tri-Gas, Inc                                        7320 NW 58th St                                                                               Miami                  FL   33166                       8/8/2022           9,294.38      Operating
   Matheson Tri-Gas, Inc                                        7320 NW 58th St                                                                               Miami                  FL   33166                      8/23/2022              947.65     Operating
   Matheson Tri-Gas, Inc                                        7320 NW 58th St                                                                               Miami                  FL   33166                      8/25/2022           7,352.07      Operating
   Matheson Tri-Gas, Inc                                        7320 NW 58th St                                                                               Miami                  FL   33166                      10/7/2022          10,207.32      Operating
   [Creditor Name on File]                                      [Address on File]                                                                                                                                 [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                                      [Address on File]                                                                                                                                 [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                                      [Address on File]                                                                                                                                 [Date on File]    [Amount on File]   Influencer
   Matt Tomlinson                                               1600 N Park Dr                                                                                Weston                 FL   33326-3278                 8/15/2022           6,929.76      Employee Expense Reimbursement
   Matt Tomlinson                                               1600 N Park Dr                                                                                Weston                 FL   33326-3278                 9/29/2022           3,640.84      Employee Expense Reimbursement
   [Creditor Name on File]                                      [Address on File]                                                                                                                                 [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                                      [Address on File]                                                                                                                                 [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                                      [Address on File]                                                                                                                                 [Date on File]    [Amount on File]   Influencer
   MDV SpartanNash                                              1133 Kingwood Ave                                                                             Norwalk                VA   23502                      7/28/2022          15,287.17      Wholesalers & Distributors
   Merchandising Services, Co.                                  9891 Montgomery Rd # 320                                                                      Montgomery             OH   45242-6424                 7/15/2022         160,869.16      Operating
   Merchandising Services, Co.                                  9891 Montgomery Rd # 320                                                                      Montgomery             OH   45242-6424                  8/2/2022           4,455.00      Operating
   Merchandising Services, Co.                                  9891 Montgomery Rd # 320                                                                      Montgomery             OH   45242-6424                 8/11/2022           1,179.88      Operating
   MetLife Insurance                                            PO Box 804466                                                                                 Kansas City            MO   64180-4466                 7/21/2022          54,047.54      Insurance
   MetLife Insurance                                            PO Box 804466                                                                                 Kansas City            MO   64180-4466                 7/26/2022          53,880.67      Insurance
   MetLife Insurance                                            PO Box 804466                                                                                 Kansas City            MO   64180-4466                 8/23/2022          38,833.15      Insurance
   MetLife Insurance                                            PO Box 804466                                                                                 Kansas City            MO   64180-4466                 9/26/2022          50,485.79      Insurance
   [Creditor Name on File]                                      [Address on File]                                                                                                                                 [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                                      [Address on File]                                                                                                                                 [Date on File]    [Amount on File]   Influencer
   Michael Gilmer                                               1600 N Park Dr                                                                                Weston                 FL   33326-3278                 7/18/2022              304.14     Employee Expense Reimbursement
   Michael Gilmer                                               1600 N Park Dr                                                                                Weston                 FL   33326-3278                 7/25/2022              808.41     Employee Expense Reimbursement
   Michael Gilmer                                               1600 N Park Dr                                                                                Weston                 FL   33326-3278                 7/29/2022           1,475.73      Employee Expense Reimbursement
   Michael Gilmer                                               1600 N Park Dr                                                                                Weston                 FL   33326-3278                 8/18/2022           1,347.44      Employee Expense Reimbursement
   Michael Gilmer                                               1600 N Park Dr                                                                                Weston                 FL   33326-3278                 9/15/2022           1,837.37      Employee Expense Reimbursement
   Michael Gilmer                                               1600 N Park Dr                                                                                Weston                 FL   33326-3278                 9/22/2022           1,398.93      Employee Expense Reimbursement
   Michael Gilmer                                               1600 N Park Dr                                                                                Weston                 FL   33326-3278                 10/6/2022           2,282.13      Employee Expense Reimbursement
   [Creditor Name on File]                                      [Address on File]                                                                                                                                 [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                                      [Address on File]                                                                                                                                 [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                                      [Address on File]                                                                                                                                 [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                                      [Address on File]                                                                                                                                 [Date on File]    [Amount on File]   Influencer
   Milling Law Firm, LLC                                        2910 DeviNE St                                                                                Columbia               SC   29205                      9/20/2022          12,725.00      Professional
   [Creditor Name on File]                                      [Address on File]                                                                                                                                 [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                                      [Address on File]                                                                                                                                 [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                                      [Address on File]                                                                                                                                 [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                                      [Address on File]                                                                                                                                 [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                                      [Address on File]                                                                                                                                 [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                                      [Address on File]                                                                                                                                 [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                                      [Address on File]                                                                                                                                 [Date on File]    [Amount on File]   Influencer
   Mobile Force Refueling, LLC                                  PO Box 13427                                                                                  Tempe                  AZ   85284-0058                 7/12/2022           2,927.40      Operating
   Mobile Force Refueling, LLC                                  PO Box 13427                                                                                  Tempe                  AZ   85284-0058                 7/18/2022           5,082.67      Operating
   Mobile Force Refueling, LLC                                  PO Box 13427                                                                                  Tempe                  AZ   85284-0058                 7/20/2022              337.20     Operating
   Mobile Force Refueling, LLC                                  PO Box 13427                                                                                  Tempe                  AZ   85284-0058                 8/10/2022              901.65     Operating
   Mobile Force Refueling, LLC                                  PO Box 13427                                                                                  Tempe                  AZ   85284-0058                 8/26/2022              569.19     Operating
   Mobile Force Refueling, LLC                                  PO Box 13427                                                                                  Tempe                  AZ   85284-0058                 8/31/2022              236.63     Operating
   Mobile Force Refueling, LLC                                  PO Box 13427                                                                                  Tempe                  AZ   85284-0058                 9/16/2022              287.77     Operating
   Mobile Force Refueling, LLC                                  PO Box 13427                                                                                  Tempe                  AZ   85284-0058                 9/19/2022              175.83     Operating
   Moore Rabinowitz Law, P.A.                                   8751 W Broward Blvd Suite 300                                                                 Plantation             FL   33324                      7/18/2022           1,657.00      Professional
   Moore Rabinowitz Law, P.A.                                   8751 W Broward Blvd Suite 300                                                                 Plantation             FL   33324                      9/28/2022          59,786.73      Professional
   Moore Rabinowitz Law, P.A.                                   8751 W Broward Blvd Suite 300                                                                 Plantation             FL   33324                      9/28/2022          16,164.00      Professional
   [Creditor Name on File]                                      [Address on File]                                                                                                                                 [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                                      [Address on File]                                                                                                                                 [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                                      [Address on File]                                                                                                                                 [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                                      [Address on File]                                                                                                                                 [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                                      [Address on File]                                                                                                                                 [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                                      [Address on File]                                                                                                                                 [Date on File]    [Amount on File]   Influencer
   Mutual of Omaha                                              PO Box 2147                                                                                   Omaha                  FL   68103-2147                 7/11/2022           1,117.27      Operating
   Mutual of Omaha                                              PO Box 2147                                                                                   Omaha                  FL   68103-2147                  8/4/2022          44,780.56      Operating
   Mutual of Omaha                                              PO Box 2147                                                                                   Omaha                  FL   68103-2147                 8/26/2022          44,662.56      Operating
   Mutual of Omaha                                              PO Box 2147                                                                                   Omaha                  FL   68103-2147                 10/6/2022          44,064.56      Operating
   [Creditor Name on File]                                      [Address on File]                                                                                                                                 [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                                      [Address on File]                                                                                                                                 [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                                      [Address on File]                                                                                                                                 [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                                      [Address on File]                                                                                                                                 [Date on File]    [Amount on File]   Influencer
   National Coalition of Associations of 7-Eleven Franchisees   1001 Pat Booker Rd, Ste 206                                                                   Universal City         TX   78148                      8/18/2022          30,000.00      Wholesalers & Distributors
   Naumann Hobbs                                                4335 E Wood St                                                                                Phoenix                AZ   85040-2045                 7/18/2022          14,716.13      Rep&Maint
   Naumann Hobbs                                                4335 E Wood St                                                                                Phoenix                AZ   85040-2045                 8/19/2022           4,819.86      Rep&Maint
   Naumann Hobbs                                                4335 E Wood St                                                                                Phoenix                AZ   85040-2045                 9/19/2022           5,140.91      Rep&Maint
   Naumann Hobbs                                                4335 E Wood St                                                                                Phoenix                AZ   85040-2045                 9/23/2022           2,573.55      Rep&Maint
   Navajo Express, Inc                                          1400 W 64th Ave                                                                               Denver                 CO   80221-2430                 7/15/2022          95,704.00      Operating
   Nelson Mullins Riley & Scarborough LLP                       1320 Main St Fl 17                                                                            Columbia               SC   29201-3268                 7/18/2022              420.00     Professional
   Nelson Mullins Riley & Scarborough LLP                       1320 Main St Fl 17                                                                            Columbia               SC   29201-3268                 8/15/2022         244,782.50      Professional
   Nelson Mullins Riley & Scarborough LLP                       1320 Main St Fl 17                                                                            Columbia               SC   29201-3268                 10/4/2022         250,000.00      Professional
   Network LeasePlan U.S.A.,Inc.                                1165 Sanctuary Pkwy                                                                           Alpharetta             GA   30009-4738                 8/12/2022         271,791.86      Operating




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                                                                                                 Certain payments or transfers to creditors within 90 days before filing this case




   Creditor's Name                                                Address 1                     Address 2                          Address 3      Address 4 City                     State   Zip        Country   Payment Date      Payment Amount      Reason for Payment or Transfer
   Network LeasePlan U.S.A.,Inc.                                  1165 Sanctuary Pkwy                                                                       Alpharetta               GA      30009-4738               8/22/2022           1,876.48      Operating
   Network LeasePlan U.S.A.,Inc.                                  1165 Sanctuary Pkwy                                                                       Alpharetta               GA      30009-4738                9/1/2022         229,031.60      Operating
   Network LeasePlan U.S.A.,Inc.                                  1165 Sanctuary Pkwy                                                                       Alpharetta               GA      30009-4738               9/30/2022         325,000.00      Operating
   Network LeasePlan U.S.A.,Inc.                                  1165 Sanctuary Pkwy                                                                       Alpharetta               GA      30009-4738               10/7/2022          70,000.00      Operating
   [Creditor Name on File]                                        [Address on File]                                                                                                                                [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                                        [Address on File]                                                                                                                                [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                                        [Address on File]                                                                                                                                [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                                        [Address on File]                                                                                                                                [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                                        [Address on File]                                                                                                                                [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                                        [Address on File]                                                                                                                                [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                                        [Address on File]                                                                                                                                [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                                        [Address on File]                                                                                                                                [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                                        [Address on File]                                                                                                                                [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                                        [Address on File]                                                                                                                                [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                                        [Address on File]                                                                                                                                [Date on File]    [Amount on File]   Influencer
   Nordson Corporation                                            PO Box 802586                                                                               Chicago                IL      60680-2586               7/11/2022           2,966.18      Operating
   Nordson Corporation                                            PO Box 802586                                                                               Chicago                IL      60680-2586               7/12/2022           5,358.83      Operating
   NV, LLC                                                        417 Bateasville Rd                                                                          Simpsonville           SC      29681                     8/1/2022          12,873.24      Leases
   NV, LLC                                                        417 Bateasville Rd                                                                          Simpsonville           SC      29681                     9/1/2022          12,873.24      Leases
   Off Madison Ave, LLC                                           5555 E Van Buren St Ste 215                                                                 Phoenix                AZ      85008-3486               7/12/2022          20,000.00      Professional
   Off Madison Ave, LLC                                           5555 E Van Buren St Ste 215                                                                 Phoenix                AZ      85008-3486               7/19/2022          20,000.00      Professional
   Off Madison Ave, LLC                                           5555 E Van Buren St Ste 215                                                                 Phoenix                AZ      85008-3486               7/19/2022          20,000.00      Professional
   Off Madison Ave, LLC                                           5555 E Van Buren St Ste 215                                                                 Phoenix                AZ      85008-3486               10/5/2022          20,000.00      Professional
   Off Madison Ave, LLC                                           5555 E Van Buren St Ste 215                                                                 Phoenix                AZ      85008-3486               10/7/2022          30,000.00      Professional
   Off Madison Ave, LLC                                           5555 E Van Buren St Ste 215                                                                 Phoenix                AZ      85008-3486               10/7/2022          15,000.00      Professional
   [Creditor Name on File]                                        [Address on File]                                                                                                                                [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                                        [Address on File]                                                                                                                                [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                                        [Address on File]                                                                                                                                [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                                        [Address on File]                                                                                                                                [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                                        [Address on File]                                                                                                                                [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                                        [Address on File]                                                                                                                                [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                                        [Address on File]                                                                                                                                [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                                        [Address on File]                                                                                                                                [Date on File]    [Amount on File]   Influencer
   OneCBIZ Inc CBIZ Brining Taylor Zimmer                         401 B St Ste 2150                                                                           San Diego              CA      92101-4201               7/25/2022           3,378.75      Professional
   OneCBIZ Inc CBIZ Brining Taylor Zimmer                         401 B St Ste 2150                                                                           San Diego              CA      92101-4201                8/2/2022           4,506.25      Professional
   Optum Financial, Inc                                           9900 Bren Rd E                                                                              Minnetonka             MN      55343-9664               7/14/2022              352.00     Operating
   Optum Financial, Inc                                           9900 Bren Rd E                                                                              Minnetonka             MN      55343-9664               7/20/2022           3,162.82      Operating
   Optum Financial, Inc                                           9900 Bren Rd E                                                                              Minnetonka             MN      55343-9664               7/29/2022           3,077.82      Operating
   Optum Financial, Inc                                           9900 Bren Rd E                                                                              Minnetonka             MN      55343-9664               8/17/2022           3,377.82      Operating
   Optum Financial, Inc                                           9900 Bren Rd E                                                                              Minnetonka             MN      55343-9664               8/25/2022              154.00     Operating
   Optum Financial, Inc                                           9900 Bren Rd E                                                                              Minnetonka             MN      55343-9664               8/31/2022           3,427.82      Operating
   Optum Financial, Inc                                           9900 Bren Rd E                                                                              Minnetonka             MN      55343-9664               9/13/2022           3,477.82      Operating
   Optum Financial, Inc                                           9900 Bren Rd E                                                                              Minnetonka             MN      55343-9664               9/26/2022           3,402.82      Operating
   Optum Financial, Inc                                           9900 Bren Rd E                                                                              Minnetonka             MN      55343-9664               10/6/2022               82.50     Operating
   ORBIT Industrial Service & Maintenance                         5316 W Missouri Ave                                                                         Glendale               AZ      85301-6006               8/11/2022                1.55     Rentals
   ORBIT Industrial Service & Maintenance                         5316 W Missouri Ave                                                                         Glendale               AZ      85301-6006               8/15/2022          10,236.62      Rentals
   Overseas Services Corporation dba OSCWEBCO                     1100 Northpoint Pkwy                                                                        West Palm Bch          FL      33407-1937               8/23/2022          90,942.44      Operating
   P&A Worldwide GmbH                                             11 Georg-Ohm-Strabe                                                                         Taunusstein                    65232      Germany       7/25/2022          46,169.50      Wholesalers & Distributors
   P&A Worldwide GmbH                                             11 Georg-Ohm-Strabe                                                                         Taunusstein                    65232      Germany       8/16/2022          40,189.50      Wholesalers & Distributors
   Packaging Equipment, Inc.                                      4350 Crosscreek Trl                                                                         Cumming                GA      30041-6633                8/1/2022          17,600.00      Operating
   [Creditor Name on File]                                        [Address on File]                                                                                                                                [Date on File]    [Amount on File]   Influencer
   Parallel Products                                              PO Box 775347                                                                               Chicago                IL      60677-5347               7/18/2022          56,514.85      Operating
   Parallel Products                                              PO Box 775347                                                                               Chicago                IL      60677-5347               7/18/2022          36,585.05      Operating
   [Creditor Name on File]                                        [Address on File]                                                                                                                                [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                                        [Address on File]                                                                                                                                [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                                        [Address on File]                                                                                                                                [Date on File]    [Amount on File]   Influencer
   Patrick Gueret                                                 1600 N Park Dr                                                                              Weston                 FL      33326-3278               7/18/2022           5,187.23      Employee Expense Reimbursement
   Patrick Gueret                                                 1600 N Park Dr                                                                              Weston                 FL      33326-3278               7/29/2022           3,510.56      Employee Expense Reimbursement
   Patrick Gueret                                                 1600 N Park Dr                                                                              Weston                 FL      33326-3278               8/15/2022           1,470.34      Employee Expense Reimbursement
   Patrick Gueret                                                 1600 N Park Dr                                                                              Weston                 FL      33326-3278               9/22/2022           3,882.27      Employee Expense Reimbursement
   Patrick Gueret                                                 1600 N Park Dr                                                                              Weston                 FL      33326-3278               10/6/2022           5,560.79      Employee Expense Reimbursement
   [Creditor Name on File]                                        [Address on File]                                                                                                                                [Date on File]    [Amount on File]   Influencer
   Paul D Specter                                                 1600 N Park Dr                                                                              Weston                 FL      33326-3278               7/25/2022           1,023.60      Employee Expense Reimbursement
   Paul D Specter                                                 1600 N Park Dr                                                                              Weston                 FL      33326-3278               7/25/2022              163.74     Employee Expense Reimbursement
   Paul D Specter                                                 1600 N Park Dr                                                                              Weston                 FL      33326-3278               8/15/2022           1,104.00      Employee Expense Reimbursement
   Paul D Specter                                                 1600 N Park Dr                                                                              Weston                 FL      33326-3278               8/18/2022           1,267.11      Employee Expense Reimbursement
   Paul D Specter                                                 1600 N Park Dr                                                                              Weston                 FL      33326-3278               9/22/2022           1,787.84      Employee Expense Reimbursement
   Paul D Specter                                                 1600 N Park Dr                                                                              Weston                 FL      33326-3278               10/7/2022           2,357.30      Employee Expense Reimbursement
   [Creditor Name on File]                                        [Address on File]                                                                                                                                [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                                        [Address on File]                                                                                                                                [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                                        [Address on File]                                                                                                                                [Date on File]    [Amount on File]   Influencer
   Peachtree Packaging, Inc                                       770 Marathon Pkwy                                                                           Lawrenceville          GA      30046-2800               8/25/2022         161,427.01      Operating
   Pedro Romero                                                   1600 N Park Dr                                                                              Weston                 FL      33326-3278               7/18/2022           4,438.64      Employee Expense Reimbursement
   Pedro Romero                                                   1600 N Park Dr                                                                              Weston                 FL      33326-3278               8/15/2022           2,696.22      Employee Expense Reimbursement
   Pedro Romero                                                   1600 N Park Dr                                                                              Weston                 FL      33326-3278               9/22/2022           4,643.72      Employee Expense Reimbursement
   Pedro Romero                                                   1600 N Park Dr                                                                              Weston                 FL      33326-3278               10/7/2022           3,418.06      Employee Expense Reimbursement
   Peking Union Medical College Institute of Medical Biotechnol   Dongcheng                                                                                   Beijing                        100006     China         8/26/2022           8,756.46      Operating
   Penske Truck Leasing                                           PO Box 7429                                                                                 Pasadena               CA      91109-7429               7/26/2022          31,154.21      Leases
   Penske Truck Leasing                                           PO Box 7429                                                                                 Pasadena               CA      91109-7429               8/23/2022          20,648.82      Leases
   Penske Truck Leasing                                           PO Box 7429                                                                                 Pasadena               CA      91109-7429                9/1/2022          20,648.82      Leases
   Penske Truck Leasing                                           PO Box 7429                                                                                 Pasadena               CA      91109-7429               9/26/2022          25,023.62      Leases
   PeopleSuite, LLC                                               222 N Main St                                                                               Mooresville            NC      28115-2528               8/24/2022          27,500.00      Professional
   [Creditor Name on File]                                        [Address on File]                                                                                                                                [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                                        [Address on File]                                                                                                                                [Date on File]    [Amount on File]   Influencer
   Pest Pro Rid All, LLC                                          5812 Johnson St                                                                             Hollywood              FL      33021-5636                8/2/2022                1.50     Rep&Maint




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                                                                                                                                               Filed 11/11/22                          Page 40 of 79
                                                                                                  Certain payments or transfers to creditors within 90 days before filing this case




   Creditor's Name                                                Address 1                      Address 2                          Address 3      Address 4 City                     State   Zip        Country   Payment Date      Payment Amount      Reason for Payment or Transfer
   Pest Pro Rid All, LLC                                          5812 Johnson St                                                                            Hollywood                FL      33021-5636               8/15/2022          15,075.56      Rep&Maint
   Pest Pro Rid All, LLC                                          5812 Johnson St                                                                            Hollywood                FL      33021-5636               9/12/2022           2,770.23      Rep&Maint
   Phaidon International (US) Inc.                                622 3rd Ave Fl 8                                                                           New York                 NY      10017-6727               7/27/2022          29,000.00      Professional
   PharmaCenter LLC                                               15851 SW 41 Street             Suite 300                                                   Davie                    FL      33331                    7/18/2022          18,000.00      Packaging
   PharmaCenter LLC                                               15851 SW 41 Street             Suite 300                                                   Davie                    FL      33331                    7/18/2022           8,500.00      Packaging
   Phoenix City Hall                                              200 W Washington St                                                                        Phoenix                  AZ      85003                    7/14/2022           2,495.87      Operating
   Phoenix City Hall                                              200 W Washington St                                                                        Phoenix                  AZ      85003                    7/21/2022         130,238.29      Operating
   Phoenix City Hall                                              200 W Washington St                                                                        Phoenix                  AZ      85003                    8/15/2022          78,456.74      Operating
   Phoenix City Hall                                              200 W Washington St                                                                        Phoenix                  AZ      85003                    8/15/2022           2,499.96      Operating
   Phoenix City Hall                                              200 W Washington St                                                                        Phoenix                  AZ      85003                    9/13/2022          68,079.65      Operating
   Phoenix City Hall                                              200 W Washington St                                                                        Phoenix                  AZ      85003                    9/13/2022           2,527.03      Operating
   Phoenix Fence Company                                          PO Box 21183                                                                               Phoenix                  AZ      85036-1183                8/2/2022          12,180.00      Rep&Maint
   Pilot Travel Centers LLC                                       5508 Lonas Drive                                                                           Knoxville                TN      37909                     8/4/2022         100,000.00      Wholesalers & Distributors
   POP Display Product (HK) Limited Dongguan Pop Display & Pack   #15 Ronghua Road               Juzhou 3Rd Industrial Zone                                  Shijie Town, Dongguan                       China          8/9/2022          32,340.00      Packaging
   PPF Lincoln Medley, LLC - Prime Property Fund, LLC             3280 Peachtree Rd Ne                                                                       Atlanta                  GA      30305                     8/1/2022          42,976.11      Occupancy
   PPF Lincoln Medley, LLC - Prime Property Fund, LLC             3280 Peachtree Rd Ne                                                                       Atlanta                  GA      30305                     9/1/2022          42,976.11      Occupancy
   Premier Distributing Company                                   1017 Santa Fe                                                                              Clovis                   NM      88101                    7/29/2022         122,000.00      Operating
   Premier Distributing Company                                   1017 Santa Fe                                                                              Clovis                   NM      88101                    9/22/2022         122,000.00      Operating
   [Creditor Name on File]                                        [Address on File]                                                                                                                                 [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                                        [Address on File]                                                                                                                                 [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                                        [Address on File]                                                                                                                                 [Date on File]    [Amount on File]   Influencer
   Principal Life Insurance 401K                                  711 High                                                                                     Des Moines             IA      50392                    7/15/2022         151,906.65      Insurance
   Principal Life Insurance 401K                                  711 High                                                                                     Des Moines             IA      50392                    7/26/2022              500.00     Insurance
   Principal Life Insurance 401K                                  711 High                                                                                     Des Moines             IA      50392                    7/29/2022         146,147.59      Insurance
   Principal Life Insurance 401K                                  711 High                                                                                     Des Moines             IA      50392                    8/12/2022         145,087.44      Insurance
   Principal Life Insurance 401K                                  711 High                                                                                     Des Moines             IA      50392                    8/26/2022         133,439.20      Insurance
   Principal Life Insurance 401K                                  711 High                                                                                     Des Moines             IA      50392                     9/9/2022         144,945.64      Insurance
   Principal Life Insurance 401K                                  711 High                                                                                     Des Moines             IA      50392                    9/23/2022         132,650.14      Insurance
   Principal Life Insurance 401K                                  711 High                                                                                     Des Moines             IA      50392                    10/3/2022         140,681.63      Insurance
   Prinova US LLC                                                 36780 Eagle Way                                                                              Chicago                IL      60678-1367               8/12/2022          23,578.75      Rawmat
   Prinova US LLC                                                 36780 Eagle Way                                                                              Chicago                IL      60678-1367               8/12/2022           1,547.00      Rawmat
   Prinova US LLC                                                 36780 Eagle Way                                                                              Chicago                IL      60678-1367               8/15/2022          31,389.50      Rawmat
   Priority-1, Inc                                                1800 E Roosevelt Rd                                                                          Little Rock            AR      72206-2516               7/21/2022         261,713.54      Freight
   Priority-1, Inc                                                1800 E Roosevelt Rd                                                                          Little Rock            AR      72206-2516                8/3/2022         256,161.47      Freight
   Priority-1, Inc                                                1800 E Roosevelt Rd                                                                          Little Rock            AR      72206-2516               8/11/2022         255,999.87      Freight
   Priority-1, Inc                                                1800 E Roosevelt Rd                                                                          Little Rock            AR      72206-2516               8/12/2022         253,782.28      Freight
   Priority-1, Inc                                                1800 E Roosevelt Rd                                                                          Little Rock            AR      72206-2516               8/16/2022         251,121.90      Freight
   Priority-1, Inc                                                1800 E Roosevelt Rd                                                                          Little Rock            AR      72206-2516               8/24/2022         126,198.35      Freight
   Priority-1, Inc                                                1800 E Roosevelt Rd                                                                          Little Rock            AR      72206-2516               8/31/2022         132,530.78      Freight
   Priority-1, Inc                                                1800 E Roosevelt Rd                                                                          Little Rock            AR      72206-2516               9/12/2022         124,230.93      Freight
   Priority-1, Inc                                                1800 E Roosevelt Rd                                                                          Little Rock            AR      72206-2516               9/14/2022         107,676.80      Freight
   Priority-1, Inc                                                1800 E Roosevelt Rd                                                                          Little Rock            AR      72206-2516               9/16/2022         201,283.99      Freight
   Priority-1, Inc                                                1800 E Roosevelt Rd                                                                          Little Rock            AR      72206-2516               9/23/2022         162,826.01      Freight
   Priority-1, Inc                                                1800 E Roosevelt Rd                                                                          Little Rock            AR      72206-2516               9/28/2022         150,000.00      Freight
   Priority-1, Inc                                                1800 E Roosevelt Rd                                                                          Little Rock            AR      72206-2516               9/29/2022         200,000.00      Freight
   Priority-1, Inc                                                1800 E Roosevelt Rd                                                                          Little Rock            AR      72206-2516               10/5/2022         251,300.75      Freight
   Professional Store Services                                    20032 Western Trails Blvd                                                                    Montgomery             TX      77316                     8/2/2022           6,328.50      Operating
   Professional Store Services                                    20032 Western Trails Blvd                                                                    Montgomery             TX      77316                    8/16/2022           1,545.50      Operating
   Professional Store Services                                    20032 Western Trails Blvd                                                                    Montgomery             TX      77316                    10/6/2022           8,172.25      Operating
   Prologis Targeted Logistics Fund, L.P.                         1800 Wazee St                                                                                Denver                 CO      80202                     8/1/2022          34,272.88      Leases
   Prologis Targeted Logistics Fund, L.P.                         1800 Wazee St                                                                                Denver                 CO      80202                     9/1/2022          34,272.88      Leases
   Pryor Cashman LLP                                              7 Times Sq Fl 3                                                                              New York               NY      10036-6569               8/22/2022                5.00     Professional
   Pryor Cashman LLP                                              7 Times Sq Fl 3                                                                              New York               NY      10036-6569               8/24/2022          22,495.00      Professional
   [Creditor Name on File]                                        [Address on File]                                                                                                                                 [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                                        [Address on File]                                                                                                                                 [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                                        [Address on File]                                                                                                                                 [Date on File]    [Amount on File]   Influencer
   Quarles & Brady LLP                                            411 E Wisconsin Ave Ste 2400                                                                 Milwaukee              WI      53202-4428               7/15/2022         625,000.00      Professional
   Quarles & Brady LLP                                            411 E Wisconsin Ave Ste 2400                                                                 Milwaukee              WI      53202-4428               7/21/2022         625,000.00      Professional
   Quarles & Brady LLP                                            411 E Wisconsin Ave Ste 2400                                                                 Milwaukee              WI      53202-4428               7/28/2022         625,000.00      Professional
   Quarles & Brady LLP                                            411 E Wisconsin Ave Ste 2400                                                                 Milwaukee              WI      53202-4428                8/8/2022         625,000.00      Professional
   Quarles & Brady LLP                                            411 E Wisconsin Ave Ste 2400                                                                 Milwaukee              WI      53202-4428               8/11/2022         625,000.00      Professional
   Quarles & Brady LLP                                            411 E Wisconsin Ave Ste 2400                                                                 Milwaukee              WI      53202-4428               8/22/2022         625,000.00      Professional
   Quarles & Brady LLP                                            411 E Wisconsin Ave Ste 2400                                                                 Milwaukee              WI      53202-4428               8/26/2022         625,000.00      Professional
   Quarles & Brady LLP                                            411 E Wisconsin Ave Ste 2400                                                                 Milwaukee              WI      53202-4428                9/2/2022         625,000.00      Professional
   Quarles & Brady LLP                                            411 E Wisconsin Ave Ste 2400                                                                 Milwaukee              WI      53202-4428               9/13/2022         625,000.00      Professional
   Quarles & Brady LLP                                            411 E Wisconsin Ave Ste 2400                                                                 Milwaukee              WI      53202-4428               9/20/2022         625,000.00      Professional
   Quarles & Brady LLP                                            411 E Wisconsin Ave Ste 2400                                                                 Milwaukee              WI      53202-4428               9/27/2022         625,000.00      Professional
   QuikTrip Corporation                                           4705 S 129th East Ave                                                                        Tulsa                  OK      74134-7005               7/22/2022         250,000.00      Wholesalers & Distributors
   QuikTrip Corporation                                           4705 S 129th East Ave                                                                        Tulsa                  OK      74134-7005                8/3/2022         101,294.10      Wholesalers & Distributors
   QuikTrip Corporation                                           4705 S 129th East Ave                                                                        Tulsa                  OK      74134-7005                8/8/2022         250,000.00      Wholesalers & Distributors
   QuikTrip Corporation                                           4705 S 129th East Ave                                                                        Tulsa                  OK      74134-7005               8/15/2022         250,000.00      Wholesalers & Distributors
   QuikTrip Corporation                                           4705 S 129th East Ave                                                                        Tulsa                  OK      74134-7005               8/26/2022         200,000.00      Wholesalers & Distributors
   QuikTrip Corporation                                           4705 S 129th East Ave                                                                        Tulsa                  OK      74134-7005               8/30/2022         250,000.00      Wholesalers & Distributors
   QuikTrip Corporation                                           4705 S 129th East Ave                                                                        Tulsa                  OK      74134-7005               9/28/2022         250,000.00      Wholesalers & Distributors
   QuikTrip Corporation                                           4705 S 129th East Ave                                                                        Tulsa                  OK      74134-7005               10/7/2022         150,000.00      Wholesalers & Distributors
   R&L Carriers                                                   600 Gilliam Rd                                                                               Willmington            OH      45177                    7/15/2022          17,129.68      Freight
   R&L Carriers                                                   600 Gilliam Rd                                                                               Willmington            OH      45177                    7/15/2022          13,462.22      Freight
   R&L Carriers                                                   600 Gilliam Rd                                                                               Willmington            OH      45177                    7/15/2022          11,913.88      Freight
   R&L Carriers                                                   600 Gilliam Rd                                                                               Willmington            OH      45177                    9/12/2022          37,834.94      Freight
   R&L Truckload Services, LLC                                    7290 College Pkwy Ste 200                                                                    Fort Myers             FL      33907-5649               7/28/2022           9,775.00      Freight
   RaceTrac Petroleum, Inc.                                       PO Box 930596                                                                                Atlanta                GA      31193-0596               8/11/2022          46,170.00      Wholesalers & Distributors
   Randy E Brinkley                                               1600 N Park Dr                                                                               Weston                 FL      33326-3278               7/11/2022           2,261.16      Employee Expense Reimbursement
   Randy E Brinkley                                               1600 N Park Dr                                                                               Weston                 FL      33326-3278               7/11/2022              696.23     Employee Expense Reimbursement
   Randy E Brinkley                                               1600 N Park Dr                                                                               Weston                 FL      33326-3278               7/29/2022           1,768.93      Employee Expense Reimbursement
   Randy E Brinkley                                               1600 N Park Dr                                                                               Weston                 FL      33326-3278               7/29/2022              310.82     Employee Expense Reimbursement




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                                                                            Certain payments or transfers to creditors within 90 days before filing this case




   Creditor's Name                             Address 1                   Address 2                          Address 3      Address 4 City                     State   Zip          Country           Payment Date   Payment Amount    Reason for Payment or Transfer
   Randy E Brinkley                            1600 N Park Dr                                                                          Weston                   FL      33326-3278                        8/18/2022         1,625.79    Employee Expense Reimbursement
   Randy E Brinkley                            1600 N Park Dr                                                                          Weston                   FL      33326-3278                        9/22/2022         2,112.81    Employee Expense Reimbursement
   Randy E Brinkley                            1600 N Park Dr                                                                          Weston                   FL      33326-3278                        9/22/2022            388.17   Employee Expense Reimbursement
   ReadyRefresh by Nestle                      PO Box 856680                                                                           Louisville               KY      40285-6680                        7/11/2022         1,538.33    Operating
   ReadyRefresh by Nestle                      PO Box 856680                                                                           Louisville               KY      40285-6680                        7/11/2022         1,256.43    Operating
   ReadyRefresh by Nestle                      PO Box 856680                                                                           Louisville               KY      40285-6680                        7/22/2022            344.31   Operating
   ReadyRefresh by Nestle                      PO Box 856680                                                                           Louisville               KY      40285-6680                         8/1/2022         3,474.40    Operating
   ReadyRefresh by Nestle                      PO Box 856680                                                                           Louisville               KY      40285-6680                         8/1/2022            371.20   Operating
   ReadyRefresh by Nestle                      PO Box 856680                                                                           Louisville               KY      40285-6680                         8/1/2022            223.09   Operating
   ReadyRefresh by Nestle                      PO Box 856680                                                                           Louisville               KY      40285-6680                         8/1/2022             90.20   Operating
   ReadyRefresh by Nestle                      PO Box 856680                                                                           Louisville               KY      40285-6680                         8/1/2022             80.66   Operating
   ReadyRefresh by Nestle                      PO Box 856680                                                                           Louisville               KY      40285-6680                         8/9/2022            915.74   Operating
   ReadyRefresh by Nestle                      PO Box 856680                                                                           Louisville               KY      40285-6680                        8/10/2022         1,256.43    Operating
   ReadyRefresh by Nestle                      PO Box 856680                                                                           Louisville               KY      40285-6680                        8/18/2022            311.90   Operating
   ReadyRefresh by Nestle                      PO Box 856680                                                                           Louisville               KY      40285-6680                         9/6/2022            994.08   Operating
   ReadyRefresh by Nestle                      PO Box 856680                                                                           Louisville               KY      40285-6680                         9/6/2022            793.07   Operating
   ReadyRefresh by Nestle                      PO Box 856680                                                                           Louisville               KY      40285-6680                         9/6/2022            223.09   Operating
   ReadyRefresh by Nestle                      PO Box 856680                                                                           Louisville               KY      40285-6680                         9/6/2022            175.27   Operating
   ReadyRefresh by Nestle                      PO Box 856680                                                                           Louisville               KY      40285-6680                         9/6/2022            150.15   Operating
   ReadyRefresh by Nestle                      PO Box 856680                                                                           Louisville               KY      40285-6680                         9/9/2022            431.25   Operating
   ReadyRefresh by Nestle                      PO Box 856680                                                                           Louisville               KY      40285-6680                        9/19/2022            127.78   Operating
   ReadyRefresh by Nestle                      PO Box 856680                                                                           Louisville               KY      40285-6680                        9/30/2022         1,296.15    Operating
   ReadyRefresh by Nestle                      PO Box 856680                                                                           Louisville               KY      40285-6680                        9/30/2022            473.02   Operating
   ReadyRefresh by Nestle                      PO Box 856680                                                                           Louisville               KY      40285-6680                        9/30/2022            167.13   Operating
   ReadyRefresh by Nestle                      PO Box 856680                                                                           Louisville               KY      40285-6680                        9/30/2022             98.20   Operating
   ReadyRefresh by Nestle                      PO Box 856680                                                                           Louisville               KY      40285-6680                        9/30/2022             80.66   Operating
   Recycle America LLC                         1001 Fannin St                                                                          Houston                  TX      77002-6706                        7/18/2022              1.00   Operating
   Recycle America LLC                         1001 Fannin St                                                                          Houston                  TX      77002-6706                        7/20/2022        50,485.25    Operating
   Refresco Benelux B.V.                       Orange Nasaulan 44                                                                      Maarheeze                        6026 PX      The Netherlands      7/12/2022        40,883.31    Copacker
   Refresco Benelux B.V.                       Orange Nasaulan 44                                                                      Maarheeze                        6026 PX      The Netherlands      7/22/2022        14,768.68    Copacker
   Refresco Beverage US Inc. COTT              8112 Woodland Center Blvd                                                               Tampa                    FL      33614-2403                        7/18/2022       133,815.20    Copacker
   Refresco Beverage US Inc. COTT              8112 Woodland Center Blvd                                                               Tampa                    FL      33614-2403                        7/26/2022        94,559.18    Copacker
   Refresco Beverage US Inc. COTT              8112 Woodland Center Blvd                                                               Tampa                    FL      33614-2403                         8/8/2022       147,618.14    Copacker
   Refresco Beverage US Inc. COTT              8112 Woodland Center Blvd                                                               Tampa                    FL      33614-2403                        8/10/2022       337,644.60    Copacker
   Refresco Beverage US Inc. COTT              8112 Woodland Center Blvd                                                               Tampa                    FL      33614-2403                        8/15/2022        87,741.50    Copacker
   Refresco Beverage US Inc. COTT              8112 Woodland Center Blvd                                                               Tampa                    FL      33614-2403                        8/17/2022       266,352.16    Copacker
   Refresco Beverage US Inc. COTT              8112 Woodland Center Blvd                                                               Tampa                    FL      33614-2403                        8/22/2022       273,825.56    Copacker
   Refresco Beverage US Inc. COTT              8112 Woodland Center Blvd                                                               Tampa                    FL      33614-2403                        8/25/2022       157,140.92    Copacker
   Refresco Beverage US Inc. COTT              8112 Woodland Center Blvd                                                               Tampa                    FL      33614-2403                        8/29/2022       195,420.92    Copacker
   Refresco Beverage US Inc. COTT              8112 Woodland Center Blvd                                                               Tampa                    FL      33614-2403                        8/31/2022        83,083.20    Copacker
   Refresco Beverage US Inc. COTT              8112 Woodland Center Blvd                                                               Tampa                    FL      33614-2403                        9/22/2022       331,932.96    Copacker
   Refresco Beverage US Inc. COTT              8112 Woodland Center Blvd                                                               Tampa                    FL      33614-2403                        9/23/2022       450,277.08    Copacker
   Refresco Beverage US Inc. COTT              8112 Woodland Center Blvd                                                               Tampa                    FL      33614-2403                        9/23/2022       155,670.20    Copacker
   Refresco Beverage US Inc. COTT              8112 Woodland Center Blvd                                                               Tampa                    FL      33614-2403                        9/29/2022        29,850.00    Copacker
   Refresco Canada Inc                         6525 Viscount Rd                                                                        Mississauga              ON      L4V 1H6      Canada               7/15/2022       126,735.09    Copacker
   Refresco Canada Inc                         6525 Viscount Rd                                                                        Mississauga              ON      L4V 1H6      Canada               9/29/2022        54,377.36    Copacker
   Refresco Canada Inc                         6525 Viscount Rd                                                                        Mississauga              ON      L4V 1H6      Canada               10/6/2022        54,621.63    Copacker
   Reliant Gases, LTD                          PO Box 671243                                                                           Dallas                   TX      75267-1243                        7/26/2022        96,097.37    Rawmat
   Reliant Gases, LTD                          PO Box 671243                                                                           Dallas                   TX      75267-1243                        8/24/2022        62,276.86    Rawmat
   Reliant Gases, LTD                          PO Box 671243                                                                           Dallas                   TX      75267-1243                        10/7/2022        40,419.93    Rawmat
   Republic Services #695                      751 NW 31St Ave                                                                         Ft. Lauderdale           FL      33311                             7/21/2022         2,116.48    Occupancy
   Republic Services #695                      751 NW 31St Ave                                                                         Ft. Lauderdale           FL      33311                             7/21/2022         1,799.90    Occupancy
   Republic Services #695                      751 NW 31St Ave                                                                         Ft. Lauderdale           FL      33311                             7/21/2022            364.98   Occupancy
   Republic Services #695                      751 NW 31St Ave                                                                         Ft. Lauderdale           FL      33311                             7/22/2022            906.36   Occupancy
   Republic Services #695                      751 NW 31St Ave                                                                         Ft. Lauderdale           FL      33311                             7/22/2022            154.69   Occupancy
   Republic Services #695                      751 NW 31St Ave                                                                         Ft. Lauderdale           FL      33311                             7/25/2022            302.17   Occupancy
   Republic Services #695                      751 NW 31St Ave                                                                         Ft. Lauderdale           FL      33311                              8/5/2022         2,116.48    Occupancy
   Republic Services #695                      751 NW 31St Ave                                                                         Ft. Lauderdale           FL      33311                              8/5/2022         1,216.58    Occupancy
   Republic Services #695                      751 NW 31St Ave                                                                         Ft. Lauderdale           FL      33311                              8/5/2022         1,032.67    Occupancy
   Republic Services #695                      751 NW 31St Ave                                                                         Ft. Lauderdale           FL      33311                              8/5/2022            617.50   Occupancy
   Republic Services #695                      751 NW 31St Ave                                                                         Ft. Lauderdale           FL      33311                              8/5/2022             85.87   Occupancy
   Republic Services #695                      751 NW 31St Ave                                                                         Ft. Lauderdale           FL      33311                             8/23/2022         1,544.28    Occupancy
   Republic Services #695                      751 NW 31St Ave                                                                         Ft. Lauderdale           FL      33311                             8/23/2022         1,058.24    Occupancy
   Republic Services #695                      751 NW 31St Ave                                                                         Ft. Lauderdale           FL      33311                             8/23/2022            910.39   Occupancy
   Republic Services #695                      751 NW 31St Ave                                                                         Ft. Lauderdale           FL      33311                             8/23/2022            454.97   Occupancy
   Republic Services #695                      751 NW 31St Ave                                                                         Ft. Lauderdale           FL      33311                             8/23/2022            302.17   Occupancy
   Republic Services #695                      751 NW 31St Ave                                                                         Ft. Lauderdale           FL      33311                             8/23/2022            161.97   Occupancy
   Republic Services #695                      751 NW 31St Ave                                                                         Ft. Lauderdale           FL      33311                             8/23/2022             57.22   Occupancy
   Republic Services #695                      751 NW 31St Ave                                                                         Ft. Lauderdale           FL      33311                             8/24/2022         3,092.40    Occupancy
   Republic Services #695                      751 NW 31St Ave                                                                         Ft. Lauderdale           FL      33311                              9/7/2022         2,116.48    Occupancy
   Republic Services #695                      751 NW 31St Ave                                                                         Ft. Lauderdale           FL      33311                              9/7/2022         1,890.38    Occupancy
   Republic Services #695                      751 NW 31St Ave                                                                         Ft. Lauderdale           FL      33311                              9/7/2022         1,216.58    Occupancy
   Republic Services #695                      751 NW 31St Ave                                                                         Ft. Lauderdale           FL      33311                              9/7/2022             85.87   Occupancy
   Republic Services #695                      751 NW 31St Ave                                                                         Ft. Lauderdale           FL      33311                             9/21/2022            302.17   Occupancy
   Republic Services #695                      751 NW 31St Ave                                                                         Ft. Lauderdale           FL      33311                             9/21/2022            161.97   Occupancy
   Republic Services #695                      751 NW 31St Ave                                                                         Ft. Lauderdale           FL      33311                             9/22/2022         2,116.48    Occupancy
   Republic Services #695                      751 NW 31St Ave                                                                         Ft. Lauderdale           FL      33311                             9/22/2022            893.29   Occupancy
   Republic Services #695                      751 NW 31St Ave                                                                         Ft. Lauderdale           FL      33311                             9/22/2022            160.50   Occupancy
   Republic Services #695                      751 NW 31St Ave                                                                         Ft. Lauderdale           FL      33311                             10/6/2022         1,331.33    Occupancy
   Republic Services #695                      751 NW 31St Ave                                                                         Ft. Lauderdale           FL      33311                             10/6/2022         1,216.58    Occupancy
   Republic Services #695                      751 NW 31St Ave                                                                         Ft. Lauderdale           FL      33311                             10/6/2022         1,017.07    Occupancy
   Republic Services #695                      751 NW 31St Ave                                                                         Ft. Lauderdale           FL      33311                             10/6/2022             85.87   Occupancy
   Resource Label Resource Label Group, LLC.   147 Seaboard Ln                                                                         Franklin                 TN      37067-8217                         9/2/2022        52,173.75    Packaging
   Resource Label Resource Label Group, LLC.   147 Seaboard Ln                                                                         Franklin                 TN      37067-8217                        9/14/2022        62,934.59    Packaging
   Resource Label Resource Label Group, LLC.   147 Seaboard Ln                                                                         Franklin                 TN      37067-8217                        9/14/2022            652.18   Packaging




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                                                             Case 22-17842-PDR                          Doc 325        Exhibit SOFA 3
                                                                                                                                     Filed 11/11/22                               Page 42 of 79
                                                                                        Certain payments or transfers to creditors within 90 days before filing this case




   Creditor's Name                               Address 1                             Address 2                          Address 3      Address 4 City                          State   Zip        Country         Payment Date      Payment Amount      Reason for Payment or Transfer
   Rex Three, Inc.                               15431 SW 14th St                                                                                  Davie                         FL      33326-1937                     8/10/2022          19,451.82      Packaging
   Rexford Industrial Realty, L.P.               710 S Dupont Ave                                                                                  Ontario                       CA      90074-0028                      8/1/2022          29,950.83      Leases
   Rexford Industrial Realty, L.P.               710 S Dupont Ave                                                                                  Ontario                       CA      90074-0028                      9/1/2022          29,950.83      Leases
   Ricardo Ortiz                                 1600 N Park Dr                                                                                    Weston                        FL      33326-3278                     7/18/2022              604.18     Employee Expense Reimbursement
   Ricardo Ortiz                                 1600 N Park Dr                                                                                    Weston                        FL      33326-3278                     7/25/2022           1,762.26      Employee Expense Reimbursement
   Ricardo Ortiz                                 1600 N Park Dr                                                                                    Weston                        FL      33326-3278                     7/29/2022           1,487.01      Employee Expense Reimbursement
   Ricardo Ortiz                                 1600 N Park Dr                                                                                    Weston                        FL      33326-3278                     8/18/2022           2,265.86      Employee Expense Reimbursement
   Ricardo Ortiz                                 1600 N Park Dr                                                                                    Weston                        FL      33326-3278                     8/24/2022           1,736.61      Employee Expense Reimbursement
   Ricardo Ortiz                                 1600 N Park Dr                                                                                    Weston                        FL      33326-3278                     9/15/2022           1,650.19      Employee Expense Reimbursement
   Ricardo Ortiz                                 1600 N Park Dr                                                                                    Weston                        FL      33326-3278                     9/29/2022           2,592.99      Employee Expense Reimbursement
   Ricardo Ortiz                                 1600 N Park Dr                                                                                    Weston                        FL      33326-3278                     10/6/2022           2,338.23      Employee Expense Reimbursement
   [Creditor Name on File]                       [Address on File]                                                                                                                                                   [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                       [Address on File]                                                                                                                                                   [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                       [Address on File]                                                                                                                                                   [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                       [Address on File]                                                                                                                                                   [Date on File]    [Amount on File]   Influencer
   Richard Oberhofer                             5329 W Lake Rd                                                                                      Geneseo                     NY      14454-9575                     7/14/2022           2,550.00      Contractor
   Richard Oberhofer                             5329 W Lake Rd                                                                                      Geneseo                     NY      14454-9575                     7/27/2022           4,400.00      Contractor
   Richard Oberhofer                             5329 W Lake Rd                                                                                      Geneseo                     NY      14454-9575                     8/11/2022           5,350.00      Contractor
   Richard Oberhofer                             5329 W Lake Rd                                                                                      Geneseo                     NY      14454-9575                     8/25/2022           5,950.00      Contractor
   Richard Oberhofer                             5329 W Lake Rd                                                                                      Geneseo                     NY      14454-9575                     9/19/2022           3,100.00      Contractor
   Richard Oberhofer                             5329 W Lake Rd                                                                                      Geneseo                     NY      14454-9575                     9/29/2022           5,725.00      Contractor
   [Creditor Name on File]                       [Address on File]                                                                                                                                                   [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                       [Address on File]                                                                                                                                                   [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                       [Address on File]                                                                                                                                                   [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                       [Address on File]                                                                                                                                                   [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                       [Address on File]                                                                                                                                                   [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                       [Address on File]                                                                                                                                                   [Date on File]    [Amount on File]   Influencer
   RMARR Consulting LLC                          5599 Bermuda Dunes Cir                                                                              Lake Worth                  FL      33463-6571                     7/14/2022         126,133.13      Operating
   RMARR Consulting LLC                          5599 Bermuda Dunes Cir                                                                              Lake Worth                  FL      33463-6571                     8/12/2022           7,524.00      Operating
   RMARR Consulting LLC                          5599 Bermuda Dunes Cir                                                                              Lake Worth                  FL      33463-6571                     9/19/2022          54,087.02      Operating
   [Creditor Name on File]                       [Address on File]                                                                                                                                                   [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                       [Address on File]                                                                                                                                                   [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                       [Address on File]                                                                                                                                                   [Date on File]    [Amount on File]   Influencer
   Rosenberg Consulting Services Inc             454 Park Ct                                                                                         Hartland                    WI      53029-3000                     8/10/2022           7,554.00      Professional
   Rosenberg Consulting Services Inc             454 Park Ct                                                                                         Hartland                    WI      53029-3000                     8/12/2022          55,870.50      Professional
   Rosenberg Consulting Services Inc             454 Park Ct                                                                                         Hartland                    WI      53029-3000                     8/26/2022          66,522.79      Professional
   Rosenberg Consulting Services Inc             454 Park Ct                                                                                         Hartland                    WI      53029-3000                     9/16/2022          61,191.10      Professional
   Rosenberg Consulting Services Inc             454 Park Ct                                                                                         Hartland                    WI      53029-3000                     9/30/2022          45,000.00      Professional
   Ryder Truck Rental Inc.                       PO Box 96723                                                                                        Chicago                     IL      60693-6723                     7/21/2022           8,242.18      Leases
   Ryder Truck Rental Inc.                       PO Box 96723                                                                                        Chicago                     IL      60693-6723                     9/13/2022           3,491.51      Leases
   Ryder Truck Rental Inc.                       PO Box 96723                                                                                        Chicago                     IL      60693-6723                     9/21/2022           7,154.58      Leases
   Samora Capital                                1441 Huntington Dr Pmb 2000                                                                         S Pasadena                  CA      91030-4512                     7/18/2022          38,816.39      Packaging
   Samson Appellate Law Daniel M. Samson, P.A.   201 S BiscayNE Blvd Ste 2700                                                                        Miami                       FL      33131-4330                     8/19/2022          15,000.00      Professional
   [Creditor Name on File]                       [Address on File]                                                                                                                                                   [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                       [Address on File]                                                                                                                                                   [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                       [Address on File]                                                                                                                                                   [Date on File]    [Amount on File]   Influencer
   Sanchez Fischer Levine, LLP                   1200 Brickell Ave Ste 750                                                                           Miami                       FL      33131-3255                     10/7/2022          46,524.20      Professional
   [Creditor Name on File]                       [Address on File]                                                                                                                                                   [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                       [Address on File]                                                                                                                                                   [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                       [Address on File]                                                                                                                                                   [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                       [Address on File]                                                                                                                                                   [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                       [Address on File]                                                                                                                                                   [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                       [Address on File]                                                                                                                                                   [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                       [Address on File]                                                                                                                                                   [Date on File]    [Amount on File]   Influencer
   Saunders & Co Lawyers                         131 Victoria Street                                                                                 Christchurch Central City           8013         New Zealand       7/29/2022          11,372.16      Professional
   Saunders & Co Lawyers                         131 Victoria Street                                                                                 Christchurch Central City           8013         New Zealand       8/30/2022           3,069.12      Professional
   [Creditor Name on File]                       [Address on File]                                                                                                                                                   [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                       [Address on File]                                                                                                                                                   [Date on File]    [Amount on File]   Influencer
   Scotlynn USA Division                         9597 Gulf Research Ln                                                                               Fort Myers                  FL      33912-4552                     7/19/2022         193,515.00      Freight
   Scotlynn USA Division                         9597 Gulf Research Ln                                                                               Fort Myers                  FL      33912-4552                      8/3/2022         117,490.00      Freight
   Scotlynn USA Division                         9597 Gulf Research Ln                                                                               Fort Myers                  FL      33912-4552                      8/3/2022         111,470.01      Freight
   Scotlynn USA Division                         9597 Gulf Research Ln                                                                               Fort Myers                  FL      33912-4552                      9/6/2022          65,103.99      Freight
   Scott Laboratories, Inc.                      PO Box 888198                                                                                       Los Angeles                 CA      90088-8198                     7/15/2022          43,469.44      Rawmat
   Seidor USA Corporation                        18 Augusta Pines Dr Ste 240                                                                         Spring                      TX      77389-3592                     7/19/2022         134,337.00      Operating
   SEKO WORLDWIDE LLC                            1100 N Arlington Heights Rd Ste 600                                                                 Itasca                      IL      60143-3111                     8/22/2022          38,860.00      Freight
   SEKO WORLDWIDE LLC                            1100 N Arlington Heights Rd Ste 600                                                                 Itasca                      IL      60143-3111                     9/19/2022         117,182.00      Freight
   SEKO WORLDWIDE LLC                            1100 N Arlington Heights Rd Ste 600                                                                 Itasca                      IL      60143-3111                     10/6/2022         127,366.56      Freight
   Shanghai Freeman Americas, LLC                2035 NJ-27                            #3005                                                         Edison                      NJ      08817                           8/1/2022           7,450.00      Rawmat
   Shanghai Freeman Americas, LLC                2035 NJ-27                            #3005                                                         Edison                      NJ      08817                          8/29/2022         117,310.00      Rawmat
   Shanghai Freeman Americas, LLC                2035 NJ-27                            #3005                                                         Edison                      NJ      08817                          8/31/2022         100,000.00      Rawmat
   Shanghai Freeman Americas, LLC                2035 NJ-27                            #3005                                                         Edison                      NJ      08817                           9/2/2022         100,000.00      Rawmat
   Shanghai Freeman Americas, LLC                2035 NJ-27                            #3005                                                         Edison                      NJ      08817                           9/8/2022         100,000.00      Rawmat
   [Creditor Name on File]                       [Address on File]                                                                                                                                                   [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                       [Address on File]                                                                                                                                                   [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                       [Address on File]                                                                                                                                                   [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                       [Address on File]                                                                                                                                                   [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                       [Address on File]                                                                                                                                                   [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                       [Address on File]                                                                                                                                                   [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                       [Address on File]                                                                                                                                                   [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                       [Address on File]                                                                                                                                                   [Date on File]    [Amount on File]   Influencer
   SheerID, INC                                  620 SW 5th Ave, Suite 400                                                                           Portland                    OR      97204                           9/2/2022          46,000.00      Professional
   [Creditor Name on File]                       [Address on File]                                                                                                                                                   [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                       [Address on File]                                                                                                                                                   [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                       [Address on File]                                                                                                                                                   [Date on File]    [Amount on File]   Influencer
   Shorr Packaging Corp.                         4000 Ferry Rd                                                                                       Aurora                      IL      60502-9540                     7/12/2022         137,446.00      Packaging




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                                                                                                                                                Filed 11/11/22                          Page 43 of 79
                                                                                                   Certain payments or transfers to creditors within 90 days before filing this case




   Creditor's Name                                                Address 1                       Address 2                          Address 3      Address 4 City                     State   Zip        Country   Payment Date      Payment Amount      Reason for Payment or Transfer
   Shorr Packaging Corp.                                          4000 Ferry Rd                                                                               Aurora                   IL      60502-9540               7/26/2022          194,285.19     Packaging
   Shorr Packaging Corp.                                          4000 Ferry Rd                                                                               Aurora                   IL      60502-9540                8/2/2022           83,850.41     Packaging
   Show me Shipping dba Unishippers                               8106 Claude Gilbert Tri                                                                     Denver                   CO      28037                    8/19/2022           49,943.43     Freight
   Skip Shapiro Enterprises, LLC                                  318 Hawthorn St                                                                             New Bedford              MA      02740-2376               7/14/2022                1.50     Operating
   Skip Shapiro Enterprises, LLC                                  318 Hawthorn St                                                                             New Bedford              MA      02740-2376                8/2/2022          175,122.02     Operating
   Skip Shapiro Enterprises, LLC                                  318 Hawthorn St                                                                             New Bedford              MA      02740-2376               8/24/2022           20,363.20     Operating
   Skip Shapiro Enterprises, LLC                                  318 Hawthorn St                                                                             New Bedford              MA      02740-2376                9/1/2022           22,399.52     Operating
   Smartsheet, Inc.                                               10500 NE 8th St                                                                             Bellevue                 WA      98004-4345               8/22/2022           48,821.92     Operating
   Smith & Green Attorneys at Law, PLLC                           3101 N Central Ave Ste 690                                                                  Phoenix                  AZ      85004                    8/17/2022            5,458.00     Professional
   Smith & Green Attorneys at Law, PLLC                           3101 N Central Ave Ste 690                                                                  Phoenix                  AZ      85004                    8/17/2022            5,458.00     Professional
   [Creditor Name on File]                                        [Address on File]                                                                                                                                  [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                                        [Address on File]                                                                                                                                  [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                                        [Address on File]                                                                                                                                  [Date on File]    [Amount on File]   Influencer
   Sonitrol of Fort Lauderdale Sonitrol Security Solutions        1770 NW 64th St Ste 630                                                                       Ft Lauderdale          FL      33309-1853               7/20/2022            6,996.50     Operating
   Sonitrol of Fort Lauderdale Sonitrol Security Solutions        1770 NW 64th St Ste 630                                                                       Ft Lauderdale          FL      33309-1853                8/2/2022            2,186.01     Operating
   Southwest Gas Corporation                                      PO Box 98890                                                                                  Las Vegas              NV      89193-8890               7/12/2022               27.09     Operating
   Southwest Gas Corporation                                      PO Box 98890                                                                                  Las Vegas              NV      89193-8890               7/19/2022           12,919.18     Operating
   Southwest Gas Corporation                                      PO Box 98890                                                                                  Las Vegas              NV      89193-8890                8/9/2022               27.09     Operating
   Southwest Gas Corporation                                      PO Box 98890                                                                                  Las Vegas              NV      89193-8890               8/17/2022            8,441.20     Operating
   Southwest Gas Corporation                                      PO Box 98890                                                                                  Las Vegas              NV      89193-8890                9/7/2022               27.09     Operating
   Southwest Gas Corporation                                      PO Box 98890                                                                                  Las Vegas              NV      89193-8890               9/15/2022            6,156.15     Operating
   Speedway LLC                                                   PO Box 7600                                                                                   Springfield            OH      45501-7600                8/2/2022           76,358.75     Wholesalers & Distributors
   Speedway LLC                                                   PO Box 7600                                                                                   Springfield            OH      45501-7600                8/4/2022           79,028.73     Wholesalers & Distributors
   Speedway LLC                                                   PO Box 7600                                                                                   Springfield            OH      45501-7600               10/6/2022          223,300.54     Wholesalers & Distributors
   Spot Coolers                                                   29749 Network Place                                                                           Chicago                IL      60673-1297               7/21/2022            3,852.00     Rep&Maint
   Spot Coolers                                                   29749 Network Place                                                                           Chicago                IL      60673-1297               8/23/2022            3,852.00     Rep&Maint
   Spot Coolers                                                   29749 Network Place                                                                           Chicago                IL      60673-1297               9/22/2022            3,852.00     Rep&Maint
   SRP                                                            PO Box 80062                                                                                  Prescott               AZ      86304-8062               7/11/2022           29,883.87     Operating
   SRP                                                            PO Box 80062                                                                                  Prescott               AZ      86304-8062               7/12/2022           11,938.31     Operating
   SRP                                                            PO Box 80062                                                                                  Prescott               AZ      86304-8062               7/13/2022           36,095.43     Operating
   SRP                                                            PO Box 80062                                                                                  Prescott               AZ      86304-8062                8/4/2022           13,642.65     Operating
   SRP                                                            PO Box 80062                                                                                  Prescott               AZ      86304-8062                8/5/2022           34,840.09     Operating
   SRP                                                            PO Box 80062                                                                                  Prescott               AZ      86304-8062               8/10/2022           25,703.46     Operating
   SRP                                                            PO Box 80062                                                                                  Prescott               AZ      86304-8062               8/12/2022           35,748.30     Operating
   SRP                                                            PO Box 80062                                                                                  Prescott               AZ      86304-8062               8/15/2022           40,384.33     Operating
   SRP                                                            PO Box 80062                                                                                  Prescott               AZ      86304-8062               8/29/2022            3,485.37     Operating
   SRP                                                            PO Box 80062                                                                                  Prescott               AZ      86304-8062                9/1/2022           43,407.82     Operating
   SRP                                                            PO Box 80062                                                                                  Prescott               AZ      86304-8062                9/7/2022          113,606.88     Operating
   SRP                                                            PO Box 80062                                                                                  Prescott               AZ      86304-8062                9/7/2022           75,151.94     Operating
   SRP                                                            PO Box 80062                                                                                  Prescott               AZ      86304-8062               9/16/2022          141,784.57     Operating
   SRP                                                            PO Box 80062                                                                                  Prescott               AZ      86304-8062               9/20/2022          143,507.51     Operating
   SRP                                                            PO Box 80062                                                                                  Prescott               AZ      86304-8062               9/28/2022              955.66     Operating
   SRP                                                            PO Box 80062                                                                                  Prescott               AZ      86304-8062               10/4/2022           11,021.27     Operating
   Staples Business Advantage                                     125 Mushroom Blvd                                                                             Rochester              NY      14623                    7/14/2022            6,157.11     Operating
   Staples Business Advantage                                     125 Mushroom Blvd                                                                             Rochester              NY      14623                    7/14/2022            2,835.31     Operating
   Staples Business Advantage                                     125 Mushroom Blvd                                                                             Rochester              NY      14623                    7/20/2022            2,927.34     Operating
   States Logistics Services, Inc.                                5650 Dolly Ave                                                                                Buena Park             CA      90621                    7/25/2022           15,943.40     Copacker
   States Logistics Services, Inc.                                5650 Dolly Ave                                                                                Buena Park             CA      90621                    7/29/2022           74,942.56     Copacker
   States Logistics Services, Inc.                                5650 Dolly Ave                                                                                Buena Park             CA      90621                     8/2/2022          107,910.71     Copacker
   States Logistics Services, Inc.                                5650 Dolly Ave                                                                                Buena Park             CA      90621                    8/31/2022          108,167.88     Copacker
   States Logistics Services, Inc.                                5650 Dolly Ave                                                                                Buena Park             CA      90621                     9/6/2022          104,324.65     Copacker
   States Logistics Services, Inc.                                5650 Dolly Ave                                                                                Buena Park             CA      90621                     9/8/2022           81,980.32     Copacker
   Stauber Performance Ingredients, Inc.                          4120 N Palm St                                                                                Fullerton              CA      92835-1026               7/20/2022           22,040.00     Rawmat
   STB Agency Services Operating Acc Truist Agency Services Ope   1200 Weston Rd                                                                                Weston                 FL      33326                    8/22/2022           50,000.00     Secured Lender
   STB Agency Services Operating Acc Truist Agency Services Ope   1200 Weston Rd                                                                                Weston                 FL      33326                    9/15/2022        2,571,345.73     Secured Lender
   Stellar Group, Inc.                                            2900 Hartley Rd                                                                               Jacksonville           FL      32257-8221                8/5/2022           89,024.39     Operating
   Steven Douglas Associates, LLC. Steven Douglas                 1301 International Pkwy # 510                                                                 Fort Lauderdale        FL      33323                    7/25/2022          162,915.00     Professional
   Steven Douglas Associates, LLC. Steven Douglas                 1301 International Pkwy # 510                                                                 Fort Lauderdale        FL      33323                    8/30/2022           45,960.00     Professional
   Steven Kunz                                                    1600 N Park Dr                                                                                Weston                 FL      33326-3278               7/29/2022            6,110.97     Employee Expense Reimbursement
   Steven Kunz                                                    1600 N Park Dr                                                                                Weston                 FL      33326-3278               8/18/2022            1,000.00     Employee Expense Reimbursement
   Steven Kunz                                                    1600 N Park Dr                                                                                Weston                 FL      33326-3278               9/22/2022            1,671.39     Employee Expense Reimbursement
   Steven Kunz                                                    1600 N Park Dr                                                                                Weston                 FL      33326-3278               10/7/2022            2,740.73     Employee Expense Reimbursement
   Sunbelt Merchant Group Counseling                              400 N Sam Houston Pkwy E                                                                      Houston                TX      77060-3548                8/2/2022            3,342.02     Wholesalers & Distributors
   Sunbelt Merchant Group Counseling                              400 N Sam Houston Pkwy E                                                                      Houston                TX      77060-3548               8/16/2022           77,953.04     Wholesalers & Distributors
   Sunbelt Rentals                                                2341 Deerfield Drive                                                                          Fort Mill              SC      29715                    7/25/2022           80,253.57     Leases
   Sunbelt Rentals                                                2341 Deerfield Drive                                                                          Fort Mill              SC      29715                    8/17/2022           18,615.63     Leases
   Sunbelt Rentals                                                2341 Deerfield Drive                                                                          Fort Mill              SC      29715                     9/2/2022           86,407.10     Leases
   SupplyOne Miami                                                3505 NW 112th St                                                                              Miami                  FL      33167-3312                8/1/2022           18,340.09     Packaging
   SupplyOne Miami                                                3505 NW 112th St                                                                              Miami                  FL      33167-3312               8/26/2022            3,683.95     Packaging
   Synergy Flavors, Inc.                                          PO Box 4543                                                                                   Carol Stream           IL      60122-4543               7/19/2022           10,177.74     Rawmat
   Takasago International Corporation                             PO Box 502111                                                                                 Philadelphia           PA      19175-2111               7/18/2022           99,237.45     Rawmat
   Takasago International Corporation                             PO Box 502111                                                                                 Philadelphia           PA      19175-2111               8/29/2022           96,089.12     Rawmat
   Taneth Health Group Corp Nerymar Taneth Gimenez                14050 Biscayne Blvd             Apt 50-1001                                                   North Miami            FL      33181                     8/3/2022            3,200.00     Influencer
   Taneth Health Group Corp Nerymar Taneth Gimenez                14050 Biscayne Blvd             Apt 50-1001                                                   North Miami            FL      33181                     9/8/2022            3,200.00     Influencer
   Taneth Health Group Corp Nerymar Taneth Gimenez                14050 Biscayne Blvd             Apt 50-1001                                                   North Miami            FL      33181                    10/6/2022            3,200.00     Influencer
   Taro Patch Holding LLC                                         PO Box 452741                                                                                 Los Angeles            CA      90045-8538               8/12/2022                1.50     Leases
   Taro Patch Holding LLC                                         PO Box 452741                                                                                 Los Angeles            CA      90045-8538               8/16/2022           55,398.50     Leases
   The Cansultants LLC                                            6895 Counselors Way                                                                           Alpharetta             GA      30005                    7/19/2022           42,000.00     Professional
   The Cansultants LLC                                            6895 Counselors Way                                                                           Alpharetta             GA      30005                    7/27/2022            1,600.00     Professional
   [Creditor Name on File]                                        [Address on File]                                                                                                                                  [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                                        [Address on File]                                                                                                                                  [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                                        [Address on File]                                                                                                                                  [Date on File]    [Amount on File]   Influencer
   The Spinx Company,Inc.                                         1414 E Washington St            Ste N                                                         Greenville             SC      29607-1859               8/16/2022            8,725.56     Wholesalers & Distributors
   The Sullivan Group                                             PO Box 14419                                                                                  Long Beach             CA      90853-4419               7/18/2022            5,223.88     Professional
   The Sullivan Group                                             PO Box 14419                                                                                  Long Beach             CA      90853-4419               8/10/2022            4,692.97     Professional




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                                                                                                                                         Filed 11/11/22                          Page 44 of 79
                                                                                            Certain payments or transfers to creditors within 90 days before filing this case




   Creditor's Name                                             Address 1                   Address 2                          Address 3      Address 4 City                     State Zip        Country   Payment Date      Payment Amount      Reason for Payment or Transfer
   The Sullivan Group                                          PO Box 14419                                                                            Long Beach               CA    90853-4419               8/22/2022            4,080.65     Professional
   [Creditor Name on File]                                     [Address on File]                                                                                                                            [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                                     [Address on File]                                                                                                                            [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                                     [Address on File]                                                                                                                            [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                                     [Address on File]                                                                                                                            [Date on File]    [Amount on File]   Influencer
   Thomas J Del Duca                                           1600 N Park Dr                                                                            Weston                 FL   33326-3278                7/11/2022            2,021.88     Employee Expense Reimbursement
   Thomas J Del Duca                                           1600 N Park Dr                                                                            Weston                 FL   33326-3278                7/15/2022              552.21     Employee Expense Reimbursement
   Thomas J Del Duca                                           1600 N Park Dr                                                                            Weston                 FL   33326-3278                8/16/2022            1,227.48     Employee Expense Reimbursement
   Thomas J Del Duca                                           1600 N Park Dr                                                                            Weston                 FL   33326-3278                8/24/2022            3,756.38     Employee Expense Reimbursement
   Thomas J Del Duca                                           1600 N Park Dr                                                                            Weston                 FL   33326-3278                9/22/2022            1,198.16     Employee Expense Reimbursement
   Thomas J Del Duca                                           1600 N Park Dr                                                                            Weston                 FL   33326-3278                9/29/2022               79.02     Employee Expense Reimbursement
   [Creditor Name on File]                                     [Address on File]                                                                                                                            [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                                     [Address on File]                                                                                                                            [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                                     [Address on File]                                                                                                                            [Date on File]    [Amount on File]   Influencer
   Thomson Reuters- West                                       PO Box 6292                                                                               Carol Stream           IL   60197                     7/14/2022            7,849.05     Professional
   Thomson Reuters- West                                       PO Box 6292                                                                               Carol Stream           IL   60197                     8/22/2022            2,787.18     Professional
   [Creditor Name on File]                                     [Address on File]                                                                                                                            [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                                     [Address on File]                                                                                                                            [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                                     [Address on File]                                                                                                                            [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                                     [Address on File]                                                                                                                            [Date on File]    [Amount on File]   Influencer
   TNC Promotional Marketing, LLC                              1129 E. Dominguez St        Suite K                                                       Carson                 CA   90746                     8/24/2022           19,526.45     Operating
   Top-Notch Investigation, Inc                                1025 Gateway Blvd                                                                         Boynton Beach          FL   33426-8348                7/14/2022            2,570.00     Operating
   Top-Notch Investigation, Inc                                1025 Gateway Blvd                                                                         Boynton Beach          FL   33426-8348                 8/8/2022            2,510.00     Operating
   Top-Notch Investigation, Inc                                1025 Gateway Blvd                                                                         Boynton Beach          FL   33426-8348                8/30/2022            4,910.00     Operating
   Top-Notch Investigation, Inc                                1025 Gateway Blvd                                                                         Boynton Beach          FL   33426-8348                8/30/2022            3,090.00     Operating
   Top-Notch Investigation, Inc                                1025 Gateway Blvd                                                                         Boynton Beach          FL   33426-8348                10/7/2022            2,430.00     Operating
   Toshiba America Business Solutions Inc                      PO Box 402709                                                                             Atlanta                GA   30384-2709                7/21/2022            7,368.74     Operating
   Toshiba America Business Solutions Inc                      PO Box 402709                                                                             Atlanta                GA   30384-2709                 9/7/2022            6,369.32     Operating
   Total Quality Logistics, LLC TQL                            PO Box 634558                                                                             Cincinnati             OH   45263-4558                7/12/2022          186,800.00     Freight
   Total Quality Logistics, LLC TQL                            PO Box 634558                                                                             Cincinnati             OH   45263-4558                7/12/2022          150,818.78     Freight
   Total Quality Logistics, LLC TQL                            PO Box 634558                                                                             Cincinnati             OH   45263-4558                7/19/2022          184,650.00     Freight
   Total Quality Logistics, LLC TQL                            PO Box 634558                                                                             Cincinnati             OH   45263-4558                7/22/2022          106,105.47     Freight
   Total Quality Logistics, LLC TQL                            PO Box 634558                                                                             Cincinnati             OH   45263-4558                7/26/2022          227,938.59     Freight
   Total Quality Logistics, LLC TQL                            PO Box 634558                                                                             Cincinnati             OH   45263-4558                 8/3/2022          291,350.64     Freight
   Total Quality Logistics, LLC TQL                            PO Box 634558                                                                             Cincinnati             OH   45263-4558                 8/3/2022           44,517.00     Freight
   Total Quality Logistics, LLC TQL                            PO Box 634558                                                                             Cincinnati             OH   45263-4558                 9/6/2022          122,200.00     Freight
   Total Quality Logistics, LLC TQL                            PO Box 634558                                                                             Cincinnati             OH   45263-4558                9/14/2022          117,145.56     Freight
   Total Quality Logistics, LLC TQL                            PO Box 634558                                                                             Cincinnati             OH   45263-4558                9/15/2022          154,535.88     Freight
   Total Quality Logistics, LLC TQL                            PO Box 634558                                                                             Cincinnati             OH   45263-4558                9/27/2022          143,029.09     Freight
   Total Quality Logistics, LLC TQL                            PO Box 634558                                                                             Cincinnati             OH   45263-4558                9/28/2022          145,000.00     Freight
   Total Quality Logistics, LLC TQL                            PO Box 634558                                                                             Cincinnati             OH   45263-4558                9/29/2022          206,042.84     Freight
   Total Quality Logistics, LLC TQL                            PO Box 634558                                                                             Cincinnati             OH   45263-4558                10/6/2022          178,205.19     Freight
   Total Quality Logistics, LLC TQL                            PO Box 634558                                                                             Cincinnati             OH   45263-4558                10/6/2022          123,434.49     Freight
   Town Pump Inc.                                              600 S Main                                                                                Butte                  MT   59701                     8/18/2022           42,131.25     Wholesalers & Distributors
   Toyota Material Handling Systems Atlanta Fork Lifts, Inc.   3111 E Ponce De Leon Ave                                                                  Scottdale              GA   30079                     7/22/2022            2,046.11     Rep&Maint
   Toyota Material Handling Systems Atlanta Fork Lifts, Inc.   3111 E Ponce De Leon Ave                                                                  Scottdale              GA   30079                      8/9/2022            7,960.88     Rep&Maint
   Toyota Material Handling Systems Atlanta Fork Lifts, Inc.   3111 E Ponce De Leon Ave                                                                  Scottdale              GA   30079                      9/2/2022           25,453.16     Rep&Maint
   Trane US Inc,                                               PO Box 406469                                                                             Atlanta                GA   30384-6469                9/22/2022           12,948.00     Operating
   Transamerica Employee Benefits                              PO Box 742504                                                                             Cincinnati             OH   45274-2504                7/28/2022           11,572.19     Insurance
   Transamerica Employee Benefits                              PO Box 742504                                                                             Cincinnati             OH   45274-2504                7/28/2022           11,110.83     Insurance
   Transamerica Employee Benefits                              PO Box 742504                                                                             Cincinnati             OH   45274-2504                8/25/2022            9,668.16     Insurance
   Transportation Management Solutions                         5125 Congemi Ct                                                                           Rancho Cucamonga       CA   91739-2156                7/25/2022           37,030.00     Freight
   Transportation Management Solutions                         5125 Congemi Ct                                                                           Rancho Cucamonga       CA   91739-2156                7/28/2022            7,950.00     Freight
   Transportation Management Solutions                         5125 Congemi Ct                                                                           Rancho Cucamonga       CA   91739-2156                 9/6/2022           31,974.00     Freight
   Trinity Logistics Inc.                                      50 Fallon Ave                                                                             Seaford                DE   19973-1578                7/12/2022          296,845.00     Freight
   Trinity Logistics Inc.                                      50 Fallon Ave                                                                             Seaford                DE   19973-1578                7/15/2022          295,875.00     Freight
   Trinity Logistics Inc.                                      50 Fallon Ave                                                                             Seaford                DE   19973-1578                7/19/2022          299,800.00     Freight
   Trinity Logistics Inc.                                      50 Fallon Ave                                                                             Seaford                DE   19973-1578                7/22/2022          299,800.00     Freight
   Trinity Logistics Inc.                                      50 Fallon Ave                                                                             Seaford                DE   19973-1578                7/25/2022          298,400.00     Freight
   Trinity Logistics Inc.                                      50 Fallon Ave                                                                             Seaford                DE   19973-1578                7/26/2022          316,150.00     Freight
   Trinity Logistics Inc.                                      50 Fallon Ave                                                                             Seaford                DE   19973-1578                7/28/2022           19,200.00     Freight
   Trinity Logistics Inc.                                      50 Fallon Ave                                                                             Seaford                DE   19973-1578                 8/2/2022          175,200.00     Freight
   Trinity Logistics Inc.                                      50 Fallon Ave                                                                             Seaford                DE   19973-1578                 8/2/2022          144,300.00     Freight
   Trinity Logistics Inc.                                      50 Fallon Ave                                                                             Seaford                DE   19973-1578                 8/3/2022          319,800.00     Freight
   Trinity Logistics Inc.                                      50 Fallon Ave                                                                             Seaford                DE   19973-1578                8/16/2022          164,000.00     Freight
   Trinity Logistics Inc.                                      50 Fallon Ave                                                                             Seaford                DE   19973-1578                8/18/2022          170,417.50     Freight
   Trinity Logistics Inc.                                      50 Fallon Ave                                                                             Seaford                DE   19973-1578                8/26/2022          170,417.50     Freight
   Trinity Logistics Inc.                                      50 Fallon Ave                                                                             Seaford                DE   19973-1578                8/29/2022          122,200.00     Freight
   Trinity Logistics Inc.                                      50 Fallon Ave                                                                             Seaford                DE   19973-1578                8/30/2022          127,400.00     Freight
   Trinity Logistics Inc.                                      50 Fallon Ave                                                                             Seaford                DE   19973-1578                 9/2/2022          117,800.00     Freight
   Trinity Logistics Inc.                                      50 Fallon Ave                                                                             Seaford                DE   19973-1578                9/13/2022          115,800.00     Freight
   Trinity Logistics Inc.                                      50 Fallon Ave                                                                             Seaford                DE   19973-1578                9/16/2022          108,200.00     Freight
   Trinity Logistics Inc.                                      50 Fallon Ave                                                                             Seaford                DE   19973-1578                9/23/2022          154,000.00     Freight
   Trinity Logistics Inc.                                      50 Fallon Ave                                                                             Seaford                DE   19973-1578                9/23/2022          115,600.00     Freight
   Trinity Logistics Inc.                                      50 Fallon Ave                                                                             Seaford                DE   19973-1578                9/26/2022          152,200.00     Freight
   [Creditor Name on File]                                     [Address on File]                                                                                                                            [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                                     [Address on File]                                                                                                                            [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                                     [Address on File]                                                                                                                            [Date on File]    [Amount on File]   Influencer
   Truist Bank                                                 Attn: Aimee Kilgore         50 N Laura St                                                 Jacksonville           FL   32202                     7/14/2022        1,000,000.00     Secured Lender
   Truist Bank                                                 Attn: Aimee Kilgore         50 N Laura St                                                 Jacksonville           FL   32202                     7/21/2022        2,000,000.00     Secured Lender
   Truist Bank                                                 Attn: Aimee Kilgore         50 N Laura St                                                 Jacksonville           FL   32202                     7/28/2022        3,000,000.00     Secured Lender
   Twin City Security                                          105 Garfield St S Ste 100                                                                 Cambridge              MN   55008-1767                7/25/2022           29,292.46     Operating
   Twin City Security                                          105 Garfield St S Ste 100                                                                 Cambridge              MN   55008-1767                8/19/2022            8,995.70     Operating
   TXU Energy                                                  PO Box 650638                                                                             Dallas                 TX   75265-0638                 8/9/2022            8,549.23     Utilities
   TXU Energy                                                  PO Box 650638                                                                             Dallas                 TX   75265-0638                 9/6/2022            9,509.61     Utilities




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                                                                                                                                                Filed 11/11/22                          Page 45 of 79
                                                                                                   Certain payments or transfers to creditors within 90 days before filing this case




   Creditor's Name                                                Address 1                       Address 2                          Address 3      Address 4 City                     State   Zip        Country   Payment Date      Payment Amount      Reason for Payment or Transfer
   U.S. Department of Homeland Security                           10731 Walker St                                                                             Cypress                  CA      90630                    7/25/2022          10,270.06      Operating
   U.S. Department of Homeland Security                           10731 Walker St                                                                             Cypress                  CA      90630                    7/25/2022           9,153.83      Operating
   U.S. Department of Homeland Security                           10731 Walker St                                                                             Cypress                  CA      90630                    7/25/2022           6,857.66      Operating
   U.S. Department of Homeland Security                           10731 Walker St                                                                             Cypress                  CA      90630                    9/23/2022                2.52     Operating
   UL Verification Services, Inc                                  333 Pfingsten Rd                                                                            Northbrook               IL      60062-2002               8/19/2022           9,258.00      Operating
   Uline                                                          12575 Uline Drive                                                                           Pleasant Prairie         WI      53158                    7/12/2022           6,813.67      Packaging
   Uline                                                          12575 Uline Drive                                                                           Pleasant Prairie         WI      53158                    8/30/2022          22,368.61      Packaging
   Uline                                                          12575 Uline Drive                                                                           Pleasant Prairie         WI      53158                     9/1/2022          12,312.83      Packaging
   [Creditor Name on File]                                        [Address on File]                                                                                                                                  [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                                        [Address on File]                                                                                                                                  [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                                        [Address on File]                                                                                                                                  [Date on File]    [Amount on File]   Influencer
   UniChem Enterprises, Inc                                       1905 S Lynx Ave                                                                               Ontario                CA      91761-8055               7/14/2022                1.50     Rawmat
   UniChem Enterprises, Inc                                       1905 S Lynx Ave                                                                               Ontario                CA      91761-8055               7/21/2022          12,128.50      Rawmat
   UniChem Enterprises, Inc                                       1905 S Lynx Ave                                                                               Ontario                CA      91761-8055               8/26/2022           5,825.00      Rawmat
   Unified Strategies Group, Inc                                  1000 Village Dr, Suite 200                                                                    Greensburg             PA      15601                    8/23/2022          33,392.00      Tradeshows
   United Health Care                                             3100 SW 145th Ave 2nd Floor                                                                   Miramar                FL      33027                    7/11/2022         199,792.04      Insurance
   United Health Care                                             3100 SW 145th Ave 2nd Floor                                                                   Miramar                FL      33027                    7/11/2022          21,644.00      Insurance
   United Health Care                                             3100 SW 145th Ave 2nd Floor                                                                   Miramar                FL      33027                    7/18/2022         154,293.35      Insurance
   United Health Care                                             3100 SW 145th Ave 2nd Floor                                                                   Miramar                FL      33027                    7/22/2022         120,383.90      Insurance
   United Health Care                                             3100 SW 145th Ave 2nd Floor                                                                   Miramar                FL      33027                    7/25/2022         191,137.31      Insurance
   United Health Care                                             3100 SW 145th Ave 2nd Floor                                                                   Miramar                FL      33027                     8/1/2022          70,936.66      Insurance
   United Health Care                                             3100 SW 145th Ave 2nd Floor                                                                   Miramar                FL      33027                     8/5/2022          17,000.00      Insurance
   United Health Care                                             3100 SW 145th Ave 2nd Floor                                                                   Miramar                FL      33027                     8/8/2022         143,604.17      Insurance
   United Health Care                                             3100 SW 145th Ave 2nd Floor                                                                   Miramar                FL      33027                    8/15/2022         125,808.03      Insurance
   United Health Care                                             3100 SW 145th Ave 2nd Floor                                                                   Miramar                FL      33027                    8/22/2022          81,203.48      Insurance
   United Health Care                                             3100 SW 145th Ave 2nd Floor                                                                   Miramar                FL      33027                    8/24/2022          97,497.73      Insurance
   United Health Care                                             3100 SW 145th Ave 2nd Floor                                                                   Miramar                FL      33027                    8/29/2022         198,520.14      Insurance
   United Health Care                                             3100 SW 145th Ave 2nd Floor                                                                   Miramar                FL      33027                     9/6/2022          46,531.51      Insurance
   United Health Care                                             3100 SW 145th Ave 2nd Floor                                                                   Miramar                FL      33027                     9/7/2022          17,000.00      Insurance
   United Health Care                                             3100 SW 145th Ave 2nd Floor                                                                   Miramar                FL      33027                    9/12/2022         202,253.24      Insurance
   United Health Care                                             3100 SW 145th Ave 2nd Floor                                                                   Miramar                FL      33027                    9/16/2022         109,403.83      Insurance
   United Health Care                                             3100 SW 145th Ave 2nd Floor                                                                   Miramar                FL      33027                    9/19/2022         310,737.62      Insurance
   United Health Care                                             3100 SW 145th Ave 2nd Floor                                                                   Miramar                FL      33027                    9/26/2022         114,556.13      Insurance
   United Health Care                                             3100 SW 145th Ave 2nd Floor                                                                   Miramar                FL      33027                    10/3/2022         240,462.48      Insurance
   United Pacific                                                 4130 Cover St                                                                                 Long Beach             CA      90808-1885               7/21/2022          40,006.44      Wholesalers & Distributors
   United Pacific                                                 4130 Cover St                                                                                 Long Beach             CA      90808-1885               9/14/2022          17,964.97      Wholesalers & Distributors
   Universal Protection Service, LP Allied Universal Security S   161 Washington St Ste 600                                                                     Conshohocken           PA      19428-2083               8/19/2022           9,947.11      Operating
   Universal Protection Service, LP Allied Universal Security S   161 Washington St Ste 600                                                                     Conshohocken           PA      19428-2083               9/29/2022         156,710.41      Operating
   Updike Distribution                                            435 South 59th Ave, Suite 100                                                                 Phoenix                AZ      85043                    7/28/2022          70,382.96      Freight
   Updike Distribution                                            435 South 59th Ave, Suite 100                                                                 Phoenix                AZ      85043                    9/19/2022         137,223.48      Freight
   Updike Distribution                                            435 South 59th Ave, Suite 100                                                                 Phoenix                AZ      85043                    9/19/2022           6,345.00      Freight
   [Creditor Name on File]                                        [Address on File]                                                                                                                                  [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                                        [Address on File]                                                                                                                                  [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                                        [Address on File]                                                                                                                                  [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                                        [Address on File]                                                                                                                                  [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                                        [Address on File]                                                                                                                                  [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                                        [Address on File]                                                                                                                                  [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                                        [Address on File]                                                                                                                                  [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                                        [Address on File]                                                                                                                                  [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                                        [Address on File]                                                                                                                                  [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                                        [Address on File]                                                                                                                                  [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                                        [Address on File]                                                                                                                                  [Date on File]    [Amount on File]   Influencer
   Varni Brothers Corporation                                     400 Hosmer Ave                                                                                Modesto                CA      95351-3920               7/11/2022         291,255.30      Copacker
   Varni Brothers Corporation                                     400 Hosmer Ave                                                                                Modesto                CA      95351-3920               7/25/2022         307,631.10      Copacker
   Varni Brothers Corporation                                     400 Hosmer Ave                                                                                Modesto                CA      95351-3920                8/1/2022         261,410.06      Copacker
   Varni Brothers Corporation                                     400 Hosmer Ave                                                                                Modesto                CA      95351-3920               8/15/2022         211,325.80      Copacker
   Varni Brothers Corporation                                     400 Hosmer Ave                                                                                Modesto                CA      95351-3920               8/22/2022         147,772.10      Copacker
   Varni Brothers Corporation                                     400 Hosmer Ave                                                                                Modesto                CA      95351-3920               8/25/2022         249,925.90      Copacker
   Varni Brothers Corporation                                     400 Hosmer Ave                                                                                Modesto                CA      95351-3920               8/26/2022         398,919.02      Copacker
   Varni Brothers Corporation                                     400 Hosmer Ave                                                                                Modesto                CA      95351-3920               9/22/2022         293,243.45      Copacker
   Varni Brothers Corporation                                     400 Hosmer Ave                                                                                Modesto                CA      95351-3920               9/23/2022         242,484.38      Copacker
   Varni Brothers Corporation                                     400 Hosmer Ave                                                                                Modesto                CA      95351-3920               10/7/2022         159,751.64      Copacker
   Verizon                                                        PO Box 489                                                                                    Newark                 NJ      07101                    7/13/2022           8,711.34      Utilities
   Verizon                                                        PO Box 489                                                                                    Newark                 NJ      07101                    7/13/2022           3,390.89      Utilities
   Verizon                                                        PO Box 489                                                                                    Newark                 NJ      07101                    7/13/2022           2,867.52      Utilities
   Verizon                                                        PO Box 489                                                                                    Newark                 NJ      07101                    7/13/2022           2,705.42      Utilities
   Verizon                                                        PO Box 489                                                                                    Newark                 NJ      07101                    7/14/2022           6,001.07      Utilities
   Verizon                                                        PO Box 489                                                                                    Newark                 NJ      07101                     8/3/2022          10,293.76      Utilities
   Verizon                                                        PO Box 489                                                                                    Newark                 NJ      07101                    8/16/2022           8,837.10      Utilities
   Verizon                                                        PO Box 489                                                                                    Newark                 NJ      07101                    8/16/2022           6,001.09      Utilities
   Verizon                                                        PO Box 489                                                                                    Newark                 NJ      07101                    8/16/2022           3,440.06      Utilities
   Verizon                                                        PO Box 489                                                                                    Newark                 NJ      07101                    8/16/2022           2,908.75      Utilities
   Verizon                                                        PO Box 489                                                                                    Newark                 NJ      07101                    8/16/2022           2,745.85      Utilities
   Verizon                                                        PO Box 489                                                                                    Newark                 NJ      07101                    8/24/2022          10,871.78      Utilities
   Verizon                                                        PO Box 489                                                                                    Newark                 NJ      07101                    9/14/2022           6,000.63      Utilities
   Verizon                                                        PO Box 489                                                                                    Newark                 NJ      07101                    9/15/2022           8,509.95      Utilities
   Verizon                                                        PO Box 489                                                                                    Newark                 NJ      07101                    9/27/2022           3,327.47      Utilities
   Verizon                                                        PO Box 489                                                                                    Newark                 NJ      07101                    9/27/2022           2,789.97      Utilities
   Verizon                                                        PO Box 489                                                                                    Newark                 NJ      07101                    9/27/2022           2,732.46      Utilities
   Verizon                                                        PO Box 489                                                                                    Newark                 NJ      07101                    9/27/2022              297.27     Utilities
   Verizon                                                        PO Box 489                                                                                    Newark                 NJ      07101                    9/28/2022           8,299.71      Utilities
   Verizon                                                        PO Box 489                                                                                    Newark                 NJ      07101                    9/30/2022           8,509.95      Utilities
   Verizon                                                        PO Box 489                                                                                    Newark                 NJ      07101                    9/30/2022           6,004.26      Utilities
   Verizon                                                        PO Box 489                                                                                    Newark                 NJ      07101                    9/30/2022           3,429.78      Utilities
   Verizon                                                        PO Box 489                                                                                    Newark                 NJ      07101                    9/30/2022           2,897.90      Utilities




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                                                                       Certain payments or transfers to creditors within 90 days before filing this case




   Creditor's Name                           Address 1                Address 2                          Address 3      Address 4 City                     State   Zip        Country   Payment Date      Payment Amount      Reason for Payment or Transfer
   Verizon                                   PO Box 489                                                                           Newark                   NJ      07101                    9/30/2022           2,744.77      Utilities
   Vermont Information Processing            402 Water Tower Circle                                                               Colchester               VT      05446                    9/19/2022          68,630.07      Operating
   VIRUN The Hamilton Group (Delaware)       2160 S. Reservoir St                                                                 Pomona                   CA      91765                    7/25/2022          86,480.00      Rawmat
   VIRUN The Hamilton Group (Delaware)       2160 S. Reservoir St                                                                 Pomona                   CA      91765                    8/29/2022         127,888.90      Rawmat
   Vitacoat Corp.                            50 Romanelli Ave                                                                     S Hackensack             NJ      07606-1424               8/10/2022          19,064.50      Rawmat
   Volume Logistics LLC                      PO Box 150127                                                                        Ogden                    UT      84415-0127               7/15/2022          74,535.00      Freight
   Volume Logistics LLC                      PO Box 150127                                                                        Ogden                    UT      84415-0127               7/15/2022          10,800.00      Freight
   Volume Logistics LLC                      PO Box 150127                                                                        Ogden                    UT      84415-0127               7/28/2022          64,255.00      Freight
   Volume Logistics LLC                      PO Box 150127                                                                        Ogden                    UT      84415-0127               8/12/2022          64,412.50      Freight
   Volume Logistics LLC                      PO Box 150127                                                                        Ogden                    UT      84415-0127               8/12/2022          30,395.00      Freight
   Volume Logistics LLC                      PO Box 150127                                                                        Ogden                    UT      84415-0127                9/1/2022          52,930.00      Freight
   VS Carbonics Inc                          3491 NW 79th St                                                                      Miami                    FL      33147-4532               7/19/2022          15,457.40      Operating
   VS Carbonics Inc                          3491 NW 79th St                                                                      Miami                    FL      33147-4532                8/9/2022          13,208.89      Operating
   VS Carbonics Inc                          3491 NW 79th St                                                                      Miami                    FL      33147-4532                9/1/2022           5,330.30      Operating
   VS Carbonics Inc                          3491 NW 79th St                                                                      Miami                    FL      33147-4532               9/30/2022           9,223.08      Operating
   VWR International                         PO Box 640169                                                                        Pittsburgh               PA      15264-0169               8/31/2022           4,335.52      Operating
   VWR International                         PO Box 640169                                                                        Pittsburgh               PA      15264-0169               9/23/2022           6,855.82      Operating
   [Creditor Name on File]                   [Address on File]                                                                                                                           [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                   [Address on File]                                                                                                                           [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                   [Address on File]                                                                                                                           [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                   [Address on File]                                                                                                                           [Date on File]    [Amount on File]   Influencer
   Waste Management Inc.                     PO Box 4648                                                                            Carol Stream           IL      60197-4648               7/15/2022           2,615.97      Utilities
   Waste Management Inc.                     PO Box 4648                                                                            Carol Stream           IL      60197-4648               7/15/2022           1,148.04      Utilities
   Waste Management Inc.                     PO Box 4648                                                                            Carol Stream           IL      60197-4648               7/15/2022              692.74     Utilities
   Waste Management Inc.                     PO Box 4648                                                                            Carol Stream           IL      60197-4648               7/15/2022              525.51     Utilities
   Waste Management Inc.                     PO Box 4648                                                                            Carol Stream           IL      60197-4648               7/15/2022              220.06     Utilities
   Waste Management Inc.                     PO Box 4648                                                                            Carol Stream           IL      60197-4648               7/20/2022              358.94     Utilities
   Waste Management Inc.                     PO Box 4648                                                                            Carol Stream           IL      60197-4648               7/21/2022              900.38     Utilities
   Waste Management Inc.                     PO Box 4648                                                                            Carol Stream           IL      60197-4648               7/21/2022              452.96     Utilities
   Waste Management Inc.                     PO Box 4648                                                                            Carol Stream           IL      60197-4648               7/21/2022              285.84     Utilities
   Waste Management Inc.                     PO Box 4648                                                                            Carol Stream           IL      60197-4648               7/21/2022              226.48     Utilities
   Waste Management Inc.                     PO Box 4648                                                                            Carol Stream           IL      60197-4648               7/21/2022              123.17     Utilities
   Waste Management Inc.                     PO Box 4648                                                                            Carol Stream           IL      60197-4648               7/22/2022          10,518.45      Utilities
   Waste Management Inc.                     PO Box 4648                                                                            Carol Stream           IL      60197-4648               7/22/2022           9,792.87      Utilities
   Waste Management Inc.                     PO Box 4648                                                                            Carol Stream           IL      60197-4648               7/22/2022           7,180.43      Utilities
   Waste Management Inc.                     PO Box 4648                                                                            Carol Stream           IL      60197-4648               7/22/2022           2,895.44      Utilities
   Waste Management Inc.                     PO Box 4648                                                                            Carol Stream           IL      60197-4648               7/22/2022              950.00     Utilities
   Waste Management Inc.                     PO Box 4648                                                                            Carol Stream           IL      60197-4648               8/16/2022           2,861.42      Utilities
   Waste Management Inc.                     PO Box 4648                                                                            Carol Stream           IL      60197-4648               8/16/2022           2,205.81      Utilities
   Waste Management Inc.                     PO Box 4648                                                                            Carol Stream           IL      60197-4648               8/16/2022           1,463.93      Utilities
   Waste Management Inc.                     PO Box 4648                                                                            Carol Stream           IL      60197-4648               8/16/2022              682.28     Utilities
   Waste Management Inc.                     PO Box 4648                                                                            Carol Stream           IL      60197-4648               8/16/2022              529.86     Utilities
   Waste Management Inc.                     PO Box 4648                                                                            Carol Stream           IL      60197-4648               8/16/2022              220.06     Utilities
   Waste Management Inc.                     PO Box 4648                                                                            Carol Stream           IL      60197-4648               8/18/2022              674.70     Utilities
   Waste Management Inc.                     PO Box 4648                                                                            Carol Stream           IL      60197-4648               8/18/2022              350.60     Utilities
   Waste Management Inc.                     PO Box 4648                                                                            Carol Stream           IL      60197-4648               8/19/2022              880.81     Utilities
   Waste Management Inc.                     PO Box 4648                                                                            Carol Stream           IL      60197-4648               8/19/2022              442.90     Utilities
   Waste Management Inc.                     PO Box 4648                                                                            Carol Stream           IL      60197-4648               8/19/2022              279.68     Utilities
   Waste Management Inc.                     PO Box 4648                                                                            Carol Stream           IL      60197-4648               8/19/2022              221.45     Utilities
   Waste Management Inc.                     PO Box 4648                                                                            Carol Stream           IL      60197-4648               8/19/2022              114.23     Utilities
   Waste Management Inc.                     PO Box 4648                                                                            Carol Stream           IL      60197-4648               8/23/2022          10,651.98      Utilities
   Waste Management Inc.                     PO Box 4648                                                                            Carol Stream           IL      60197-4648               8/23/2022           8,379.41      Utilities
   Waste Management Inc.                     PO Box 4648                                                                            Carol Stream           IL      60197-4648               8/23/2022           4,547.98      Utilities
   Waste Management Inc.                     PO Box 4648                                                                            Carol Stream           IL      60197-4648               8/23/2022           2,214.67      Utilities
   Waste Management Inc.                     PO Box 4648                                                                            Carol Stream           IL      60197-4648               9/14/2022              743.24     Utilities
   Waste Management Inc.                     PO Box 4648                                                                            Carol Stream           IL      60197-4648               9/14/2022              538.28     Utilities
   Waste Management Inc.                     PO Box 4648                                                                            Carol Stream           IL      60197-4648               9/15/2022           2,505.96      Utilities
   Waste Management Inc.                     PO Box 4648                                                                            Carol Stream           IL      60197-4648               9/15/2022           2,205.81      Utilities
   Waste Management Inc.                     PO Box 4648                                                                            Carol Stream           IL      60197-4648               9/15/2022           1,099.73      Utilities
   Waste Management Inc.                     PO Box 4648                                                                            Carol Stream           IL      60197-4648               9/15/2022              220.06     Utilities
   Waste Management Inc.                     PO Box 4648                                                                            Carol Stream           IL      60197-4648               9/20/2022              897.65     Utilities
   Waste Management Inc.                     PO Box 4648                                                                            Carol Stream           IL      60197-4648               9/20/2022              347.76     Utilities
   Waste Management Inc.                     PO Box 4648                                                                            Carol Stream           IL      60197-4648               9/21/2022              878.42     Utilities
   Waste Management Inc.                     PO Box 4648                                                                            Carol Stream           IL      60197-4648               9/21/2022              439.52     Utilities
   Waste Management Inc.                     PO Box 4648                                                                            Carol Stream           IL      60197-4648               9/21/2022              277.60     Utilities
   Waste Management Inc.                     PO Box 4648                                                                            Carol Stream           IL      60197-4648               9/21/2022              219.76     Utilities
   Waste Management Inc.                     PO Box 4648                                                                            Carol Stream           IL      60197-4648               9/21/2022              113.38     Utilities
   Waste Management Inc.                     PO Box 4648                                                                            Carol Stream           IL      60197-4648               9/22/2022           6,408.97      Utilities
   Waste Management Inc.                     PO Box 4648                                                                            Carol Stream           IL      60197-4648               9/22/2022           6,120.47      Utilities
   Waste Management Inc.                     PO Box 4648                                                                            Carol Stream           IL      60197-4648               9/22/2022           5,671.52      Utilities
   Waste Management Inc.                     PO Box 4648                                                                            Carol Stream           IL      60197-4648               9/22/2022           2,738.22      Utilities
   Waste Management Inc.                     PO Box 4648                                                                            Carol Stream           IL      60197-4648               9/22/2022              375.00     Utilities
   Waste Management Inc.                     PO Box 4648                                                                            Carol Stream           IL      60197-4648               10/7/2022           2,790.57      Utilities
   Waste Management Inc.                     PO Box 4648                                                                            Carol Stream           IL      60197-4648               10/7/2022              343.52     Utilities
   Wawa,Inc                                  260 W Baltimore Pike                                                                   Media                  PA      19063-5620               8/16/2022         268,030.13      Wholesalers & Distributors
   WB Warehousing & Logistics, Inc.          3700 River Rd                                                                          West Bend              WI      53095                    7/29/2022          10,772.19      Freight
   WB Warehousing & Logistics, Inc.          3700 River Rd                                                                          West Bend              WI      53095                    8/25/2022          39,522.96      Freight
   WB Warehousing & Logistics, Inc.          3700 River Rd                                                                          West Bend              WI      53095                    8/29/2022          23,865.87      Freight
   Werner Enterprises, Inc.                  PO Box 45308                                                                           Omaha                  NE      68145                    7/18/2022         106,043.00      Freight
   Wild Flavors, Inc.                        1261 Pacific Ave                                                                       Erlanger               KY      41018                    7/15/2022         161,380.05      Rawmat
   Wild Flavors, Inc.                        1261 Pacific Ave                                                                       Erlanger               KY      41018                    7/18/2022         163,128.11      Rawmat
   Wild Flavors, Inc.                        1261 Pacific Ave                                                                       Erlanger               KY      41018                    7/20/2022         214,204.01      Rawmat
   Wild Flavors, Inc.                        1261 Pacific Ave                                                                       Erlanger               KY      41018                    7/22/2022         252,963.35      Rawmat
   Wild Flavors, Inc.                        1261 Pacific Ave                                                                       Erlanger               KY      41018                     8/3/2022         173,355.85      Rawmat
   Wild Flavors, Inc.                        1261 Pacific Ave                                                                       Erlanger               KY      41018                     8/9/2022         151,600.39      Rawmat




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                                                                      Certain payments or transfers to creditors within 90 days before filing this case




   Creditor's Name                           Address 1               Address 2                          Address 3      Address 4 City                     State   Zip          Country   Payment Date      Payment Amount      Reason for Payment or Transfer
   Wilson Lue                                250 University Ave                                                                  Toronto                  ON      M5H 3E5      Canada        7/18/2022           3,417.33      Contractor
   Wilson Lue                                250 University Ave                                                                  Toronto                  ON      M5H 3E5      Canada        7/27/2022           3,041.05      Contractor
   Wilson Lue                                250 University Ave                                                                  Toronto                  ON      M5H 3E5      Canada        8/22/2022           4,007.90      Contractor
   Wright National Flood Insurance           PO Box 33003                                                                        St Petersburg            FL      33733-8003                 9/28/2022          14,811.00      Insurance
   XPO Global Forwarding, Inc                27839 Network Place                                                                 Chicago                  IL      60673-1278                 7/13/2022         112,329.00      Freight
   XPO Global Forwarding, Inc                27839 Network Place                                                                 Chicago                  IL      60673-1278                 7/20/2022         134,596.00      Freight
   XPO Global Forwarding, Inc                27839 Network Place                                                                 Chicago                  IL      60673-1278                 7/21/2022         134,936.50      Freight
   XPO Global Forwarding, Inc                27839 Network Place                                                                 Chicago                  IL      60673-1278                 7/25/2022         133,305.00      Freight
   XPO Global Forwarding, Inc                27839 Network Place                                                                 Chicago                  IL      60673-1278                  8/3/2022         130,363.00      Freight
   XPO Global Forwarding, Inc                27839 Network Place                                                                 Chicago                  IL      60673-1278                  8/3/2022         123,061.00      Freight
   XPO Global Forwarding, Inc                27839 Network Place                                                                 Chicago                  IL      60673-1278                 8/17/2022         125,194.00      Freight
   XPO Global Forwarding, Inc                27839 Network Place                                                                 Chicago                  IL      60673-1278                 8/23/2022         133,998.00      Freight
   XPO Global Forwarding, Inc                27839 Network Place                                                                 Chicago                  IL      60673-1278                 8/25/2022         125,679.00      Freight
   XPO Global Forwarding, Inc                27839 Network Place                                                                 Chicago                  IL      60673-1278                 9/28/2022         250,082.00      Freight
   [Creditor Name on File]                   [Address on File]                                                                                                                            [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                   [Address on File]                                                                                                                            [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                   [Address on File]                                                                                                                            [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                   [Address on File]                                                                                                                            [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                   [Address on File]                                                                                                                            [Date on File]    [Amount on File]   Influencer
   [Creditor Name on File]                   [Address on File]                                                                                                                            [Date on File]    [Amount on File]   Influencer
   YRC Freight                               PO Box 7914                                                                           Overland Park          KS      66207-0914                 7/20/2022          45,044.66      Freight
   YRC Freight                               PO Box 7914                                                                           Overland Park          KS      66207-0914                 8/10/2022          81,386.77      Freight
   YRC Freight                               PO Box 7914                                                                           Overland Park          KS      66207-0914                 9/14/2022          51,346.34      Freight
   Yvette M Atondo                           1600 N Park Dr                                                                        Weston                 FL      33326-3278                 7/29/2022           2,272.41      Employee Expense Reimbursement
   Yvette M Atondo                           1600 N Park Dr                                                                        Weston                 FL      33326-3278                 8/18/2022              939.75     Employee Expense Reimbursement
   Yvette M Atondo                           1600 N Park Dr                                                                        Weston                 FL      33326-3278                 9/29/2022           2,539.18      Employee Expense Reimbursement
   Yvette M Atondo                           1600 N Park Dr                                                                        Weston                 FL      33326-3278                 10/6/2022           1,143.28      Employee Expense Reimbursement
   Yvette M Atondo                           1600 N Park Dr                                                                        Weston                 FL      33326-3278                 10/6/2022              979.47     Employee Expense Reimbursement
   Zion Packaging                            575 Alcoa Cir Ste B                                                                   Corona                 CA      92878-9203                  9/2/2022         108,344.28      Packaging




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                                                                    Payments or other transfers of property made within 1 year before filing this case that benefited any insider


Insider's Name                               Address 1                          City             State   Zip      Relationship to the Debtor Payment Date Payment Amount                Reason for Payment or Transfer
Anthony Clayton                              1600 N. Park Dr.                   Weston           FL      33326    Family of John H. Owoc        10/13/2021          12.84 Expense Reimbursement
Anthony Clayton                              1600 N. Park Dr.                   Weston           FL      33326    Family of John H. Owoc        10/22/2021      3,461.55 Wages
Anthony Clayton                              1600 N. Park Dr.                   Weston           FL      33326    Family of John H. Owoc         11/5/2021      3,653.85 Wages
Anthony Clayton                              1600 N. Park Dr.                   Weston           FL      33326    Family of John H. Owoc        11/19/2021      3,653.85 Wages
Anthony Clayton                              1600 N. Park Dr.                   Weston           FL      33326    Family of John H. Owoc        11/23/2021          75.00 Expense Reimbursement
Anthony Clayton                              1600 N. Park Dr.                   Weston           FL      33326    Family of John H. Owoc         12/3/2021      3,653.85 Wages
Anthony Clayton                              1600 N. Park Dr.                   Weston           FL      33326    Family of John H. Owoc        12/17/2021      3,653.85 Wages
Anthony Clayton                              1600 N. Park Dr.                   Weston           FL      33326    Family of John H. Owoc        12/22/2021         638.16 Expense Reimbursement
Anthony Clayton                              1600 N. Park Dr.                   Weston           FL      33326    Family of John H. Owoc        12/30/2021      3,653.85 Wages
Anthony Clayton                              1600 N. Park Dr.                   Weston           FL      33326    Family of John H. Owoc         1/14/2022      3,653.85 Wages
Anthony Clayton                              1600 N. Park Dr.                   Weston           FL      33326    Family of John H. Owoc         1/28/2022      3,653.85 Wages
Anthony Clayton                              1600 N. Park Dr.                   Weston           FL      33326    Family of John H. Owoc         2/11/2022      3,653.85 Wages
Anthony Clayton                              1600 N. Park Dr.                   Weston           FL      33326    Family of John H. Owoc         2/25/2022      3,653.85 Wages
Anthony Clayton                              1600 N. Park Dr.                   Weston           FL      33326    Family of John H. Owoc         3/11/2022      3,836.54 Wages
Anthony Clayton                              1600 N. Park Dr.                   Weston           FL      33326    Family of John H. Owoc         3/25/2022      3,836.54 Wages
Anthony Clayton                              1600 N. Park Dr.                   Weston           FL      33326    Family of John H. Owoc         3/25/2022         937.51 Expense Reimbursement
Anthony Clayton                              1600 N. Park Dr.                   Weston           FL      33326    Family of John H. Owoc          4/8/2022      3,836.54 Wages
Anthony Clayton                              1600 N. Park Dr.                   Weston           FL      33326    Family of John H. Owoc         4/22/2022      3,836.54 Wages
Anthony Clayton                              1600 N. Park Dr.                   Weston           FL      33326    Family of John H. Owoc          5/6/2022      3,836.54 Wages
Anthony Clayton                              1600 N. Park Dr.                   Weston           FL      33326    Family of John H. Owoc         5/20/2022      3,836.54 Wages
Anthony Clayton                              1600 N. Park Dr.                   Weston           FL      33326    Family of John H. Owoc          6/3/2022      3,836.54 Wages
Anthony Clayton                              1600 N. Park Dr.                   Weston           FL      33326    Family of John H. Owoc         6/17/2022      3,836.54 Wages
Anthony Clayton                              1600 N. Park Dr.                   Weston           FL      33326    Family of John H. Owoc          7/1/2022      3,836.54 Wages
Anthony Clayton                              1600 N. Park Dr.                   Weston           FL      33326    Family of John H. Owoc         7/15/2022      3,836.54 Wages
Anthony Clayton                              1600 N. Park Dr.                   Weston           FL      33326    Family of John H. Owoc         7/29/2022      3,836.54 Wages
Anthony Clayton                              1600 N. Park Dr.                   Weston           FL      33326    Family of John H. Owoc         8/12/2022      3,452.89 Wages
Anthony Clayton                              1600 N. Park Dr.                   Weston           FL      33326    Family of John H. Owoc         8/26/2022      3,836.54 Wages
Anthony Clayton                              1600 N. Park Dr.                   Weston           FL      33326    Family of John H. Owoc          9/9/2022      3,836.54 Wages
Anthony Clayton                              1600 N. Park Dr.                   Weston           FL      33326    Family of John H. Owoc         9/23/2022      3,836.54 Wages
Anthony Clayton                              1600 N. Park Dr.                   Weston           FL      33326    Family of John H. Owoc         9/23/2022          24.95 Expense Reimbursement
Anthony Clayton                              1600 N. Park Dr.                   Weston           FL      33326    Family of John H. Owoc         9/30/2022      3,836.54 Wages
Bang Energy (Australia) PTY LTD              Level 14 309 Kent St               Sydney           NSW     2000     Non-Debtor Subsidiary          11/1/2021      1,301.05 Payment Made to Aitken O'Grady for benefit of Bang Energy
                                                                                                                                                                          (Australia) PTY LTD
Bang Energy (Australia) PTY LTD              Level 14 309 Kent St               Sydney           NSW 2000         Non-Debtor Subsidiary          12/1/2021         349.21 Payment Made to Aitken O'Grady for benefit of Bang Energy
                                                                                                                                                                          (Australia) PTY LTD
Bang Energy (Australia) PTY LTD              Level 14 309 Kent St               Sydney           NSW 2000         Non-Debtor Subsidiary           2/7/2022          62.08 Payment Made to Lowthers Auckland Limited Lowthwers
                                                                                                                                                                          Chartered Accountants for benefit of Bang Energy (Australia)
                                                                                                                                                                          PTY LTD
Bang Energy (Australia) PTY LTD              Level 14 309 Kent St               Sydney           NSW 2000         Non-Debtor Subsidiary          2/22/2022     40,239.88 Payment Made to Aitken O'Grady for benefit of Bang Energy
                                                                                                                                                                          (Australia) PTY LTD
Bang Energy (Australia) PTY LTD              Level 14 309 Kent St               Sydney           NSW 2000         Non-Debtor Subsidiary          2/23/2022         206.25 Payment Made to Beerden Cosgrove for benefit of Bang
                                                                                                                                                                          Energy (Australia) PTY LTD
Bang Energy (Australia) PTY LTD              Level 14 309 Kent St               Sydney           NSW 2000         Non-Debtor Subsidiary          4/29/2022         495.96 Payment Made to Aitken O'Grady for benefit of Bang Energy
                                                                                                                                                                          (Australia) PTY LTD
Bang Energy (Australia) PTY LTD              Level 14 309 Kent St               Sydney           NSW 2000         Non-Debtor Subsidiary          5/20/2022     63,804.88 Payment Made to Australian Taxation Office for benefit of
                                                                                                                                                                          Bang Energy (Australia) PTY LTD
Bang Energy (Australia) PTY LTD              Level 14 309 Kent St               Sydney           NSW 2000         Non-Debtor Subsidiary          5/27/2022    115,758.32 Payment Made to Australian Taxation Office for benefit of
                                                                                                                                                                          Bang Energy (Australia) PTY LTD
Bang Energy (Australia) PTY LTD              Level 14 309 Kent St               Sydney           NSW 2000         Non-Debtor Subsidiary          5/30/2022     93,831.31 Payment Made to Australian Taxation Office for benefit of
                                                                                                                                                                          Bang Energy (Australia) PTY LTD
Bang Energy (Australia) PTY LTD              Level 14 309 Kent St               Sydney           NSW 2000         Non-Debtor Subsidiary          6/30/2022         826.60 Payment Made to Aitken O'Grady for benefit of Bang Energy
                                                                                                                                                                          (Australia) PTY LTD
Bang Energy (Australia) PTY LTD              Level 14 309 Kent St               Sydney           NSW 2000         Non-Debtor Subsidiary           7/1/2022         546.50 Payment Made to Australian Taxation Office for benefit of
                                                                                                                                                                          Bang Energy (Australia) PTY LTD
Bang Energy (Australia) PTY LTD              Level 14 309 Kent St               Sydney           NSW 2000         Non-Debtor Subsidiary          8/31/2022         424.45 Payment Made to Aitken O'Grady for benefit of Bang Energy
                                                                                                                                                                          (Australia) PTY LTD
Bang Energy (Australia) PTY LTD              Level 14 309 Kent St               Sydney           NSW 2000         Non-Debtor Subsidiary          8/31/2022         200.00 Payment Made to Lowthers Auckland Limited Lowthwers
                                                                                                                                                                          Chartered Accountants for benefit of Bang Energy (Australia)
                                                                                                                                                                          PTY LTD
Bang Energy (Australia) PTY LTD              Level 14 309 Kent St               Sydney           NSW 2000         Non-Debtor Subsidiary           9/1/2022    220,298.49 Payment Made to Australian Taxation Office for benefit of
                                                                                                                                                                          Bang Energy (Australia) PTY LTD



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Insider's Name                               Address 1                          City             State Zip        Relationship to the Debtor Payment Date Payment Amount                Reason for Payment or Transfer
Bang Energy (Australia) PTY LTD              Level 14 309 Kent St               Sydney           NSW 2000         Non-Debtor Subsidiary           9/1/2022    142,039.03 Payment Made to C.H. Robinson International for benefit of
                                                                                                                                                                          Bang Energy (Australia) PTY LTD
Bang Energy (Australia) PTY LTD              Level 14 309 Kent St               Sydney           NSW 2000         Non-Debtor Subsidiary          9/29/2022    132,252.40 Payment Made to C.H. Robinson International for benefit of
                                                                                                                                                                          Bang Energy (Australia) PTY LTD
Bang Energy BV                               Rijksweg Zuid 27                   Sittard                 6131 AL   Non-Debtor Subsidiary          10/8/2021     40,510.38 Payment Made to Red CasaDi Montagna BV for benefit of
                                                                                                                                                                          Bang Energy BV
Bang Energy BV                               Rijksweg Zuid 27                   Sittard                 6131 AL   Non-Debtor Subsidiary         10/31/2021         163.37 Payment Made to American Express -Corporate Card AP for
                                                                                                                                                                          benefit of Bang Energy BV
Bang Energy BV                               Rijksweg Zuid 27                   Sittard                 6131 AL   Non-Debtor Subsidiary         11/30/2021         170.18 Payment Made to American Express -Corporate Card AP for
                                                                                                                                                                          benefit of Bang Energy BV
Bang Energy BV                               Rijksweg Zuid 27                   Sittard                 6131 AL   Non-Debtor Subsidiary          12/1/2021    526,722.85 Payment Made to Refresco Benelux B.V. for benefit of Bang
                                                                                                                                                                          Energy BV
Bang Energy BV                               Rijksweg Zuid 27                   Sittard                 6131 AL   Non-Debtor Subsidiary         12/28/2021    228,081.25 Payment Made to KRYNICA VITAMIN SPÓŁKA AKCYJNA for
                                                                                                                                                                          benefit of Bang Energy BV
Bang Energy BV                               Rijksweg Zuid 27                   Sittard                 6131 AL   Non-Debtor Subsidiary         12/31/2021    222,139.88 Payment Made to KRYNICA VITAMIN SPÓŁKA AKCYJNA for
                                                                                                                                                                          benefit of Bang Energy BV
Bang Energy BV                               Rijksweg Zuid 27                   Sittard                 6131 AL   Non-Debtor Subsidiary         12/31/2021         161.74 Payment Made to American Express -Corporate Card AP for
                                                                                                                                                                          benefit of Bang Energy BV
Bang Energy BV                               Rijksweg Zuid 27                   Sittard                 6131 AL   Non-Debtor Subsidiary           1/5/2022    100,166.45 Payment Made to Finanzamt Kleve for benefit of Bang Energy
                                                                                                                                                                          BV
Bang Energy BV                               Rijksweg Zuid 27                   Sittard                 6131 AL   Non-Debtor Subsidiary          1/10/2022     74,775.22 Payment Made to C.H. Robinson International for benefit of
                                                                                                                                                                          Bang Energy BV
Bang Energy BV                               Rijksweg Zuid 27                   Sittard                 6131 AL   Non-Debtor Subsidiary          1/13/2022    311,919.58 Payment Made to Refresco Iberia for benefit of Bang Energy
                                                                                                                                                                          BV
Bang Energy BV                               Rijksweg Zuid 27                   Sittard                 6131 AL   Non-Debtor Subsidiary          1/19/2022     22,546.04 Payment Made to KRYNICA VITAMIN SPÓŁKA AKCYJNA for
                                                                                                                                                                          benefit of Bang Energy BV
Bang Energy BV                               Rijksweg Zuid 27                   Sittard                 6131 AL   Non-Debtor Subsidiary          1/24/2022     30,444.99 Payment Made to Wild Flavors, Inc. for benefit of Bang Energy
                                                                                                                                                                          BV
Bang Energy BV                               Rijksweg Zuid 27                   Sittard                 6131 AL   Non-Debtor Subsidiary           2/4/2022    288,083.04 Payment Made to Refresco Iberia for benefit of Bang Energy
                                                                                                                                                                          BV
Bang Energy BV                               Rijksweg Zuid 27                   Sittard                 6131 AL   Non-Debtor Subsidiary          2/28/2022         159.67 Payment Made to American Express -Corporate Card AP for
                                                                                                                                                                          benefit of Bang Energy BV
Bang Energy BV                               Rijksweg Zuid 27                   Sittard                 6131 AL   Non-Debtor Subsidiary           3/1/2022    499,998.44 Payment Made to Finanzamt Kleve for benefit of Bang Energy
                                                                                                                                                                          BV
Bang Energy BV                               Rijksweg Zuid 27                   Sittard                 6131 AL   Non-Debtor Subsidiary          3/23/2022    310,246.73 Payment Made to Dieck & Co. Erfrischunsgetranke OHG for
                                                                                                                                                                          benefit of Bang Energy BV
Bang Energy BV                               Rijksweg Zuid 27                   Sittard                 6131 AL   Non-Debtor Subsidiary          3/29/2022    214,817.13 Payment Made to KRYNICA VITAMIN SPÓŁKA AKCYJNA for
                                                                                                                                                                          benefit of Bang Energy BV
Bang Energy BV                               Rijksweg Zuid 27                   Sittard                 6131 AL   Non-Debtor Subsidiary          3/31/2022      5,417.42 Payment Made to KRYNICA VITAMIN SPÓŁKA AKCYJNA for
                                                                                                                                                                          benefit of Bang Energy BV
Bang Energy BV                               Rijksweg Zuid 27                   Sittard                 6131 AL   Non-Debtor Subsidiary          3/31/2022         163.76 Payment Made to American Express -Corporate Card AP for
                                                                                                                                                                          benefit of Bang Energy BV
Bang Energy BV                               Rijksweg Zuid 27                   Sittard                 6131 AL   Non-Debtor Subsidiary           4/1/2022     53,178.63 Payment Made to KRYNICA VITAMIN SPÓŁKA AKCYJNA for
                                                                                                                                                                          benefit of Bang Energy BV
Bang Energy BV                               Rijksweg Zuid 27                   Sittard                 6131 AL   Non-Debtor Subsidiary           4/8/2022     29,120.95 Payment Made to C.H. Robinson International for benefit of
                                                                                                                                                                          Bang Energy BV
Bang Energy BV                               Rijksweg Zuid 27                   Sittard                 6131 AL   Non-Debtor Subsidiary          4/22/2022     25,479.00 Payment Made to KRYNICA VITAMIN SPÓŁKA AKCYJNA for
                                                                                                                                                                          benefit of Bang Energy BV
Bang Energy BV                               Rijksweg Zuid 27                   Sittard                 6131 AL   Non-Debtor Subsidiary          4/30/2022         169.39 Payment Made to American Express -Corporate Card AP for
                                                                                                                                                                          benefit of Bang Energy BV
Bang Energy BV                               Rijksweg Zuid 27                   Sittard                 6131 AL   Non-Debtor Subsidiary           5/2/2022     14,944.03 Payment Made to C.H. Robinson International for benefit of
                                                                                                                                                                          Bang Energy BV
Bang Energy BV                               Rijksweg Zuid 27                   Sittard                 6131 AL   Non-Debtor Subsidiary           5/4/2022    138,753.00 Payment Made to ADM Wild Europe GmbH & Co. KG for
                                                                                                                                                                          benefit of Bang Energy BV
Bang Energy BV                               Rijksweg Zuid 27                   Sittard                 6131 AL   Non-Debtor Subsidiary           5/4/2022     49,490.59 Payment Made to Konings Drinks BV for benefit of Bang
                                                                                                                                                                          Energy BV
Bang Energy BV                               Rijksweg Zuid 27                   Sittard                 6131 AL   Non-Debtor Subsidiary          5/18/2022     28,636.40 Payment Made to ADM Wild Europe GmbH & Co. KG for
                                                                                                                                                                          benefit of Bang Energy BV
Bang Energy BV                               Rijksweg Zuid 27                   Sittard                 6131 AL   Non-Debtor Subsidiary          5/20/2022     85,609.22 Payment Made to Konings Drinks BV for benefit of Bang
                                                                                                                                                                          Energy BV




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Insider's Name                               Address 1                         City             State Zip     Relationship to the Debtor Payment Date Payment Amount                Reason for Payment or Transfer
Bang Energy BV                               Rijksweg Zuid 27                  Sittard                6131 AL Non-Debtor Subsidiary          5/24/2022    188,966.82 Payment Made to Konings Drinks BV for benefit of Bang
                                                                                                                                                                      Energy BV
Bang Energy BV                               Rijksweg Zuid 27                  Sittard                6131 AL Non-Debtor Subsidiary          5/25/2022    142,064.17 Payment Made to Konings Drinks BV for benefit of Bang
                                                                                                                                                                      Energy BV
Bang Energy BV                               Rijksweg Zuid 27                  Sittard                6131 AL Non-Debtor Subsidiary          5/26/2022     10,473.30 Payment Made to Wild Flavors, Inc. for benefit of Bang Energy
                                                                                                                                                                      BV
Bang Energy BV                               Rijksweg Zuid 27                  Sittard                6131 AL Non-Debtor Subsidiary          5/31/2022         161.87 Payment Made to American Express -Corporate Card AP for
                                                                                                                                                                      benefit of Bang Energy BV
Bang Energy BV                               Rijksweg Zuid 27                  Sittard                6131 AL Non-Debtor Subsidiary           6/1/2022     18,807.75 Payment Made to Show Pony for benefit of Bang Energy BV

Bang Energy BV                               Rijksweg Zuid 27                  Sittard                 6131 AL Non-Debtor Subsidiary                  6/2/2022        214,282.04 Payment Made to Refresco Benelux B.V. for benefit of Bang
                                                                                                                                                                                 Energy BV
Bang Energy BV                               Rijksweg Zuid 27                  Sittard                 6131 AL Non-Debtor Subsidiary                  6/8/2022         16,963.05 Payment Made to Takasago International Corporation for
                                                                                                                                                                                 benefit of Bang Energy BV
Bang Energy BV                               Rijksweg Zuid 27                  Sittard                 6131 AL Non-Debtor Subsidiary                6/14/2022         110,426.84 Payment Made to Kian Joo Canpack Sdn Bhd for benefit of
                                                                                                                                                                                 Bang Energy BV
Bang Energy BV                               Rijksweg Zuid 27                  Sittard                 6131 AL Non-Debtor Subsidiary                6/17/2022          66,188.55 Payment Made to C.H. Robinson International for benefit of
                                                                                                                                                                                 Bang Energy BV
Bang Energy BV                               Rijksweg Zuid 27                  Sittard                 6131 AL Non-Debtor Subsidiary                6/17/2022          54,295.92 Payment Made to Kian Joo Canpack Sdn Bhd for benefit of
                                                                                                                                                                                 Bang Energy BV
Bang Energy BV                               Rijksweg Zuid 27                  Sittard                 6131 AL Non-Debtor Subsidiary                6/29/2022             850.96 Payment Made to Wild Flavors, Inc. for benefit of Bang Energy
                                                                                                                                                                                 BV
Bang Energy BV                               Rijksweg Zuid 27                  Sittard                 6131 AL Non-Debtor Subsidiary                6/30/2022             162.23 Payment Made to American Express -Corporate Card AP for
                                                                                                                                                                                 benefit of Bang Energy BV
Bang Energy BV                               Rijksweg Zuid 27                  Sittard                 6131 AL Non-Debtor Subsidiary                7/12/2022          40,883.31 Payment Made to Refresco Benelux B.V. for benefit of Bang
                                                                                                                                                                                 Energy BV
Bang Energy BV                               Rijksweg Zuid 27                  Sittard                 6131 AL Non-Debtor Subsidiary                7/19/2022          54,345.92 Payment Made to Kian Joo Canpack Sdn Bhd for benefit of
                                                                                                                                                                                 Bang Energy BV
Bang Energy BV                               Rijksweg Zuid 27                  Sittard                 6131 AL Non-Debtor Subsidiary                7/21/2022           9,049.32 Payment Made to Kian Joo Canpack Sdn Bhd for benefit of
                                                                                                                                                                                 Bang Energy BV
Bang Energy BV                               Rijksweg Zuid 27                  Sittard                 6131 AL Non-Debtor Subsidiary                7/22/2022          14,768.68 Payment Made to Refresco Benelux B.V. for benefit of Bang
                                                                                                                                                                                 Energy BV
Bang Energy BV                               Rijksweg Zuid 27                  Sittard                 6131 AL Non-Debtor Subsidiary                  8/1/2022            155.90 Payment Made to American Express -Corporate Card AP for
                                                                                                                                                                                 benefit of Bang Energy BV
Bang Energy BV                               Rijksweg Zuid 27                  Sittard                 6131 AL Non-Debtor Subsidiary                  8/3/2022         20,405.88 Payment Made to Wild Flavors, Inc. for benefit of Bang Energy
                                                                                                                                                                                 BV
Bang Energy BV                               Rijksweg Zuid 27                  Sittard                 6131 AL Non-Debtor Subsidiary                8/10/2022          90,543.20 Payment Made to Kian Joo Canpack Sdn Bhd for benefit of
                                                                                                                                                                                 Bang Energy BV
Bang Energy BV                               Rijksweg Zuid 27                  Sittard                 6131 AL Non-Debtor Subsidiary                8/12/2022          23,578.75 Payment Made to Prinova US LLC for benefit of Bang Energy
                                                                                                                                                                                 BV
Bang Energy BV                               Rijksweg Zuid 27                  Sittard                 6131 AL Non-Debtor Subsidiary                8/17/2022          77,210.82 Payment Made to Konings Drinks BV for benefit of Bang
                                                                                                                                                                                 Energy BV
Bang Energy BV                               Rijksweg Zuid 27                  Sittard                 6131 AL Non-Debtor Subsidiary                8/19/2022          27,498.92 Payment Made to Kian Joo Canpack Sdn Bhd for benefit of
                                                                                                                                                                                 Bang Energy BV
Bang Energy BV                               Rijksweg Zuid 27                  Sittard                 6131 AL Non-Debtor Subsidiary                8/31/2022             158.57 Payment Made to American Express -Corporate Card AP for
                                                                                                                                                                                 benefit of Bang Energy BV
Bang Energy BV                               Rijksweg Zuid 27                  Sittard                 6131 AL Non-Debtor Subsidiary                9/19/2022         117,182.00 Payment Made to SEKO WORLDWIDE LLC for benefit of
                                                                                                                                                                                 Bang Energy BV
Bang Energy BV                               Rijksweg Zuid 27                  Sittard                 6131 AL Non-Debtor Subsidiary                9/22/2022         313,501.57 Payment Made to Refresco Benelux B.V. for benefit of Bang
                                                                                                                                                                                 Energy BV
Bang Energy BV                               Rijksweg Zuid 27                  Sittard                 6131 AL Non-Debtor Subsidiary                9/29/2022         225,518.29 Payment Made to Konings Drinks BV for benefit of Bang
                                                                                                                                                                                 Energy BV
Bang Energy BV                               Rijksweg Zuid 27                  Sittard                 6131 AL Non-Debtor Subsidiary                9/30/2022         370,945.76 Payment Made to Dieck & Co. Erfrischunsgetranke OHG for
                                                                                                                                                                                 benefit of Bang Energy BV
Bang Energy BV                               Rijksweg Zuid 27                  Sittard                 6131 AL Non-Debtor Subsidiary                9/30/2022          54,338.40 Payment Made to KRYNICA VITAMIN SPÓŁKA AKCYJNA for
                                                                                                                                                                                 benefit of Bang Energy BV
Bang Energy BV                               Rijksweg Zuid 27                  Sittard                 6131 AL Non-Debtor Subsidiary                9/30/2022          24,926.26 Payment Made to C.H. Robinson International for benefit of
                                                                                                                                                                                 Bang Energy BV
Bang Energy BV                               Rijksweg Zuid 27                  Sittard                 6131 AL Non-Debtor Subsidiary                9/30/2022             155.59 Payment Made to American Express -Corporate Card AP for
                                                                                                                                                                                 benefit of Bang Energy BV




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Insider's Name                               Address 1                         City             State Zip     Relationship to the Debtor Payment Date Payment Amount                  Reason for Payment or Transfer
Bang Energy BV                               Rijksweg Zuid 27                  Sittard                6131 AL Non-Debtor Subsidiary          10/1/2022    130,979.51 Payment Made to KRYNICA VITAMIN SPÓŁKA AKCYJNA for
                                                                                                                                                                      benefit of Bang Energy BV
Bang Energy BV                               Rijksweg Zuid 27                  Sittard                6131 AL Non-Debtor Subsidiary          10/6/2022    127,366.56 Payment Made to SEKO WORLDWIDE LLC for benefit of
                                                                                                                                                                      Bang Energy BV
Bang Energy BV                               Rijksweg Zuid 27                  Sittard                6131 AL Non-Debtor Subsidiary          10/6/2022    100,894.50 Payment Made to C.H. Robinson International for benefit of
                                                                                                                                                                      Bang Energy BV
Bang Energy Canada ULC                       1600 N. Park Dr.                  Weston           FL    33326 Non-Debtor Subsidiary           11/22/2021         258.00 Payment Made to Wilson Elser Moskowitz Edelman & Dicker
                                                                                                                                                                      LLP for benefit of Bang Energy Canada ULC
Bang Energy Canada ULC                       1600 N. Park Dr.                  Weston           FL    33326 Non-Debtor Subsidiary           12/31/2021      5,424.00 Payment Made to Adams & Miles LLP for benefit of Bang
                                                                                                                                                                      Energy Canada ULC
Bang Energy Canada ULC                       1600 N. Park Dr.                  Weston           FL    33326 Non-Debtor Subsidiary            1/18/2022         804.50 Payment Made to Wilson Elser Moskowitz Edelman & Dicker
                                                                                                                                                                      LLP for benefit of Bang Energy Canada ULC
Bang Energy Canada ULC                       1600 N. Park Dr.                  Weston           FL    33326 Non-Debtor Subsidiary            2/15/2022      5,198.00 Payment Made to Adams & Miles LLP for benefit of Bang
                                                                                                                                                                      Energy Canada ULC
Bang Energy Canada ULC                       1600 N. Park Dr.                  Weston           FL    33326 Non-Debtor Subsidiary             3/1/2022      6,892.65 Payment Made to Graphic Packaging International for benefit
                                                                                                                                                                      of Bang Energy Canada ULC
Bang Energy Canada ULC                       1600 N. Park Dr.                  Weston           FL    33326 Non-Debtor Subsidiary             3/2/2022          70.50 Payment Made to Wilson Elser Moskowitz Edelman & Dicker
                                                                                                                                                                      LLP for benefit of Bang Energy Canada ULC
Bang Energy Canada ULC                       1600 N. Park Dr.                  Weston           FL    33326 Non-Debtor Subsidiary            3/29/2022      4,500.00 Payment Made to Graphic Packaging International for benefit
                                                                                                                                                                      of Bang Energy Canada ULC
Bang Energy Canada ULC                       1600 N. Park Dr.                  Weston           FL    33326 Non-Debtor Subsidiary            4/12/2022    109,363.16 Payment Made to Expolanka USA LLC for benefit of Bang
                                                                                                                                                                      Energy Canada ULC
Bang Energy Canada ULC                       1600 N. Park Dr.                  Weston           FL    33326 Non-Debtor Subsidiary            4/25/2022     10,468.30 Payment Made to Graphic Packaging International for benefit
                                                                                                                                                                      of Bang Energy Canada ULC
Bang Energy Canada ULC                       1600 N. Park Dr.                  Weston           FL    33326 Non-Debtor Subsidiary             5/6/2022         470.00 Payment Made to Wilson Elser Moskowitz Edelman & Dicker
                                                                                                                                                                      LLP for benefit of Bang Energy Canada ULC
Bang Energy Canada ULC                       1600 N. Park Dr.                  Weston           FL    33326 Non-Debtor Subsidiary            5/13/2022    124,323.60 Payment Made to Crown Cork & Seal USA, Inc for benefit of
                                                                                                                                                                      Bang Energy Canada ULC
Bang Energy Canada ULC                       1600 N. Park Dr.                  Weston           FL    33326 Non-Debtor Subsidiary            5/23/2022     91,829.21 Payment Made to Expolanka USA LLC for benefit of Bang
                                                                                                                                                                      Energy Canada ULC
Bang Energy Canada ULC                       1600 N. Park Dr.                  Weston           FL    33326 Non-Debtor Subsidiary            5/26/2022    143,288.07 Payment Made to Graphic Packaging International for benefit
                                                                                                                                                                      of Bang Energy Canada ULC
Bang Energy Canada ULC                       1600 N. Park Dr.                  Weston           FL    33326 Non-Debtor Subsidiary             6/6/2022    196,746.60 Payment Made to Refresco Canada Inc for benefit of Bang
                                                                                                                                                                      Energy Canada ULC
Bang Energy Canada ULC                       1600 N. Park Dr.                  Weston           FL    33326 Non-Debtor Subsidiary             6/6/2022      2,809.72 Payment Made to CHEP USA for benefit of Bang Energy
                                                                                                                                                                      Canada ULC
Bang Energy Canada ULC                       1600 N. Park Dr.                  Weston           FL    33326 Non-Debtor Subsidiary            6/21/2022    252,097.49 Payment Made to Crown Cork & Seal USA, Inc for benefit of
                                                                                                                                                                      Bang Energy Canada ULC
Bang Energy Canada ULC                       1600 N. Park Dr.                  Weston           FL    33326 Non-Debtor Subsidiary            6/23/2022    199,817.31 Payment Made to Refresco Canada Inc for benefit of Bang
                                                                                                                                                                      Energy Canada ULC
Bang Energy Canada ULC                       1600 N. Park Dr.                  Weston           FL    33326 Non-Debtor Subsidiary            6/25/2022     18,575.94 Payment Made to Livingston International, Inc. for benefit of
                                                                                                                                                                      Bang Energy Canada ULC
Bang Energy Canada ULC                       1600 N. Park Dr.                  Weston           FL    33326 Non-Debtor Subsidiary            7/15/2022    126,735.09 Payment Made to Refresco Canada Inc for benefit of Bang
                                                                                                                                                                      Energy Canada ULC
Bang Energy Canada ULC                       1600 N. Park Dr.                  Weston           FL    33326 Non-Debtor Subsidiary            7/19/2022    104,401.04 Payment Made to Expolanka USA LLC for benefit of Bang
                                                                                                                                                                      Energy Canada ULC
Bang Energy Canada ULC                       1600 N. Park Dr.                  Weston           FL    33326 Non-Debtor Subsidiary             8/8/2022      2,154.93 Payment Made to Simon Pure Marketing Inc. for benefit of
                                                                                                                                                                      Bang Energy Canada ULC
Bang Energy Canada ULC                       1600 N. Park Dr.                  Weston           FL    33326 Non-Debtor Subsidiary            9/29/2022     54,377.36 Payment Made to Refresco Canada Inc for benefit of Bang
                                                                                                                                                                      Energy Canada ULC
Bang Energy Canada ULC                       1600 N. Park Dr.                  Weston           FL    33326 Non-Debtor Subsidiary            10/6/2022     54,621.63 Payment Made to Refresco Canada Inc for benefit of Bang
                                                                                                                                                                      Energy Canada ULC
Bang Energy Canada ULC                       1600 N. Park Dr.                  Weston           FL    33326 Non-Debtor Subsidiary            10/7/2022         494.06 Payment Made to CHEP USA for benefit of Bang Energy
                                                                                                                                                                      Canada ULC
Bang Energy Mexico S. DE R.L. de C.V. Av. 31 Poniente 4128-2B Oficina 5 Puebla                        72160 Non-Debtor Subsidiary            1/25/2022      1,662.71 Payment Made to 3F Global Consultores, SC for benefit of
                                                                                                                                                                      Bang Energy Mexico S. DE R.L. de C.V.
Bang Energy Mexico S. DE R.L. de C.V. Av. 31 Poniente 4128-2B Oficina 5 Puebla                        72160 Non-Debtor Subsidiary            1/25/2022      1,103.30 Payment Made to Servicio Humano 3F del Centro, SA DE CV
                                                                                                                                                                      for benefit of Bang Energy Mexico S. DE R.L. de C.V.
Bang Energy Mexico S. DE R.L. de C.V. Av. 31 Poniente 4128-2B Oficina 5 Puebla                        72160 Non-Debtor Subsidiary            1/25/2022         650.00 Payment Made to Mario Fernando Perez Salinas y Ramirez
                                                                                                                                                                      for benefit of Bang Energy Mexico S. DE R.L. de C.V.




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                                                                    Payments or other transfers of property made within 1 year before filing this case that benefited any insider


Insider's Name                        Address 1                         City                     State Zip        Relationship to the Debtor Payment Date Payment Amount                  Reason for Payment or Transfer
Bang Energy Mexico S. DE R.L. de C.V. Av. 31 Poniente 4128-2B Oficina 5 Puebla                         72160      Non-Debtor Subsidiary          1/25/2022         348.00 Payment Made to Servicio Humano 3F 01, SA DE CV for
                                                                                                                                                                          benefit of Bang Energy Mexico S. DE R.L. de C.V.
Bang Energy Mexico S. DE R.L. de C.V. Av. 31 Poniente 4128-2B Oficina 5 Puebla                          72160     Non-Debtor Subsidiary          2/24/2022         279.76 Payment Made to Servicio Humano 3F del Centro, SA DE CV
                                                                                                                                                                          for benefit of Bang Energy Mexico S. DE R.L. de C.V.
Bang Energy Mexico S. DE R.L. de C.V. Av. 31 Poniente 4128-2B Oficina 5 Puebla                          72160     Non-Debtor Subsidiary          2/24/2022         174.00 Payment Made to Servicio Humano 3F 01, SA DE CV for
                                                                                                                                                                          benefit of Bang Energy Mexico S. DE R.L. de C.V.
Bang Energy Mexico S. DE R.L. de C.V. Av. 31 Poniente 4128-2B Oficina 5 Puebla                          72160     Non-Debtor Subsidiary          2/25/2022         559.50 Payment Made to 3F Global Consultores, SC for benefit of
                                                                                                                                                                          Bang Energy Mexico S. DE R.L. de C.V.
Bang Energy Mexico S. DE R.L. de C.V. Av. 31 Poniente 4128-2B Oficina 5 Puebla                          72160     Non-Debtor Subsidiary          3/23/2022         553.18 Payment Made to 3F Global Consultores, SC for benefit of
                                                                                                                                                                          Bang Energy Mexico S. DE R.L. de C.V.
Bang Energy Mexico S. DE R.L. de C.V. Av. 31 Poniente 4128-2B Oficina 5 Puebla                          72160     Non-Debtor Subsidiary          3/23/2022         277.63 Payment Made to Servicio Humano 3F del Centro, SA DE CV
                                                                                                                                                                          for benefit of Bang Energy Mexico S. DE R.L. de C.V.
Bang Energy Mexico S. DE R.L. de C.V. Av. 31 Poniente 4128-2B Oficina 5 Puebla                          72160     Non-Debtor Subsidiary          3/23/2022         174.00 Payment Made to Servicio Humano 3F 01, SA DE CV for
                                                                                                                                                                          benefit of Bang Energy Mexico S. DE R.L. de C.V.
Bang Energy Mexico S. DE R.L. de C.V. Av. 31 Poniente 4128-2B Oficina 5 Puebla                          72160     Non-Debtor Subsidiary          4/26/2022         579.73 Payment Made to 3F Global Consultores, SC for benefit of
                                                                                                                                                                          Bang Energy Mexico S. DE R.L. de C.V.
Bang Energy Mexico S. DE R.L. de C.V. Av. 31 Poniente 4128-2B Oficina 5 Puebla                          72160     Non-Debtor Subsidiary          4/26/2022         292.33 Payment Made to Servicio Humano 3F del Centro, SA DE CV
                                                                                                                                                                          for benefit of Bang Energy Mexico S. DE R.L. de C.V.
Bang Energy Mexico S. DE R.L. de C.V. Av. 31 Poniente 4128-2B Oficina 5 Puebla                          72160     Non-Debtor Subsidiary          4/26/2022         174.00 Payment Made to Servicio Humano 3F 01, SA DE CV for
                                                                                                                                                                          benefit of Bang Energy Mexico S. DE R.L. de C.V.
Bang Energy Mexico S. DE R.L. de C.V. Av. 31 Poniente 4128-2B Oficina 5 Puebla                          72160     Non-Debtor Subsidiary          5/23/2022      9,689.00 Payment Made to Rivadeneyra Trevinio y de Campo SC for
                                                                                                                                                                          benefit of Bang Energy Mexico S. DE R.L. de C.V.
Bang Energy Mexico S. DE R.L. de C.V. Av. 31 Poniente 4128-2B Oficina 5 Puebla                          72160     Non-Debtor Subsidiary           6/6/2022         515.96 Payment Made to Notaria 180 Distrito Federal for benefit of
                                                                                                                                                                          Bang Energy Mexico S. DE R.L. de C.V.
Bang Energy Mexico S. DE R.L. de C.V. Av. 31 Poniente 4128-2B Oficina 5 Puebla                          72160     Non-Debtor Subsidiary          6/17/2022         295.73 Payment Made to Servicio Humano 3F del Centro, SA DE CV
                                                                                                                                                                          for benefit of Bang Energy Mexico S. DE R.L. de C.V.
Bang Energy Mexico S. DE R.L. de C.V. Av. 31 Poniente 4128-2B Oficina 5 Puebla                          72160     Non-Debtor Subsidiary          6/27/2022         595.01 Payment Made to 3F Global Consultores, SC for benefit of
                                                                                                                                                                          Bang Energy Mexico S. DE R.L. de C.V.
Bang Energy Mexico S. DE R.L. de C.V. Av. 31 Poniente 4128-2B Oficina 5 Puebla                          72160     Non-Debtor Subsidiary          6/27/2022         295.73 Payment Made to Servicio Humano 3F del Centro, SA DE CV
                                                                                                                                                                          for benefit of Bang Energy Mexico S. DE R.L. de C.V.
Bang Energy Mexico S. DE R.L. de C.V. Av. 31 Poniente 4128-2B Oficina 5 Puebla                          72160     Non-Debtor Subsidiary          6/27/2022         174.00 Payment Made to Servicio Humano 3F 01, SA DE CV for
                                                                                                                                                                          benefit of Bang Energy Mexico S. DE R.L. de C.V.
Bang Energy Mexico S. DE R.L. de C.V. Av. 31 Poniente 4128-2B Oficina 5 Puebla                          72160     Non-Debtor Subsidiary          6/30/2022      4,524.00 Payment Made to Rivadeneyra Trevinio y de Campo SC for
                                                                                                                                                                          benefit of Bang Energy Mexico S. DE R.L. de C.V.
Bang Energy Mexico S. DE R.L. de C.V. Av. 31 Poniente 4128-2B Oficina 5 Puebla                          72160     Non-Debtor Subsidiary          7/13/2022      1,508.00 Payment Made to Rivadeneyra Trevinio y de Campo SC for
                                                                                                                                                                          benefit of Bang Energy Mexico S. DE R.L. de C.V.
Bang Energy Mexico S. DE R.L. de C.V. Av. 31 Poniente 4128-2B Oficina 5 Puebla                          72160     Non-Debtor Subsidiary          7/25/2022         279.88 Payment Made to Servicio Humano 3F del Centro, SA DE CV
                                                                                                                                                                          for benefit of Bang Energy Mexico S. DE R.L. de C.V.
Bang Energy Mexico S. DE R.L. de C.V. Av. 31 Poniente 4128-2B Oficina 5 Puebla                          72160     Non-Debtor Subsidiary          7/25/2022         167.04 Payment Made to Rivadeneyra Trevinio y de Campo SC for
                                                                                                                                                                          benefit of Bang Energy Mexico S. DE R.L. de C.V.
Bang Energy Mexico S. DE R.L. de C.V. Av. 31 Poniente 4128-2B Oficina 5 Puebla                          72160     Non-Debtor Subsidiary           8/3/2022      2,253.27 Payment Made to 3F Global Consultores, SC for benefit of
                                                                                                                                                                          Bang Energy Mexico S. DE R.L. de C.V.
Bang Energy Mexico S. DE R.L. de C.V. Av. 31 Poniente 4128-2B Oficina 5 Puebla                          72160     Non-Debtor Subsidiary           8/3/2022      2,092.64 Payment Made to Rivadeneyra Trevinio y de Campo SC for
                                                                                                                                                                          benefit of Bang Energy Mexico S. DE R.L. de C.V.
Bang Energy Mexico S. DE R.L. de C.V. Av. 31 Poniente 4128-2B Oficina 5 Puebla                          72160     Non-Debtor Subsidiary          8/30/2022      1,508.00 Payment Made to Rivadeneyra Trevinio y de Campo SC for
                                                                                                                                                                          benefit of Bang Energy Mexico S. DE R.L. de C.V.
Bang Energy Mexico S. DE R.L. de C.V.        Av. 31 Poniente 4128-2B Oficina 5   Puebla                 72160     Non-Debtor Subsidiary          10/7/2022      4,238.50 Cash Transfer
Bang Jets, LLC                               1600 N. Park Dr.                    Weston          FL     33326     Non-Debtor Subsidiary          10/1/2021    100,000.00 Cash Transfer
Bang Jets, LLC                               1600 N. Park Dr.                    Weston          FL     33326     Non-Debtor Subsidiary          10/4/2021     50,000.00 Cash Transfer
Bang Jets, LLC                               1600 N. Park Dr.                    Weston          FL     33326     Non-Debtor Subsidiary         10/13/2021    200,000.00 Cash Transfer
Bang Jets, LLC                               1600 N. Park Dr.                    Weston          FL     33326     Non-Debtor Subsidiary         10/29/2021     70,780.00 Payment Made to Aviation Assurance, Inc for benefit of Bang
                                                                                                                                                                          Jets, LLC
Bang Jets, LLC                               1600 N. Park Dr.                    Weston          FL     33326     Non-Debtor Subsidiary         10/31/2021           5.00 Payment Made to American Express -Corporate Card AP for
                                                                                                                                                                          benefit of Bang Jets, LLC
Bang Jets, LLC                               1600 N. Park Dr.                    Weston          FL     33326     Non-Debtor Subsidiary          11/2/2021    100,000.00 Cash Transfer
Bang Jets, LLC                               1600 N. Park Dr.                    Weston          FL     33326     Non-Debtor Subsidiary          11/8/2021    100,000.00 Cash Transfer
Bang Jets, LLC                               1600 N. Park Dr.                    Weston          FL     33326     Non-Debtor Subsidiary          12/1/2021    200,000.00 Cash Transfer
Bang Jets, LLC                               1600 N. Park Dr.                    Weston          FL     33326     Non-Debtor Subsidiary          3/31/2022         706.11 Payment Made to Insured Aircraft Title Services, LLC for
                                                                                                                                                                          benefit of Bang Jets, LLC
Bang Jets, LLC                               1600 N. Park Dr.                    Weston          FL     33326     Non-Debtor Subsidiary           5/1/2022      5,000.00 Cash Transfer
Eugene Bukovi                                1600 N. Park Dr.                    Weston          FL     33326     Officer                       10/13/2021      8,111.12 Expense Reimbursement



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                                                                   Payments or other transfers of property made within 1 year before filing this case that benefited any insider


Insider's Name                               Address 1                         City             State   Zip      Relationship to the Debtor Payment Date Payment Amount               Reason for Payment or Transfer
Eugene Bukovi                                1600 N. Park Dr.                  Weston           FL      33326    Officer                       10/15/2021      1,216.63 Expense Reimbursement
Eugene Bukovi                                1600 N. Park Dr.                  Weston           FL      33326    Officer                       10/22/2021     11,538.47 Wages
Eugene Bukovi                                1600 N. Park Dr.                  Weston           FL      33326    Officer                        11/5/2021     11,938.47 Wages + Car Allowance
Eugene Bukovi                                1600 N. Park Dr.                  Weston           FL      33326    Officer                        11/5/2021         647.96 Expense Reimbursement
Eugene Bukovi                                1600 N. Park Dr.                  Weston           FL      33326    Officer                       11/19/2021     11,538.47 Wages
Eugene Bukovi                                1600 N. Park Dr.                  Weston           FL      33326    Officer                       11/19/2021      2,339.09 Commission
Eugene Bukovi                                1600 N. Park Dr.                  Weston           FL      33326    Officer                       11/19/2021         726.28 Commission
Eugene Bukovi                                1600 N. Park Dr.                  Weston           FL      33326    Officer                       11/23/2021      3,323.41 Expense Reimbursement
Eugene Bukovi                                1600 N. Park Dr.                  Weston           FL      33326    Officer                        12/3/2021     11,938.47 Wages + Car Allowance
Eugene Bukovi                                1600 N. Park Dr.                  Weston           FL      33326    Officer                       12/17/2021     11,538.47 Wages
Eugene Bukovi                                1600 N. Park Dr.                  Weston           FL      33326    Officer                       12/30/2021     11,538.47 Wages
Eugene Bukovi                                1600 N. Park Dr.                  Weston           FL      33326    Officer                         1/4/2022      1,612.55 Expense Reimbursement
Eugene Bukovi                                1600 N. Park Dr.                  Weston           FL      33326    Officer                        1/14/2022     11,938.47 Wages + Car Allowance
Eugene Bukovi                                1600 N. Park Dr.                  Weston           FL      33326    Officer                        1/28/2022     11,538.47 Wages
Eugene Bukovi                                1600 N. Park Dr.                  Weston           FL      33326    Officer                        2/11/2022     11,938.47 Wages + Car Allowance
Eugene Bukovi                                1600 N. Park Dr.                  Weston           FL      33326    Officer                        2/25/2022     11,538.47 Wages
Eugene Bukovi                                1600 N. Park Dr.                  Weston           FL      33326    Officer                        3/11/2022     11,938.47 Wages + Car Allowance
Eugene Bukovi                                1600 N. Park Dr.                  Weston           FL      33326    Officer                        3/25/2022     11,538.47 Wages
Eugene Bukovi                                1600 N. Park Dr.                  Weston           FL      33326    Officer                        3/25/2022         627.93 Expense Reimbursement
Eugene Bukovi                                1600 N. Park Dr.                  Weston           FL      33326    Officer                         4/8/2022     11,938.47 Wages + Car Allowance
Eugene Bukovi                                1600 N. Park Dr.                  Weston           FL      33326    Officer                        4/22/2022     11,538.47 Wages
Eugene Bukovi                                1600 N. Park Dr.                  Weston           FL      33326    Officer                         5/6/2022     11,723.08 Wages
Eugene Bukovi                                1600 N. Park Dr.                  Weston           FL      33326    Officer                         5/6/2022         764.88 Expense Reimbursement
Eugene Bukovi                                1600 N. Park Dr.                  Weston           FL      33326    Officer                        5/20/2022     11,723.08 Wages
Eugene Bukovi                                1600 N. Park Dr.                  Weston           FL      33326    Officer                        5/20/2022      2,131.32 Expense Reimbursement
Eugene Bukovi                                1600 N. Park Dr.                  Weston           FL      33326    Officer                         6/3/2022     11,723.08 Wages
Eugene Bukovi                                1600 N. Park Dr.                  Weston           FL      33326    Officer                        6/17/2022     11,723.08 Wages
Eugene Bukovi                                1600 N. Park Dr.                  Weston           FL      33326    Officer                         7/1/2022     11,723.08 Wages
Eugene Bukovi                                1600 N. Park Dr.                  Weston           FL      33326    Officer                         7/8/2022      1,624.93 Expense Reimbursement
Eugene Bukovi                                1600 N. Park Dr.                  Weston           FL      33326    Officer                        7/15/2022     11,723.08 Wages
Eugene Bukovi                                1600 N. Park Dr.                  Weston           FL      33326    Officer                        7/29/2022     11,723.08 Wages
Eugene Bukovi                                1600 N. Park Dr.                  Weston           FL      33326    Officer                        8/12/2022     11,723.08 Wages
Eugene Bukovi                                1600 N. Park Dr.                  Weston           FL      33326    Officer                        8/26/2022     11,723.08 Wages
Eugene Bukovi                                1600 N. Park Dr.                  Weston           FL      33326    Officer                         9/1/2022      2,592.11 Expense Reimbursement
Eugene Bukovi                                1600 N. Park Dr.                  Weston           FL      33326    Officer                         9/9/2022     11,723.08 Wages
Eugene Bukovi                                1600 N. Park Dr.                  Weston           FL      33326    Officer                        9/23/2022     11,723.08 Wages
Eugene Bukovi                                1600 N. Park Dr.                  Weston           FL      33326    Officer                        9/28/2022      1,874.55 Expense Reimbursement
Eugene Bukovi                                1600 N. Park Dr.                  Weston           FL      33326    Officer                        9/30/2022     11,723.08 Wages
John H. Owoc                                 1600 N. Park Dr.                  Weston           FL      33326    Owner                         10/19/2021      1,766.89 Car Payment
John H. Owoc                                 1600 N. Park Dr.                  Weston           FL      33326    Owner                         10/22/2021     28,846.16 Wages
John H. Owoc                                 1600 N. Park Dr.                  Weston           FL      33326    Owner                         10/22/2021     23,000.00 Distribution
John H. Owoc                                 1600 N. Park Dr.                  Weston           FL      33326    Owner                         10/22/2021      3,500.00 Distribution
John H. Owoc                                 1600 N. Park Dr.                  Weston           FL      33326    Owner                         10/22/2021         700.00 Distribution
John H. Owoc                                 1600 N. Park Dr.                  Weston           FL      33326    Owner                         10/25/2021      1,580.97 Distribution
John H. Owoc                                 1600 N. Park Dr.                  Weston           FL      33326    Owner                         10/31/2021         720.00 Distribution
John H. Owoc                                 1600 N. Park Dr.                  Weston           FL      33326    Owner                          11/1/2021     16,820.94 Distribution
John H. Owoc                                 1600 N. Park Dr.                  Weston           FL      33326    Owner                          11/1/2021         250.00 Distribution
John H. Owoc                                 1600 N. Park Dr.                  Weston           FL      33326    Owner                          11/1/2021          73.25 Distribution
John H. Owoc                                 1600 N. Park Dr.                  Weston           FL      33326    Owner                          11/4/2021     13,401.00 Distribution
John H. Owoc                                 1600 N. Park Dr.                  Weston           FL      33326    Owner                          11/5/2021     28,846.16 Wages
John H. Owoc                                 1600 N. Park Dr.                  Weston           FL      33326    Owner                          11/5/2021     23,000.00 Distribution
John H. Owoc                                 1600 N. Park Dr.                  Weston           FL      33326    Owner                          11/8/2021      1,646.84 Distribution
John H. Owoc                                 1600 N. Park Dr.                  Weston           FL      33326    Owner                         11/19/2021     28,846.16 Wages
John H. Owoc                                 1600 N. Park Dr.                  Weston           FL      33326    Owner                         11/19/2021      1,766.89 Car Payment
John H. Owoc                                 1600 N. Park Dr.                  Weston           FL      33326    Owner                         11/24/2021    531,344.01 Distribution
John H. Owoc                                 1600 N. Park Dr.                  Weston           FL      33326    Owner                         11/29/2021          62.92 Distribution
John H. Owoc                                 1600 N. Park Dr.                  Weston           FL      33326    Owner                         11/30/2021      5,579.00 Distribution
John H. Owoc                                 1600 N. Park Dr.                  Weston           FL      33326    Owner                          12/3/2021     63,236.89 Distribution
John H. Owoc                                 1600 N. Park Dr.                  Weston           FL      33326    Owner                          12/3/2021     46,000.00 Distribution
John H. Owoc                                 1600 N. Park Dr.                  Weston           FL      33326    Owner                          12/3/2021     28,846.16 Wages
John H. Owoc                                 1600 N. Park Dr.                  Weston           FL      33326    Owner                          12/3/2021     15,239.59 Distribution



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                                                                   Payments or other transfers of property made within 1 year before filing this case that benefited any insider


Insider's Name                               Address 1                         City             State   Zip      Relationship to the Debtor Payment Date Payment Amount               Reason for Payment or Transfer
John H. Owoc                                 1600 N. Park Dr.                  Weston           FL      33326    Owner                          12/3/2021      2,035.00 Distribution
John H. Owoc                                 1600 N. Park Dr.                  Weston           FL      33326    Owner                          12/9/2021      2,000.00 Distribution
John H. Owoc                                 1600 N. Park Dr.                  Weston           FL      33326    Owner                         12/17/2021     28,846.16 Wages
John H. Owoc                                 1600 N. Park Dr.                  Weston           FL      33326    Owner                         12/20/2021     23,000.00 Distribution
John H. Owoc                                 1600 N. Park Dr.                  Weston           FL      33326    Owner                         12/20/2021      1,766.89 Car Payment
John H. Owoc                                 1600 N. Park Dr.                  Weston           FL      33326    Owner                         12/28/2021      5,612.15 Distribution
John H. Owoc                                 1600 N. Park Dr.                  Weston           FL      33326    Owner                         12/30/2021     28,846.16 Wages
John H. Owoc                                 1600 N. Park Dr.                  Weston           FL      33326    Owner                         12/31/2021      2,293.00 Distribution
John H. Owoc                                 1600 N. Park Dr.                  Weston           FL      33326    Owner                           1/3/2022          17.57 Distribution
John H. Owoc                                 1600 N. Park Dr.                  Weston           FL      33326    Owner                          1/13/2022     23,000.00 Distribution
John H. Owoc                                 1600 N. Park Dr.                  Weston           FL      33326    Owner                          1/14/2022     28,846.16 Wages
John H. Owoc                                 1600 N. Park Dr.                  Weston           FL      33326    Owner                          1/19/2022      1,766.89 Car Payment
John H. Owoc                                 1600 N. Park Dr.                  Weston           FL      33326    Owner                          1/21/2022     25,368.72 Distribution
John H. Owoc                                 1600 N. Park Dr.                  Weston           FL      33326    Owner                          1/21/2022      1,500.00 Distribution
John H. Owoc                                 1600 N. Park Dr.                  Weston           FL      33326    Owner                          1/25/2022     10,000.00 Distribution
John H. Owoc                                 1600 N. Park Dr.                  Weston           FL      33326    Owner                          1/28/2022     28,846.16 Wages
John H. Owoc                                 1600 N. Park Dr.                  Weston           FL      33326    Owner                          1/28/2022     23,000.00 Distribution
John H. Owoc                                 1600 N. Park Dr.                  Weston           FL      33326    Owner                          1/31/2022          23.65 Distribution
John H. Owoc                                 1600 N. Park Dr.                  Weston           FL      33326    Owner                           2/7/2022      9,230.77 Distribution
John H. Owoc                                 1600 N. Park Dr.                  Weston           FL      33326    Owner                          2/11/2022     28,846.16 Wages
John H. Owoc                                 1600 N. Park Dr.                  Weston           FL      33326    Owner                          2/11/2022     23,000.00 Distribution
John H. Owoc                                 1600 N. Park Dr.                  Weston           FL      33326    Owner                          2/22/2022      1,766.89 Car Payment
John H. Owoc                                 1600 N. Park Dr.                  Weston           FL      33326    Owner                          2/25/2022     68,866.54 Wages
John H. Owoc                                 1600 N. Park Dr.                  Weston           FL      33326    Owner                          2/28/2022          21.04 Distribution
John H. Owoc                                 1600 N. Park Dr.                  Weston           FL      33326    Owner                           3/8/2022         734.00 Distribution
John H. Owoc                                 1600 N. Park Dr.                  Weston           FL      33326    Owner                          3/11/2022     68,866.54 Wages
John H. Owoc                                 1600 N. Park Dr.                  Weston           FL      33326    Owner                          3/15/2022    700,000.00 Distribution
John H. Owoc                                 1600 N. Park Dr.                  Weston           FL      33326    Owner                          3/15/2022     20,000.00 Distribution
John H. Owoc                                 1600 N. Park Dr.                  Weston           FL      33326    Owner                          3/15/2022      7,500.00 Distribution
John H. Owoc                                 1600 N. Park Dr.                  Weston           FL      33326    Owner                          3/15/2022         150.00 Distribution
John H. Owoc                                 1600 N. Park Dr.                  Weston           FL      33326    Owner                          3/16/2022     20,000.00 Distribution
John H. Owoc                                 1600 N. Park Dr.                  Weston           FL      33326    Owner                          3/18/2022     75,000.00 Distribution
John H. Owoc                                 1600 N. Park Dr.                  Weston           FL      33326    Owner                          3/18/2022     40,999.97 Distribution
John H. Owoc                                 1600 N. Park Dr.                  Weston           FL      33326    Owner                          3/25/2022     68,866.54 Wages
John H. Owoc                                 1600 N. Park Dr.                  Weston           FL      33326    Owner                          3/31/2022     16,352.63 Distribution
John H. Owoc                                 1600 N. Park Dr.                  Weston           FL      33326    Owner                          3/31/2022     14,613.03 Distribution
John H. Owoc                                 1600 N. Park Dr.                  Weston           FL      33326    Owner                          3/31/2022     11,424.30 Distribution
John H. Owoc                                 1600 N. Park Dr.                  Weston           FL      33326    Owner                          3/31/2022      7,020.57 Distribution
John H. Owoc                                 1600 N. Park Dr.                  Weston           FL      33326    Owner                          3/31/2022      1,739.90 Distribution
John H. Owoc                                 1600 N. Park Dr.                  Weston           FL      33326    Owner                           4/4/2022          17.13 Distribution
John H. Owoc                                 1600 N. Park Dr.                  Weston           FL      33326    Owner                           4/8/2022     68,866.54 Wages
John H. Owoc                                 1600 N. Park Dr.                  Weston           FL      33326    Owner                          4/13/2022     36,369.10 Distribution
John H. Owoc                                 1600 N. Park Dr.                  Weston           FL      33326    Owner                          4/18/2022     16,008.60 Distribution
John H. Owoc                                 1600 N. Park Dr.                  Weston           FL      33326    Owner                          4/19/2022      1,766.89 Car Payment
John H. Owoc                                 1600 N. Park Dr.                  Weston           FL      33326    Owner                          4/20/2022     38,445.86 Distribution
John H. Owoc                                 1600 N. Park Dr.                  Weston           FL      33326    Owner                          4/22/2022     68,866.54 Wages
John H. Owoc                                 1600 N. Park Dr.                  Weston           FL      33326    Owner                           5/2/2022          17.08 Distribution
John H. Owoc                                 1600 N. Park Dr.                  Weston           FL      33326    Owner                           5/6/2022     68,866.54 Wages
John H. Owoc                                 1600 N. Park Dr.                  Weston           FL      33326    Owner                          5/12/2022     75,992.57 Distribution
John H. Owoc                                 1600 N. Park Dr.                  Weston           FL      33326    Owner                          5/19/2022      1,766.89 Car Payment
John H. Owoc                                 1600 N. Park Dr.                  Weston           FL      33326    Owner                          5/20/2022     68,866.54 Wages
John H. Owoc                                 1600 N. Park Dr.                  Weston           FL      33326    Owner                           6/3/2022     68,866.54 Wages
John H. Owoc                                 1600 N. Park Dr.                  Weston           FL      33326    Owner                           6/8/2022          18.17 Distribution
John H. Owoc                                 1600 N. Park Dr.                  Weston           FL      33326    Owner                          6/17/2022     68,866.54 Wages
John H. Owoc                                 1600 N. Park Dr.                  Weston           FL      33326    Owner                           7/1/2022     68,866.54 Wages
John H. Owoc                                 1600 N. Park Dr.                  Weston           FL      33326    Owner                           7/1/2022     46,147.46 Distribution
John H. Owoc                                 1600 N. Park Dr.                  Weston           FL      33326    Owner                           7/1/2022     30,789.81 Distribution
John H. Owoc                                 1600 N. Park Dr.                  Weston           FL      33326    Owner                           7/5/2022          18.10 Distribution
John H. Owoc                                 1600 N. Park Dr.                  Weston           FL      33326    Owner                           7/8/2022         862.10 Distribution
John H. Owoc                                 1600 N. Park Dr.                  Weston           FL      33326    Owner                          7/15/2022     68,866.54 Wages
John H. Owoc                                 1600 N. Park Dr.                  Weston           FL      33326    Owner                          7/20/2022     21,345.53 Distribution



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                                                                   Payments or other transfers of property made within 1 year before filing this case that benefited any insider


Insider's Name                               Address 1                         City             State   Zip      Relationship to the Debtor Payment Date Payment Amount               Reason for Payment or Transfer
John H. Owoc                                 1600 N. Park Dr.                  Weston           FL      33326    Owner                          7/29/2022     68,866.54 Wages
John H. Owoc                                 1600 N. Park Dr.                  Weston           FL      33326    Owner                           8/1/2022          19.38 Distribution
John H. Owoc                                 1600 N. Park Dr.                  Weston           FL      33326    Owner                          8/12/2022     68,866.54 Wages
John H. Owoc                                 1600 N. Park Dr.                  Weston           FL      33326    Owner                          8/18/2022     67,193.77 Distribution
John H. Owoc                                 1600 N. Park Dr.                  Weston           FL      33326    Owner                          8/26/2022     68,866.54 Wages
John H. Owoc                                 1600 N. Park Dr.                  Weston           FL      33326    Owner                          8/29/2022          33.19 Distribution
John H. Owoc                                 1600 N. Park Dr.                  Weston           FL      33326    Owner                           9/9/2022     68,866.54 Wages
John H. Owoc                                 1600 N. Park Dr.                  Weston           FL      33326    Owner                          9/16/2022     37,909.79 Distribution
John H. Owoc                                 1600 N. Park Dr.                  Weston           FL      33326    Owner                          9/23/2022     68,866.54 Wages
John H. Owoc                                 1600 N. Park Dr.                  Weston           FL      33326    Owner                          9/30/2022    100,000.00 Distribution
John H. Owoc                                 1600 N. Park Dr.                  Weston           FL      33326    Owner                          9/30/2022     68,866.54 Wages
John H. Owoc                                 1600 N. Park Dr.                  Weston           FL      33326    Owner                          10/3/2022          56.04 Distribution
John H. Owoc                                 1600 N. Park Dr.                  Weston           FL      33326    Owner                          10/7/2022     68,866.54 Wages
Krista M. Owoc                               1600 N. Park Dr.                  Weston           FL      33326    Family of John H. Owoc        10/22/2021         750.00 Wages
Krista M. Owoc                               1600 N. Park Dr.                  Weston           FL      33326    Family of John H. Owoc         11/3/2021         439.08 Expense Reimbursement
Krista M. Owoc                               1600 N. Park Dr.                  Weston           FL      33326    Family of John H. Owoc         11/5/2021         990.00 Wages
Krista M. Owoc                               1600 N. Park Dr.                  Weston           FL      33326    Family of John H. Owoc        11/11/2021         744.81 Expense Reimbursement
Krista M. Owoc                               1600 N. Park Dr.                  Weston           FL      33326    Family of John H. Owoc        11/19/2021         675.00 Wages
Krista M. Owoc                               1600 N. Park Dr.                  Weston           FL      33326    Family of John H. Owoc        11/30/2021      1,120.18 Expense Reimbursement
Krista M. Owoc                               1600 N. Park Dr.                  Weston           FL      33326    Family of John H. Owoc        11/30/2021      1,073.02 Expense Reimbursement
Krista M. Owoc                               1600 N. Park Dr.                  Weston           FL      33326    Family of John H. Owoc         12/3/2021      1,290.00 Wages
Krista M. Owoc                               1600 N. Park Dr.                  Weston           FL      33326    Family of John H. Owoc        12/14/2021      1,012.38 Expense Reimbursement
Krista M. Owoc                               1600 N. Park Dr.                  Weston           FL      33326    Family of John H. Owoc        12/17/2021      1,470.00 Wages
Krista M. Owoc                               1600 N. Park Dr.                  Weston           FL      33326    Family of John H. Owoc        12/30/2021         435.00 Wages
Krista M. Owoc                               1600 N. Park Dr.                  Weston           FL      33326    Family of John H. Owoc         1/14/2022         405.00 Wages
Krista M. Owoc                               1600 N. Park Dr.                  Weston           FL      33326    Family of John H. Owoc         1/28/2022         870.00 Wages
Krista M. Owoc                               1600 N. Park Dr.                  Weston           FL      33326    Family of John H. Owoc         1/28/2022         349.21 Expense Reimbursement
Krista M. Owoc                               1600 N. Park Dr.                  Weston           FL      33326    Family of John H. Owoc         2/11/2022      1,923.08 Wages
Krista M. Owoc                               1600 N. Park Dr.                  Weston           FL      33326    Family of John H. Owoc         2/25/2022      1,923.08 Wages
Krista M. Owoc                               1600 N. Park Dr.                  Weston           FL      33326    Family of John H. Owoc         3/11/2022      1,923.08 Wages
Krista M. Owoc                               1600 N. Park Dr.                  Weston           FL      33326    Family of John H. Owoc         3/11/2022         608.31 Expense Reimbursement
Krista M. Owoc                               1600 N. Park Dr.                  Weston           FL      33326    Family of John H. Owoc         3/17/2022         259.56 Expense Reimbursement
Krista M. Owoc                               1600 N. Park Dr.                  Weston           FL      33326    Family of John H. Owoc         3/25/2022      1,923.08 Wages
Krista M. Owoc                               1600 N. Park Dr.                  Weston           FL      33326    Family of John H. Owoc         3/25/2022         511.84 Expense Reimbursement
Krista M. Owoc                               1600 N. Park Dr.                  Weston           FL      33326    Family of John H. Owoc         3/25/2022         479.34 Expense Reimbursement
Krista M. Owoc                               1600 N. Park Dr.                  Weston           FL      33326    Family of John H. Owoc         3/25/2022         470.47 Expense Reimbursement
Krista M. Owoc                               1600 N. Park Dr.                  Weston           FL      33326    Family of John H. Owoc         3/25/2022         154.74 Expense Reimbursement
Krista M. Owoc                               1600 N. Park Dr.                  Weston           FL      33326    Family of John H. Owoc         3/30/2022         819.98 Expense Reimbursement
Krista M. Owoc                               1600 N. Park Dr.                  Weston           FL      33326    Family of John H. Owoc          4/8/2022      1,923.08 Wages
Krista M. Owoc                               1600 N. Park Dr.                  Weston           FL      33326    Family of John H. Owoc         4/20/2022         427.98 Expense Reimbursement
Krista M. Owoc                               1600 N. Park Dr.                  Weston           FL      33326    Family of John H. Owoc         4/22/2022      1,923.08 Wages
Krista M. Owoc                               1600 N. Park Dr.                  Weston           FL      33326    Family of John H. Owoc          5/6/2022      1,923.08 Wages
Krista M. Owoc                               1600 N. Park Dr.                  Weston           FL      33326    Family of John H. Owoc         5/20/2022      1,923.08 Wages
Krista M. Owoc                               1600 N. Park Dr.                  Weston           FL      33326    Family of John H. Owoc          6/3/2022      1,923.08 Wages
Krista M. Owoc                               1600 N. Park Dr.                  Weston           FL      33326    Family of John H. Owoc         6/17/2022      1,923.08 Wages
Krista M. Owoc                               1600 N. Park Dr.                  Weston           FL      33326    Family of John H. Owoc          7/1/2022      1,923.08 Wages
Krista M. Owoc                               1600 N. Park Dr.                  Weston           FL      33326    Family of John H. Owoc         7/15/2022      1,923.08 Wages
Krista M. Owoc                               1600 N. Park Dr.                  Weston           FL      33326    Family of John H. Owoc         7/29/2022      1,923.08 Wages
Krista M. Owoc                               1600 N. Park Dr.                  Weston           FL      33326    Family of John H. Owoc         8/12/2022      1,923.08 Wages
Krista M. Owoc                               1600 N. Park Dr.                  Weston           FL      33326    Family of John H. Owoc         8/26/2022      1,923.08 Wages
Krista M. Owoc                               1600 N. Park Dr.                  Weston           FL      33326    Family of John H. Owoc          9/9/2022      1,923.08 Wages
Krista M. Owoc                               1600 N. Park Dr.                  Weston           FL      33326    Family of John H. Owoc         9/23/2022      1,923.08 Wages
Krista M. Owoc                               1600 N. Park Dr.                  Weston           FL      33326    Family of John H. Owoc         9/30/2022      1,923.08 Wages
Megan Owoc                                   1600 N. Park Dr.                  Weston           FL      33326    Family of John H. Owoc        10/22/2021      5,769.24 Wages
Megan Owoc                                   1600 N. Park Dr.                  Weston           FL      33326    Family of John H. Owoc         11/5/2021      5,769.24 Wages
Megan Owoc                                   1600 N. Park Dr.                  Weston           FL      33326    Family of John H. Owoc        11/19/2021      5,772.97 Wages + Commission
Megan Owoc                                   1600 N. Park Dr.                  Weston           FL      33326    Family of John H. Owoc         12/3/2021      5,769.24 Wages
Megan Owoc                                   1600 N. Park Dr.                  Weston           FL      33326    Family of John H. Owoc        12/17/2021      5,769.24 Wages
Megan Owoc                                   1600 N. Park Dr.                  Weston           FL      33326    Family of John H. Owoc        12/30/2021      5,769.24 Wages
Megan Owoc                                   1600 N. Park Dr.                  Weston           FL      33326    Family of John H. Owoc        12/31/2021      2,392.88 Car Payment
Megan Owoc                                   1600 N. Park Dr.                  Weston           FL      33326    Family of John H. Owoc          1/3/2022         194.31 Expense Reimbursement



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                                                                     Payments or other transfers of property made within 1 year before filing this case that benefited any insider


Insider's Name                               Address 1                           City              State   Zip     Relationship to the Debtor Payment Date Payment Amount                Reason for Payment or Transfer
Megan Owoc                                   1600 N. Park Dr.                    Weston            FL      33326   Family of John H. Owoc         1/14/2022      5,769.24 Wages
Megan Owoc                                   1600 N. Park Dr.                    Weston            FL      33326   Family of John H. Owoc         1/28/2022      5,769.24 Wages
Megan Owoc                                   1600 N. Park Dr.                    Weston            FL      33326   Family of John H. Owoc         1/31/2022      2,392.88 Car Payment
Megan Owoc                                   1600 N. Park Dr.                    Weston            FL      33326   Family of John H. Owoc         2/11/2022      5,769.24 Wages
Megan Owoc                                   1600 N. Park Dr.                    Weston            FL      33326   Family of John H. Owoc         2/25/2022      5,769.24 Wages
Megan Owoc                                   1600 N. Park Dr.                    Weston            FL      33326   Family of John H. Owoc         2/25/2022         550.00 Court Appearance
Megan Owoc                                   1600 N. Park Dr.                    Weston            FL      33326   Family of John H. Owoc         2/28/2022      2,417.88 Car Payment
Megan Owoc                                   1600 N. Park Dr.                    Weston            FL      33326   Family of John H. Owoc         3/11/2022      5,769.24 Wages
Megan Owoc                                   1600 N. Park Dr.                    Weston            FL      33326   Family of John H. Owoc         3/11/2022         150.00 Court Appearance
Megan Owoc                                   1600 N. Park Dr.                    Weston            FL      33326   Family of John H. Owoc         3/25/2022      5,769.24 Wages
Megan Owoc                                   1600 N. Park Dr.                    Weston            FL      33326   Family of John H. Owoc         3/29/2022      2,392.88 Car Payment
Megan Owoc                                   1600 N. Park Dr.                    Weston            FL      33326   Family of John H. Owoc          4/8/2022      5,769.24 Wages
Megan Owoc                                   1600 N. Park Dr.                    Weston            FL      33326   Family of John H. Owoc         4/22/2022      5,769.24 Wages
Megan Owoc                                   1600 N. Park Dr.                    Weston            FL      33326   Family of John H. Owoc          5/2/2022      2,417.88 Car Payment
Megan Owoc                                   1600 N. Park Dr.                    Weston            FL      33326   Family of John H. Owoc          5/6/2022      5,769.24 Wages
Megan Owoc                                   1600 N. Park Dr.                    Weston            FL      33326   Family of John H. Owoc         5/20/2022      5,769.24 Wages
Megan Owoc                                   1600 N. Park Dr.                    Weston            FL      33326   Family of John H. Owoc         5/27/2022      2,392.88 Car Payment
Megan Owoc                                   1600 N. Park Dr.                    Weston            FL      33326   Family of John H. Owoc          6/3/2022      5,769.24 Wages
Megan Owoc                                   1600 N. Park Dr.                    Weston            FL      33326   Family of John H. Owoc         6/17/2022      5,769.24 Wages
Megan Owoc                                   1600 N. Park Dr.                    Weston            FL      33326   Family of John H. Owoc         6/29/2022      2,392.88 Car Payment
Megan Owoc                                   1600 N. Park Dr.                    Weston            FL      33326   Family of John H. Owoc          7/1/2022      5,769.24 Wages
Megan Owoc                                   1600 N. Park Dr.                    Weston            FL      33326   Family of John H. Owoc          7/1/2022         155.56 Expense Reimbursement
Megan Owoc                                   1600 N. Park Dr.                    Weston            FL      33326   Family of John H. Owoc         7/15/2022      6,369.24 Wages + Court Appearance
Megan Owoc                                   1600 N. Park Dr.                    Weston            FL      33326   Family of John H. Owoc         7/29/2022      5,769.24 Wages
Megan Owoc                                   1600 N. Park Dr.                    Weston            FL      33326   Family of John H. Owoc          8/8/2022      2,392.88 Car Payment
Megan Owoc                                   1600 N. Park Dr.                    Weston            FL      33326   Family of John H. Owoc         8/12/2022      5,769.24 Wages
Megan Owoc                                   1600 N. Park Dr.                    Weston            FL      33326   Family of John H. Owoc         8/26/2022      5,769.24 Wages
Megan Owoc                                   1600 N. Park Dr.                    Weston            FL      33326   Family of John H. Owoc         8/30/2022      2,392.88 Car Payment
Megan Owoc                                   1600 N. Park Dr.                    Weston            FL      33326   Family of John H. Owoc          9/9/2022      5,769.24 Wages
Megan Owoc                                   1600 N. Park Dr.                    Weston            FL      33326   Family of John H. Owoc         9/23/2022      5,769.24 Wages
Megan Owoc                                   1600 N. Park Dr.                    Weston            FL      33326   Family of John H. Owoc         9/30/2022       5,769.24 Wages
Megan Owoc                                   1600 N. Park Dr.                    Weston            FL      33326   Family of John H. Owoc         10/3/2022         101.05 Expense Reimbursement
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale   FL      33322   Debtor Affiliate               10/1/2021    400,370.23 Payment Made to Arizona Production & Packaging LLC for
                                                                                                                                                                           benefit of Quash Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL        33322   Debtor Affiliate               10/5/2021    266,689.00 Payment Made to Western Overseas Corporation for benefit
                                                                                                                                                                           of Quash Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL        33322   Debtor Affiliate               10/5/2021    119,440.28 Payment Made to Ardagh Metal Beverage USA, Inc. for
                                                                                                                                                                           benefit of Quash Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL        33322   Debtor Affiliate               10/7/2021    277,513.47 Payment Made to Arizona Production & Packaging LLC for
                                                                                                                                                                           benefit of Quash Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL        33322   Debtor Affiliate               10/8/2021     86,776.50 Payment Made to Updike Distribution for benefit of Quash
                                                                                                                                                                           Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL        33322   Debtor Affiliate               10/8/2021     14,146.24 Payment Made to Fona International Inc. for benefit of Quash
                                                                                                                                                                           Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL        33322   Debtor Affiliate              10/12/2021    307,496.58 Payment Made to Graphic Packaging International for benefit
                                                                                                                                                                           of Quash Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL        33322   Debtor Affiliate              10/12/2021     32,000.00 Payment Made to ACE Tools CO LIMITED for benefit of
                                                                                                                                                                           Quash Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL        33322   Debtor Affiliate              10/14/2021    283,853.60 Payment Made to Doehler USA, Inc for benefit of Quash
                                                                                                                                                                           Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL        33322   Debtor Affiliate              10/14/2021     22,330.79 Payment Made to Wild Flavors, Inc. for benefit of Quash
                                                                                                                                                                           Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL        33322   Debtor Affiliate              10/15/2021     14,580.00 Payment Made to Avalara, Inc for benefit of Quash Seltzer,
                                                                                                                                                                           LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL        33322   Debtor Affiliate              10/15/2021     13,265.50 Payment Made to Prinova US LLC for benefit of Quash
                                                                                                                                                                           Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL        33322   Debtor Affiliate              10/18/2021    392,630.42 Payment Made to Arizona Production & Packaging LLC for
                                                                                                                                                                           benefit of Quash Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL        33322   Debtor Affiliate              10/19/2021         850.00 Payment Made to Florida Department Of Agriculture and Co
                                                                                                                                                                           FDACS for benefit of Quash Seltzer, LLC




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                                                                     Payments or other transfers of property made within 1 year before filing this case that benefited any insider


Insider's Name                               Address 1                           City            State Zip         Relationship to the Debtor Payment Date Payment Amount                  Reason for Payment or Transfer
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL    33322       Debtor Affiliate              10/19/2021         100.00 Payment Made to New York State Department of State for
                                                                                                                                                                           benefit of Quash Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate              10/20/2021    811,156.92 Payment Made to Ardagh Metal Beverage USA, Inc. for
                                                                                                                                                                           benefit of Quash Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate              10/20/2021    271,975.00 Payment Made to Doehler USA, Inc for benefit of Quash
                                                                                                                                                                           Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate              10/21/2021    213,955.52 Payment Made to Ardagh Metal Beverage USA, Inc. for
                                                                                                                                                                           benefit of Quash Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate              10/21/2021    159,390.00 Payment Made to Doehler USA, Inc for benefit of Quash
                                                                                                                                                                           Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate              10/21/2021      1,250.00 Payment Made to Oklahoma Alcoholic Beverage Laws Enf
                                                                                                                                                                           Com for benefit of Quash Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate              10/26/2021    143,810.00 Payment Made to Western Overseas Corporation for benefit
                                                                                                                                                                           of Quash Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate              10/26/2021     46,911.14 Payment Made to WestRock Multi Packaging Solutions, Inc
                                                                                                                                                                           for benefit of Quash Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate              10/27/2021    836,081.96 Payment Made to Ardagh Metal Beverage USA, Inc. for
                                                                                                                                                                           benefit of Quash Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate              10/27/2021     98,313.60 Payment Made to Graphic Packaging International for benefit
                                                                                                                                                                           of Quash Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate              10/27/2021     37,074.96 Payment Made to States Logistics Services, Inc. for benefit of
                                                                                                                                                                           Quash Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate              10/27/2021      1,478.25 Payment Made to Lehrman Beverage Law, PLLC for benefit of
                                                                                                                                                                           Quash Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate              10/29/2021    514,759.51 Payment Made to Crown Cork & Seal USA, Inc for benefit of
                                                                                                                                                                           Quash Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate               11/1/2021    527,690.56 Payment Made to Crown Cork & Seal USA, Inc for benefit of
                                                                                                                                                                           Quash Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate               11/1/2021          18.15 Payment Made to Douglas Wright for benefit of Quash Seltzer,
                                                                                                                                                                           LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate               11/1/2021          14.99 Payment Made to Barbara Hopson for benefit of Quash
                                                                                                                                                                           Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate               11/2/2021    382,182.01 Payment Made to Arizona Production & Packaging LLC for
                                                                                                                                                                           benefit of Quash Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate               11/2/2021    268,740.63 Payment Made to Ardagh Metal Beverage USA, Inc. for
                                                                                                                                                                           benefit of Quash Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate               11/2/2021    205,551.00 Payment Made to Doehler USA, Inc for benefit of Quash
                                                                                                                                                                           Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate               11/2/2021    164,556.40 Payment Made to Western Overseas Corporation for benefit
                                                                                                                                                                           of Quash Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate               11/3/2021    143,350.00 Payment Made to Expolanka USA LLC for benefit of Quash
                                                                                                                                                                           Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate               11/3/2021     50,428.80 Payment Made to WestRock Multi Packaging Solutions, Inc
                                                                                                                                                                           for benefit of Quash Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate               11/4/2021    158,217.00 Payment Made to Doehler USA, Inc for benefit of Quash
                                                                                                                                                                           Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate               11/4/2021    150,067.31 Payment Made to KJM Aluminum Can SDN BHD for benefit of
                                                                                                                                                                           Quash Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate               11/5/2021     35,006.40 Payment Made to States Logistics Services, Inc. for benefit of
                                                                                                                                                                           Quash Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate               11/5/2021     23,029.76 Payment Made to Keller Warehousing & Co-Packing LLC for
                                                                                                                                                                           benefit of Quash Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate               11/8/2021      6,789.60 Payment Made to Saccani Distributing Co. for benefit of
                                                                                                                                                                           Quash Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate               11/9/2021    243,815.59 Payment Made to Ardagh Metal Beverage USA, Inc. for
                                                                                                                                                                           benefit of Quash Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate               11/9/2021    107,293.99 Payment Made to Scott Laboratories, Inc. for benefit of Quash
                                                                                                                                                                           Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate               11/9/2021     33,182.60 Payment Made to Western Overseas Corporation for benefit
                                                                                                                                                                           of Quash Seltzer, LLC




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                                                                     Payments or other transfers of property made within 1 year before filing this case that benefited any insider


Insider's Name                               Address 1                           City            State Zip         Relationship to the Debtor Payment Date Payment Amount                Reason for Payment or Transfer
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL    33322       Debtor Affiliate              11/10/2021     331,516.20 Payment Made to MHW, Ltd/ Doehler NA for benefit of Quash
                                                                                                                                                                           Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate              11/10/2021     209,020.49 Payment Made to Ardagh Metal Beverage USA, Inc. for
                                                                                                                                                                           benefit of Quash Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate              11/11/2021     627,061.47 Payment Made to Ardagh Metal Beverage USA, Inc. for
                                                                                                                                                                           benefit of Quash Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate              11/11/2021     292,974.00 Payment Made to Doehler USA, Inc for benefit of Quash
                                                                                                                                                                           Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate              11/11/2021     127,958.40 Payment Made to MHW, Ltd/ Doehler NA for benefit of Quash
                                                                                                                                                                           Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate              11/13/2021      26,879.65 Payment Made to Synergy Flavors, Inc. for benefit of Quash
                                                                                                                                                                           Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate              11/15/2021     513,231.60 Payment Made to Crown Cork & Seal USA, Inc for benefit of
                                                                                                                                                                           Quash Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate              11/16/2021       1,500.00 Payment Made to City of Douglasville for benefit of Quash
                                                                                                                                                                           Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate              11/16/2021       1,012.50 Payment Made to Comptroller of Maryland for benefit of
                                                                                                                                                                           Quash Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate              11/16/2021         394.00 Payment Made to Western Overseas Corporation for benefit
                                                                                                                                                                           of Quash Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate              11/17/2021     486,925.40 Payment Made to Crown Cork & Seal USA, Inc for benefit of
                                                                                                                                                                           Quash Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate              11/17/2021     375,000.00 Payment Made to Arizona Production & Packaging LLC for
                                                                                                                                                                           benefit of Quash Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate              11/17/2021     363,377.00 Payment Made to Doehler USA, Inc for benefit of Quash
                                                                                                                                                                           Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate              11/17/2021         388.50 Payment Made to Lehrman Beverage Law, PLLC for benefit of
                                                                                                                                                                           Quash Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate              11/19/2021     513,231.60 Payment Made to Crown Cork & Seal USA, Inc for benefit of
                                                                                                                                                                           Quash Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate              11/19/2021     272,481.00 Payment Made to Doehler USA, Inc for benefit of Quash
                                                                                                                                                                           Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate              11/19/2021          21.20 Payment Made to Anita Steele for benefit of Quash Seltzer,
                                                                                                                                                                           LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate              11/22/2021     608,676.42 Payment Made to Arizona Production & Packaging LLC for
                                                                                                                                                                           benefit of Quash Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate              11/22/2021      23,828.48 Payment Made to Keller Warehousing & Co-Packing LLC for
                                                                                                                                                                           benefit of Quash Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate              11/22/2021         446.26 Payment Made to Lehrman Beverage Law, PLLC for benefit of
                                                                                                                                                                           Quash Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate              11/22/2021         198.30 Payment Made to Keller Logistics, LLC for benefit of Quash
                                                                                                                                                                           Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate              11/23/2021   1,027,746.60 Payment Made to Crown Cork & Seal USA, Inc for benefit of
                                                                                                                                                                           Quash Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate              11/23/2021     183,670.30 Payment Made to Doehler USA, Inc for benefit of Quash
                                                                                                                                                                           Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate              11/24/2021     201,501.60 Payment Made to Graphic Packaging International for benefit
                                                                                                                                                                           of Quash Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate              11/24/2021      73,259.48 Payment Made to Crown Cork & Seal USA, Inc for benefit of
                                                                                                                                                                           Quash Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate              11/29/2021      77,444.61 Payment Made to Krier Foods, Inc. for benefit of Quash
                                                                                                                                                                           Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate              11/29/2021      48,000.00 Payment Made to ACE Tools CO LIMITED for benefit of
                                                                                                                                                                           Quash Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate              11/30/2021      47,731.86 Payment Made to Fona International Inc. for benefit of Quash
                                                                                                                                                                           Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate               12/1/2021       3,720.00 Payment Made to Avalara, Inc for benefit of Quash Seltzer,
                                                                                                                                                                           LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate               12/1/2021          65.00 Payment Made to Ohio Deparment of Taxation for benefit of
                                                                                                                                                                           Quash Seltzer, LLC




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                                                                     Payments or other transfers of property made within 1 year before filing this case that benefited any insider


Insider's Name                               Address 1                           City            State Zip         Relationship to the Debtor Payment Date Payment Amount               Reason for Payment or Transfer
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL    33322       Debtor Affiliate               12/2/2021     44,595.20 Payment Made to Keller Warehousing & Co-Packing LLC for
                                                                                                                                                                          benefit of Quash Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate               12/3/2021    115,600.00 Payment Made to Team Eagle Logistics for benefit of Quash
                                                                                                                                                                          Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate               12/3/2021     67,904.36 Payment Made to Keller Warehousing & Co-Packing LLC for
                                                                                                                                                                          benefit of Quash Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate               12/3/2021     38,790.00 Payment Made to Great Northern Corp. for benefit of Quash
                                                                                                                                                                          Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate               12/6/2021    132,412.33 Payment Made to KJM Aluminum Can SDN BHD for benefit of
                                                                                                                                                                          Quash Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate               12/7/2021    444,000.00 Payment Made to Arizona Production & Packaging LLC for
                                                                                                                                                                          benefit of Quash Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate               12/7/2021     16,435.00 Payment Made to Western Overseas Corporation for benefit
                                                                                                                                                                          of Quash Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate               12/7/2021      8,900.00 Payment Made to Direct Connect Logistix, Inc. for benefit of
                                                                                                                                                                          Quash Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate              12/10/2021    303,909.71 Payment Made to Graphic Packaging International for benefit
                                                                                                                                                                          of Quash Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate              12/13/2021    161,375.00 Payment Made to C.H. Robinson International for benefit of
                                                                                                                                                                          Quash Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate              12/13/2021    113,400.00 Payment Made to Team Eagle Logistics for benefit of Quash
                                                                                                                                                                          Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate              12/17/2021     11,088.00 Payment Made to Eby-Brown Company LLC for benefit of
                                                                                                                                                                          Quash Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate              12/20/2021         68.25 Payment Made to Lehrman Beverage Law, PLLC for benefit of
                                                                                                                                                                          Quash Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate              12/22/2021    315,767.00 Payment Made to Doehler USA, Inc for benefit of Quash
                                                                                                                                                                          Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate              12/22/2021    256,936.65 Payment Made to Crown Cork & Seal USA, Inc for benefit of
                                                                                                                                                                          Quash Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate              12/22/2021    208,874.00 Payment Made to Arizona Production & Packaging LLC for
                                                                                                                                                                          benefit of Quash Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate              12/22/2021      9,191.40 Payment Made to MHW, Ltd/ Doehler NA for benefit of Quash
                                                                                                                                                                          Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate              12/27/2021     59,720.14 Payment Made to Ardagh Metal Beverage USA, Inc. for
                                                                                                                                                                          benefit of Quash Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate              12/28/2021    247,137.30 Payment Made to Doehler USA, Inc for benefit of Quash
                                                                                                                                                                          Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate              12/29/2021    444,399.60 Payment Made to Arizona Production & Packaging LLC for
                                                                                                                                                                          benefit of Quash Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate              12/29/2021     30,096.00 Payment Made to Graphic Packaging International for benefit
                                                                                                                                                                          of Quash Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate              12/30/2021     67,200.00 Payment Made to Team Eagle Logistics for benefit of Quash
                                                                                                                                                                          Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate              12/31/2021    315,659.70 Payment Made to Doehler Dry Ingredients Solutions for
                                                                                                                                                                          benefit of Quash Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate              12/31/2021    274,865.00 Payment Made to Expolanka USA LLC for benefit of Quash
                                                                                                                                                                          Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate                1/3/2022    261,093.29 Payment Made to Arizona Production & Packaging LLC for
                                                                                                                                                                          benefit of Quash Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate                1/3/2022     69,367.25 Payment Made to Takasago International Corporation for
                                                                                                                                                                          benefit of Quash Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate                1/6/2022     11,480.00 Payment Made to ColorDynamics, Inc for benefit of Quash
                                                                                                                                                                          Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate                1/7/2022    367,073.30 Payment Made to Arizona Production & Packaging LLC for
                                                                                                                                                                          benefit of Quash Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate                1/7/2022    270,000.00 Payment Made to Krier Foods, Inc. for benefit of Quash
                                                                                                                                                                          Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate                1/7/2022     40,734.72 Payment Made to States Logistics Services, Inc. for benefit of
                                                                                                                                                                          Quash Seltzer, LLC




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                                                                     Payments or other transfers of property made within 1 year before filing this case that benefited any insider


Insider's Name                               Address 1                           City            State Zip         Relationship to the Debtor Payment Date Payment Amount                  Reason for Payment or Transfer
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL    33322       Debtor Affiliate               1/10/2022     184,778.53 Payment Made to KJM Aluminum Can SDN BHD for benefit of
                                                                                                                                                                           Quash Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate               1/11/2022     172,063.37 Payment Made to Arizona Production & Packaging LLC for
                                                                                                                                                                           benefit of Quash Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate               1/11/2022      66,424.00 Payment Made to Doehler USA, Inc for benefit of Quash
                                                                                                                                                                           Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate               1/11/2022      52,800.00 Payment Made to Samora Capital for benefit of Quash
                                                                                                                                                                           Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate               1/12/2022   2,426,807.41 Payment Made to Ardagh Metal Beverage USA, Inc. for
                                                                                                                                                                           benefit of Quash Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate               1/12/2022      77,271.02 Payment Made to WestRock Multi Packaging Solutions, Inc
                                                                                                                                                                           for benefit of Quash Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate               1/12/2022       3,000.00 Payment Made to Division of Alcohol Beverages & Tobacco
                                                                                                                                                                           for benefit of Quash Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate               1/14/2022     686,781.61 Payment Made to Ardagh Metal Beverage USA, Inc. for
                                                                                                                                                                           benefit of Quash Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate               1/18/2022      84,298.28 Payment Made to Keller Warehousing & Co-Packing LLC for
                                                                                                                                                                           benefit of Quash Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate               1/18/2022      16,446.00 Payment Made to Western Overseas Corporation for benefit
                                                                                                                                                                           of Quash Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate               1/18/2022       2,695.00 Payment Made to Vermont Dept. of Liquor and Lottery for
                                                                                                                                                                           benefit of Quash Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate               1/18/2022         200.00 Payment Made to North Carolina ABC Commission for benefit
                                                                                                                                                                           of Quash Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate               1/19/2022     137,142.00 Payment Made to C.H. Robinson International for benefit of
                                                                                                                                                                           Quash Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate               1/19/2022      25,292.80 Payment Made to Keller Warehousing & Co-Packing LLC for
                                                                                                                                                                           benefit of Quash Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate               1/19/2022       4,200.00 Payment Made to Team Eagle Logistics for benefit of Quash
                                                                                                                                                                           Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate               1/21/2022     627,061.47 Payment Made to Ardagh Metal Beverage USA, Inc. for
                                                                                                                                                                           benefit of Quash Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate               1/24/2022     391,256.50 Payment Made to Arizona Production & Packaging LLC for
                                                                                                                                                                           benefit of Quash Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate               1/26/2022      72,899.07 Payment Made to WestRock Multi Packaging Solutions, Inc
                                                                                                                                                                           for benefit of Quash Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate               1/26/2022       1,700.00 Payment Made to Director Alcohol and Gambling Enforcement
                                                                                                                                                                           for benefit of Quash Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate               1/26/2022         400.00 Payment Made to Ohio Division of Liquor Control for benefit of
                                                                                                                                                                           Quash Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate               1/26/2022         350.00 Payment Made to Colorado Department of Revenue for
                                                                                                                                                                           benefit of Quash Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate               1/28/2022     989,453.18 Payment Made to Ardagh Metal Beverage USA, Inc. for
                                                                                                                                                                           benefit of Quash Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate               1/31/2022       7,820.43 Payment Made to Synergy Flavors, Inc. for benefit of Quash
                                                                                                                                                                           Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate                2/1/2022     291,227.26 Payment Made to Doehler USA, Inc for benefit of Quash
                                                                                                                                                                           Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate                2/3/2022     157,507.68 Payment Made to Graphic Packaging International for benefit
                                                                                                                                                                           of Quash Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate                2/3/2022          14.12 Payment Made to Jacob Sorenson for benefit of Quash
                                                                                                                                                                           Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate                2/4/2022     810,292.76 Payment Made to Ardagh Metal Beverage USA, Inc. for
                                                                                                                                                                           benefit of Quash Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate                2/8/2022     338,410.50 Payment Made to Arizona Production & Packaging LLC for
                                                                                                                                                                           benefit of Quash Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate                2/8/2022      41,611.00 Payment Made to Western Overseas Corporation for benefit
                                                                                                                                                                           of Quash Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate               2/10/2022       8,864.09 Payment Made to Priority-1, Inc for benefit of Quash Seltzer,
                                                                                                                                                                           LLC




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                                                                     Payments or other transfers of property made within 1 year before filing this case that benefited any insider


Insider's Name                               Address 1                           City            State Zip         Relationship to the Debtor Payment Date Payment Amount                  Reason for Payment or Transfer
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL    33322       Debtor Affiliate               2/11/2022   1,015,242.38 Payment Made to Ardagh Metal Beverage USA, Inc. for
                                                                                                                                                                           benefit of Quash Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate               2/14/2022     258,767.53 Payment Made to Crown Cork & Seal USA, Inc for benefit of
                                                                                                                                                                           Quash Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate               2/14/2022       1,863.00 Payment Made to Corporate Creations International, Inc. for
                                                                                                                                                                           benefit of Quash Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate               2/16/2022      15,752.39 Payment Made to Graphic Packaging International for benefit
                                                                                                                                                                           of Quash Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate               2/17/2022     494,292.55 Payment Made to Crown Cork & Seal USA, Inc for benefit of
                                                                                                                                                                           Quash Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate               2/18/2022     200,000.00 Payment Made to Ardagh Metal Beverage USA, Inc. for
                                                                                                                                                                           benefit of Quash Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate               2/18/2022      23,242.51 Payment Made to Crown Cork & Seal USA, Inc for benefit of
                                                                                                                                                                           Quash Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate               2/18/2022         210.00 Payment Made to Virginia Alcoholic Beverage Control for
                                                                                                                                                                           benefit of Quash Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate               2/24/2022         250.00 Payment Made to Jurisco for benefit of Quash Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate               2/25/2022   1,024,262.87 Payment Made to Ardagh Metal Beverage USA, Inc. for
                                                                                                                                                                           benefit of Quash Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate               2/25/2022      12,420.40 Payment Made to Keller Warehousing & Co-Packing LLC for
                                                                                                                                                                           benefit of Quash Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate               2/28/2022      47,576.88 Payment Made to States Logistics Services, Inc. for benefit of
                                                                                                                                                                           Quash Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate               2/28/2022      41,349.00 Payment Made to R&K Logistics, Inc. for benefit of Quash
                                                                                                                                                                           Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate               2/28/2022       7,008.55 Payment Made to Priority-1, Inc for benefit of Quash Seltzer,
                                                                                                                                                                           LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate                3/1/2022      39,782.11 Payment Made to Great Northern Corp. for benefit of Quash
                                                                                                                                                                           Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate                3/3/2022       1,972.00 Payment Made to Golden Eagle of Arkansas, Inc. for benefit
                                                                                                                                                                           of Quash Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate                3/4/2022     507,621.19 Payment Made to Ardagh Metal Beverage USA, Inc. for
                                                                                                                                                                           benefit of Quash Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate                3/4/2022      28,995.20 Payment Made to Updike Distribution for benefit of Quash
                                                                                                                                                                           Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate                3/7/2022      41,213.83 Payment Made to Arizona Production & Packaging LLC for
                                                                                                                                                                           benefit of Quash Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate                3/7/2022          50.00 Payment Made to Office of the Alcoholic Beverage OABCC for
                                                                                                                                                                           benefit of Quash Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate                3/8/2022     150,000.00 Payment Made to Krier Foods, Inc. for benefit of Quash
                                                                                                                                                                           Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate               3/10/2022      91,610.40 Payment Made to Graphic Packaging International for benefit
                                                                                                                                                                           of Quash Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate               3/11/2022     507,621.19 Payment Made to Ardagh Metal Beverage USA, Inc. for
                                                                                                                                                                           benefit of Quash Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate               3/14/2022     295,641.74 Payment Made to Doehler Dry Ingredients Solutions for
                                                                                                                                                                           benefit of Quash Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate               3/16/2022     223,564.57 Payment Made to Arizona Production & Packaging LLC for
                                                                                                                                                                           benefit of Quash Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate               3/16/2022         100.00 Payment Made to Director Alcohol and Gambling Enforcement
                                                                                                                                                                           for benefit of Quash Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate               3/17/2022         350.00 Payment Made to XPO Global Forwarding, Inc for benefit of
                                                                                                                                                                           Quash Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate               3/23/2022         413.55 Payment Made to Lehrman Beverage Law, PLLC for benefit of
                                                                                                                                                                           Quash Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate               3/29/2022      10,533.60 Payment Made to Graphic Packaging International for benefit
                                                                                                                                                                           of Quash Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate               3/30/2022     101,995.00 Payment Made to Expolanka USA LLC for benefit of Quash
                                                                                                                                                                           Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate               3/30/2022       5,244.00 Payment Made to Western Overseas Corporation for benefit
                                                                                                                                                                           of Quash Seltzer, LLC



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                                                                     Payments or other transfers of property made within 1 year before filing this case that benefited any insider


Insider's Name                               Address 1                           City            State Zip         Relationship to the Debtor Payment Date Payment Amount                Reason for Payment or Transfer
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL    33322       Debtor Affiliate               3/30/2022      2,253.00 Payment Made to XPO Global Forwarding, Inc for benefit of
                                                                                                                                                                           Quash Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate               3/30/2022         800.00 Payment Made to Team Eagle Logistics for benefit of Quash
                                                                                                                                                                           Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate                4/4/2022    475,000.00 Payment Made to Arizona Production & Packaging LLC for
                                                                                                                                                                           benefit of Quash Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate                4/4/2022          21.65 Payment Made to Lydia Yoe for benefit of Quash Seltzer, LLC

Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate                     4/5/2022        500,000.00 Payment Made to Arizona Production & Packaging LLC for
                                                                                                                                                                                   benefit of Quash Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate                     4/7/2022          6,244.62 Payment Made to Wild Flavors, Inc. for benefit of Quash
                                                                                                                                                                                   Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate                     4/8/2022          6,440.00 Payment Made to Fusion Logistics Services, LLC for benefit of
                                                                                                                                                                                   Quash Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate                   4/11/2022         215,297.40 Payment Made to Arizona Production & Packaging LLC for
                                                                                                                                                                                   benefit of Quash Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate                   4/11/2022          37,596.83 Payment Made to U.S. Department of Homeland Security for
                                                                                                                                                                                   benefit of Quash Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate                   4/11/2022          21,888.20 Payment Made to Keller Warehousing & Co-Packing LLC for
                                                                                                                                                                                   benefit of Quash Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate                   4/11/2022           3,220.00 Payment Made to Fusion Logistics Services, LLC for benefit of
                                                                                                                                                                                   Quash Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate                   4/12/2022          57,283.20 Payment Made to States Logistics Services, Inc. for benefit of
                                                                                                                                                                                   Quash Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate                   4/12/2022          24,005.40 Payment Made to U.S. Department of Homeland Security for
                                                                                                                                                                                   benefit of Quash Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate                   4/19/2022          52,528.50 Payment Made to Western Overseas Corporation for benefit
                                                                                                                                                                                   of Quash Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate                   4/20/2022          49,980.09 Payment Made to Samora Capital for benefit of Quash
                                                                                                                                                                                   Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate                   4/22/2022         103,750.00 Payment Made to North Star Marketing, Inc for benefit of
                                                                                                                                                                                   Quash Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate                   4/25/2022          97,399.58 Payment Made to Graphic Packaging International for benefit
                                                                                                                                                                                   of Quash Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate                   4/26/2022          97,895.00 Payment Made to C.H. Robinson International for benefit of
                                                                                                                                                                                   Quash Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate                   4/28/2022          17,129.11 Payment Made to Crown Cork & Seal USA, Inc for benefit of
                                                                                                                                                                                   Quash Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate                     5/2/2022         23,850.00 Payment Made to C.H. Robinson International for benefit of
                                                                                                                                                                                   Quash Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate                     5/4/2022        198,024.99 Payment Made to Arizona Production & Packaging LLC for
                                                                                                                                                                                   benefit of Quash Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate                     5/6/2022         75,123.55 Payment Made to States Logistics Services, Inc. for benefit of
                                                                                                                                                                                   Quash Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate                   5/11/2022         159,759.50 Payment Made to States Logistics Services, Inc. for benefit of
                                                                                                                                                                                   Quash Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate                   5/11/2022          93,587.00 Payment Made to C.H. Robinson International for benefit of
                                                                                                                                                                                   Quash Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate                   5/18/2022             460.00 Payment Made to Virginia Alcoholic Beverage Control for
                                                                                                                                                                                   benefit of Quash Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate                   5/19/2022           5,398.48 Payment Made to R&L Carriers for benefit of Quash Seltzer,
                                                                                                                                                                                   LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate                   5/19/2022           2,500.00 Payment Made to R&L Truckload Services, LLC for benefit of
                                                                                                                                                                                   Quash Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate                   5/20/2022          57,577.45 Payment Made to States Logistics Services, Inc. for benefit of
                                                                                                                                                                                   Quash Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate                   5/20/2022          50,074.45 Payment Made to Wild Flavors, Inc. for benefit of Quash
                                                                                                                                                                                   Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate                   5/24/2022          49,765.84 Payment Made to Samora Capital for benefit of Quash
                                                                                                                                                                                   Seltzer, LLC




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                                                                     Payments or other transfers of property made within 1 year before filing this case that benefited any insider


Insider's Name                               Address 1                           City            State Zip         Relationship to the Debtor Payment Date Payment Amount                Reason for Payment or Transfer
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL    33322       Debtor Affiliate               5/24/2022      1,536.36 Payment Made to Krier Foods, Inc. for benefit of Quash
                                                                                                                                                                           Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate               5/25/2022     47,031.58 Payment Made to Priority-1, Inc for benefit of Quash Seltzer,
                                                                                                                                                                           LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate               5/27/2022     35,276.68 Payment Made to Doehler USA, Inc for benefit of Quash
                                                                                                                                                                           Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate               5/31/2022      9,300.00 Payment Made to Avalara, Inc for benefit of Quash Seltzer,
                                                                                                                                                                           LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate                6/2/2022    110,867.11 Payment Made to KJM Aluminum Can SDN BHD for benefit of
                                                                                                                                                                           Quash Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate                6/2/2022     75,800.00 Payment Made to Volume Logistics LLC for benefit of Quash
                                                                                                                                                                           Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate                6/7/2022      4,050.00 Payment Made to Trinity Logistics Inc. for benefit of Quash
                                                                                                                                                                           Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate                6/8/2022      7,825.00 Payment Made to Direct Connect Logistix, Inc. for benefit of
                                                                                                                                                                           Quash Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate               6/10/2022     46,700.01 Payment Made to Total Quality Logistics, LLC TQL for benefit
                                                                                                                                                                           of Quash Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate               6/16/2022     76,134.50 Payment Made to Graphic Packaging International for benefit
                                                                                                                                                                           of Quash Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate               6/16/2022     46,806.70 Payment Made to KJM Aluminum Can SDN BHD for benefit of
                                                                                                                                                                           Quash Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate               6/21/2022     92,389.27 Payment Made to KJM Aluminum Can SDN BHD for benefit of
                                                                                                                                                                           Quash Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate               6/21/2022     58,785.76 Payment Made to Keller Warehousing & Co-Packing LLC for
                                                                                                                                                                           benefit of Quash Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate               6/21/2022     47,286.24 Payment Made to Parallel Products for benefit of Quash
                                                                                                                                                                           Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate               6/22/2022     20,945.00 Payment Made to R&L Truckload Services, LLC for benefit of
                                                                                                                                                                           Quash Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate               6/27/2022     49,981.59 Payment Made to Samora Capital for benefit of Quash
                                                                                                                                                                           Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate               6/27/2022     46,194.64 Payment Made to KJM Aluminum Can SDN BHD for benefit of
                                                                                                                                                                           Quash Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate               6/27/2022         295.95 Payment Made to Lehrman Beverage Law, PLLC for benefit of
                                                                                                                                                                           Quash Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate               6/27/2022          17.99 Payment Made to Denise Coelho for benefit of Quash Seltzer,
                                                                                                                                                                           LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate               6/28/2022     46,194.64 Payment Made to KJM Aluminum Can SDN BHD for benefit of
                                                                                                                                                                           Quash Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate               6/29/2022     46,194.64 Payment Made to KJM Aluminum Can SDN BHD for benefit of
                                                                                                                                                                           Quash Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate                7/6/2022      1,431.56 Payment Made to Overseas Services Corporation dba
                                                                                                                                                                           OSCWEBCO for benefit of Quash Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate               7/15/2022     30,693.76 Payment Made to Keller Warehousing & Co-Packing LLC for
                                                                                                                                                                           benefit of Quash Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate               7/15/2022     10,800.00 Payment Made to Volume Logistics LLC for benefit of Quash
                                                                                                                                                                           Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate               7/18/2022     36,585.05 Payment Made to Parallel Products for benefit of Quash
                                                                                                                                                                           Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate               7/19/2022     46,194.64 Payment Made to KJM Aluminum Can SDN BHD for benefit of
                                                                                                                                                                           Quash Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate               7/19/2022     38,816.39 Payment Made to Samora Capital for benefit of Quash
                                                                                                                                                                           Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate               7/20/2022     50,486.25 Payment Made to Recycle America LLC for benefit of Quash
                                                                                                                                                                           Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate               7/26/2022     36,955.72 Payment Made to KJM Aluminum Can SDN BHD for benefit of
                                                                                                                                                                           Quash Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate               7/28/2022     19,200.00 Payment Made to Trinity Logistics Inc. for benefit of Quash
                                                                                                                                                                           Seltzer, LLC




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                                                                     Payments or other transfers of property made within 1 year before filing this case that benefited any insider


Insider's Name                               Address 1                           City            State Zip         Relationship to the Debtor Payment Date Payment Amount                Reason for Payment or Transfer
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL    33322       Debtor Affiliate               7/28/2022      9,775.00 Payment Made to R&L Truckload Services, LLC for benefit of
                                                                                                                                                                           Quash Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate               7/29/2022     32,913.44 Payment Made to Keller Warehousing & Co-Packing LLC for
                                                                                                                                                                           benefit of Quash Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate                8/2/2022    107,910.71 Payment Made to States Logistics Services, Inc. for benefit of
                                                                                                                                                                           Quash Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate               8/10/2022     10,848.50 Payment Made to U.S. Department of Homeland Security for
                                                                                                                                                                           benefit of Quash Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate               8/12/2022     80,757.60 Payment Made to Graphic Packaging International for benefit
                                                                                                                                                                           of Quash Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate               8/22/2022          16.99 Payment Made to Mike Hanophy for benefit of Quash Seltzer,
                                                                                                                                                                           LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate               8/23/2022     36,955.72 Payment Made to KJM Aluminum Can SDN BHD for benefit of
                                                                                                                                                                           Quash Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate               8/25/2022    112,910.16 Payment Made to Graphic Packaging International for benefit
                                                                                                                                                                           of Quash Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate               8/29/2022         300.00 Payment Made to Ohio Division of Liquor Control for benefit of
                                                                                                                                                                           Quash Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate                9/1/2022     32,913.44 Payment Made to Keller Warehousing & Co-Packing LLC for
                                                                                                                                                                           benefit of Quash Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate                9/1/2022      4,681.74 Payment Made to C.H. Robinson International for benefit of
                                                                                                                                                                           Quash Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate                9/1/2022         380.00 Payment Made to England Logistics, Inc for benefit of Quash
                                                                                                                                                                           Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate                9/6/2022    104,324.65 Payment Made to States Logistics Services, Inc. for benefit of
                                                                                                                                                                           Quash Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate                9/6/2022     10,200.00 Payment Made to Fusion Logistics Services, LLC for benefit of
                                                                                                                                                                           Quash Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate               9/15/2022     46,850.00 Payment Made to England Logistics, Inc for benefit of Quash
                                                                                                                                                                           Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate               9/19/2022         622.12 Payment Made to Lehrman Beverage Law, PLLC for benefit of
                                                                                                                                                                           Quash Seltzer, LLC
Quash Seltzer, LLC                           20311 Sheridan Street               Fort Lauderdale FL      33322     Debtor Affiliate               9/19/2022          50.00 Payment Made to Office of the Alcoholic Beverage OABCC for
                                                                                                                                                                           benefit of Quash Seltzer, LLC
Ryan Owoc                                    1600 N. Park Dr.                    Weston           FL     33326     Family of John H. Owoc        10/13/2021         433.54 Expense Reimbursement
Ryan Owoc                                    1600 N. Park Dr.                    Weston           FL     33326     Family of John H. Owoc        10/22/2021      2,480.77 Wages
Ryan Owoc                                    1600 N. Park Dr.                    Weston           FL     33326     Family of John H. Owoc         11/5/2021      3,711.26 Wages + Car Allowance + Commission
Ryan Owoc                                    1600 N. Park Dr.                    Weston           FL     33326     Family of John H. Owoc        11/19/2021      2,884.62 Wages
Ryan Owoc                                    1600 N. Park Dr.                    Weston           FL     33326     Family of John H. Owoc         12/3/2021      3,769.24 Wages + Car Allowance
Ryan Owoc                                    1600 N. Park Dr.                    Weston           FL     33326     Family of John H. Owoc        12/17/2021      3,076.93 Wages
Ryan Owoc                                    1600 N. Park Dr.                    Weston           FL     33326     Family of John H. Owoc        12/22/2021         225.19 Expense Reimbursement
Ryan Owoc                                    1600 N. Park Dr.                    Weston           FL     33326     Family of John H. Owoc        12/30/2021      3,076.93 Wages
Ryan Owoc                                    1600 N. Park Dr.                    Weston           FL     33326     Family of John H. Owoc         1/14/2022      3,576.93 Wages + Car Allowance
Ryan Owoc                                    1600 N. Park Dr.                    Weston           FL     33326     Family of John H. Owoc         1/28/2022      3,076.93 Wages
Ryan Owoc                                    1600 N. Park Dr.                    Weston           FL     33326     Family of John H. Owoc          2/9/2022          95.50 Expense Reimbursement
Ryan Owoc                                    1600 N. Park Dr.                    Weston           FL     33326     Family of John H. Owoc         2/11/2022      3,576.93 Wages + Car Allowance
Ryan Owoc                                    1600 N. Park Dr.                    Weston           FL     33326     Family of John H. Owoc         2/25/2022      3,076.93 Wages
Ryan Owoc                                    1600 N. Park Dr.                    Weston           FL     33326     Family of John H. Owoc          3/7/2022         429.66 Expense Reimbursement
Ryan Owoc                                    1600 N. Park Dr.                    Weston           FL     33326     Family of John H. Owoc         3/11/2022      3,576.93 Wages + Car Allowance
Ryan Owoc                                    1600 N. Park Dr.                    Weston           FL     33326     Family of John H. Owoc         3/25/2022      3,076.93 Wages
Ryan Owoc                                    1600 N. Park Dr.                    Weston           FL     33326     Family of John H. Owoc         3/30/2022         105.37 Expense Reimbursement
Ryan Owoc                                    1600 N. Park Dr.                    Weston           FL     33326     Family of John H. Owoc          4/8/2022      3,576.93 Wages + Car Allowance
Ryan Owoc                                    1600 N. Park Dr.                    Weston           FL     33326     Family of John H. Owoc         4/22/2022      3,076.93 Wages
Ryan Owoc                                    1600 N. Park Dr.                    Weston           FL     33326     Family of John H. Owoc         4/28/2022         273.22 Expense Reimbursement
Ryan Owoc                                    1600 N. Park Dr.                    Weston           FL     33326     Family of John H. Owoc         4/28/2022         141.88 Expense Reimbursement
Ryan Owoc                                    1600 N. Park Dr.                    Weston           FL     33326     Family of John H. Owoc          5/6/2022      3,076.93 Wages
Ryan Owoc                                    1600 N. Park Dr.                    Weston           FL     33326     Family of John H. Owoc          5/6/2022         188.31 Expense Reimbursement
Ryan Owoc                                    1600 N. Park Dr.                    Weston           FL     33326     Family of John H. Owoc         5/13/2022         298.53 Expense Reimbursement
Ryan Owoc                                    1600 N. Park Dr.                    Weston           FL     33326     Family of John H. Owoc         5/20/2022      3,230.78 Wages
Ryan Owoc                                    1600 N. Park Dr.                    Weston           FL     33326     Family of John H. Owoc         5/20/2022         117.81 Expense Reimbursement
Ryan Owoc                                    1600 N. Park Dr.                    Weston           FL     33326     Family of John H. Owoc         5/27/2022         205.62 Expense Reimbursement



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                                                                   Payments or other transfers of property made within 1 year before filing this case that benefited any insider


Insider's Name                               Address 1                         City             State   Zip      Relationship to the Debtor Payment Date Payment Amount                  Reason for Payment or Transfer
Ryan Owoc                                    1600 N. Park Dr.                  Weston           FL      33326    Family of John H. Owoc          6/3/2022      3,230.78 Wages
Ryan Owoc                                    1600 N. Park Dr.                  Weston           FL      33326    Family of John H. Owoc         6/14/2022          96.22 Expense Reimbursement
Ryan Owoc                                    1600 N. Park Dr.                  Weston           FL      33326    Family of John H. Owoc         6/17/2022      3,230.78 Wages
Ryan Owoc                                    1600 N. Park Dr.                  Weston           FL      33326    Family of John H. Owoc         6/20/2022         210.24 Expense Reimbursement
Ryan Owoc                                    1600 N. Park Dr.                  Weston           FL      33326    Family of John H. Owoc         6/21/2022         292.07 Expense Reimbursement
Ryan Owoc                                    1600 N. Park Dr.                  Weston           FL      33326    Family of John H. Owoc         6/21/2022         154.60 Expense Reimbursement
Ryan Owoc                                    1600 N. Park Dr.                  Weston           FL      33326    Family of John H. Owoc         6/30/2022         119.16 Expense Reimbursement
Ryan Owoc                                    1600 N. Park Dr.                  Weston           FL      33326    Family of John H. Owoc          7/1/2022      3,230.78 Wages
Ryan Owoc                                    1600 N. Park Dr.                  Weston           FL      33326    Family of John H. Owoc         7/15/2022      3,230.78 Wages
Ryan Owoc                                    1600 N. Park Dr.                  Weston           FL      33326    Family of John H. Owoc         7/15/2022         124.87 Expense Reimbursement
Ryan Owoc                                    1600 N. Park Dr.                  Weston           FL      33326    Family of John H. Owoc         7/25/2022         647.50 Expense Reimbursement
Ryan Owoc                                    1600 N. Park Dr.                  Weston           FL      33326    Family of John H. Owoc         7/25/2022         138.19 Expense Reimbursement
Ryan Owoc                                    1600 N. Park Dr.                  Weston           FL      33326    Family of John H. Owoc         7/29/2022      3,230.78 Wages
Ryan Owoc                                    1600 N. Park Dr.                  Weston           FL      33326    Family of John H. Owoc         7/29/2022         335.83 Expense Reimbursement
Ryan Owoc                                    1600 N. Park Dr.                  Weston           FL      33326    Family of John H. Owoc          8/5/2022         226.75 Expense Reimbursement
Ryan Owoc                                    1600 N. Park Dr.                  Weston           FL      33326    Family of John H. Owoc         8/12/2022      3,230.78 Wages
Ryan Owoc                                    1600 N. Park Dr.                  Weston           FL      33326    Family of John H. Owoc         8/18/2022         224.01 Expense Reimbursement
Ryan Owoc                                    1600 N. Park Dr.                  Weston           FL      33326    Family of John H. Owoc         8/24/2022         282.89 Expense Reimbursement
Ryan Owoc                                    1600 N. Park Dr.                  Weston           FL      33326    Family of John H. Owoc         8/26/2022      3,230.78 Wages
Ryan Owoc                                    1600 N. Park Dr.                  Weston           FL      33326    Family of John H. Owoc          9/9/2022      3,230.78 Wages
Ryan Owoc                                    1600 N. Park Dr.                  Weston           FL      33326    Family of John H. Owoc          9/9/2022         343.16 Expense Reimbursement
Ryan Owoc                                    1600 N. Park Dr.                  Weston           FL      33326    Family of John H. Owoc          9/9/2022         163.81 Expense Reimbursement
Ryan Owoc                                    1600 N. Park Dr.                  Weston           FL      33326    Family of John H. Owoc         9/14/2022         382.68 Expense Reimbursement
Ryan Owoc                                    1600 N. Park Dr.                  Weston           FL      33326    Family of John H. Owoc         9/22/2022          61.89 Expense Reimbursement
Ryan Owoc                                    1600 N. Park Dr.                  Weston           FL      33326    Family of John H. Owoc         9/23/2022      3,230.78 Wages
Ryan Owoc                                    1600 N. Park Dr.                  Weston           FL      33326    Family of John H. Owoc         9/29/2022         394.24 Expense Reimbursement
Ryan Owoc                                    1600 N. Park Dr.                  Weston           FL      33326    Family of John H. Owoc         9/30/2022      3,230.78 Wages
Ryan Owoc                                    1600 N. Park Dr.                  Weston           FL      33326    Family of John H. Owoc         10/6/2022         375.35 Expense Reimbursement
Sheridan Real Estate Investment A, LLC       1600 N. Park Dr.                  Weston           FL      33326    Non-Debtor Affiliate           10/1/2021     25,332.25 Payment Made to FPL for benefit of Sheridan Real Estate
                                                                                                                                                                         Investment A, LLC
Sheridan Real Estate Investment A, LLC 1600 N. Park Dr.                        Weston           FL      33326    Non-Debtor Affiliate           10/7/2021      1,592.91 Payment Made to City of Pembroke Pines Utitlies Department
                                                                                                                                                                         for benefit of Sheridan Real Estate Investment A, LLC

Sheridan Real Estate Investment A, LLC 1600 N. Park Dr.                        Weston           FL      33326    Non-Debtor Affiliate              10/19/2021            1,642.61 Payment Made to ReadyRefresh by Nestle for benefit of
                                                                                                                                                                                  Sheridan Real Estate Investment A, LLC
Sheridan Real Estate Investment A, LLC 1600 N. Park Dr.                        Weston           FL      33326    Non-Debtor Affiliate               11/1/2021           24,312.62 Payment Made to FPL for benefit of Sheridan Real Estate
                                                                                                                                                                                  Investment A, LLC
Sheridan Real Estate Investment A, LLC 1600 N. Park Dr.                        Weston           FL      33326    Non-Debtor Affiliate               11/1/2021            9,501.32 Payment Made to City of Pembroke Pines Utitlies Department
                                                                                                                                                                                  for benefit of Sheridan Real Estate Investment A, LLC

Sheridan Real Estate Investment A, LLC 1600 N. Park Dr.                        Weston           FL      33326    Non-Debtor Affiliate               11/5/2021            1,315.84 Payment Made to City of Pembroke Pines Utitlies Department
                                                                                                                                                                                  for benefit of Sheridan Real Estate Investment A, LLC

Sheridan Real Estate Investment A, LLC 1600 N. Park Dr.                        Weston           FL      33326    Non-Debtor Affiliate               11/7/2021              179.84 Payment Made to City of Pembroke Pines Utitlies Department
                                                                                                                                                                                  for benefit of Sheridan Real Estate Investment A, LLC

Sheridan Real Estate Investment A, LLC 1600 N. Park Dr.                        Weston           FL      33326    Non-Debtor Affiliate              11/18/2021            1,644.65 Payment Made to ReadyRefresh by Nestle for benefit of
                                                                                                                                                                                  Sheridan Real Estate Investment A, LLC
Sheridan Real Estate Investment A, LLC 1600 N. Park Dr.                        Weston           FL      33326    Non-Debtor Affiliate               12/1/2021           24,256.48 Payment Made to FPL for benefit of Sheridan Real Estate
                                                                                                                                                                                  Investment A, LLC
Sheridan Real Estate Investment A, LLC 1600 N. Park Dr.                        Weston           FL      33326    Non-Debtor Affiliate               12/1/2021            1,644.65 Payment Made to ReadyRefresh by Nestle for benefit of
                                                                                                                                                                                  Sheridan Real Estate Investment A, LLC
Sheridan Real Estate Investment A, LLC 1600 N. Park Dr.                        Weston           FL      33326    Non-Debtor Affiliate              12/16/2021            2,975.20 Payment Made to City of Pembroke Pines Utitlies Department
                                                                                                                                                                                  for benefit of Sheridan Real Estate Investment A, LLC

Sheridan Real Estate Investment A, LLC 1600 N. Park Dr.                        Weston           FL      33326    Non-Debtor Affiliate                 1/1/2022          21,166.77 Payment Made to FPL for benefit of Sheridan Real Estate
                                                                                                                                                                                  Investment A, LLC
Sheridan Real Estate Investment A, LLC 1600 N. Park Dr.                        Weston           FL      33326    Non-Debtor Affiliate               1/19/2022            2,269.13 Payment Made to City of Pembroke Pines Utitlies Department
                                                                                                                                                                                  for benefit of Sheridan Real Estate Investment A, LLC




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                                                             Payments or other transfers of property made within 1 year before filing this case that benefited any insider


Insider's Name                         Address 1                         City             State Zip        Relationship to the Debtor Payment Date Payment Amount                 Reason for Payment or Transfer
Sheridan Real Estate Investment A, LLC 1600 N. Park Dr.                  Weston           FL    33326      Non-Debtor Affiliate           2/1/2022      26,002.13 Payment Made to FPL for benefit of Sheridan Real Estate
                                                                                                                                                                  Investment A, LLC
Sheridan Real Estate Investment A, LLC 1600 N. Park Dr.                  Weston           FL     33326     Non-Debtor Affiliate           2/1/2022       3,946.29 Payment Made to City of Pembroke Pines Utitlies Department
                                                                                                                                                                  for benefit of Sheridan Real Estate Investment A, LLC

Sheridan Real Estate Investment A, LLC 1600 N. Park Dr.                  Weston           FL     33326     Non-Debtor Affiliate                 2/1/2022             454.09 Payment Made to Republic Services #695 for benefit of
                                                                                                                                                                            Sheridan Real Estate Investment A, LLC
Sheridan Real Estate Investment A, LLC 1600 N. Park Dr.                  Weston           FL     33326     Non-Debtor Affiliate               2/23/2022              512.50 Payment Made to City of Pembroke Pines for benefit of
                                                                                                                                                                            Sheridan Real Estate Investment A, LLC
Sheridan Real Estate Investment A, LLC 1600 N. Park Dr.                  Weston           FL     33326     Non-Debtor Affiliate               2/23/2022              172.67 Payment Made to City of Pembroke Pines Utitlies Department
                                                                                                                                                                            for benefit of Sheridan Real Estate Investment A, LLC

Sheridan Real Estate Investment A, LLC 1600 N. Park Dr.                  Weston           FL     33326     Non-Debtor Affiliate                 3/1/2022          29,800.14 Payment Made to FPL for benefit of Sheridan Real Estate
                                                                                                                                                                            Investment A, LLC
Sheridan Real Estate Investment A, LLC 1600 N. Park Dr.                  Weston           FL     33326     Non-Debtor Affiliate                 3/1/2022           3,192.27 Payment Made to City of Pembroke Pines Utitlies Department
                                                                                                                                                                            for benefit of Sheridan Real Estate Investment A, LLC

Sheridan Real Estate Investment A, LLC 1600 N. Park Dr.                  Weston           FL     33326     Non-Debtor Affiliate               3/15/2022            9,422.56 Payment Made to City of Pembroke Pines Utitlies Department
                                                                                                                                                                            for benefit of Sheridan Real Estate Investment A, LLC

Sheridan Real Estate Investment A, LLC 1600 N. Park Dr.                  Weston           FL     33326     Non-Debtor Affiliate               3/16/2022              187.01 Payment Made to City of Pembroke Pines Utitlies Department
                                                                                                                                                                            for benefit of Sheridan Real Estate Investment A, LLC

Sheridan Real Estate Investment A, LLC 1600 N. Park Dr.                  Weston           FL     33326     Non-Debtor Affiliate                 4/1/2022          26,827.17 Payment Made to FPL for benefit of Sheridan Real Estate
                                                                                                                                                                            Investment A, LLC
Sheridan Real Estate Investment A, LLC 1600 N. Park Dr.                  Weston           FL     33326     Non-Debtor Affiliate                 4/6/2022           2,198.86 Payment Made to ReadyRefresh by Nestle for benefit of
                                                                                                                                                                            Sheridan Real Estate Investment A, LLC
Sheridan Real Estate Investment A, LLC 1600 N. Park Dr.                  Weston           FL     33326     Non-Debtor Affiliate               4/14/2022            1,974.30 Payment Made to City of Pembroke Pines Utitlies Department
                                                                                                                                                                            for benefit of Sheridan Real Estate Investment A, LLC

Sheridan Real Estate Investment A, LLC 1600 N. Park Dr.                  Weston           FL     33326     Non-Debtor Affiliate               4/30/2022              816.19 Payment Made to City of Pembroke Pines for benefit of
                                                                                                                                                                            Sheridan Real Estate Investment A, LLC
Sheridan Real Estate Investment A, LLC 1600 N. Park Dr.                  Weston           FL     33326     Non-Debtor Affiliate                 5/1/2022          24,653.12 Payment Made to FPL for benefit of Sheridan Real Estate
                                                                                                                                                                            Investment A, LLC
Sheridan Real Estate Investment A, LLC 1600 N. Park Dr.                  Weston           FL     33326     Non-Debtor Affiliate                 5/1/2022           4,238.39 Payment Made to City of Pembroke Pines Utitlies Department
                                                                                                                                                                            for benefit of Sheridan Real Estate Investment A, LLC

Sheridan Real Estate Investment A, LLC 1600 N. Park Dr.                  Weston           FL     33326     Non-Debtor Affiliate                 5/6/2022           2,198.86 Payment Made to ReadyRefresh by Nestle for benefit of
                                                                                                                                                                            Sheridan Real Estate Investment A, LLC
Sheridan Real Estate Investment A, LLC 1600 N. Park Dr.                  Weston           FL     33326     Non-Debtor Affiliate                 6/1/2022          26,556.60 Payment Made to FPL for benefit of Sheridan Real Estate
                                                                                                                                                                            Investment A, LLC
Sheridan Real Estate Investment A, LLC 1600 N. Park Dr.                  Weston           FL     33326     Non-Debtor Affiliate                 6/1/2022           5,191.02 Payment Made to City of Pembroke Pines Utitlies Department
                                                                                                                                                                            for benefit of Sheridan Real Estate Investment A, LLC

Sheridan Real Estate Investment A, LLC 1600 N. Park Dr.                  Weston           FL     33326     Non-Debtor Affiliate                 6/8/2022           1,255.43 Payment Made to ReadyRefresh by Nestle for benefit of
                                                                                                                                                                            Sheridan Real Estate Investment A, LLC
Sheridan Real Estate Investment A, LLC 1600 N. Park Dr.                  Weston           FL     33326     Non-Debtor Affiliate               6/15/2022            5,659.87 Payment Made to City of Pembroke Pines Utitlies Department
                                                                                                                                                                            for benefit of Sheridan Real Estate Investment A, LLC

Sheridan Real Estate Investment A, LLC 1600 N. Park Dr.                  Weston           FL     33326     Non-Debtor Affiliate                 7/1/2022          27,297.34 Payment Made to FPL for benefit of Sheridan Real Estate
                                                                                                                                                                            Investment A, LLC
Sheridan Real Estate Investment A, LLC 1600 N. Park Dr.                  Weston           FL     33326     Non-Debtor Affiliate                 7/1/2022           1,530.30 Payment Made to City of Pembroke Pines Utitlies Department
                                                                                                                                                                            for benefit of Sheridan Real Estate Investment A, LLC

Sheridan Real Estate Investment A, LLC 1600 N. Park Dr.                  Weston           FL     33326     Non-Debtor Affiliate                 7/6/2022           1,256.43 Payment Made to ReadyRefresh by Nestle for benefit of
                                                                                                                                                                            Sheridan Real Estate Investment A, LLC
Sheridan Real Estate Investment A, LLC 1600 N. Park Dr.                  Weston           FL     33326     Non-Debtor Affiliate                 8/1/2022          31,001.04 Payment Made to FPL for benefit of Sheridan Real Estate
                                                                                                                                                                            Investment A, LLC
Sheridan Real Estate Investment A, LLC 1600 N. Park Dr.                  Weston           FL     33326     Non-Debtor Affiliate                 8/1/2022           3,248.25 Payment Made to City of Pembroke Pines Utitlies Department
                                                                                                                                                                            for benefit of Sheridan Real Estate Investment A, LLC




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                                                                   Payments or other transfers of property made within 1 year before filing this case that benefited any insider


Insider's Name                         Address 1                               City             State Zip        Relationship to the Debtor Payment Date Payment Amount                 Reason for Payment or Transfer
Sheridan Real Estate Investment A, LLC 1600 N. Park Dr.                        Weston           FL    33326      Non-Debtor Affiliate           8/6/2022       1,256.43 Payment Made to ReadyRefresh by Nestle for benefit of
                                                                                                                                                                        Sheridan Real Estate Investment A, LLC
Sheridan Real Estate Investment A, LLC 1600 N. Park Dr.                        Weston           FL     33326     Non-Debtor Affiliate           9/1/2022      31,640.34 Payment Made to City of Pembroke Pines Utitlies Department
                                                                                                                                                                        for benefit of Sheridan Real Estate Investment A, LLC

Sheridan Real Estate Investment A, LLC 1600 N. Park Dr.                        Weston           FL     33326     Non-Debtor Affiliate                 9/1/2022          29,363.21 Payment Made to FPL for benefit of Sheridan Real Estate
                                                                                                                                                                                  Investment A, LLC
Sheridan Real Estate Investment A, LLC 1600 N. Park Dr.                        Weston           FL     33326     Non-Debtor Affiliate               10/1/2022            2,966.93 Payment Made to City of Pembroke Pines Utitlies Department
                                                                                                                                                                                  for benefit of Sheridan Real Estate Investment A, LLC

Zachary John Owoc                            1600 N. Park Dr.                  Weston           FL     33326     Family of John H. Owoc            10/22/2021              641.25   Wages
Zachary John Owoc                            1600 N. Park Dr.                  Weston           FL     33326     Family of John H. Owoc             11/5/2021              435.30   Wages
Zachary John Owoc                            1600 N. Park Dr.                  Weston           FL     33326     Family of John H. Owoc            11/19/2021              455.70   Wages
Zachary John Owoc                            1600 N. Park Dr.                  Weston           FL     33326     Family of John H. Owoc             12/3/2021              264.45   Wages
Zachary John Owoc                            1600 N. Park Dr.                  Weston           FL     33326     Family of John H. Owoc            12/17/2021              566.70   Wages
Zachary John Owoc                            1600 N. Park Dr.                  Weston           FL     33326     Family of John H. Owoc            12/30/2021               78.30   Wages
Zachary John Owoc                            1600 N. Park Dr.                  Weston           FL     33326     Family of John H. Owoc             1/14/2022              311.36   Wages
Zachary John Owoc                            1600 N. Park Dr.                  Weston           FL     33326     Family of John H. Owoc             1/28/2022              741.30   Wages
Zachary John Owoc                            1600 N. Park Dr.                  Weston           FL     33326     Family of John H. Owoc             2/11/2022              635.48   Wages
Zachary John Owoc                            1600 N. Park Dr.                  Weston           FL     33326     Family of John H. Owoc             2/25/2022              814.93   Wages
Zachary John Owoc                            1600 N. Park Dr.                  Weston           FL     33326     Family of John H. Owoc             3/11/2022              920.01   Wages
Zachary John Owoc                            1600 N. Park Dr.                  Weston           FL     33326     Family of John H. Owoc             3/25/2022            1,221.74   Wages
Zachary John Owoc                            1600 N. Park Dr.                  Weston           FL     33326     Family of John H. Owoc              4/8/2022              948.50   Wages
Zachary John Owoc                            1600 N. Park Dr.                  Weston           FL     33326     Family of John H. Owoc             4/22/2022            1,169.76   Wages
Zachary John Owoc                            1600 N. Park Dr.                  Weston           FL     33326     Family of John H. Owoc              5/6/2022            1,069.67   Wages
Zachary John Owoc                            1600 N. Park Dr.                  Weston           FL     33326     Family of John H. Owoc             5/20/2022            1,072.53   Wages
Zachary John Owoc                            1600 N. Park Dr.                  Weston           FL     33326     Family of John H. Owoc              6/3/2022            1,042.85   Wages
Zachary John Owoc                            1600 N. Park Dr.                  Weston           FL     33326     Family of John H. Owoc             6/17/2022              689.13   Wages
Zachary John Owoc                            1600 N. Park Dr.                  Weston           FL     33326     Family of John H. Owoc              7/1/2022            1,151.07   Wages
Zachary John Owoc                            1600 N. Park Dr.                  Weston           FL     33326     Family of John H. Owoc             7/15/2022            1,463.15   Wages
Zachary John Owoc                            1600 N. Park Dr.                  Weston           FL     33326     Family of John H. Owoc             7/29/2022            1,374.00   Wages
Zachary John Owoc                            1600 N. Park Dr.                  Weston           FL     33326     Family of John H. Owoc             8/12/2022            1,041.55   Wages
Zachary John Owoc                            1600 N. Park Dr.                  Weston           FL     33326     Family of John H. Owoc             8/26/2022              668.22   Wages
Zachary John Owoc                            1600 N. Park Dr.                  Weston           FL     33326     Family of John H. Owoc              9/9/2022              664.71   Wages
Zachary John Owoc                            1600 N. Park Dr.                  Weston           FL     33326     Family of John H. Owoc             9/23/2022            1,578.24   Wages
Zachary John Owoc                            1600 N. Park Dr.                  Weston           FL     33326     Family of John H. Owoc             9/30/2022            1,830.48   Wages




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                                                                                                                                                                                                                   Status of Case
   Case Title                                                Case Number                      Nature of Case                  Court or Agency's Name                    Court or Agency's Address         (Pending / On Appeal / Concluded)
   Aaronda Walton vs. VPX (2022)                             Charge No. 510-2022-03641        Employment and Other Insurance- FL EEOC                                   Miami Tower 100 SE 2nd                         Pending
                                                                                              Covered Claim                                                             Street, Suite 1500, Miami, FL
                                                                                                                                                                        33131

   Abbot vs. VPX                                             22-CV-00587-CDP                  Class Action Claim                   ED MO                                111 South 10th Street, St.                    Pending
                                                             22SL-CC02272                                                          St. Louis County Circuit Court       Louis, MO 63102
   All Brands vs. VPX et al. (2018)                          6:18-01354                       Distributor Claim                    U.S. DC KS                           500 State Ave, Kansas City, KS          Pending / On Appeal
                                                                                                                                                                        66101
   Ardagh vs. VPX & Quash (2022)                             0:22-cv-60835                    Commercial/ Collection Claim         U.S. SD FLA                          400 North Miami Avenue,                       Pending
                                                                                                                                                                        Miami, FL 33128
   Balboa Capital vs. VPX et al. (2018)                      0:18-CV-61125                    Commercial/ Collection Claim         U.S. SD FLA                          400 North Miami Avenue,                 Pending / On Appeal
                                                                                                                                                                        Miami, FL 33128
   Belvac Production Machinery, Inc. vs. VPX (2022)          22-NW-CV-00763                   Commercial/ Collection Claim         Cal. Sup. Ct. (L.A. County)          1945 S Hill St, Los Angeles, CA               Pending
                                                                                                                                                                        90007

   Briggs Equipment vs. VPX et al (2020)                     CACE20015813                     Commercial/ Collection Claim         Broward Circuit                      201 SE 6th Street, Fort                       Pending
                                                                                                                                                                        Lauderdale, FL 33301

   Cheryl Ohel vs. VPX (2018)                                CACE18007709                     Employment and Other Insurance- Broward Circuit                           201 SE 6th Street, Fort                       Pending
                                                                                              Covered Claim                                                             Lauderdale, FL 33301

   City Beverage-Illinois, LLC vs. VPX (2020)                0:20-cv-61353                    Distributor Claim                    U.S. SD FLA                          400 North Miami Avenue,                      Concluded
                                                                                                                                                                        Miami, FL 33128


   Dairy Farmers v. Vital Pharmaceuticals, Inc. (2020)       4:20-cv-00760                    Copacker Claim                       U.S. WD MO                           400 E 9th Street, Kansas City,                Pending
                                                                                                                                                                        MO 64106

   David Ramirez & Kelly Ocampo vs. VPX (2022)               Charge No. 540-2021-3472         Employment and Other Insurance- AZ EEOC                                   3300 N Central Ave #690,                     Concluded
                                                             Charge No. 540-2021-02923        Covered Claim                                                             Phoenix, AZ 85012
   Doehler USA, Inc. vs. VPX (2022)                          N/A                              Breach of Contract              N/A                                       N/A                                          Concluded


   Donna Williams vs. VPX & Owoc (2020)                      CACE20003681                     Employment and Other Insurance- Broward Circuit                           201 SE 6th Street, Fort                       Pending
                                                                                              Covered Claim                                                             Lauderdale, FL 33301
   Eagle Distributing of Texarkana, Inc. v. Vital            4:20-cv-04097                    Breach of Contract              U.S. WD ARK                               30 South 6th Street                          Concluded
   Pharmaceuticals, Inc. et al. (2021)                                                                                                                                  Room 1038
   Edmund Elien vs. VPX (2020)                               CACE20003271                     Employment and Other Insurance- Broward Circuit                           201 SE 6th Street, Fort                      Concluded
                                                                                              Covered Claim                                                             Lauderdale, FL 33301

   Fabco Metal Products, LLC v. VPX, JHO Real Estate         CV2022-008873                    Crossclaim - Commercial/             AZ Maricopa County Superior Ct.      101 W Madison St, Phoenix,                    Pending
   Investment, LLC (crossclaim in Nexus Steel, LLC v.                                         Collection Claim                                                          AZ 85003
   Faith Technologies, Inc. v. VPX, JHO Real Estate          CV2022-008873                    Crossclaim - Commercial/             AZ Maricopa County Superior Ct.      101 W Madison St, Phoenix,                    Pending
   Investment, LLC (crossclaim in Nexus Steel, LLC v.                                         Collection Claim                                                          AZ 85003
   Fischer vs. VPX                                           4:22-cv-00136-MTS                Class Action Claim                   U.S. ED MO                           111 South 10th Street, St.                    Pending
                                                             21SL-CC04977                                                          St. Louis County Circuit Court       Louis, MO 63102
   Fitzpatrick et al v. Vital Pharmaceuticals, Inc. et al.   0:20-cv-61121                    Breach of Contract                   U.S. SD FLA                          400 North Miami Avenue,                      Concluded
   (2020)                                                                                                                                                               Miami, FL 33128
   Foundry Software vs. VPX (2022)                           N/A                              Settlement                           N/A                                  N/A                                          Concluded
                                                                                                                                                                                                                     11/2/2022
   Gemcap Investments, LLC v. Vital Pharmaceuticals,         CACE20014851                     Contract and Indebtedness            Broward Circuit                      201 SE 6th Street, Fort                      Concluded
   Inc.                                                                                                                                                                 Lauderdale, FL 33301
   Gulfstream vs. VPX (2022)                                 01-21-0000-1032                  Commercial Tort/ Breach of           AAA (Brunswick, GA)                  1505 Richmond St., Brunswick,                 Pending
                                                                                              Contract Claim                                                            GA 31520
   Hardrock Concrete Placement Co Inc v. VPX, JHO            CV2022-008873                    Crossclaim - Commercial/             AZ Maricopa County Superior Ct.      101 W Madison St, Phoenix,                    Pending
   Real Estate Investment, LLC (crossclaim in Nexus                                           Collection Claim                                                          AZ 85003
   Integrated Masonry v. VPX, JHO Real Estate                CV2022-008873                    Crossclaim - Commercial/             AZ Maricopa County Superior Ct.      101 W Madison St, Phoenix,                    Pending
   Investment, LLC (crossclaim in Nexus Steel, LLC v.                                         Collection Claim                                                          AZ 85003
   VPX, JHO Real Estate Investment, LLC (2022))
   Ismail Imran, et al v. Vital Pharmaceuticals, Inc. (2021) 0:21-cv-16248                    Class Action Claim of Fraud          USCA 9                               125 South Grand Avenue,                      Concluded
                                                                                                                                                                        Pasadena, CA 91105




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   Case Title                                                Case Number                      Nature of Case                         Court or Agency's Name             Court or Agency's Address        (Pending / On Appeal / Concluded)
   Ismail Imran, et al v. Vital Pharmaceuticals, Inc. (2021) 4:18-cv-05758                    Class Action Claim of Fraud            U.S. ND Cal                        450 Golden Gate Avenue                       Concluded
                                                                                                                                                                        San Francisco, CA 94102

   James Rodriguez vs. VPX (2021)                           21STCV20916)                      Employment and Other Insurance- Cal Superior Ct., LA                      11701 S La Cienega, Los                      Pending
                                                                                              Covered Claim                                                             Angeles, CA 90045

   Jimnez Suero v. Vital Pharmaceuticals, Inc. et al.       0:21-cv-61802                     Copyright Infringement                 U.S. SD FLA                        400 North Miami Avenue,                     Concluded
   (2021)                                                                                                                                                               Miami, FL 33128
   Krystle Glenn vs. VPX & Owoc (2020)                      CV2020-011119                     Employment and Other Insurance- AZ Maricopa County Ct.                    201 W Jefferson St, Phoenix,                 Pending
                                                                                              Covered Claim                                                             AZ 85003
   Marc Kesten vs. VPX & Owoc (2020)                        2020-021163                       Employment and Other Insurance- Miami-Dade Circuit                        73 West Flagler Street, Miami,         Pending / On Appeal
                                                                                              Covered Claim                                                             FL 33130
   Massimo Zanetti Beverage USA vs. VPX (2021)              2:21-cv-00382                     Copyright/ Trademark Claim      U.S. ED VA                                600 Granby Street, Norfolk, VA               Pending
                                                                                                                                                                        23510
   Monster vs. VPX & Owoc (2018)                            5:18-CV-1882                      False Advertising Claim                U.S. CD Cal                        350 W 1st Street, Suite 4311,                Pending
                                                                                                                                                                        Los Angeles, CA 90012-4565


   Nexus Steel, LLC v. VPX, JHO Real Estate Investment, CV2022-008873                         Commercial/ Collection Claim           AZ Maricopa County Superior Ct.    101 W Madison St, Phoenix,                   Pending
   LLC (2022)                                                                                                                                                           AZ 85003

   Orange Bang & Monster vs. VPX & JHO et al. (2020)        01-20-0005-6081                   Trademark Infringement Claim           AAA (Los Angeles)             2601 S Figueroa St, Los                           Pending
                                                                                                                                                                   Angeles, CA 90007
   PepsiCo vs. VPX et al. (2020)                            01-20-0015-8060                   Contract/Tortious Interference/ AAA (NYC)                            1181 Broadway, New York, NY                      Concluded
                                                                                              Breach Claim                                                         10023
   PepsiCo vs. VPX et al. (2020)                            0:22-cv-60805                     Contract/Tortious Interference/ U.S. SD FLA                          400 North Miami Avenue,                          Concluded
                                                                                              Breach Claim                                                         Miami, FL 33128
   Premier Distributing Co v. Vital Pharmaceuticals, Inc.   21-CV-60495-JIC                   Distributor Claim               U.S. SD FLA                          400 North Miami Avenue,                          Concluded
   (2021)                                                                                                                                                          Miami, FL 33128
   Premium Beverage vs. VPX et al. (2019)                   19CV02562                         Distributor Claim               Cal Superior Ct. Santa Cruz          701 Ocean Street, Santa Cruz,                     Pending
                                                                                                                                                                   CA 95060
   Presidio Networked Solutions, LLC v. Vital               0:21-cv-60357                     Breach of Contract              U.S. SD FLA                          400 North Miami Avenue,                          Concluded
   Pharmaceuticals, Inc. et al. (2021)                                                                                                                             Miami, FL 33128
   Sony Music Entertainment vs. VPX & Owoc (2021)           1:21-cv-22825                     Copyright/ Trademark Claim      U.S. SD FLA                          400 North Miami Avenue,                           Pending
                                                                                                                                                                   Miami, FL 33128
   Southeast Cold Fill vs. VPX et al. (2020)                4:20-CV-00776                     Copacker Claim                  District of South Carolina, Florence 401 West Evans Street,                            Pending
                                                                                                                              Division                             Florence, SC 29501
   Spirit & Sanzone vs. VPX et al. (2020)                   2020-cv-61677                     Distributor Claim               U.S. SD FLA                          400 North Miami Avenue,                          Concluded
                                                                                                                                                                   Miami, FL 33128
   Stellar Group, Inc. v. VPX, JHO Real Estate              CV2022-008873                     Crossclaim - Commercial/        AZ Maricopa County Superior Ct.      101 W Madison St, Phoenix,                        Pending
   Investment, LLC (crossclaim in Nexus Steel, LLC v.                                         Collection Claim                                                     AZ 85003
   Tadasha Lenorah Hodges vs. Darrell James Bennet II       2022-CA-06790-O                   Employment and Other Insurance- Orange County Circuit (FLA)          425 N Orange Ave, Orlando, FL                     Pending
   & VPX (2022)                                                                               Covered Claim                                                        32801
   The American Bottling vs. VPX et al. (2019)              1:20-cv-01268                     Copacker Claim                  District of Delaware                 844 North King St, Unit 18,                       Pending
                                                                                                                                                                   Wilmington, DE 19801-3570
   The House of LaRose vs. VPX                              22-10252                          Distributor Claim               U.S.C.A. 11                          99 N.E. 4th Street, Miami, FL                     Pending
                                                                                                                                                                   33132

   The House of LaRose, Inc. vs. VPX (2021)                 0:21-cv-60736                     Distributor Claim                      U.S. SD FLA                        400 North Miami Avenue,                Pending / On Appeal
                                                                                                                                                                        Miami, FL 33128
   Timothy Brown vs. VPX (2022)                             1:22-cv-00805                     Class Action Claim                     U.S. ED NY                         225 Cadman Plaza East,                       Pending
                                                                                                                                                                        Brooklyn, NY 11201
   UMG Recordings vs. VPX & Owoc (2021)                     0:21-cv-60914                     Copyright/ Trademark Claim             U.S. SD FLA                        400 North Miami Avenue,                      Pending
                                                                                                                                                                        Miami, FL 33128
   Vital Pharmaceuticals, Inc. v. Arjolo, Inc.              CACE21013804                      Libel/Slander                          Broward Circuit                    201 SE 6th Street, Fort                     Concluded
                                                                                                                                                                        Lauderdale, FL 33301
   Vital Pharmaceuticals, Inc. v. The Made-Rite Company, 0:21-cv-61219                        Recovery of Money Judgement            U.S. SD FLA                        400 North Miami Avenue,                     Concluded
   Ltd. (2021)                                                                                                                                                          Miami, FL 33128
   Vital Pharmaceuticals, Inc. vs. TikTok (2022)         2:22-mc-00090                        Copyright/ Trademark Claim             U.S. CD Cal                        350 W 1st Street, Suite 4311,                Pending
                                                                                                                                                                        Los Angeles, CA 90012-4565
   VPX & Bang Jets vs. Gulfstream & Expert Aviation et      CACE20013100                      Commercial Tort/ Breach of             Broward Circuit                    201 SE 6th Street, Fort                      Pending
   al. (2020)                                                                                 Contract Claim                                                            Lauderdale, FL 33301


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   VPX & JHO vs OBI & Monster (2022)                22-55722                          Trademark Infringement Claim          USCA 9                              125 South Grand Avenue,                      Pending
                                                                                                                                                                Pasadena, CA 91105
   VPX & JHO vs Orange Bang & Monster (2022)        22-56019                          Trademark Infringement Claim          USCA 9                              125 South Grand Avenue,                     Pending
                                                                                                                                                                Pasadena, CA 91105
   VPX & JHO vs Orange Bang & Monster. (2020)       20-1464 DSF                       Trademark Infringement Claim          U.S. CD Cal                         350 W 1st Street, Suite 4311,         Pending / On Appeal
                                                                                                                                                                Los Angeles, CA 90012-4565
   VPX & JHO vs. Ignite Int'l (2021)                21-cv-60451-Bloom                 Intellectual Property/ Unfair         U.S. SD FLA                         400 North Miami Avenue,                    Concluded
                                                                                      Competition Claim                                                         Miami, FL 33128
   VPX & JHO vs. PhD (2020)                         2:20-CV-6745                      Intellectual Property/ Unfair         U.S. CD Cal                         350 W 1st Street, Suite 4311,               Pending
                                                                                      Competition Claim                                                         Los Angeles, CA 90012-4565
   VPX vs. All Brands (2022)                        22-3186                           Distributor Claim                     U.S.C.A. 10                         1823 Stout Street Denver, CO                Pending
                                                                                                                                                                80257
   VPX vs. Arnold Classic Australia (2021)          M11355334                         Collection/ Insurance Coverage        Australia                           PO Box 6309, Kingston Act,                  Pending
                                                                                      Claim                                                                     2604, Australia
   VPX vs. Ball Metal et al. (2020)                 01-21-0000-1032                   Commercial Tort/ Breach of            AAA (Denver)                        6061 S Willow Dr, Ste 100,                  Pending
                                                                                      Contract Claim                                                            Greenwood Village, CO 80111
   VPX vs. Bang Diamonds (2022)                     0:22-cv-60155                     Intellectual Property/ Unfair         U.S. SD FLA                         400 North Miami Avenue,                     Pending
                                                                                      Competition Claim                                                         Miami, FL 33128

   VPX vs. Berlin Manufacturing (2021)              21-cv-6866-Feinerman              Commercial Tort/ Breach of            U.S. D. ILL.                        South Dearborn Street,                      Pending
                                                                                      Contract Claim                                                            Chicago, IL 60604
   VPX vs. Brandyn Alejos et al. (2012)             CACE12007088                      Non-Compete/ NDA Enforcement          Broward Circuit                     201 SE 6th Street, Fort                     Pending
                                                                                      Claim Against Employees and                                               Lauderdale, FL 33301
   VPX vs. Brightfractl et al. (2020)               50-2020-CA-005690-XXXX            Commercial Tort/ Breach of            Palm Beach Circuit                  205 N Dixie Hwy, West Palm                  Pending
                                                                                      Contract Claim                                                            Beach, FL 33401
   VPX vs. Dang Foods (2021)                        0:21-cv-61119                     Intellectual Property/ Unfair         U.S. SD FLA                         400 North Miami Avenue,                     Pending
                                                                                      Competition Claim                                                         Miami, FL 33128

   VPX vs. Drink King Distributing et al. (2021)    CACE21003376                      Collection/ Insurance Coverage        Broward Circuit                     201 SE 6th Street, Fort                    Concluded
                                                                                      Claim                                                                     Lauderdale, FL 33301
   VPX vs. Elegance Brands et al. (2020)            0:20-cv-61307                     Non-Compete/ NDA Enforcement          U.S. SD FLA                         400 North Miami Avenue,                     Pending
                                                                                      Claim Against Employees and                                               Miami, FL 33128
   VPX vs. Europa Sports Partners (2022)            0:22-cv-60669-XXXX                Collection/ Insurance Coverage        U.S. SD FLA                         400 North Miami Avenue,                     Pending
                                                                                      Claim                                                                     Miami, FL 33128
   VPX vs. GNC et al. (2020)                        0:20-cv-60940                     Collection/ Insurance Coverage        U.S. SD FLA                         400 North Miami Avenue,                     Pending
                                                                                      Claim                                                                     Miami, FL 33128
   VPX vs. Gracely (2021)                           01-21-0017-1993                   Intellectual Property/ Unfair         AAA (FLA)                           400 North Miami Avenue,                     Pending
                                                                                      Competition Claim                                                         Miami, FL 33128
   VPX vs. Leading Edge Expositions et al. (2022)   COWE22000612                      Collection/ Insurance Coverage        Broward Circuit                     201 SE 6th Street, Fort                     Pending
                                                                                      Claim                                                                     Lauderdale, FL 33301

   VPX vs. Lloyds London (2022)                     CACE22005500                      Collection/ Insurance Coverage        Broward Circuit                     201 SE 6th Street, Fort                     Pending
                                                                                      Claim                                                                     Lauderdale, FL 33301
   VPX vs. Machado, Alejandro (2017)                CACE17022732                      Commercial Tort/ Breach of            Broward Circuit                     201 SE 6th Street, Fort                     Pending
                                                    BKR:21-17098-PDR                  Contract Claim                                                            Lauderdale, FL 33301
   VPX vs. Monster & Markerly et al. (2019)         0-19-cv-61974                     Intellectual Property/ Unfair         U.S. SD FLA                         400 North Miami Avenue,                     Pending
                                                                                      Competition Claim                                                         Miami, FL 33128
   VPX vs. Monster & Reign et al. (2019)            0:19-cv-60809                     Intellectual Property/ Unfair         U.S. SD FLA                         400 North Miami Avenue,                    Concluded
                                                                                      Competition Claim                                                         Miami, FL 33128
   VPX vs. Monster & Reign Inferno et al. (2020)    20-cv-61757                       Intellectual Property/ Unfair         U.S. SD FLA                         400 North Miami Avenue,               Pending / On Appeal
                                                                                      Competition Claim                                                         Miami, FL 33128
   VPX vs. Monster & Rodney Sacks (2022)            0:22-cv-61621                     Intellectual Property/ Unfair         U.S. SD FLA                         400 North Miami Avenue,                     Pending
                                                                                      Competition Claim                                                         Miami, FL 33128

   VPX vs. PepsiCo (2020)                           0:20-cv-62415                     Contract/Tortious Interference/       U.S. SD FLA                         400 North Miami Avenue,                    Concluded
                                                                                      Breach Claim                                                              Miami, FL 33128

   VPX vs. PepsiCo (2022)                           2:22-cv-00591-SMB                 Claims Asserted Against Customer U.S. D AZ                                401 West Washington Street,                Concluded
                                                                                                                                                                Spc 1, Suite 130, Phoenix, AZ
   VPX vs. PepsiCo (2022)                           2:22-cv-00593-SMB                 Claims Asserted Against Customer U.S. D AZ                                401 West Washington Street,                Concluded
                                                                                                                                                                Spc 1, Suite 130, Phoenix, AZ




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   Case Title                                            Case Number                    Nature of Case                       Court or Agency's Name               Court or Agency's Address   (Pending / On Appeal / Concluded)
   VPX vs. Pomerantz, Danielle et al. (2018)             CACE18006692                   Breach of Duty Claim and Wage        Broward Circuit                      201 SE 6th Street, Fort                 Concluded
                                                                                        and Hour Counterclaim                                                     Lauderdale, FL 33301
   VPX vs. Premier Nutrition Products, LLC & Derik Fay   CACE21022185                   Collection/ Insurance Coverage       Broward Circuit                      201 SE 6th Street, Fort                 Pending
   (2021)                                                                               Claim                                                                     Lauderdale, FL 33301
   VPX vs. ProSupps et al. (2012)                        CACE12007083                   Commercial Tort/ Breach of           Broward Circuit                      201 SE 6th Street, Fort                 Pending
                                                                                        Contract Claim                                                            Lauderdale, FL 33301
   VPX vs. Suddath Global Logistics et al. (2021)        CACE21003572                   Commercial Tort/ Breach of           Broward Circuit                      201 SE 6th Street, Fort                 Pending
                                                                                        Contract Claim                                                            Lauderdale, FL 33301




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                                             All gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case


                                                                                                      Relationship to          Description of Gifts or
 Recipient's Name                                            Recipient's Address                      Debtor                   Contributions               Dates Given     Value
 Atlanta Retailers Association                               2055 North Brown Rd Suite 200,           None                     Cash Donation                9/30/2021     $15,000.00
                                                             Lawrenceville, GA, 30043
 Broward GOP                                                 224 Commercial Blvd, Ste 305,            None                     Cash Donation                5/24/2021     $10,000.00
                                                             Lauderdale-by-the-Sea, FL 33308
 Coral Baptist Church, Inc                                   400 Lakeview Dr, Coral Springs, FL       None                     Cash Donation               12/14/2020     $25,000.00
                                                             33071
 Daily's Foundation                                          7014 AC Skinner Pkwy Ste 290,            None                     Cash Donation               10/18/2022      $5,000.00
                                                             Jacksonville, FL 32256
 Help The Persecuted, Inc.                                   PO Box 20303, Atlanta, GA 30325          None                     Cash Donation                5/31/2021      $2,575.00
 Midwives Association of Florida                             4431 NW 10 St, Coconut Creek, FL         None                     Cash Donation                3/25/2022      $5,000.00
                                                             33066
 Potential Church                                            12401 Stirling Rd, Cooper City, FL       None                     Cash Donation               12/14/2020     $50,000.00
                                                             33330
 Potential Church                                            12401 Stirling Rd, Cooper City, FL       None                     Cash Donation                5/11/2021    $100,000.00
                                                             33330
 The Optimist Club of Cooper City, Inc.                      9710 Stirling Rd Suite 107,              None                     Cash Donation                9/2/2022       $1,200.00
                                                             Hollywood, FL 33024-8018
 The Well Columbia (Church)                                  1412 Trotwood Ave, Columbia, TN          None                     Cash Donation                4/19/2021     $25,000.00
                                                             38401
 Winred.Com Fundraiser Repub. Campaign                       1776 Wilson Blvd, Suite 530,             None                     Cash Donation                9/1/2022       $5,000.00
                                                             Arlington, VA 22209




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                                                             All losses from fire, theft, or other casualty within 1 year before filing this case

                                                                                                                             Amount of Payments
                                  Description of the Property Lost and How the Loss Occurred                                 Received for the Loss Date of Loss Value of Property Loss
            IV made an illegal U-turn and struck the claimant's scooter, causing serious injuries. (West Palm Beach,                          $0.00 11/1/2021             Undetermined
            FL) - Coml Auto - First Party
            IV made an illegal U-turn and struck the claimant's scooter, causing serious injuries. (West Palm Beach,                                $0.00   11/1/2021    Undetermined
            FL) - Coml Auto - Third Party
            DOL 11-1-2021- Excess - Claimant Joseph Thomas - Insured vehicle made an illegal U-Turn and struck                                      $0.00   11/1/2021    Undetermined
            a scooter. Several severe injuries. Taken by ambulance. Location Congress and Presidio, West Palm
            Beach. (West Palm Beach, FL) - Premises/Operations
            Insured vehicle made an illegal U-turn and struck a motorist on a scooter. (West Palm Beach, FL) -                                      $0.00   11/1/2021    Undetermined
            Premises/Operations
            Insured's vehicle hit Claimant's parked vehicle. (Orlando, FL) - Coml Auto - Third Party                                                $0.00    11/9/2021   Undetermined
            Claimant reports she was clipped by IV near tire, as the IVD merge into her lane, causing her vehicle to                                $0.00   11/12/2021   Undetermined
            360 spin and crash into shoulder, 2630 S Rainbow Blvd Ste 2 Las Vegas 89146 (Las Vegas, NV) - Coml
            Auto - Third Party
            Safelite ref# 305819 - Windshield replacement on 2019 Chevrolet 4500 HD, vin#                                                     $402.00       11/16/2021   Undetermined
            54DCDW1BXKS803227, comprehensive coverage, $0 ded (FL). (Weston, FL) - Coml Auto - First Party

            Vehicle 1 (v1) Driven by our employee was driving slowly in the left lane due to darkness on the road and                               $0.00   11/16/2021   Undetermined
            visibility being limited. He noticed something flashing to his right so moved slightly over at which time his
            front right corner and Vehicle 2 (V2) left rear corner collided. V2 continued moving about a block away
            and came back to V1. V1 immediately pulled over, V2 wanted to exchange info but (Houston, TX) - Coml
            Auto - First Party
            Vehicle 1 (v1) Driven by our employee was driving slowly in the left lane due to darkness on the road and                               $0.00   11/16/2021   Undetermined
            visibility being limited. He noticed something flashing to his right so moved slightly over at which time his
            front right corner and Vehicle 2 (V2) left rear corner collided. V2 continued moving about a block away
            and came back to V1. V1 immediately pulled over, V2 wanted to exchange info but (Houston, TX) - Coml
            Auto - Third Party
            On 1/3/222, trucks were turned on ready to start work and the exhaust was loud, we immediately knew
            the CAT converters were missing. The incident had to happen between 12/30/21 - 1/2/22, during the long
            weekend we had. (Las Vegas, NV) - Coml Auto - First Party                                                                       $3,176.00       12/30/2021   Undetermined
            On 1/3/22, trucks were turned on ready to start work and the exhaust was loud, we immediately knew the                              $0.00       12/30/2021   Undetermined
            CAT converters were missing. The incident had to happen between 12/30/21 -1/2/22, during the long
            weekend we had. (Las Vegas, NV) - Coml Auto - First Party
            Insured Vehicle rear-ended the Another Vehicle (Altamonte Springs, FL) - Coml Auto - Third Party                                        $0.00   1/20/2022    Undetermined
            NGS Referral Number 545463 Glass Only Claim/NGS Ref#5454636/-Insured states rock crack the front
            windshield/2018 Jeep Wrangle/Vin#179527/Replace (Concord, NC) - Coml Auto - First Party                                                 $0.00   1/22/2022    Undetermined
            Safelite ref# 591831 - Passenger Front door glass and windshield replacement on 2019 Chevrolet 4500,
            vin#54DCDW1B1KS808834, comprehensive coverage, $2500 (FL). (Weston, FL) - Coml Auto - First
            Party                                                                                                                                   $0.00   1/25/2022    Undetermined
            Safelite referral#943693/Glass only/rock from road damaged windshield/2019 Jeep WranglerNin#1
            C4HJXDG3KW596642/Ded $2500 (CA) (San Diego, CA) - Coml Auto - First Party                                                         $657.00        2/4/2022    Undetermined
            Claimant was parked in a parking lot, when insured was backing out of a parking spot, claimant tried to
            honk to warn insured driver but he ended up backing into claimant vehicle, insured said his back up
            camera was not working. (Lancaster, CA) - Coml Auto - First Party                                                                       $0.00   2/11/2022    Undetermined
            Claimant was parked in a parking lot, when insured was backing out of a parking spot, claimant tried to
            honk to warn insured driver but he ended up backing into claimant vehicle, insured said his back up
            camera was not working. (Lancaster, CA) - Coml Auto - Third Party                                                                       $0.00   2/11/2022    Undetermined

            73579631 error loading policy- Catalytic Converter was stolen. (Concord, NC) - Coml Auto - First Party                                  $0.00   2/22/2022    Undetermined


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                                                                                           Exhibit SOFA 10
                                                         All losses from fire, theft, or other casualty within 1 year before filing this case

                                                                                                                        Amount of Payments
                                 Description of the Property Lost and How the Loss Occurred                             Received for the Loss Date of Loss Value of Property Loss
            Two catalytic convertors that were stolen from two trucks VIN# ending 2969 and 2260. (Lithia Springs,
            GA) - Coml Auto - First Party                                                                                            $7,553.00 2/24/2022             Undetermined
            IV hit OV while stopped in traffic. IV incurred front end damage, OV incurred rear-end damage. OVD is
            experiencing back and shoulder pain (Bapchule, AZ) - Coml Auto - First Party                                                 $0.00 3/12/2022             Undetermined
            Pile up of 8 or 9 vehicles 2 of lnsured's Vehicles involved in Accident. (Casa Grande, AZ) - Coml Auto -
            First Party                                                                                                                  $0.00 3/12/2022             Undetermined
            IV hit OV while stopped in traffic. IV incurred front end damage, OV incurred rear-end damage. OVD is
            experiencing back and shoulder pain (Bapchule, AZ) - Coml Auto - Third Party                                                 $0.00 3/12/2022             Undetermined
            Pile up of 8 or 9 vehicles 2 of lnsured's Vehicles involved in Accident. (Casa Grande, AZ) - Coml Auto -
            Third Party                                                                                                                  $0.00 3/12/2022             Undetermined
            Insured vehicle rear ended other vehicle at traffic light while other vehicle was stopped. (Rancho
            Cucamonga, CA) - Coml Auto - Third Party                                                                                     $0.00  4/2/2022             Undetermined
            Safelite Referral Number: 915178 Glass only. 2019 GMC\Chevy 4500HD vin 54DCDW1 B3KS808835.
            $0 ded (FL) (Riviera Beach, FL) - Coml Auto - First Party                                                                  $637.00  5/2/2022             Undetermined
            Policy# 73579631 - Someone stole the catalytic converter. (Hialeah, FL) - Coml Auto - First Party                            $0.00  5/2/2022             Undetermined
            The Catalytic Converter was stolen out of 10 vehicles. View claim number 040522018580 and
            040522018778. (Concord, NC) - Coml Auto - First Party                                                                        $0.00  5/5/2022             Undetermined
            Property Claim (1951 N Commerce Pkwy, Weston, FL) - Theft                                                                    $0.00 5/19/2022                $48,111.55
            Some one stole the catalytic converter out of 6 vehicles. (Fort Worth, TX) - Coml Auto - First Party                     $3,640.00 5/20/2022             Undetermined
            IV was backing out into street and struck OV. No injuries. (Tavares, FL) - Coml Auto - Third Party                           $0.00 6/12/2022             Undetermined
            OV was stopped at a red light. IV was going into the left turning lane and drove by and clipped the mirror.
            (Coral Springs, FL) - Coml Auto - Third Party                                                                                $0.00 6/13/2022             Undetermined
            Damaged Windshield (Davie, FL) - Coml Auto - First Party                                                                 $1,607.00 6/30/2022             Undetermined
            Safelite Referral Number: 993826 Glass only. 2019 GMC\Chevy 4500HD vin 54DCDW1 B1 KS800667.
            $0 ded (FL) (Riviera Beach, FL) - Coml Auto - First Party                                                                  $646.00 7/19/2022             Undetermined
            Safelite ref# 646344 - Windshield replacement on 2017 Chevrolet Cheyenne, vin#54DCDW1
            B8HS805762, comprehensive coverage, $0 ded(FL). (Tampa, FL) - Coml Auto - First Party                                      $637.00  8/1/2022             Undetermined
            Insured was struck by claimant vehicle (Tampa, FL) - Coml Auto - First Party                                                 $0.00  8/5/2022             Undetermined
            Safelite ref# 644813 - Windshield replacement on 2018 Chevrolet 4500, vin#54DCDW1 B4JS806963,
            comprehensive coverage, $0 ded (FL). (Tampa, FL) - Coml Auto - First Party                                                 $637.00  8/8/2022             Undetermined
            Coml Auto - First Party                                                                                                    $643.00 8/11/2022             Undetermined
            This is a commercial lines partial fire loss to Premises #1 located in Phoenix, AZ. (Phoenix, AZ) - Coml
            Prop Fire                                                                                                             $188,776.00 8/13/2022              Undetermined
            Damage to Building and Inventory (1635 S 43rd Ave, Phoenix, AZ) - Fire                                                       $0.00 8/13/2022                $52,000.00

            Safelite ref# 144288 - Windshield replacement on 2020 Jeep Wrangler, vin#1 C4HJXDN2LW223530,
            comprehensive coverage, $0 ded (FL). (Weston, FL) - Coml Auto - First Party                                                   $660.00       8/29/2022    Undetermined
            Safelite ref# 121284 - Windshield replacement on 2019 Chevrolet 4500, vin#54DCDW1 B5KS808786,
            comprehensive coverage, $0 ded (FL). (Brandon, FL) - Coml Auto - First Party                                                        $0.00   8/30/2022    Undetermined
            Safelite Referral Number 634384 / Windshield Replacement/ 2018 Chevy Cabover 4500 I VIN#
            54DCDW1 B4JS806980 / $0 Deductible/ FL (Brandon, FL) - Coml Auto - First Party                                                      $0.00   9/15/2022    Undetermined
            Damage to Roof and Inventory (4747 W Buckeye Rd, Phoenix, AZ) - Windstorm                                                           $0.00   10/3/2022      $40,000.00
            DOL 11-25-2021- PROP- Location Phoenix -An independent trucker crash into Insured front wall
            (Weston, FL) - Coml Prop Extended Cov                                                                                               $0.00   11/25/2022   Undetermined




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                                                                                                325 SOFA
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                                                                                           Payments Related to Bankruptcy



                                                                                                                                               Who Made the       If Not Money,
  Who Was Paid or Received                                                                                                                     Payment, if Not    Describe Any                    Total Amount
           the Transfer                           Address 1                        City    State       Zip        Email Address or Website      the Debtor?    Property Transferred     Dates       or Value
 Berger Singerman                  1450 Brickell Ave                        Miami          FL      33131-3444   www.bergersingerman.com                                                8/9/2022      $25,000.00
 Berger Singerman                  1450 Brickell Ave                        Miami          FL      33131-3444   www.bergersingerman.com                                               8/31/2022      $43,811.70
 Berger Singerman                  1450 Brickell Ave                        Miami          FL      33131-3444   www.bergersingerman.com                                                9/2/2022       $6,545.35
 Berger Singerman                  1450 Brickell Ave                        Miami          FL      33131-3444   www.bergersingerman.com                                               9/16/2022     $537,144.00
 Huron Consulting Group, Inc.      1166 Avenue of the Americas, 3rd Floor   New York       NY      10036        www.huronconsultinggroup.com                                          9/16/2022   $1,120,000.00
 Latham & Watkins LLP              555 11th St NW                           Washington     DC      20004-1300   www.lw.com                                                             8/9/2022     $400,000.00
 Latham & Watkins LLP              555 11th St NW                           Washington     DC      20004-1300   www.lw.com                                                            8/26/2022     $192,777.45
 Latham & Watkins LLP              555 11th St NW                           Washington     DC      20004-1300   www.lw.com                                                            9/16/2022   $2,025,000.00
 Richard D Caruso                  200 Ryan Lance                           Meadow Lands   PA      15347                                                                              7/21/2022      $86,125.00
 Richard D Caruso                  200 Ryan Lance                           Meadow Lands   PA      15347                                                                              8/15/2022      $44,527.33
 Richard D Caruso                  200 Ryan Lance                           Meadow Lands   PA      15347                                                                              9/16/2022      $41,562.50
 Rothschild & Co US                1251 Ave Of the Americas                 New York       NY      10020        www.rothschildandco.com                                                8/9/2022     $765,675.11
 Rothschild & Co US                1251 Ave Of the Americas                 New York       NY      10020        www.rothschildandco.com                                               9/16/2022      $10,000.00
 Stretto, Inc.                     410 Exchange, Suite 100                  Irvine         CA      92602-1331   www.stretto.com                                                       9/29/2022     $100,000.00




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                                                                                           Exhibit SOFA 13
                                                                             Transfers not already listed on this statement


                                                                                       Relationship to Description of Property Transferred or Payments Dates Transfer Total Amount or
  Who Received the Transfer?      Address 1                  City     State     ZIP      the Debtor           Received or Debts Paid In Exchange         Was Made          Value
 Hensley Dist                4201 N 45th Ave               Phoenix    AZ    85031-2109 None            2019 CHEVROLET 3500 LCF Gas Beverage Truck        10/7/2022          $58,000.00
                                                                                                       VIN 54DCDW1B8KS802867
 Hensley Dist                         4201 N 45th Ave      Phoenix    AZ    85031-2109 None            2019 CHEVROLET 4500/GAS LCF Beverage Truck        10/7/2022          $62,000.00
                                                                                                       VIN 54DCDW1B0KS810185
 Hensley Dist                         4201 N 45th Ave      Phoenix    AZ    85031-2109 None            2019 CHEVROLET 4500/GAS LCF Beverage Truck        10/7/2022          $60,000.00
                                                                                                       VIN 54DCDW1B1KS809918
 Hensley Dist                         4201 N 45th Ave      Phoenix    AZ    85031-2109 None            2019 CHEVROLET 4500/GAS LCF Beverage Truck        10/7/2022          $60,000.00
                                                                                                       VIN 54DCDW1B2KS809913
 Hensley Dist                         4201 N 45th Ave      Phoenix    AZ    85031-2109 None            2019 CHEVROLET 4500/GAS LCF Beverage Truck        10/7/2022          $60,000.00
                                                                                                       VIN 54DCDW1B5KS809887
 Hensley Dist                         4201 N 45th Ave      Phoenix    AZ    85031-2109 None            2019 CHEVROLET 4500/GAS LCF Beverage Truck        10/7/2022          $62,000.00
                                                                                                       VIN 54DCDW1B8KS800939
 Hensley Dist                         4201 N 45th Ave      Phoenix    AZ    85031-2109 None            2019 CHEVROLET 4500/GAS LCF Beverage Truck        10/7/2022          $60,000.00
                                                                                                       VIN 54DCDW1BXKS809917
 Hensley Dist                         4201 N 45th Ave      Phoenix    AZ    85031-2109 None            2015 MERCEDES-BENZ Sprinter Sprinter Van VIN      10/7/2022          $26,000.00
                                                                                                       WD3PF0CC7FP115191
 Hensley Dist                         4201 N 45th Ave      Phoenix    AZ    85031-2109 None            2016 MERCEDES-BENZ Sprinter Sprinter Van VIN      10/7/2022          $26,000.00
                                                                                                       WD3PF3CC5GP238183
 Hensley Dist                         4201 N 45th Ave      Phoenix    AZ    85031-2109 None            2016 MERCEDES-BENZ Sprinter Sprinter Van VIN      10/7/2022          $27,000.00
                                                                                                       WD3PF3CC5GP265125
 Hensley Dist                         4201 N 45th Ave      Phoenix    AZ    85031-2109 None            2019 CHEVROLET 4500 Beverage Truck VIN            10/7/2022          $58,000.00
                                                                                                       54DCDW1B9KS808192
 Jack Hilliard                        217 N 12th St        Temple     TX    76501      None            2019 CHEVROLET 4500/GAS LCF Beverage Truck        9/27/2022          $62,500.00
                                                                                                       VIN 54DCDW1B3KS812402
 Jack Hilliard                        217 N 12th St        Temple     TX    76501      None            2019 CHEVROLET 4500/GAS LCF Beverage Truck        9/27/2022          $62,500.00
                                                                                                       VIN 54DCDW1B4KS812540
 Jack Hilliard                        217 N 12th St        Temple     TX    76501      None            2019 CHEVROLET 4500/GAS LCF Beverage Truck        9/27/2022          $62,500.00
                                                                                                       VIN 54DCDW1B6KS810515
 Jack Hilliard                        217 N 12th St        Temple     TX    76501      None            2019 CHEVROLET 4500/GAS LCF Beverage Truck        9/27/2022          $62,500.00
                                                                                                       VIN 54DCDW1B7KS810166
 Jack Hilliard                        217 N 12th St        Temple     TX    76501      None            2019 CHEVROLET 4500/GAS LCF Beverage Truck        9/27/2022          $62,500.00
                                                                                                       VIN 54DCDW1B8KS809916
 Jack Hilliard                        217 N 12th St        Temple     TX    76501      None            2019 CHEVROLET 4500/GAS LCF Beverage Truck        9/27/2022          $62,500.00
                                                                                                       VIN 54DCDW1BXKS810193
 Savannah Dist                        2425 W Gwinnett St   Savannah   GA    31415      None            2019 CHEVROLET LCF 4500 Beverage Truck VIN        9/16/2022          $65,500.00
                                                                                                       54DCDW1B4KS810187
 Savannah Dist                        2425 W Gwinnett St   Savannah   GA    31415      None            2019 CHEVROLET LCF 4500 Beverage Truck VIN        9/16/2022          $65,500.00
                                                                                                       54DCDW1B6KS810160
 Serena A Kirchner Inc                2740 Charlestown Rd Lancaster   PA    17603-9702 None            2020 ISUZU NPR-HP Beverage Truck VIN              10/7/2022          $65,000.00
                                                                                                       54DC4W1D3LS208805
 Serena A Kirchner Inc                2740 Charlestown Rd Lancaster   PA    17603-9702 None            2020 ISUZU NPR-HP Beverage Truck VIN              10/7/2022          $65,000.00
                                                                                                       54DC4W1D5LS208806




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                                                                                                        Off-Premises Storage



 Facility Name                               Address 1                        Address 2               City                   State ZIP  Names of Anyone With Address of Person     Description of the Contents    Does the Debtor
                                                                                                                                        Access               With Access                                           Still Have It?
 Direct Store Delivery (DSD) Location        10100 Aviation Blvd.             Suite 200               Los Angeles            CA   90045 Debtor's Employees   1600 N. Park Drive,   Finished Goods                        Yes
                                                                                                                                                             Weston, FL 33326
 Direct Store Delivery (DSD) Location        11130 Sherman Way                                        Sun Valley             CA   91352 Debtor's Employees   1600 N. Park Drive,   Finished Goods                      Yes
                                                                                                                                                             Weston, FL 33326
 Direct Store Delivery (DSD) Location        12600 NW 115th Ave.                                      Medley                 FL   33178 Debtor's Employees   1600 N. Park Drive,   Finished Goods                      Yes
                                                                                                                                                             Weston, FL 33326
 Direct Store Delivery (DSD) Location        1909 N. US Highway 301           Building D, Suite 140-150 Tampa                FL   33619 Debtor's Employees   1600 N. Park Drive,   Finished Goods                      Yes
                                                                                                                                                             Weston, FL 33326
 Direct Store Delivery (DSD) Location        3520 Old Metro Pkwy.                                     Fort Myers             FL   33916 Debtor's Employees   1600 N. Park Drive,   Finished Goods                      Yes
                                                                                                                                                             Weston, FL 33326
 Direct Store Delivery (DSD) Location        4117 Wagon Trail Ave.                                    Las Vegas              NV   89148 Debtor's Employees   1600 N. Park Drive,   Finished Goods                      Yes
                                                                                                                                                             Weston, FL 33326
 Direct Store Delivery (DSD) Location        4650 Forge Rd.                   Suite 104               Colorado Springs CO         80907 Debtor's Employees   1600 N. Park Drive,   Finished Goods                      Yes
                                                                                                                                                             Weston, FL 33326
 Direct Store Delivery (DSD) Location        700 W. 48th Ave., Unit S                                 Denver                 CO   80217 Debtor's Employees   1600 N. Park Drive,   Finished Goods                      Yes
                                                                                                                                                             Weston, FL 33326
 Direct Store Delivery (DSD) Location        7262 Phillips Hwy.                                       Jacksonville           FL   32217 Debtor's Employees   1600 N. Park Drive,   Finished Goods                      Yes
                                                                                                                                                             Weston, FL 33326
 Direct Store Delivery (DSD) Location        7950 Central Industrial Dr. N.   Suite 102               Riviera Beach          FL   33404 Debtor's Employees   1600 N. Park Drive,   Finished Goods                      Yes
                                                                                                                                                             Weston, FL 33326
 Direct Store Delivery (DSD) Location        9052 Rosecrans Ave.                                      Bellflower             CA   90706 Debtor's Employees   1600 N. Park Drive,   Finished Goods                      Yes
                                                                                                                                                             Weston, FL 33326
 Direct Store Delivery (DSD) Location        9550 Parksouth Court             Suite 300               Orlando                FL   32837 Debtor's Employees   1600 N. Park Drive,   Finished Goods                      Yes
                                                                                                                                                             Weston, FL 33326
 Fuel Team Building                          11707 S. Sam Houston Parkway Suite H                     Houston                TX   77031 Debtor's Employees   1600 N. Park Drive,   Finished Goods and Marketing        Yes
                                                                                                                                                             Weston, FL 33326      Materials & Equipment
 Fuel Team Building                          1601 Wallace Dr.                                         Dallas                 TX   75006 Debtor's Employees   1600 N. Park Drive,   Finished Goods and Marketing        Yes
                                                                                                                                                             Weston, FL 33326      Materials & Equipment
 Fuel Team Building                          7297 Opportunity Rd.             Suite E&F               San Diego              CA   92111 Debtor's Employees   1600 N. Park Drive,   Finished Goods and Marketing        Yes
                                                                                                                                                             Weston, FL 33326      Materials & Equipment
 Parkout Storage Location                    900 N. Krome Ave.                                        Florida City           FL   33034 Debtor's Employees   1600 N. Park Drive,   Finished Goods                      Yes
                                                                                                                                                             Weston, FL 33326
 Parkout Storage Location                    200 Railroad Ave.                                        Edgewater              FL   32132 Debtor's Employees   1600 N. Park Drive,   Finished Goods                      Yes
                                                                                                                                                             Weston, FL 33326
 Parkout Storage Location                    499 N. Spring Garden Ave.                                Deland                 FL   32720 Debtor's Employees   1600 N. Park Drive,   Finished Goods                      Yes
                                                                                                                                                             Weston, FL 33326
 Parkout Storage Location                    459 Market Place                                         Port St. Lucie         FL   34986 Debtor's Employees   1600 N. Park Drive,   Finished Goods                      Yes
                                                                                                                                                             Weston, FL 33326
 Parkout Storage Location                    2600 N. Roosevelt Blvd.                                  Key West               FL   33040 Debtor's Employees   1600 N. Park Drive,   Finished Goods                      Yes
                                                                                                                                                             Weston, FL 33326
 Parkout Storage Location                    310 NE 25th Avenue                                       Ocala                  FL   34470 Debtor's Employees   1600 N. Park Drive,   Finished Goods                      Yes
                                                                                                                                                             Weston, FL 33326
 Parkout Storage Location                    1970 South Hwy 27                                        Clermont               FL   34711 Debtor's Employees   1600 N. Park Drive,   Finished Goods                      Yes
                                                                                                                                                             Weston, FL 33326
 Parkout Storage Location                    6220 Red Cedar Rd.                                       Sebring                FL   33876 Debtor's Employees   1600 N. Park Drive,   Finished Goods                      Yes
                                                                                                                                                             Weston, FL 33326
 Parkout Storage Location                    27437 Murrieta Ave.                                      Sun City               CA   92585 Debtor's Employees   1600 N. Park Drive,   Finished Goods                      Yes
                                                                                                                                                             Weston, FL 33326
 Parkout Storage Location                    22211 West Newberry Road                                 Newberry               FL   32669 Debtor's Employees   1600 N. Park Drive,   Finished Goods                      Yes
                                                                                                                                                             Weston, FL 33326
 POS Storage                                 14051 W. US 290                                          Austin                 TX   78737 Debtor's Employees   1600 N. Park Drive,   Point of Sale Equipment             Yes
                                                                                                                                                             Weston, FL 33326
 POS Storage                                 3950 Deep Rock Rd.                                       Henrico                VA   23233 Debtor's Employees   1600 N. Park Drive,   Point of Sale Equipment             Yes
                                                                                                                                                             Weston, FL 33326
 POS Storage                                 10901 Albercorn St.                                      Savannah               GA   31419 Debtor's Employees   1600 N. Park Drive,   Point of Sale Equipment             Yes
                                                                                                                                                             Weston, FL 33326
 POS Storage                                 103 Village Dr.                                          Tiffin                 IA   52340 Debtor's Employees   1600 N. Park Drive,   Point of Sale Equipment             Yes
                                                                                                                                                             Weston, FL 33326
 POS Storage                                 1042 S. Geneva Rd.                                       Orem                   UT   84058 Debtor's Employees   1600 N. Park Drive,   Point of Sale Equipment             Yes
                                                                                                                                                             Weston, FL 33326
 POS Storage                                 10461 Manchester Rd                                      St. Louis              MO   63122 Debtor's Employees   1600 N. Park Drive,   Point of Sale Equipment             Yes
                                                                                                                                                             Weston, FL 33326




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                                                                                        Off-Premises Storage



 Facility Name                               Address 1                  Address 2     City                   State ZIP  Names of Anyone With Address of Person     Description of the Contents   Does the Debtor
                                                                                                                        Access               With Access                                          Still Have It?
 POS Storage                                 12520 N. MacArthur Blvd.                 Oklahoma City          OK   73142 Debtor's Employees   1600 N. Park Drive,   Point of Sale Equipment              Yes
                                                                                                                                             Weston, FL 33326
 POS Storage                                 13328 NE Airport Road                    Portland               OR   97230 Debtor's Employees   1600 N. Park Drive,   Point of Sale Equipment            Yes
                                                                                                                                             Weston, FL 33326
 POS Storage                                 13605 Coursey Blvd.                      Baton Rouge            LA   70817 Debtor's Employees   1600 N. Park Drive,   Point of Sale Equipment            Yes
                                                                                                                                             Weston, FL 33326
 POS Storage                                 16290 Auto Lane                          Sumner                 WA   98390 Debtor's Employees   1600 N. Park Drive,   Point of Sale Equipment            Yes
                                                                                                                                             Weston, FL 33326
 POS Storage                                 1711 W. Edgar Rd.                        Linden                 NJ   07036 Debtor's Employees   1600 N. Park Drive,   Point of Sale Equipment            Yes
                                                                                                                                             Weston, FL 33326
 POS Storage                                 20 Duren Ave.                            Lowel                  MA   01851 Debtor's Employees   1600 N. Park Drive,   Point of Sale Equipment            Yes
                                                                                                                                             Weston, FL 33326
 POS Storage                                 330 W North Ave.                         Lombard                IL   60148 Debtor's Employees   1600 N. Park Drive,   Point of Sale Equipment            Yes
                                                                                                                                             Weston, FL 33326
 POS Storage                                 3521 McKenzie St.                        Foley                  AL   36535 Debtor's Employees   1600 N. Park Drive,   Point of Sale Equipment            Yes
                                                                                                                                             Weston, FL 33326
 POS Storage                                 445 Hornbeck Rd.                         Morgantown             WV   26508 Debtor's Employees   1600 N. Park Drive,   Point of Sale Equipment            Yes
                                                                                                                                             Weston, FL 33326
 POS Storage                                 6320 N Cedar Road                        Spokane                WA   99208 Debtor's Employees   1600 N. Park Drive,   Point of Sale Equipment            Yes
                                                                                                                                             Weston, FL 33326
 POS Storage                                 6500 Cameron Blvd.                       Gilroy                 CA   95020 Debtor's Employees   1600 N. Park Drive,   Point of Sale Equipment            Yes
                                                                                                                                             Weston, FL 33326
 POS Storage                                 9100 Maumelle Blvd. N.                   Little Rock            AR   72113 Debtor's Employees   1600 N. Park Drive,   Point of Sale Equipment            Yes
                                                                                                                                             Weston, FL 33326




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Fill in this information to identify the case:

Debtor name: Vital Pharmaceuticals, Inc.

United States Bankruptcy Court for the: Southern District of Florida
                                                                                                                                                               Check if this is an
Case number: 22-17842
                                                                                                                                                               amended ling




WARNING - Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in connection with a bankruptcy case can result
in nes up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.
I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true and correct.
I declare under penalty of perjury that the foregoing is true and correct.

Executed on
11/11/2022



/s/ John C. DiDonato                                                                         John C. DiDonato

Signature of individual signing on behalf of debtor                                          Printed name

Chief Transformation O cer

Position or relationship to debtor


Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (O cial Form 207) attached?

     No

     Yes
